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11          PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
12 RALPH COLEMAN, et al.,                      Case No. 2:90-CV-00520-KJM-DB
13               Plaintiffs,                   THREE JUDGE COURT
14         v.
15 GAVIN NEWSOM, et al.,
16         Defendants.
17 MARCIANO PLATA, et al.,                     Case No. C01-1351 JST

18         Plaintiffs,                         THREE JUDGE COURT

19         v.                                  EXHIBITS 17-47 TO
                                               DECLARATION OF MICHAEL W.
20 GAVIN NEWSOM,                               BIEN IN SUPPORT OF PLAINTIFFS’
                                               EMERGENCY MOTION TO MODIFY
21          Defendants.                        POPULATION REDUCTION ORDER

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     EXHIBITS 17-47 TO DECLARATION OF MICHAEL W. BIEN IN SUPPORT OF PLAINTIFFS’ EMERGENCY
                         MOTION TO MODIFY POPULATION REDUCTION ORDER
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                         Exhibit 17
                                                                              Case 2:90-cv-00520-KJM-SCR          Document 6529-2   Filed 03/25/20   Page 3 of 249
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                                  Preparedness, prevention
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                                        places of detention
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                                                                15 March 2020
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This document is based on the latest available evidence on the COVID-19 outbreak as of 15 March 2020. The World Health
Organization (WHO) continues to monitor the situation closely for any changes that may affect this interim guidance. Should any
factors change, WHO will issue a further update.




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iv
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ABBREVIATIONS
ARDS            acute respiratory distress syndrome
COVID-19        coronavirus disease 2019
ECDC            European Centre for Disease Prevention and Control
HCID            high-consequence infectious disease
IPC             infection prevention and control
MERS            Middle East respiratory syndrome
nCoV            novel coronavirus
PHE             Public Health England
PPE             personal protective equipment
SARI            severe acute respiratory infection
SARS            severe acute respiratory syndrome
SARS-CoV-2      severe acute respiratory syndrome coronavirus 2
UNODC           United Nations Office on Drugs and Crime
WHO             World Health Organization
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PREPAREDNESS, PREVENTION AND CONTROL OF COVID-19
IN PRISONS AND OTHER PLACES OF DETENTION




vi
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                                                                                                                                                                                    1

                                                                                                                                                                                    1




1. INTRODUCTION
People deprived of their liberty, such as people in prisons and other places of detention,1 are likely to be
more vulnerable to the coronavirus disease (COVID-19) outbreak than the general population because of the
confined conditions in which they live together for prolonged periods of time. Moreover, experience shows
that prisons, jails and similar settings where people are gathered in close proximity may act as a source of
infection, amplification and spread of infectious diseases within and beyond prisons. Prison health is therefore
widely considered as public health. The response to COVID-19 in prisons and other places of detention is
particularly challenging, requiring a whole-of-government and whole-of-society approach, for the following
reasons:2,3
    1. Widespread transmission of an infectious pathogen affecting the community at large poses a threat
       of introduction of the infectious agent into prisons and other places of detention; the risk of rapidly
       increasing transmission of the disease within prisons or other places of detention is likely to have an
       amplifying effect on the epidemic, swiftly multiplying the number of people affected.
    2. Efforts to control COVID-19 in the community are likely to fail if strong infection prevention and control
       (IPC) measures, adequate testing, treatment and care are not carried out in prisons and other places of
       detention as well.
    3. In many countries, responsibility for health-care provision in prisons and other places of detention lies
       with the Ministry of Justice/Internal Affairs. Even if this responsibility is held by the Ministry of Health,
       coordination and collaboration between health and justice sectors are paramount if the health of people
       in prisons and other places of detention and the wider community is to be protected.
    4. People in prisons and other places of detention are already deprived of their liberty and may react
       differently to further restrictive measures imposed upon them.


1
    Places of detention, as defined for the purposes of these guidelines, include prisons, justice-related detention settings and immigration removal centres.
2
    2019 Novel Coronavirus (2019-nCOV): Strategic Preparedness and Response Plan. Geneva: World Health Organization; 2020 (https://www.who.int/docs/default-source/
    coronaviruse/srp-04022020.pdf?sfvrsn=7ff55ec0_4&download=true).
3
    Good governance for prison health in the 21st century: a policy brief on the organization of prison health. Copenhagen: WHO Regional Office for Europe/Vienna: United Nations
    Office on Drugs and Crime; 2013 (http://www.euro.who.int/__data/assets/pdf_file/0017/231506/Good-governance-for-prison-health-in-the-21st-century.pdf).
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2
        2. RATIONALE
        People deprived of their liberty, such as people in prisons, are likely to be more vulnerable to various
        diseases and conditions. The very fact of being deprived of liberty generally implies that people in
        prisons and other places of detention live in close proximity with one another, which is likely to result in a
        heightened risk of person-to-person and droplet transmission of pathogens like COVID-19. In addition to
        demographic characteristics, people in prisons typically have a greater underlying burden of disease and
        worse health conditions than the general population, and frequently face greater exposure to risks such as
        smoking, poor hygiene and weak immune defence due to stress, poor nutrition, or prevalence of coexisting
        diseases, such as bloodborne viruses, tuberculosis and drug use disorders.

        The COVID-19 outbreak, which was first detected in Wuhan, China, in December 2019, has been evolving
        rapidly. On 30 January 2020, the WHO Director-General declared that the current outbreak constituted
        a public health emergency of international concern, and on 12 March 2020 the COVID-19 outbreak was
        declared a pandemic.4

        In these circumstances, prevention of importation of the virus into prisons and other places of detention is
        an essential element in avoiding or minimizing the occurrence of infection and of serious outbreaks in these
        settings and beyond.

        Depending on the COVID-19 situation of the specific country, the risk of introducing COVID-19 into prisons
        and other places of detention may vary. In areas with no local virus circulation, the risk of virus introduction
        into closed settings may be associated with prison staff or newly admitted individuals who have recently
        stayed in affected countries or areas or who have been in contact with people returning from affected
        countries or areas. However, as several countries in Europe are now experiencing widespread sustained
        community transmission, the risk of transmission has substantially increased.

        In all countries, the fundamental approach to be followed is prevention of introduction of the infectious
        agent into prisons or other places of detention, limiting the spread within the prison, and reducing the
        possibility of spread from the prison to the outside community. This will be more challenging in countries
        with more intense transmission.

        Prisons and other places of detention are enclosed environments where people (including staff) live in close
        proximity. Every country has a responsibility to increase their level of preparedness, alert and response to
        identify, manage and care for new cases of COVID-19. Countries should prepare to respond to different public
        health scenarios, recognizing that there is no one-size-fits-all approach to managing cases and outbreaks
        of COVID-19. Four transmission scenarios that could be experienced by countries at the subnational level
        have been defined for COVID-19, and countries should therefore adjust and tailor their approach to the local
        context.5




        4
            WHO Director-General’s opening remarks at the mission briefing on COVID-19 (12 March 2020). Geneva: World Health Organization; 2020
            (https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-mission-briefing-on-covid-19---12-march-2020).
        5
            Critical preparedness, readiness and response actions for COVID-19: interim guidance (16 March 2020). Geneva: World Health Organization; 2020
            (https://www.who.int/publications-detail/critical-preparedness-readiness-and-response-actions-for-covid-19).
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3. PLANNING PRINCIPLES AND HUMAN RIGHTS CONSIDERATIONS                                                                                             3



Contingency planning is essential in ensuring an adequate health response and maintaining secure, safe
and humane detention settings. Generally, plans are available for local, short-lived emergency and resilience
actions. However, the evolving nature of infectious outbreaks of epidemic or pandemic proportions, locally,
nationally and globally, go beyond such plans, having a potential impact on security, the wider judicial system
and, in extreme cases, civil order.

In addition, business continuity plans should be in place for ensuring the security and safety functions
inherently associated with prisons and other places of detention.

It is of paramount importance to work in partnership across public health agencies, health-care services and
places of detention, bringing together community services and prison/detention services.

The human rights framework provides guiding principles in determining the response to the outbreak of
COVID-19. The rights of all affected people must be upheld, and all public health measures must be carried
out without discrimination of any kind. People in prisons and other places of detention are not only likely to
be more vulnerable to infection with COVID-19, they are also especially vulnerable to human rights violations.
For this reason, WHO reiterates important principles that must be respected in the response to COVID-19
in prisons and other places of detention, which are firmly grounded in human rights law as well as the
international standards and norms in crime prevention and criminal justice:6
    • The provision of health care for people in prisons and other places of detention is a State responsibility.
    • People in prisons and other places of detention should enjoy the same standards of health care that are
      available in the outside community, without discrimination on the grounds of their legal status.
    • Adequate measures should be in place to ensure a gender-responsive approach in addressing the
      COVID-19 emergency in prisons and other places of detention.
    • Prisons and other detention authorities need to ensure that the human rights of those in their custody
      are respected, that people are not cut off from the outside world, and – most importantly – that they
      have access to information and adequate healthcare provision.7




6
    Cf. CESCR General Comment No. 14: The Right to the Highest Attainable Standard of Health (Art. 12).
    Adopted at the Twenty-second Session of the Committee on Economic, Social and Cultural Rights, on 11
    August 2000 (Contained in Document E/C.12/2000/4) (https://www.refworld.org/pdfid/4538838d0.pdf);
    United Nations Standard Minimum Rules for the Treatment of Prisoners (the Nelson Mandela Rules). United
    Nations General Assembly Resolution A/RES/70/175, adopted 17 December 2015 (https://undocs.org/A/
    RES/70/175); High Commissioner updates the Human Rights Council on human rights concerns, and progress,
    across the world. Human Rights Council 43rd Session, Item 2, Geneva, 27 February 2020. United Nations
    Human Rights Office of the High Commissioner (https://www.ohchr.org/EN/NewsEvents/Pages/DisplayNews.
    aspx?NewsID=25621&LangID=E); Advice from the SPT [Subcommittee on Prevention of Torture] to the UK
    NPM [National Preventive Mechanism] regarding compulsory quarantine for Coronavirus (https://s3-eu-west-2.
    amazonaws.com/npm-prod-storage-19n0nag2nk8xk/uploads/2020/02/2020.02.25-Annexed-Advice.pdf).
7
    Coronavirus: healthcare and human rights of people in prison. London: Penal Reform International; 2020
    (https://www.penalreform.org/resource/coronavirus-healthcare-and-human-rights-of-people-in).
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4         • Enhanced consideration should be given to resorting to non-custodial measures at all stages of the
            administration of criminal justice, including at the pre-trial, trial and sentencing as well as post-sentencing
            stages. Priority should be given to non-custodial measures for alleged offenders and prisoners with
            low-risk profiles and caring responsibilities, with preference given to pregnant women and women with
            dependent children.
          • Similarly, refined allocation procedures should be considered that would allow prisoners at highest risk
            to be separated from others in the most effective and least disruptive manner possible and that would
            permit limited single accommodation to remain available to the most vulnerable.
          • Upon admission to prisons and other places of detention, all individuals should be screened for fever
            and lower respiratory tract symptoms; particular attention should be paid to persons with contagious
            diseases. If they have symptoms compatible with COVID-19, or if they have a prior COVID-19 diagnosis
            and are still symptomatic, they should be put into medical isolation until there can be further medical
            evaluation and testing.
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    • The psychological and behavioural reactions of prisoners or those detained in other settings are likely                                                                     5
      to differ from those of people who observe physical distancing in the community; consideration should
      therefore be given to the increased need for emotional and psychological support, for transparent
      awareness-raising and information-sharing on the disease, and for assurances that continued contact
      with family and relatives will be upheld.
    • Adequate measures should be in place to prevent stigmatization or marginalization of individuals or
      groups who are considered to be potential carriers of viruses.
    • Any decision to place people in prisons and other places of detention in conditions of medical isolation
      should always be based on medical necessity as a result of a clinical decision and subject to authorization
      by law or by the regulation of the competent administrative authority.
    • People subjected to isolation for reasons of public health protection, in the context of prisons and
      other places of detention, should be informed of the reason for being placed in isolation, and given the
      possibility to have a third party notified.
    • Adequate measures should be in place to protect persons in isolation from any form of ill treatment and
      to facilitate human contact as appropriate and possible in the given circumstances (e.g. by audiovisual
      means of communication).
    • The COVID-19 outbreak must not be used as a justification for undermining adherence to all fundamental
      safeguards incorporated in the United Nations Standard Minimum Rules for the Treatment of Prisoners
      (the Nelson Mandela Rules) including, but not limited to, the requirement that restrictions must never
      amount to torture or other cruel, inhuman or degrading treatment or punishment; the prohibition of
      prolonged solitary confinement (i.e. in excess of 15 consecutive days); the requirement that clinical
      decisions may only be taken by health-care professionals and must not be ignored or overruled by
      non-medical prison staff; and that while the means of family contact may be restricted in exceptional
      circumstances for a limited time period, it must never be prohibited altogether.8
    • The COVID-19 outbreak must not be used as a justification for objecting to external inspection of
      prisons and other places of detention by independent international or national bodies whose mandate
      is to prevent torture and other cruel, inhuman or degrading treatment or punishment; such bodies
      include national preventive mechanisms under the Optional Protocol to the Convention against Torture,9
      the Subcommittee on Prevention of Torture and other Cruel, Inhuman or Degrading Treatment or
      Punishment,10 and the European Committee for the Prevention of Torture and Inhuman or Degrading
      Treatment or Punishment.11
    • Even in the circumstances of the COVID-19 outbreak, bodies of inspection in the above sense should have
      access to all people deprived of their liberty in prisons and other places of detention, including to persons
      in isolation, in accordance with the provisions of the respective body’s mandate.




8
   United Nations Standard Minimum Rules for the Treatment of Prisoners (the Nelson Mandela Rules). United Nations General Assembly Resolution A/RES/70/175, adopted 17
   December 2015 (https://undocs.org/A/RES/70/175).
9
   Optional Protocol to the Convention against Torture and other Cruel, Inhuman or Degrading Treatment or Punishment. United Nations General Assembly Resolution A/RES/57/199,
   adopted 18 December 2002 (https://www.ohchr.org/EN/ProfessionalInterest/Pages/OPCAT.aspx).
10
   Optional Protocol to the Convention against Torture (OPCAT) Subcommittee on Prevention of Torture. The SPT in Brief
   (https://www.ohchr.org/EN/HRBodies/OPCAT/Pages/Brief.aspx).
11
   European Committee for the Prevention of Torture and Inhuman or Degrading Treatment or Punishment [website]. Strasbourg: Council of Europe (https://www.coe.int/en/web/cpt).
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IN PRISONS AND OTHER PLACES OF DETENTION




6




        4. SCOPE AND OBJECTIVES
        4.1 Scope
        This document is based on the international standards and norms in crime prevention and criminal justice
        related to prison management and non-custodial measures as well as international guidance on prison health,
        including the United Nations Standard Minimum Rules for the Treatment of Prisoners (the Nelson Mandela
        Rules),8 the United Nations Rules for the Treatment of Women Prisoners and Non-custodial Measures for Women
        Offenders (the Bangkok Rules),12 the Standard Minimum Rules for the Administration of Juvenile Justice (the
        Beijing Rules),13 the United Nations Standard Minimum Rules for Non-custodial Measures (the Tokyo Rules),14 and
        WHO guidance on Prisons and health (2014).15 The document aims to assist countries in developing specific plans
        and/or consolidating further action for prisons and other places of detention in response to the international
        COVID-19 outbreak, with consideration of preparedness plans, prevention and control strategies, and contingency
        plans to interface with the wider health and emergency planning system.

        4.2 Objectives
             1. To guide design and implementation of adequate preparedness plans for prisons and other detention
                settings to deal with the COVID-19 outbreak situation in such a way as to:
                → protect the health and well-being of people detained in prisons and other closed settings, those
                   who work there (custodial, health-care and other staff), and people who visit prisons and other
                   places of detention (legal visitors, family and friends of prisoners, etc.);
                → support the continued safe operation of prisons and other detention settings;
                → reduce the risk of outbreaks which could place a considerable demand on health-care services in
                   prisons and in the community;
                → reduce the likelihood that COVID-19 will spread within prisons and other places of detention and
                   from such settings into the community;
                → ensure the needs of prisons and other detention settings are considered in national and local health
                   and emergency planning.

        12
           United Nations Rules for the Treatment of Women Prisoners and Non-custodial Measures for Women Offenders. United Nations General Assembly Resolution A/RES/65/229,
           adopted 21 December 2010 (https://www.unodc.org/documents/justice-and-prison-reform/crimeprevention/UN_Rules_Treatment_Women_Prisoners_Bangkok_Rules.pdf).
        13
           Standard Minimum Rules for the Administration of Juvenile Justice. United Nations General Assembly Resolution A/RES/40/33, adopted 29 November 1985
           (https://www.ohchr.org/Documents/ProfessionalInterest/beijingrules.pdf).
        14
           United Nations Standard Minimum Rules for Non-custodial Measures. United Nations General Assembly Resolution A/RES/45/110, adopted 14 December 1990
           (https://www.ohchr.org/Documents/ProfessionalInterest/tokyorules.pdf).
        15
           Prisons and health. Copenhagen: WHO Regional Office for Europe; 2014 (http://www.euro.who.int/__data/assets/pdf_file/0009/99018/E90174.pdf).
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     2. To present effective preventive and response mechanisms for:                                                                                                                    7

        → preventing the introduction of COVID-19 into prisons and other places of detention;
        → preventing the transmission of COVID-19 in prisons and other places of detention;
        → preventing the spread of COVID-19 from prisons and other closed settings to the community.
     3. To outline an appropriate approach to dovetailing the prison health system and the national and local
        health and emergency planning system for:
        → preventive measures, including physical distancing and hand hygiene facilities;
        → disease surveillance;
        → identification and diagnosis, including contact tracing;
        → treatment and/or referral of COVID-19 cases requiring specialized and intensive care;
        → wider system impacts (including impact of other measures on workforce, e.g. need for home isolation,
           etc.).




5. TARGET AUDIENCE
This guidance is intended to assist health-care and custodial staff working in prisons and other places of
detention to coordinate public health action in such settings; it provides information on:
     • the novel COVID-19 virus;
     • how to help prevent spread of COVID-19;16
     • what to do if a person in prison/other place of detention or a staff member with suspected or confirmed
       COVID-19 infection is identified;
     • what advice to give to people in prison or in another place of detention and their family members, or to
       staff members, travelling from affected areas within the last 14 days.

The information given here will also be useful for prison authorities, public health authorities and policy-
makers, prison governors and managers, health-care professionals working in prison settings, detention
centre employees, people in detention, and the social contacts of people in detention.

The following large, institutional, residential establishments are included within the definition of places of
detention used in this guidance:
     • prisons (public and privately managed)
     • immigration detention settings
     • the children and young people’s detention estate.




16
     This applies to respiratory infections that are transmitted mainly via droplets. For aerosol-transmitted diseases such as tuberculosis, refer to: WHO guidelines on tuberculosis
     infection prevention and control. Geneva: World Health Organization; 2019 (https://www.who.int/tb/publications/2019/guidelines-tuberculosis-infection-prevention-2019/en).
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8
        6. GENERAL APPROACH
        Controlling the spread of infection in prisons and other places of detention is essential to preventing outbreaks
        of COVID-19 in such settings, protecting the health and well-being of all those who live and work in them
        and those who visit them, and protecting the outside community. Establishing such control is dependent
        on the coordinated efforts of health-care and custodial staff, working with local and national public health
        agencies and with justice and interior ministries and their local counterparts, in applying the general approach
        summarized below.
          1. Actions need to be taken to enable and support coordinated, collaborative efforts across organizations
             to achieve IPC, following national guidance. Such actions should be commensurate with the level of
             emergency at the time to avoid panic and to ensure implementation of the most appropriate response at
             the appropriate time.
          2. Joint planning
             → Custodial/detention staff should work together with health-care teams in prisons and other places of
                 detention, following existing national protocols and country arrangements, to enable identification of
                 suspected cases among employees and their subsequent management in accordance with national
                 guidelines.
             → Custodial/detention staff should work together with health-care teams in prisons and other places of
                 detention to enable identification of suspected cases among prisoners/detainees, their subsequent
                 isolation in single accommodation and a subsequent clinical assessment.
          3. Risk assessment/risk management
             → Screening at point of entry to prison should be available: health-care and public health teams
                 should undertake a risk assessment of all people entering the prison, irrespective of whether or not
                 there are suspected cases in the community; information should be collected on any history of cough
                 and/or shortness of breath, patients’ recent travel history and possible contact with confirmed cases
                 in the last 14 days.
             → Persons checked should include prisoners/detainees, visitors and prison staff.
             → Clear messaging is important so that staff with recent travel history or coming from affected areas
                 who develop COVID-19 symptoms can home-isolate and managers can provide a high level of
                 vigilance and support of their staff. Advice to visitors should also be provided well in advance
                 of their attending the prisons/other detention facilities so that those who have to travel are not
                 disadvantaged. Those who are symptomatic should be excluded from visiting.
             → For asymptomatic visitors with recent travel history or coming from affected areas, there should be
                 protocols in place to permit entry (e.g. for legal advisers), but additional measures, such as non-
                 contact visits, should be considered.
             → Decisions to limit or restrict visits need to consider the particular impact on the mental well-being of
                 prisoners and the increased levels of anxiety that separation from children and the outside world may
                 cause.
             → A detailed daily registry of people moving in and out of the prison should be maintained.
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        → Prison/detention management should consider implementing measures to limit the mobility of                                                                             9
           people within the prison/detention system and/or to limit access of non-essential staff and visitors to
           prisons and other places of detention, depending on the level of risk in the specific country/area. The
           psychological impact of these measures needs to be considered and mitigated as much as possible,
           and basic emotional and practical support for affected people in prison should be available.17
        → Prison/detention management should increase the level of information on COVID-19 proactively
           shared with people in detention. Restrictions, including a limitation of visitors, need to be carefully
           explained in advance and alternative measures to provide contact with family/friends, e.g. phone or
           Skype calls, should be introduced.
     4. Referral system and clinical management
        → In the context of the current COVID-19 outbreak, the containment strategy includes the rapid
           identification of laboratory-confirmed cases, and their isolation and management either on site or in
           a medical facility. For contacts of laboratory-confirmed cases, WHO recommends that such persons be
           quarantined for 14 days from the last time they were exposed to a COVID-19 patient.18
        → Health-care teams, using recommended personal protective equipment (PPE) including eye protection
           (face shield or goggles), gloves, mask and gown, should ensure that appropriate biological samples
           are taken, on advice from their public health agency, from any suspected cases and sent for analysis
           to local microbiology services as per local protocols, in a timely manner and in compliance with clinical
           and information governance procedures. PPE stocks should be maintained and kept secure to ensure
           their availability under the indicated circumstances.
        → Prison authorities should be informed and made aware of the hospitals to which they can transfer
           those requiring admission (respiratory support and/or intensive care units). Appropriate actions need
           to be taken for any confirmed cases, including transfer to specialist facilities for respiratory isolation
           and treatment, as required; appropriate escorts should be used and advice on safe transfers followed.
           However, consideration should be given to protocols that can manage the patient on site with clear
           criteria for transfer to hospital, as unnecessary transport creates risk for both transport staff and the
           receiving hospital.
        → Environmental and engineering controls intended to reduce the spread of pathogens and
           contamination of surfaces and inanimate objects should be in place; this should include provision
           of adequate space between people,19 adequate air exchange, and routine disinfection of the
           environment (preferably at least once daily).
        → Consideration should be given to measures such as distributing food in rooms/cells instead of
           a common canteen; or splitting out-of-cell time, which could be divided by wing/unit to avoid
           concentration of prisoners/staff even in open spaces. With these caveats, access of prisoners to the
           open air should be maintained and not fall below a minimum of one hour per day.
     5. Prison/detention management and health-care staff should work alongside local public health agencies
        to implement the IPC recommendations described in this document; at all times, they must balance
        public health risk against any operational pressures on prisons and other places of detention and the
        wider secure and detained estate.

17
   Psychological first aid: guide for field workers. Geneva: World Health Organization; 2011 (https://www.who.int/mental_health/publications/guide_field_workers/en).
18
   Considerations for quarantine of individuals in the context of coronavirus disease (COVID-19): interim guidance (29 February 2020). Geneva: World Health Organization; 2020
   (https://www.who.int/publications-detail/considerations-for-quarantine-of-individuals-in-the-context-of-containment-for-coronavirus-disease-(covid-19)).
19
   A minimum space of 1 metre is recommended.
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10
        7. COVID-19 VIRUS: PATHOGEN CHARACTERISTICS, SIGNS AND
        SYMPTOMS, TRANSMISSION
        7.1 Pathogen characteristics
        Coronaviruses are a large family of viruses found in both animals and humans. Some infect people and
        are known to cause illnesses ranging from the common cold to more severe diseases, such as severe acute
        respiratory syndrome (SARS) and Middle East respiratory syndrome (MERS). A novel coronavirus is a new
        strain of coronavirus that has not previously been identified in humans. The latest novel coronavirus, now
        called COVID-19 virus, had not been detected before the outbreak reported in Wuhan, China, in December
        2019. So far, the main clinical signs and symptoms reported in people during this outbreak include fever,
        coughing, difficulty in breathing, and chest radiographs showing bilateral lung infiltrates.

        Although the current outbreak of COVID-19 is still evolving, infection may present with mild, moderate or
        severe illness and can be passed from human to human, primarily (as in other respiratory viruses) by droplet
        spread. While about 80% of cases manifest as a mild illness (i.e. non-pneumonia or mild pneumonia),
        approximately 20% progress to a more severe illness, with 6% requiring specialist medical care, including
        mechanical ventilation. Situation reports on the outbreak, updated daily, are available on the WHO website.20

        Most estimates of the incubation period of COVID-19 range from 1 to 14 days, with a median of 5–6 days.21
        This means that if a person remains well 14 days after exposure (i.e. contact with an infected person), they
        may not have been infected. However, these estimates may be updated as more data become available.

        7.2 Signs and symptoms of COVID-19
        The most common symptoms of COVID-19 are fever, tiredness and dry cough. Some patients may have aches
        and pains, nasal congestion, runny nose, sore throat or diarrhoea. These symptoms are usually mild and begin
        gradually. Some people become infected but do not develop any symptoms and do not feel unwell. Most
        people (about 80%) recover from the disease without needing special treatment. Around one out of every five
        people who are infected with COVID-19 becomes seriously ill and develops difficulty breathing. Older people,
        and those with underlying medical problems such as high blood pressure, heart problems or diabetes, are
        more likely to develop serious illness. Based on the latest data, about 3–4% of reported cases globally have
        died, but mortality varies according to location, age and existence of underlying conditions.22 People with
        fever, cough and difficulty breathing should seek medical attention.23

        7.3 Transmission of COVID-19
        Respiratory secretions, formed as droplets and produced when an infected person coughs, sneezes or talks,
        contain the virus and are the main means of transmission.



        20
           Coronavirus disease (COVID-19) situation reports. Geneva: World Health Organization; 2020
           (https://www.who.int/emergencies/diseases/novel-coronavirus-2019/situation-reports).
        21
           Coronavirus disease 2019 (COVID-19): situation report 30. 19 February 2020. Geneva: World Health Organization; 2020
           (https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200219-sitrep-30-covid-19.pdf?sfvrsn=3346b04f_2).
        22
           WHO Director-General’s opening remarks at the media briefing on COVID-19. 3 March 2020. Geneva: World Health Organization; 2020
           (https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-media-briefing-on-covid-19---3-march-2020).
        23
           Q&A on coronaviruses (COVID-19). 23 February 2020. Geneva: World Health Organization; 2020 (https://www.who.int/news-room/q-a-detail/q-a-coronaviruses).
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                                                                                                                     11




There are two main routes by which people can spread COVID-19:
  • infection can be spread to people who are nearby (within 1 metre) by breathing in droplets coughed out
    or exhaled by a person with the COVID-19 virus; or
  • people may become infected by touching contaminated surfaces or objects (fomites) and then touching
    their eyes, nose or mouth (e.g. a person may touch a doorknob or shake hands and then touch their
    own face). This is why environmental disinfection is so important.

According to current evidence, transmission may start just before symptoms become visible. However, many
people infected with COVID-19 experience only mild symptoms. This is particularly true at the early stages of
the disease. It is therefore possible to catch COVID-19 from someone who has, for example, just a mild cough
and does not feel ill. WHO is assessing ongoing research on the period of transmission of COVID-19 and will
continue to share updated findings.

7.4 How long can the virus survive on surfaces?
How long any respiratory virus survives will depend on a number of factors, including:
  • the type of surface the virus is on
  • whether it is exposed to sunlight
  • differences in temperature and humidity
  • exposure to cleaning products.

Under most circumstances, the amount of infectious virus on any contaminated surface is likely to have
decreased significantly within 48 hours.

Once such viruses are transferred to hands, they survive for very short lengths of time. Regular cleaning of
hands and frequently touched hard surfaces with disinfectants will therefore help to reduce the risk of infection.
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12
        8. PREPAREDNESS, CONTINGENCY PLANNING AND LEVEL OF RISK
        To manage a COVID-19 outbreak, there need to be effective planning and robust collaborative arrangements
        between the sectors (health and justice or interior, as applicable) that have responsibility for the health and
        well-being of people in prisons and other places of detention. Such collaboration will be critical in ensuring a
        sustainable health-care delivery system within prisons and places of detention.

        Important steps in setting up such collaborative planning include the following:
             • Appropriate contingency plans,24 including checklists,25 should be established to help prison and
               detention systems to self-assess and improve their preparedness for responding to COVID-19.
             • Close collaboration/direct links with local and national public health authorities and other relevant
               agencies (e.g. local crisis units, civil protection) should be established; regular contact should be
               maintained throughout the planning period to share information, risk assessments and plans.
             • A comprehensive risk assessment should be undertaken at the beginning of the planning phase and
               reviewed regularly; it should have input from (or be led by) the public health authority and include an
               up-to-date evaluation of the epidemiological situation. It is crucial to identify the different levels of risk
               and what impact they may have on the prison system and other places of detention (e.g. imported cases
               in the country; local but circumscribed circulation in the country; local circulation, including in the area
               where the prison institution is located; circulation within the prison system).
             • Action plans in a given country/custodial institution should be developed to mitigate all risks identified in
               the assessment. Some actions will be the responsibility of the national public health authority to deliver;
               some will be the responsibility of the local health service provider; and prisons and other places of
               detention will be responsible for others. Each action plan should specify who is responsible for delivering
               a particular action, the timescale for delivery, and how and by whom delivery will be ensured. Action
               plans should include:26
               → integration with national emergency planning and response plans for infectious diseases;
               → command and control arrangements to facilitate rapid communication of information and efficient
                   situation analyses and decision-making;
               → disease surveillance and detection (for example, who will be screened for COVID-19 symptoms? Will
                   there be an initial screening for symptoms for all on entry (staff/visitors)? How will the disease be
                   diagnosed and confirmed? How will cases and contacts of confirmed cases be managed?);
               → case management (for example, how will suspected cases of COVID-19 within the detained
                   population be treated? Is there an appropriate place for rapid health assessment and isolation, in
                   the event of detecting a potential COVID-19 case? Can units to house suspected cases or contacts be
                   created? Is there a mechanism for safely transporting ill travellers to designated hospitals, including
                   identification of adequate ambulance services? What response will be available in the event of


        24
           Multi-agency contingency plan for the management of outbreaks of communicable diseases or other health protection incidents in prisons and other places of detention in
           England. Second edition. London: Public Health England; 2017 (https://assets.publishing.service.gov.uk/government/uploads/system/uploads/attachment_data/file/585671/
           multi_agency_prison_outbreak_plan.pdf).
        25
           Correctional facilities pandemic influenza planning checklist. Atlanta (GA): Centers for Disease Control and Prevention; 2007
           (https://www.cdc.gov/flu/pandemic-resources/pdf/correctionchecklist.pdf).
        26
           Adapted from: Key planning recommendations for mass gatherings in the context of the current COVID-19 outbreak: interim guidance (14 February 2020). Geneva: World Health
           Organization; 2020 (https://www.who.int/publications-detail/key-planning-recommendations-for-mass-gatherings-in-the-context-of-the-current-covid-19-outbreak).
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            a health-care emergency involving people in prisons and other places of detention? Are there                                                                   13
            standard operating procedures in place for environmental cleaning and disinfection, including for
            linens and utensils?);
          → staffing contingency planning with a special focus on (a) staff availability and business continuity,
            including local minimum service (e.g. essential medications, diabetic checks, wound dressings,
            etc.); and (b) health-care needs and provision – discuss the possibility/feasibility of providing care
            within prison versus the need to transfer patients to community health-care services for specialized/
            intensive care, as well as the expected impact on custodial staff contingency planning.

An essential element to be carefully considered in any preparedness plan for respiratory infectious diseases
such as COVID-19 is availability and supply of essential supplies, including PPE and products for hand
hygiene and environmental sanitation and disinfection. It is therefore recommended that prison governors,
in collaboration with health-care professionals in prisons and other places of detention, assess the need
for PPE and other essential supplies in order to ensure continuity of provision and immediate availability.
It should be noted that, in order to avoid inappropriate use and misuse of PPE,27 staff and people in prison
should be adequately trained (for further information on training, see section 9 below). In some countries,
the proportion of the population in detention that meets the criteria for influenza vaccination has been used
as a basic proxy measure of the potential demand on health-care services in the case of COVID-19 outbreak
in detention settings.

Given the possibility that some common disinfectants, such as those containing alcohol, may be misused,
soap and water, together with personal towels, should be considered as a first option for hand hygiene.
These should be supplied in rooms/cells night and day. Chlorine-based gels may be used by prison guards
and by people in prison or in other places of detention in common spaces and/or if soap and water are not
available. In the case of environmental disinfection, however, it is necessary to ensure that chlorine-based
products are kept locked up when not being used by service providers.



27
     Rational use of personal protective equipment for coronavirus disease 2019 (COVID-19): interim guidance (27 February 2020). Geneva: World Health Organization; 2020
     (https://apps.who.int/iris/bitstream/handle/10665/331215/WHO-2019-nCov-IPCPPE_use-2020.1-eng.pdf).
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14
        9. TRAINING
        Training of staff is a key element of any preparedness plan for prisons and other places of detention. Training
        activities should be appropriately planned and targeted towards custodial and health-care staff operating in
        prison settings. Such activities should, at a minimum, cover the following areas:
             • basic disease knowledge, including pathogen, transmission route, signs and clinical disease progression
             • hand hygiene practice and respiratory etiquette
             • appropriate use of, and requirements for, PPE
             • environmental prevention measures, including cleaning and disinfection.

        In response to the COVID-19 outbreak, WHO has developed several resources that may be useful in prisons
        and other places of detention.
             • Online training courses on IPC and clinical management of severe acute respiratory infection (SARI) are
               available, free of charge, from OpenWHO, WHO’s web-based knowledge platform. These basic courses
               give a general introduction to COVID-19 and emerging respiratory viruses; they are intended for public
               health professionals, incident managers and personnel working for the United Nations, international
               organizations and nongovernmental organizations.28
             • A risk communication package for health-care facilities provides health-care workers and health-care
               facility management with the information, procedures and tools required to work safely and effectively.
               The package contains a series of simplified messages and reminders based on WHO’s more in-depth
               technical guidance on IPC in health-care facilities in the context of COVID-19 and can be adapted to local
               context.29
             • In addition, there is a range of technical guidance covering many topics, such as case management,
               operational support and logistics advice on use of masks.30

        Finally, before embarking on any initiative, it is absolutely essential to engage the prison population in
        widespread information and awareness-raising activities, so that people in prison/detention and visitors are
        informed in advance and understand the procedures to be adopted, why they are necessary, and how they
        are to be carried out. It is especially important that any potential restrictive measures are explained and their
        temporary nature emphasized.

        Regrettably, as a consequence of stigma or fear, some health-care workers responding to COVID-19 in places
        of detention may experience avoidance by their family or community. This can make an already challenging
        situation far more difficult. Health-care personnel should be advised to stay connected with loved ones and
        have access to mental health and psychosocial support.




        28
           Emerging respiratory viruses, including COVID-19: methods for detection, prevention, response and control [OpenWHO online course]. Geneva: World Health Organization; 2020
           (https://openwho.org/courses/introduction-to-ncov).
        29
           The COVID-19 risk communication package for healthcare facilities. Manila: WHO Regional Office for the Western Pacific; 2020 (https://iris.wpro.who.int/handle/10665.1/14482).
        30
           Country and technical guidance: coronavirus disease (COVID-19) [resource portal]. Geneva: World Health Organization (https://www.who.int/emergencies/diseases/novel-
           coronavirus-2019/technical-guidance).
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10. RISK COMMUNICATION                                                                                                                                                       15



In an event such as the COVID-19 outbreak, it is crucial that there is good coordination between the teams at
national and subnational levels involved in risk communication. Close contacts must be established to ensure
rapid clearance of timely and transparent communication messaging and materials in such crisis situations.

Key messages for people in prison and other places of detention, custodial staff, health-care providers
and visitors must be coordinated and consistent. To address language barriers, translation or visual
material may been needed. Information resources for custodial and health-care staff, visitors, vendors and
detained persons, such as short information sheets, flyers, posters, internal videos and any other means of
communication, should be developed and placed in prison common areas and in areas designated for legal
visits and family visits.

Consideration should be given to how messages about risk can be delivered quickly; this should include:
     (1) an overall assessment of the local risk (community risk and risk within the prison);
     (2) advice on preventive measures, especially hand hygiene practices and respiratory etiquette;
     (3) advice on what measures to adopt if symptoms develop;
     (4) information about disease signs and symptoms, including warning signs of severe disease that require
         immediate medical attention;
     (5) advice on self-monitoring for symptoms and signs for those travelling from or living in affected areas,
         including checking their temperature;
     (6) advice about how to access local health care if necessary, including how to do so without creating a risk
         to health-care workers;
     (7) information that wearing a face mask is recommended for people who have respiratory symptoms (e.g.
         a cough); it is not recommended for healthy people.31

WHO’s advice for the public about COVID-19, including information about the myths that surround it, may also
be consulted.32,33




31
   Advice on the use of masks in the community, during home care and in healthcare settings in the context of the novel coronavirus (2019-nCoV) outbreak. 29 January 2020.
   Geneva: World Health Organization; 2020 (https://www.who.int/publications-detail/advice-on-the-use-of-masks-in-the-community-during-home-care-and-in-healthcare-
   settings-in-the-context-of-the-novel-coronavirus-(2019-ncov)-outbreak).
32
   Coronavirus disease (COVID-19) advice for the public [website/portal]. Geneva: World Health Organization; 2019 (https://www.who.int/emergencies/diseases/novel-
   coronavirus-2019/advice-for-public).
33
   Coronavirus disease (COVID-19) advice for the public: myth busters [website]. Geneva: World Health Organization; 2019 (https://www.who.int/emergencies/diseases/novel-
   coronavirus-2019/advice-for-public/myth-busters).
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        11. IMPORTANT DEFINITIONS: SUSPECT CASE, PROBABLE CASE,
        CONFIRMED CASE, CONTACT, CASE REPORTING
        WHO guidance for global surveillance of COVID-19 disease should be consulted for updated definitions. The
        WHO case definitions given below are based on information available as of 27 February 2020 and are being
        revised as new information accumulates.34 Countries may need to adapt these case definitions depending on
        their own epidemiological situation.


        34
             Global surveillance for human infection with coronavirus disease (COVID-19): interim guidance (27 February 2020). Geneva: World Health Organization; 2020
             (https://www.who.int/publications-detail/global-surveillance-for-human-infection-with-novel-coronavirus-(2019-ncov)).
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11.1 Definition of a suspect case                                                                                                                                       17

A suspect case is:
     (A) a patient with acute respiratory illness (fever and at least one sign/symptom of respiratory disease, e.g.
         cough, shortness of breath) AND no other aetiology that fully explains the clinical presentation AND a
         history of travel to or residence in a country/area or territory reporting local transmission of COVID-19
         during the 14 days prior to onset of symptoms;35 OR
     (B) a patient with any acute respiratory illness AND who has been in contact with a probable or confirmed
         COVID-19 case (see 11.2 and 11.3 below) in the last 14 days prior to onset of symptoms; OR
     (C) a patient with severe acute respiratory infection (fever and at least one sign/symptom of respiratory
         disease, e.g. cough, shortness of breath) AND who requires hospitalization AND who has no other
         aetiology that fully explains the clinical presentation.

If it is determined that there is a suspect case of COVID-19, the local prison outbreak management plan
should be activated. The suspect case should be immediately instructed to wear a medical mask and follow
respiratory etiquette and hand hygiene practices. IPC measures, such as medical isolation, should be applied.

In this regard, it is recommended that, within each prison and other place of detention, according to the
indications of health-care staff on duty and relevant national/international guidelines, a space is identified
where suspect cases or confirmed cases not requiring hospitalization can be placed in medical isolation.34,36
The creation of housing units may also be considered, as not everyone who is a suspect case, a probable
case or a contact requires hospitalization.

11.2 Definition of a probable case
A probable case is a suspect case for whom testing for COVID-19 is inconclusive (that is, if the result of the test
reported by the laboratory is inconclusive).

11.3 Definition of a confirmed case
A confirmed case is a patient with laboratory confirmation of COVID-19 infection, irrespective of clinical signs
and symptoms. Laboratory confirmation needs to be made according to an appropriate method.37

11.4 Definition of a contact
A contact is a person who is involved in any of the following:
     • providing direct care without proper PPE for a COVID-19 patient;
     • staying in the same closed environment (e.g. a detention room) as a COVID-19 patient;
     • travelling together in close proximity (within 1 metre) with a COVID-19 patient in any kind of conveyance
       within a 14‐day period after the onset of symptoms in the case under consideration.


35
   For update on latest situation refer to: Coronavirus disease (COVID-19) situation reports. Geneva: World Health Organization; 2020
   (https://www.who.int/emergencies/diseases/novel-coronavirus-2019/situation-reports).
36
   Infection prevention and control during health care when novel coronavirus (nCoV) infection is suspected: interim guidance (25 January 2020). Geneva: World Health
   Organization; 2020 (https://www.who.int/publications-detail/infection-prevention-and-control-during-health-care-when-novel-coronavirus-(ncov)-infection-is-
   suspected-20200125).
37
   Laboratory testing for coronavirus disease 2019 (COVID-19) in suspected human cases: interim guidance (2 March 2020). Geneva: World Health Organization; 2020
   (https://www.who.int/publications-detail/laboratory-testing-for-2019-novel-coronavirus-in-suspected-human-cases-20200117).
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18      Monitoring of contacts of suspect, probable and confirmed cases
             • Contacts should be monitored for 14 days from the last unprotected contact.
             • External contacts should self-limit travel and movements. In prison settings, monitoring should be done
               by prison health-care or custodial staff with regular visits to see if symptoms have developed (this is
               important as people in prison may have a disincentive to admit to developing symptoms as they could
               be put in isolation).
             • Any contact who becomes ill and meets the case definition becomes a suspect case and should be
               tested.
             • Any newly identified probable or confirmed cases should have their own contacts identified and
               monitored.

        Contact tracing should begin immediately after a suspect case has been identified in a prison or detention
        facility, without waiting for the laboratory result, in order to avoid delays in implementing health measures
        when necessary. This should be conducted by prison health-care or custodial staff under the supervision of
        the competent national health authority and according to national preparedness plans. Every effort should be
        made to minimize exposure of the suspect case to other people and the environment and to separate contacts
        from others as soon as possible.38 Contacts outside the prison (visitors, etc.) should be followed up by the
        health authorities.

        11.5 Case reporting
        COVID-19 has been added to the list of notifiable diseases that doctors have a duty to report to public health
        authorities. COVID-19 is a high-consequence infectious disease (HCID) with outbreak potential in prisons
        and other detention settings; possible cases in such settings should therefore be notified straightaway to
        responsible public health authorities, who will then report to national and international authorities.



        38
             Operational considerations for managing COVID-19 cases/outbreak on board ships: interim guidance (24 February 2020). Geneva: World Health Organization; 2020
             (https://apps.who.int/iris/handle/10665/331164).
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12. PREVENTION MEASURES                                                                                            19



There is currently no vaccine to prevent COVID-19. All staff and people in prisons and other places of detention
should have comprehensive awareness of COVID-19 prevention strategies, including adherence to hand
hygiene measures, respiratory etiquette (covering coughs and sneezes), physical distancing (maintaining
a distance of at least 1 metre from others), being alert to signs and symptoms of COVID-19, staying away
from ill people, and (in the case of staff) staying home when ill. Staff should also comply with any screening
measures put in place by local authorities.

In alignment with local health authorities, a workplace protocol should be developed to determine how to
manage any personnel who meet the definition of a suspected or confirmed COVID-19 case or their contacts.

12.1 Personal protection measures
It is recommended that the following general precautions for infectious respiratory diseases are taken to help
prevent people (staff, visitors, vendors, detainees, etc. in prisons) from catching and spreading COVID-19:
 • hands should be washed often with soap and water and dried with single-use towels; alcohol hand
   sanitizer containing at least 60% alcohol is also an option if available (for further guidance on hand
   hygiene, see section 13.1 below);
 • physical distancing should be observed;
 • a disposable tissue should be used to cover mouth and nose when coughing or sneezing, then thrown in
   a bin with a lid;
 • touching of eyes, nose or mouth should be avoided if hands are not clean.

If possible, wall-mounted liquid soap dispensers, paper towels and foot-operated pedal bins should be made
available and accessible in key areas such as toilets, showers, gyms, canteens and other high-traffic communal
areas to facilitate regular hand hygiene. Security staff should assess whether such fixtures pose a security and
safety risk to people in prisons and places of detention prior to their installation.

12.2 Use of masks
It is important to create a general understanding of what measures should be taken by, and on behalf of,
each person in prison when infection by COVID-19 is suspected. It is very important to train people in prison
as soon as possible to understand general hygiene and ways of transmission and to make it clear that, if
masks are to be used, this measure must be combined with hand hygiene and other IPC measures to prevent
human-to-human transmission of COVID-19.

Patient use of a medical mask is one of the prevention measures that can be taken to limit spread of certain
respiratory diseases, including COVID-19, in affected areas. However, use of a mask alone is insufficient to
provide an adequate level of protection and other equally relevant measures should also be adopted.

WHO has developed guidance for home-care and health-care settings on IPC strategies for use when infection
with COVID-19 is suspected.36 WHO has also issued guidance on the use of masks in the community, during
home care and in health-care settings in the context of the COVID-19 outbreak.31
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20      Wearing medical masks when not indicated may incur unnecessary cost, cause procurement burden and
        create a false sense of security that can lead to neglecting other essential measures such as hand hygiene
        practices. Furthermore, using a mask incorrectly may hamper its effectiveness in reducing the risk of
        transmission.27

        Management of masks
        If medical masks are worn, appropriate use and disposal are essential to ensure that they are effective and to
        avoid any increase in risk of transmission associated with incorrect use and disposal. The following advice on
        correct use of medical masks is based on standard practice in health-care settings:31
          • place mask carefully to cover mouth and nose and tie securely to minimize any gaps between face and
            mask;
          • while in use, avoid touching the mask;
          • remove the mask by using an appropriate technique (i.e. do not touch the front but remove by the
            headband from behind);
          • after removal or whenever you inadvertently touch a used mask, clean hands by using an alcohol-based
            hand rub (if available) or soap and water;
          • replace masks with a new clean, dry mask as soon as they become damp/humid;
          • do not reuse single-use masks;
          • discard single-use masks after each use and dispose of them immediately upon removal (consider a
            central place in the ward/cell block where used masks can be discarded).

        Cloth (e.g. cotton or gauze) masks are not recommended under any circumstances.

        12.3 Environmental measures
        Environmental cleaning and disinfection procedures must be followed consistently and correctly. Cleaning with
        water and household detergents and with disinfectant products that are safe for use in prison settings should
        be used for general precautionary cleaning.

        Cleaning personnel should be made aware of the facts of COVID-19 infection to ensure that they clean
        environmental surfaces regularly and thoroughly. They should be protected from COVID-19 infection and wear
        disposable gloves when cleaning or handling surfaces, clothing or linen soiled with body fluids, and should
        perform hand hygiene before and after removing gloves.

        As the COVID-19 virus has the potential to survive in the environment for several days, premises and areas
        that may have been contaminated should be cleaned and disinfected before they are reused, with regular
        household detergent followed by disinfectant containing a diluted bleach solution (e.g. one part liquid bleach,
        at an original concentration of 5.25%, to 49 parts water for a final concentration of about 1000 ppm or 0.1%).
        For surfaces that do not tolerate bleach, 70% ethanol can be used. If bleach or ethanol cannot be used in
        the prison for security reasons, ensure that the disinfectant used for cleaning is able to inactivate enveloped
        viruses. Prison authorities may have to consult disinfectant manufacturers to ensure that their products are
        active against coronaviruses.
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To ensure adequate disinfection, janitorial and housekeeping personnel should take care to first clean surfaces                                                                      21
with a mix of soap and water, or a detergent. Then they should apply the disinfectant for the required contact
time, as per the manufacturer’s recommendations. The disinfectant may be rinsed off with clean water after
the contact time has elapsed.

Clothes, bedclothes, bath and hand towels, etc. can be cleaned using regular laundry soap and water or
machine-washed at 60–90 °C with common laundry detergent. Waste should be treated as infectious clinical
waste and handled according to local regulation. Guidance on environmental cleaning in the context of the
COVID-19 outbreak is available from the European Centre for Disease Prevention and Control (ECDC);39 see
also Annex 1 below.

12.4 Physical distancing measures
All staff should be alert to the enhanced risk of COVID-19 infection in people in prisons and other places of
detention who have a history of potential exposure, having travelled to, transited through or lived in high-risk
areas in the last 14 days.

Any detainee who has (a) travelled from or lived in an identified high-risk area,40 or (b) had contact with a
known case of COVID-19, should be placed in quarantine, in single accommodation, for 14 days from the date
of travel or last possible day of contact.18 If it is not possible to house the detainee in medical isolation, then
detainees with similar risk factors and exposures may be housed together while they undergo quarantine. The
patient should wear a medical face mask while being transferred to an isolation room. During isolation, the
isolated person should be under medical observation at least twice a day, including taking body temperature
and checking for symptoms of COVID-19 infection.

An assessment of any language or communication issues should be made and access to a language
interpretation/translation service must be provided as soon as a possible case enters the facility so that an
accurate history can be taken.

12.5 Consideration of access restriction and movement limitation
An assessment of each case and setting should be undertaken by prison staff in conjunction with the local
public health agency. Advice on the management of staff or people in prison or places of detention will be
based on this assessment.

A temporary suspension of on-site prison visits will need to be carefully considered in line with local risk
assessments and in collaboration with public health colleagues, and should include measures to mitigate the
negative impact such a measure is likely to have on the prison population. The specific and disproportionate
impact on different types of prisoners, as well as on children living with their parent in prison, must be
considered. Measures to restrict movement of people in and out of the detention setting, including restricting
transfers within the prison/detention system and limiting access to non-essential staff and visitors, need to be

39
   Interim guidance for environmental cleaning in non-healthcare facilities exposed to SARS-CoV-2. ECDC technical report. 18 February 2020. Stockholm: European Centre for Disease
   Prevention and Control; 2020 (https://www.ecdc.europa.eu/sites/default/files/documents/coronavirus-SARS-CoV-2-guidance-environmental-cleaning-non-healthcare-facilities.pdf).
40
   Situation updates are available at: Coronavirus disease (COVID-19) situation reports. Geneva: World Health Organization; 2020
   (https://www.who.int/emergencies/diseases/novel-coronavirus-2019/situation-reports).
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22      considered carefully in line with appropriate risk assessments, as such restrictions will have a wider impact on
        the functioning of the detention system. Measures that may be considered include, as appropriate, restriction
        of family visits, reducing visitor numbers and/or duration and frequency of visits, and introduction of video
        conferencing (e.g. Skype) for family members and representatives of the judicial system, such as legal advisers.

        In particular:
          • screening may be considered at entrance with self-reporting questionnaire to exclude those with
            symptoms;
          • visitors who feel unwell should stay at home and not attend the establishment;
          • staff must stay at home and seek medical attention should they develop any relevant signs and
            symptoms.

        A workplace protocol for how to manage such situations, including a suspected or confirmed COVID-19 case or
        their contacts, should be in place.

        12.6 Staff returning to work following travel to affected areas or with a history of
        potential exposure
        Custodial/detention staff working in places of detention should consult occupational health services in
        their respective organization if they have travelled or live in a high-risk community/area where COVID-19 is
        spreading; they should also keep up to date on the latest information on the COVID-19 outbreak, available on
        the WHO website 40 and through the national and local public health authority, to familiarize themselves with
        any possible restrictions/quarantine periods in place.

        Prisons should review their continuity and contingency plans and update them to ensure that they can
        perform critical functions with reduced numbers of personnel, in a manner that does not have a negative
        impact on the security of the prison.

        12.7 What to do if a member of staff becomes unwell and believes they have been
        exposed to COVID-19
        If a member of staff becomes unwell in the prison and has travelled to an affected area or lives in an area
        where COVID-19 is spreading, they should be removed to a location which is at least 1 metre away from other
        people. If possible, a room or place where they can be isolated behind a closed door, such as a staff office,
        should be made available. If it is possible to open a window for ventilation, do so.
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Prison health-care professionals (or the individual who is unwell) should call health services or emergency           23
services (if they are seriously ill or their life is at risk) and explain their current clinical symptoms and their
epidemiological and travel history (this may not be necessary if the prison is located in affected area). If the
person affected is not able for any reason to call a doctor themselves, then another staff member should call
on their behalf.

While the unwell individual waits for advice or an ambulance to arrive, they should remain at least 1 metre
from other people, and if possible be isolated behind a closed door. They should avoid touching people,
surfaces and objects, and they should be provided with a medical mask. If a medical mask is not available,
they should be advised to cover their mouth and nose with a disposable tissue when they cough or sneeze,
then put the tissue in a bag and throw it in a bin. If they do not have any tissues available, they should cough
and sneeze into the crook of their elbow.

If the unwell individual needs to go to the bathroom while waiting for medical assistance, they should use
a separate bathroom, if available. This will apply only to the period of time while they wait for transport to
hospital. Given the possible risk of environmental contamination, it is important to ensure that the bathroom is
properly cleaned and disinfected after the suspected case has used it; the area where they were sitting should
also be cleaned and disinfected.
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24
24




        13. ASSESSING SUSPECTED CASES OF
        COVID-19 IN PEOPLE IN PRISON/DETENTION
        Case identification should be performed in accordance with available national/supranational guidance for
        primary care and community settings.

        Suspected cases among people in prison may be identified by notifications received from custodial/detention
        staff, other prisoners/detainees, self-referral, and screening at reception, or by other means. For case
        definitions, see section 11 above.

        Depending on the local level of risk, additional procedures to assess new arrivals in prison may be needed.
        Measures to consider are:
          • creating a dedicated screening area at the facility entrance
          • establishing a procedure for immediate isolation of suspected cases.

        13.1 Advice on use of PPE and other standard precautions for health-care staff and
        custodial staff with patient-facing roles
        Health-care professionals in prisons and other detention settings are most likely to work directly with patients
        with a possible diagnosis of COVID-19, but custodial staff and transport services may also be engaged,
        especially at initial presentation. This means that all staff (custodial and health-care workers) should be
        educated about standard precautions such as personal hygiene, basic IPC measures and how to deal with a
        person suspected of having COVID-19 as safely as possible to prevent the infection from spreading.

        IPC management includes wearing the appropriate level of PPE according to risk assessment, and ensuring
        safe waste management, proper linens, environmental cleaning, and sterilization of patient-care equipment.

        PPE for custodial staff
        For activities that involve close contact with a suspected or confirmed case of COVID-19, such as interviewing
        people at a distance of less than 1 metre, or arrest and restraint, it is advised that the minimum level of PPE
        that custodial/escort staff should wear is:
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     • disposable gloves                                                                                                                                             25
     • medical mask
     • if available, a disposable full gown and disposable eye protection (e.g. face shield or goggles).

PPE for health-care staff
It is advised that the minimum level of PPE for health-care staff required when dealing with a suspected or
confirmed COVID-19 case is:
     • medical mask
     • full gown
     • gloves
     • eye protection (e.g. single-use goggles or face shield)
     • clinical waste bags
     • hand hygiene supplies
     • general-purpose detergent and disinfectant solutions that are virucidal and have been approved for use
       by the prison authorities.

Health-care staff should use respirators only for aerosol-generating procedures; for further details on use of
respirators, see section 14 below and WHO guidance on PPE use.27

For all staff, PPE must be changed after each interaction with a suspected or confirmed case.

Removal of PPE
PPE should be removed in an order that minimizes the potential for cross-contamination. Before leaving the
room where the patient is held, gloves, gown/apron, eye protection and mask should be removed (in that
order, where worn) and disposed of as clinical waste. After leaving the area, the face mask can be removed
and disposed of as clinical waste in a suitable receptacle.

The correct procedure for removing PPE is as follows:
     (1) peel off gloves and dispose of as clinical waste
     (2) perform hand hygiene, by handwashing or using alcohol gel
     (3) remove apron/gown by folding in on itself and place in clinical waste bin
     (4) remove goggles/face shield only by the headband or sides and dispose of as clinical waste
     (5) remove medical mask from behind and dispose of as clinical waste
     (6) perform hand hygiene.

Further WHO guidance, with illustrations, on putting on and taking off PPE is available online.41,42

All used PPE must be disposed of as clinical waste.

41
   How to put on and take off personal protective equipment (PPE) [information sheet]. Geneva: World Health Organization; 2008
   (https://www.who.int/csr/resources/publications/PPE_EN_A1sl.pdf).
42
   Steps to put on personal protective equipment (PPE) [poster]. Geneva: World Health Organization (https://www.who.int/csr/disease/ebola/put_on_ppequipment.pdf).
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26      Hand hygiene
        Scrupulous hand hygiene is essential to reduce cross-contamination. It should be noted that:
             • hand hygiene involves cleansing hands either with an alcohol-based hand rub or with soap and water;
             • alcohol-based hand rubs are preferred if hands are not visibly soiled;
             • if an alcohol-based hand rub is used, it should be at least 60% alcohol;
             • always wash hands with soap and water when they are visibly soiled.

        All staff should apply the “My five moments for hand hygiene” approach to cleaning their hands:
             (1) before touching a patient
             (2) before any clean or aseptic procedure is performed
             (3) after exposure to body fluid
             (4) after touching a patient
             (5) after touching a patient’s surroundings.

        More information on how to wash hands properly, in the form of a poster that can be adapted to the prison
        facility, is available on the WHO website.43

        13.2 Advice for policing, border force and immigration enforcement activities
        For police, border force and immigration enforcement officers, there may be situations where an individual
        who needs to be arrested or is in custody is identified as potentially at risk of COVID-19.44

        If assistance is needed for an individual who is symptomatic and identified as a possible COVID-19 case, the
        person should, wherever possible, be placed in a location away from others. If there is no physically separate
        room, people who are not involved in providing assistance should be asked to stay away from the individual.
        If barriers or screens are available, they may also be used.

        Appropriate IPC measures should be implemented. In activities that involve close contact with a symptomatic
        person who is suspected of having COVID-19 (such as interviewing at a distance of less than 1 metre, or arrest
        and restraint), staff should wear:
             • disposable gloves
             • medical mask
             • long-sleeved gown
             • eye protection (e.g. face shield or goggles).




        43
             How to handwash? [poster]. Geneva: World Health Organization; 2009 (https://www.who.int/gpsc/5may/How_To_HandWash_Poster.pdf).
        44
             For further information, see: Guidance for first responders and others in close contact with symptomatic people with potential COVID-19. London: Public Health England; 2020
             (https://www.gov.uk/government/publications/novel-coronavirus-2019-ncov-interim-guidance-for-first-responders/interim-guidance-for-first-responders-and-others-in-close-
             contact-with-symptomatic-people-with-potential-2019-ncov).
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14. CASE MANAGEMENT
Case management should be performed in accordance with available national/supranational guidance for
primary care and community settings.

14.1 Clinical management of severe acute respiratory infection (SARI) when
COVID-19 is suspected
WHO has issued guidance intended for clinicians involved in the clinical management and care of adult,
pregnant and paediatric patients with or at risk of SARI when infection with the COVID-19 virus is suspected.45
It is not meant to replace clinical judgement or specialist consultation but rather to strengthen clinical
management of these patients and to provide up-to-date guidance. Best practices for IPC, triage and
optimized supportive care are included.

The WHO guidance is organized in the following sections:
     1. Background
     2. Screening and triage: early recognition of patients with SARI associated with COVID-19
     3. Immediate implementation of appropriate IPC measures
     4. Collection of specimens for laboratory diagnosis
     5. Management of mild COVID-19: symptomatic treatment and monitoring
     6. Management of severe COVID-19: oxygen therapy and monitoring
     7. Management of severe COVID-19: treatment of coinfections
     8. Management of critical COVID-19: acute respiratory distress syndrome (ARDS)
     9. Management of critical illness and COVID-19: prevention of complications
     10. Management of critical illness and COVID-19: septic shock
     11. Adjunctive therapies for COVID-19: corticosteroids
     12. Caring for pregnant women with COVID-19
     13. Caring for infants and mothers with COVID-19: IPC and breastfeeding
     14. Care for older persons with COVID-19
     15. Clinical research and specific anti-COVID-19 treatments.


45
     Clinical management of severe acute respiratory infection (SARI) when COVID-19 disease is suspected: interim guidance (13 March 2020). Geneva: World Health Organization;
     2020 (https://www.who.int/publications-detail/clinical-management-of-severe-acute-respiratory-infection-when-novel-coronavirus-(ncov)-infection-is-suspected).
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28       14.2 Additional precautions
         Patients should be placed in adequately ventilated space. If more suspected cases are detected and if
         individual spaces are not available, patients suspected of being infected with COVID-19 should be grouped
         together. However, all patients’ beds should be placed at least 1 metre apart whether or not they are
         suspected of having COVID-19 infection.

         A team of health-care workers and custodial/detention staff should be designated to care exclusively for
         suspected or confirmed cases to reduce the risk of transmission.

         14.3 How to undertake environmental cleaning following a suspected case in a
         place of detention
         Once a suspected case of COVID-19 has been transferred out of the prison or other place of detention to
         a hospital facility, the room where the patient was placed and the room where the patient was residing
         should not be used until appropriately decontaminated; the doors should remain shut, with windows open
         and any air conditioning switched off, until the rooms have been cleaned with detergent and disinfectant
         that is virucidal and approved for use in the prison setting. Detailed information on cleaning and disinfection
         is provided on the WHO website 46 and in Annex 1.

         Once the cleaning process has been completed, the room can be put back in use immediately. Medical
         devices and equipment, laundry, food service utensils and medical waste should be managed in accordance
         with the medical waste policy at the facility.

         A disease commodity package for COVID-19 outlines the supplies needed for surveillance, laboratory
         analysis, clinical management and IPC.47


         14.4 Discharge of people from prisons and other places of detention
         If a person who has served their sentence is an active COVID-19 case at the time of their release, or is the
         contact of a COVID-19 case and still within their 14-day quarantine period, the prison health authorities
         should ensure that the person discharged has a place to go where they can maintain quarantine, that the
         local authority is notified that the person has been discharged, and thus that follow-up is transferred from
         the prison authorities to the local authorities.

         If a discharged individual is transferred to a hospital or other medical facility after their prison term is over,
         but they are still under quarantine/medical care for their COVID-19 infection, the receiving facility should
         be notified of the person’s COVID-19 status (confirmed or suspected) so that it is ready to provide proper
         isolation.




         46
            Home care for patients with suspected novel coronavirus (nCoV) infection presenting with mild symptoms and management of contacts: interim guidance (4 February 2020).
            Geneva: World Health Organization; 2020 (https://www.who.int/publications-detail/home-care-for-patients-with-suspected-novel-coronavirus-(ncov)-infection-presenting-
            with-mild-symptoms-and-management-of-contacts).
         47
            Disease commodity package: novel coronavirus (COVID-19). Geneva: World Health Organization; 2020
            (https://www.who.int/emergencies/what-we-do/prevention-readiness/disease-commodity-packages/dcp-ncov.pdf).
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15. INFORMATION RESOURCES                                                                                   29



WHO general guidance on COVID-19
COVID-19 information portal: https://www.who.int/emergencies/diseases/novel-coronavirus-2019
Daily situation updates on the COVID-19 outbreak
https://www.who.int/emergencies/diseases/novel-coronavirus-2019/situation-reports

Mental health and social issues
Coping with stress during the COVID-19 outbreak
https://www.who.int/docs/default-source/coronaviruse/coping-with-stress.pdf?sfvrsn=9845bc3a_2
Helping children cope with stress during the COVID-19 outbreak
https://www.who.int/docs/default-source/coronaviruse/helping-children-cope-with-stress-print.
pdf?sfvrsn=f3a063ff_2
Mental health considerations for different groups (including health workers) during the COVID-19 outbreak
https://www.who.int/docs/default-source/coronaviruse/mental-health-considerations.pdf?sfvrsn=6d3578af_10
Addressing social stigma associated with COVID-19
https://www.epi-win.com/sites/epiwin/files/content/attachments/2020-02-24/COVID19%20Stigma%20
Guide%2024022020_1.pdf
IASC briefing note on mental health and psychosocial support (MHPSS) aspects of COVID-19
https://interagencystandingcommittee.org/iasc-reference-group-mental-health-and-psychosocial-support-
emergency-settings/briefing-note-about

European Centre for Disease Prevention and Control
COVID-19 information portal: https://www.ecdc.europa.eu/en/novel-coronavirus-china

United Nations Office on Drugs and Crime
Assessing compliance with the Nelson Mandela Rules: a checklist for internal inspection mechanisms (2017)
https://www.unodc.org/documents/justice-and-prison-reform/17-04946_E_ebook_rev.pdf
Handbook on strategies to reduce overcrowding in prisons (2013)
https://www.unodc.org/documents/justice-and-prison-reform/Overcrowding_in_prisons_Ebook.pdf
Policy brief on HIV prevention, treatment and care in prisons and other closed settings (2013)
https://www.unodc.org/documents/hiv-aids/HIV_comprehensive_package_prison_2013_eBook.pdf
Handbook on prisoners with special needs (2009)
https://www.unodc.org/pdf/criminal_justice/Handbook_on_Prisoners_with_Special_Needs.pdf

Public Health England
Public Health England (PHE) – Public health in prisons and secure settings (collection of resources)
https://www.gov.uk/government/collections/public-health-in-prisons
COVID-19: prisons and other prescribed places of detention
https://www.gov.uk/government/publications/covid-19-prisons-and-other-prescribed-places-of-detention-
guidance
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PREPAREDNESS, PREVENTION AND CONTROL OF COVID-19
IN PRISONS AND OTHER PLACES OF DETENTION




30      Robert Koch Institute
        Information portal (in German)
        https://www.rki.de/DE/Home/homepage_node.html

        National Commission on Correctional Health Care
        What you need to know about COVID-19
        https://www.ncchc.org/blog/covid-19-coronavirus-what-you-need-to-know-in-corrections

        Penal Reform International
        Briefing note on COVID-19, health care, and the human rights of people in prison
        https://www.penalreform.org/resource/coronavirus-healthcare-and-human-rights-of-people-in
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ANNEX 1                                                                                                                                           31


ENVIRONMENTAL CLEANING FOLLOWING A SUSPECTED CASE OF
COVID-19 IN A PLACE OF DETENTION*
Infection prevention and control (IPC) measures are essential to reduce the risk of transmission of
infection in prisons and other places of detention. Environmental cleaning of health-care rooms, or cells,
where a suspected case has been managed is an essential intervention to control infection as well as
to enable facilities to be put back into use quickly. Once a possible case has been transferred from the
prison or detention setting, the room where the patient was placed should not be used, the room door
should remain shut, with windows opened and the air conditioning switched off (if relevant), until it has
been cleaned with detergent and disinfectant. Once this process has been completed, the room can be
put back in use immediately.

Preparation
The responsible person undertaking the cleaning with detergent and disinfectant should be familiar with
these processes and procedures:
   • collect all cleaning equipment and clinical waste bags before entering the room
   • dispose of any cloths and mop heads as single-use items
   • perform hand hygiene, then put on a disposable plastic apron and gloves.

On entering the room
   • keep the door closed with windows open to improve airflow and ventilation while using detergent and
     disinfection products
   • bag all items that have been used for the care of the patient as clinical waste – for example, contents of
     the waste bin and any consumables that cannot be cleaned with detergent and disinfectant
   • remove any fabric curtains or screens or bed linen and bag as infectious linen
   • close any sharps containers, wiping the surfaces with either a combined detergent/disinfectant solution
     with a virucidal label claim, or a neutral-purpose detergent followed by disinfection with a virucidal
     product that has been approved for use in the facility.

Cleaning process
Use disposable cloths/paper roll/disposable mop heads to clean and disinfect all hard surfaces/floor/chairs/
door handles/reusable non-invasive care equipment/sanitary fittings in the room, following one of the two
options below:
   • either use a combined detergent/disinfectant solution with a virucidal label claim
   • or use a neutral-purpose detergent, followed by a virucidal disinfectant approved by the prison authority.

Follow manufacturer’s instructions for dilution, application and contact times for all detergents and
disinfectants. Any cloths and mop heads used must be disposed of as single-use items.

* COVID-19: interim guidance for primary care (updated 25 February 2020). London: Public Health England; 2020
   (https://www.gov.uk/government/publications/wn-cov-guidance-for-primary-care/wn-cov-interim-guidance-for-primary-care).
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PREPAREDNESS, PREVENTION AND CONTROL OF COVID-19
IN PRISONS AND OTHER PLACES OF DETENTION




32      Cleaning and disinfection of reusable equipment
          • clean and disinfect any reusable non-invasive care equipment, such as blood pressure monitors, digital
            thermometers and glucometers, that are in the room prior to their removal
          • clean all reusable equipment systematically from the top or furthest away point.

        Carpeted flooring and soft furnishings
        If carpeted floors/items cannot withstand chlorine-releasing agents, consult the manufacturer’s instructions
        for a suitable alternative to use, following or combined with detergent cleaning.

        On leaving the room
          • discard detergent/disinfectant solutions safely at disposal point
          • all waste from suspected contaminated areas should be removed from the room and discarded as
            medical waste as per the facility guideline for medical waste
          • clean, dry and store reusable parts of cleaning equipment, such as mop handles
          • remove and discard personal protective equipment (PPE) as medical waste
          • perform hand hygiene.

        Cleaning of communal areas
        If a suspected case spent time in a communal area, then these areas should be cleaned with detergent and
        disinfectant (as above) as soon as practicably possible, unless there has been a blood/body fluid spill, which
        should be dealt with immediately. Once cleaning and disinfection have been completed, the area can be put
        back in use.

        Decontamination of vehicles following a transfer of a possible case
        Any vehicle used to transport a possible case should be cleaned and disinfected (using the methods outlined
        above for environmental cleaning following a possible case) as soon as possible before it is brought back into
        service.
                                                                             Case 2:90-cv-00520-KJM-SCR           Document 6529-2   Filed 03/25/20   Page 42 of 249
The WHO Regional
Office for Europe

The World Health Organization (WHO) is a specialized
agency of the United Nations created in 1948 with the
primary responsibility for international health matters
and public health. The WHO Regional Office for
Europe is one of six regional offices throughout the
world, each with its own programme geared to the
particular health conditions of the countries it serves.
Member States
Albania
Andorra
Armenia
Austria
Azerbaijan
Belarus
Belgium
Bosnia and Herzegovina
Bulgaria
Croatia
Cyprus
Czechia
Denmark
Estonia
Finland
France
Georgia
Germany
Greece
Hungary
Iceland
Ireland
Israel
Italy
Kazakhstan
Kyrgyzstan
Latvia
Lithuania
Luxembourg
Malta
Monaco
Montenegro
Netherlands
North Macedonia
Norway
Poland
Portugal
Republic of Moldova
Romania
Russian Federation
                                                                                                                                                                      Preparedness, prevention
                                                                                                                                                                       and control of COVID-19
San Marino
Serbia
Slovakia
Slovenia
Spain
Sweden
                                                                                                                                                                           in prisons and other
Switzerland
Tajikistan
                                                           World Health Organization
                                                           Regional Office for Europe                                                                                       places of detention
Turkey
                                                           UN City, Marmorvej 51, DK-2100 Copenhagen Ø, Denmark
Turkmenistan
Ukraine                                                    Tel: +45 45 33 70 00 Fax: +45 45 33 70 01                                                                                Interim guidance
United Kingdom                                             Email: eurocontact@who.int
Uzbekistan                                                 Website: www.euro.who.int                                                                                                 15 March 2020
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                         Exhibit 18
3/24/2020                                                                        Prevention of Coronavirus Disease 2019 (COVID-19) | CDC
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      Coronavirus Disease 2019 (COVID-19)

     How to Protect Yourself
                         Older adults and people who have severe underlying medical conditions like heart or lung disease or diabetes
                        seem to be at higher risk for developing more serious complications from COVID-19 illness. More information
                         on Are you at higher risk for serious illness?




         Know How it Spreads

                                                                    There is currently no vaccine to prevent coronavirus disease 2019 (COVID-19).
                                                                    The best way to prevent illness is to avoid being exposed to this virus.
                                                                    The virus is thought to spread mainly from person-to-person.
                                                                         Between people who are in close contact with one another (within about 6 feet).
                                                                         Through respiratory droplets produced when an infected person coughs or
                                                                         sneezes.
                                                                    These droplets can land in the mouths or noses of people who are nearby or possibly
                                                                    be inhaled into the lungs.




         Take steps to protect yourself

                                                             Clean your hands often
                                                                    Wash your hands often with soap and water for at least 20 seconds especially after
                                                                    you have been in a public place, or after blowing your nose, coughing, or sneezing.
                                                                    If soap and water are not readily available, use a hand sanitizer that contains at least
                                                                    60% alcohol. Cover all surfaces of your hands and rub them together until they feel
                                                                    dry.
                                                                    Avoid touching your eyes, nose, and mouth with unwashed hands.




                                                             Avoid close contact
                                                                    Avoid close contact with people who are sick
                                                                    Put distance between yourself and other people if COVID-19 is spreading in your
                                                                    community. This is especially important for people who are at higher risk of getting
                                                                    very sick.




         Take steps to protect others

                                                             Stay home if you’re sick
                                                                    Stay home if you are sick, except to get medical care. Learn what to do if you are sick.




https://www.cdc.gov/coronavirus/2019-ncov/prepare/prevention.html                                                                                              1/3
3/24/2020                                                                        Prevention of Coronavirus Disease 2019 (COVID-19) | CDC
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                                                             Cover coughs and sneezes
                                                                    Cover your mouth and nose with a tissue when you cough or sneeze or use the inside
                                                                    of your elbow.
                                                                    Throw used tissues in the trash.
                                                                    Immediately wash your hands with soap and water for at least 20 seconds. If soap
                                                                    and water are not readily available, clean your hands with a hand sanitizer that
                                                                    contains at least 60% alcohol.




                                                             Wear a facemask if you are sick
                                                                    If you are sick: You should wear a facemask when you are around other people (e.g.,
                                                                    sharing a room or vehicle) and before you enter a healthcare provider’s o ce. If you
                                                                    are not able to wear a facemask (for example, because it causes trouble breathing),
                                                                    then you should do your best to cover your coughs and sneezes, and people who are
                                                                    caring for you should wear a facemask if they enter your room. Learn what to do if
                                                                    you are sick.

                                                                    If you are NOT sick: You do not need to wear a facemask unless you are caring for
                                                                    someone who is sick (and they are not able to wear a facemask). Facemasks may be
                                                                    in short supply and they should be saved for caregivers.




                                                             Clean and disinfect
                                                                    Clean AND disinfect frequently touched surfaces daily. This includes tables,
                                                                    doorknobs, light switches, countertops, handles, desks, phones, keyboards, toilets,
                                                                    faucets, and sinks.
                                                                    If surfaces are dirty, clean them: Use detergent or soap and water prior to
                                                                    disinfection.


                                                                To disinfect:
                                                                Most common EPA-registered household disinfectants will work. Use disinfectants
                                                                appropriate for the surface.

                                                                Options include:

                                                                      Diluting your household bleach.
                                                                      To make a bleach solution, mix:
                                                                            5 tablespoons (1/3rd cup) bleach per gallon of water
                                                                            OR
                                                                           4 teaspoons bleach per quart of water
                                                                      Follow manufacturer’s instructions for application and proper ventilation. Check
                                                                      to ensure the product is not past its expiration date. Never mix household bleach
                                                                      with ammonia or any other cleanser. Unexpired household bleach will be
                                                                      e ective against coronaviruses when properly diluted.
                                                                      Alcohol solutions.
                                                                      Ensure solution has at least 70% alcohol
https://www.cdc.gov/coronavirus/2019-ncov/prepare/prevention.html                                                                                           2/3
3/24/2020                                                                      Prevention of Coronavirus Disease 2019 (COVID-19) | CDC

                                                           Ensure solution
                                           Case 2:90-cv-00520-KJM-SCR      has at least
                                                                         Document       70% alcohol.
                                                                                    6529-2  Filed 03/25/20                               Page 46 of 249

                                                                    Other common EPA-registered household disinfectants.
                                                                    Products with EPA-approved emerging viral pathogens  [7 pages]  claims
                                                                    are expected to be e ective against COVID-19 based on data for harder to kill
                                                                    viruses. Follow the manufacturer’s instructions for all cleaning and disinfection
                                                                    products (e.g., concentration, application method and contact time, etc.).




                                                             More handwashing tips                                       Hand Hygiene in Healthcare Settings



         More information

         Symptoms                                                                                  Individuals, schools, events, businesses and more

         What to do if you are sick                                                                Healthcare Professionals


         If someone in your house gets sick                                                        6 Steps to Prevent COVID-19

         Frequently asked questions                                                                6 Steps to Prevent COVID-19 (ASL Version)

         Travelers



                                                                                                                                                  Page last reviewed: March 18, 2020




https://www.cdc.gov/coronavirus/2019-ncov/prepare/prevention.html                                                                                                                      3/3
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                         Exhibit 19
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                                            ACTIVE STATE EMPLOYEES BY DEPARTMENT/FACILITY
                                                                  Data as of: December 2019

         DEPARTMENT                  FACILITY/BOARD/BUREAU                                           FULL TIME PART TIME
AFRO-AMERICAN MUSEUM            AFRO-AMERICAN MUSEUM                                                        12         0
AGRICULTURAL LABOR REL BOARD    AGRICULTURAL LABOR REL BOARD                                                55         0
AIR RESOURCES BOARD             AIR RESOURCES BOARD                                                       1483        23
ALCOHOLIC BEVERAGE CNTR AP BD   ALCOHOLIC BEVERAGE CNTR AP BD                                                7         0
ALCOHOLIC BEVERAGE CONTROL      ALCOHOLIC BEVERAGE CONTROL                                                 424         5
ARTS COUNCIL                    ARTS COUNCIL                                                                23         2
BALDWIN HILLS CONSERVANCY       BALDWIN HILLS CONSERVANCY                                                    5         0
BOARD OF EQUALIZATION           BOARD OF EQUALIZATION                                                      133         0
BOARD OF GOVERNORS CMTY COLLG   BOARD OF GOVERNORS CMTY COLLG                                              132         2
BOARD OF OSTEOPATHIC EXAMINER   BOARD OF OSTEOPATHIC EXAMINER    OSTEPATHIC MED BRD OF CA                   13         1
BOARD STATE & COMMUNITY CORR    BOARD STATE & COMMUNITY CORR                                                85         2
BRD PILOT COMM                  BRD PILOT COMM                   BAYS SF S. PABLO & SUISUN                   6         0
BUS, CONSUMER SVS & HOUSING     BUS, CONSUMER SVS & HOUSING                                                 25         0
CA COMPLETE COUNT CENSUS 2020   CA COMPLETE COUNT CENSUS 2020                                               29         0
CA DEPT OF HUMAN RESOURCES      CA DEPT OF HUMAN RESOURCES                                                 281         3
CA HEALTH BENEFIT EXCHANGE      CA HEALTH BENEFIT EXCHANGE                                                1206         6
CA HIGH SPEED RAIL AUTHORITY    CA HIGH SPEED RAIL AUTHORITY                                               200         0
CA VICTIM COMPENSATION BRD      CA VICTIM COMPENSATION BRD                                                 210         5
CA. ALTERNTVE ERGY SR FN AUTH   CA. ALTERNTVE ERGY SR FN AUTH                                               18         0
CA. CHILDREN/FAMILIES 1ST COM   CA. CHILDREN/FAMILIES 1ST COM                                               35         0
CA. CITIZENS COMP COMMISSION    CA. CITIZENS COMP COMMISSION                                                 0         0
CA. COASTAL COMMISSION          CA. COASTAL COMMISSION                                                     155         6
CA. DEBT ADVISORY COMMISSION    CA. DEBT ADVISORY COMMISSION                                                16         0
CA. DEBT LIMIT ALLOCATION COM   CA. DEBT LIMIT ALLOCATION COM                                                9         0
CA. EARTHQUAKE AUTHORITY        CA. EARTHQUAKE AUTHORITY                                                    64         1
CA. EDUC FACILITIES AUTHORITY   CA. EDUC FACILITIES AUTHORITY                                                3         0
CA. EXPOSITION AND STATE FAIR   CA. EXPOSITION AND STATE FAIR                                               58         0
CA. GAMBLING CONTROL COMM       CA. GAMBLING CONTROL COMM                                                   32         1
CA. HEALTH FACILITIES AUTH      CA. HEALTH FACILITIES AUTH                                                  22         0
CA. INST FOR REGENERATIVE MED   CA. INST FOR REGENERATIVE MED                                               32         2
CA. JUDICIAL CENTER LIBRARY     CA. JUDICIAL CENTER LIBRARY                                                  3         3
CA. LAW REVISION COMMISSION     CA. LAW REVISION COMMISSION                                                  3         2
CA. MORTGAGE BOND,TAX CREDIT    CA. MORTGAGE BOND,TAX CREDIT                                                48         0
CA. POLLUTN CONTRL FIN AUTH     CA. POLLUTN CONTRL FIN AUTH                                                 27         0
CA. SCHOOL FINANCE AUTHORITY    CA. SCHOOL FINANCE AUTHORITY     TREASURER                                  10         0
CA. STATE AUDITOR'S OFFICE      CA. STATE AUDITOR'S OFFICE                                                 169         3
CA. TAHOE CONSERVANCY           CA. TAHOE CONSERVANCY                                                       36         3
CA. TRANSPORTATION COMMISSION   CA. TRANSPORTATION COMMISSION                                               27         0

                                                        Page 1
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                                             ACTIVE STATE EMPLOYEES BY DEPARTMENT/FACILITY
                                                                   Data as of: December 2019

          DEPARTMENT                  FACILITY/BOARD/BUREAU                                           FULL TIME PART TIME
CALIFORNIA CONSERVATION CORPS    CALIFORNIA CONSERVATION CORPS                                               370        1
CALIFORNIA DEPT OF AGING         CALIFORNIA DEPT OF AGING                                                    122        1
CALIFORNIA HIGHWAY PATROL        CALIFORNIA HIGHWAY PATROL                                                 10266       32
CALIFORNIA HORSE RACING BOARD    CALIFORNIA HORSE RACING BOARD                                                49        2
CALIFORNIA SENIOR LEGISLATURE    CALIFORNIA SENIOR LEGISLATURE                                                 1        0
CALIFORNIA STATE LIBRARY         CALIFORNIA STATE LIBRARY                                                    113        0
CALIFORNIA STATE LOTTERY COMM    CALIFORNIA STATE LOTTERY COMM                                               767        0
CDCR                             CDCR                             AVENAL STATE PRISON                       1253        5
CDCR                             CDCR                             AVENAL STATE PRISON - PIA                   52        0
CDCR                             CDCR                             CA CITY CORR FACILITY (IWF)                  5        0
CDCR                             CDCR                             CA CITY CORRECTIONAL FACILITY              633        3
CDCR                             CDCR                             CA. CITY CORR FACILITY - PIA                 4        0
CDCR                             CDCR                             CA. CORRECTIONAL CENTER                   1064        1
CDCR                             CDCR                             CA. CORRECTIONAL CENTER - PIA                7        0
CDCR                             CDCR                             CA. CORRECTIONAL INSTITUTION              1529        6
CDCR                             CDCR                             CA. HEALTH CARE FACILITY                  1313        1
CDCR                             CDCR                             CA. HEALTH CARE FACILITY - PIA              12        0
CDCR                             CDCR                             CA. INSTITUTION FOR MEN                   1602       11
CDCR                             CDCR                             CA. INSTITUTION FOR MEN - PIA               44        0
CDCR                             CDCR                             CA. INSTITUTION FOR WOMEN                 1145        7
CDCR                             CDCR                             CA. INSTITUTION FOR WOMEN- PIA              18        0
CDCR                             CDCR                             CA. MEDICAL FACILITY                      1603       13
CDCR                             CDCR                             CA. MEDICAL FACILITY - PIA                  21        0
CDCR                             CDCR                             CA. MEN'S COLONY                          1681       12
CDCR                             CDCR                             CA. MEN'S COLONY - PIA                      45        0
CDCR                             CDCR                             CA. REHABILITATION CENTER- PIA               4        0
CDCR                             CDCR                             CA. STATE PRISON - CORCORAN               1895        5
CDCR                             CDCR                             CA. STATE PRISON - SACRAMENTO             1610        4
CDCR                             CDCR                             CA. STATE PRISON - SOLANO                 1257        3
CDCR                             CDCR                             CA. STATE PRISON - WASCO                  1475        8
CDCR                             CDCR                             CA. STATE PRISON - WASCO - PIA              14        0
CDCR                             CDCR                             CA. STATE PRISON-CORCORAN -PIA              60        0
CDCR                             CDCR                             CALIPATRIA STATE PRISON                   1172        6
CDCR                             CDCR                             CALIPATRIA STATE PRISON - PIA                9        0
CDCR                             CDCR                             CCHCS-CENTRAL REGION                       100        0
CDCR                             CDCR                             CCHCS-HEADQUARTERS                        1105        7
CDCR                             CDCR                             CCHCS-NORTHERN REGION                      159        3
CDCR                             CDCR                             CCHCS-SOUTHERN REGION                      210        2

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                                            ACTIVE STATE EMPLOYEES BY DEPARTMENT/FACILITY
                                                                  Data as of: December 2019

       DEPARTMENT                    FACILITY/BOARD/BUREAU                                           FULL TIME PART TIME
CDCR                          CDCR                               CDCR-CA MEDICAL FACILITY-PIP              467         0
CDCR                          CDCR                               CDCR-CHCF-PIP                             712         1
CDCR                          CDCR                               CDCR-SALINAS VALLEY-PIP                   268         0
CDCR                          CDCR                               CDCR/CCHCS CA HEALTH CARE FACI           1301         2
CDCR                          CDCR                               CENTINELA STATE PRISON                   1175         6
CDCR                          CDCR                               CENTINELA STATE PRISON - PIA               11         0
CDCR                          CDCR                               CENTRAL CA. WOMENS FACILITY              1156         9
CDCR                          CDCR                               CENTRAL CA. WOMENS FACILITY-PI             27         0
CDCR                          CDCR                               CHADERJIAN SCHOOL                         265         0
CDCR                          CDCR                               CHUCKAWALLA VALLEY STATE PRISO            833         6
CDCR                          CDCR                               CHUCKAWALLA VALY ST PRISON-PIA             12         0
CDCR                          CDCR                               CORR TRAINING FACILITY - PIA               28         0
CDCR                          CDCR                               CORR/IND REVOLVING FUND                   298         0
CDCR                          CDCR                               CORR/INMATE WELFARE FUND                   21         0
CDCR                          CDCR                               CORRECTIONAL TRAINING FACILITY           1335         7
CDCR                          CDCR                               CORRECTIONS/ADMINISTRATION               3738         9
CDCR                          CDCR                               CSP - LOS ANGELES COUNTY                 1470        10
CDCR                          CDCR                               DELANO II STATE PRISON                   1533         1
CDCR                          CDCR                               DEUEL VOCATIONAL INST - PIA                18         0
CDCR                          CDCR                               DEUEL VOCATIONAL INSTITUTION             1029         6
CDCR                          CDCR                               FOLSOM STATE PRISON                      1022         3
CDCR                          CDCR                               FOLSOM STATE PRISON - PIA                  48         0
CDCR                          CDCR                               HIGH DESERT STATE PRISON                 1253         3
CDCR                          CDCR                               HIGH DESERT STATE PRISON - PIA              9         0
CDCR                          CDCR                               IRONWOOD STATE PRISON                    1045         3
CDCR                          CDCR                               IRONWOOD STATE PRISON - PIA                 6         0
CDCR                          CDCR                               KERN VALLEY STATE PRISON - PIA             13         0
CDCR                          CDCR                               MULE CREEK STATE PRISON                  1599         5
CDCR                          CDCR                               MULE CREEK STATE PRISON - PIA              39         0
CDCR                          CDCR                               NORTH KERN STATE PRISON                  1358        13
CDCR                          CDCR                               NORTH KERN STATE PRISON - PIA               9         0
CDCR                          CDCR                               NORTHERN CA. YOUTH CENTER                 200         1
CDCR                          CDCR                               O. H. CLOSE SCHOOL                        153         0
CDCR                          CDCR                               PAROLE & COMMUNITY SVS DIV               2175         7
CDCR                          CDCR                               PELICAN BAY STATE PRISON                 1245         3
CDCR                          CDCR                               PELICAN BAY STATE PRISON - PIA             14         0
CDCR                          CDCR                               PINE GROVE YTH CONS CAMP                   29         0
CDCR                          CDCR                               PLEASANT VALLEY ST PRISON-PIA               8         0

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                                            ACTIVE STATE EMPLOYEES BY DEPARTMENT/FACILITY
                                                                  Data as of: December 2019

         DEPARTMENT                  FACILITY/BOARD/BUREAU                                           FULL TIME PART TIME
CDCR                            CDCR                             PLEASANT VALLEY STATE PRISON             1274         7
CDCR                            CDCR                             R J DONOVAN CORR FACILITY                1805        10
CDCR                            CDCR                             R J DONOVAN CORR FACILITY-PIA              29         0
CDCR                            CDCR                             REHABILITATION CENTER                    1147         7
CDCR                            CDCR                             RICHARD A MCGEE CORR TR CENTER            449         1
CDCR                            CDCR                             SALINAS VALLEY ST. PRISON- PIA             13         0
CDCR                            CDCR                             SALINAS VALLEY STATE PRISON              1486         4
CDCR                            CDCR                             SAN QUENTIN STATE PRISON                 1712         8
CDCR                            CDCR                             SAN QUENTIN STATE PRISON - PIA             25         0
CDCR                            CDCR                             SIERRA CONSERVATION CENTER               1077         2
CDCR                            CDCR                             SIERRA CONSERVATION CENTER-PIA             11         0
CDCR                            CDCR                             SUBSTANCE ABUSE TREAT FACILITY             19         0
CDCR                            CDCR                             SUBSTANCE ABUSE TREAT-CORCORAN           1865         9
CDCR                            CDCR                             VALLEY STATE PRISON                      1066         7
CDCR                            CDCR                             VENTURA SCHOOL FOR GIRLS                  364         2
CDCR                            CDCR                             YOUTH AUTHORITY/ADMINISTRATION             71         1
CITIZENS REDISTRICTING COMM     CITIZENS REDISTRICTING COMM                                                  0         0
COACHELLA VALLEY MOUNT CONSER   COACHELLA VALLEY MOUNT CONSER                                                4         0
COLORADO RIVER BOARD            COLORADO RIVER BOARD                                                         9         0
COMM ON STATE GOVT ORG & ECON   COMM ON STATE GOVT ORG & ECON                                                4         0
COMM ON TEACHER CREDENTIALING   COMM ON TEACHER CREDENTIALING                                              151         3
COMM ON THE STATUS OF WOMEN     COMM ON THE STATUS OF WOMEN      COMM ON STATUS OF WOMEN/GIRLS               5         0
COMM ON UNIFORM STATE LAWS      COMM ON UNIFORM STATE LAWS                                                   0         0
COMMISSION ON AGING             COMMISSION ON AGING                                                          2         0
COMMISSION ON JUDICAL PERFORM   COMMISSION ON JUDICAL PERFORM                                               19         2
COMMISSION ON STATE MANDATES    COMMISSION ON STATE MANDATES                                                10         1
COMMUNITY SERVICES/DEVELOPMEN   COMMUNITY SERVICES/DEVELOPMEN                                              101         2
CONSERVATION                    CONSERVATION                                                               562         9
CONSUMER AFFAIRS                CONSUMER AFFAIRS                 ACUPUNCTURE BOARD                          11         1
CONSUMER AFFAIRS                CONSUMER AFFAIRS                 ADMIN & INFO SVS                          458         6
CONSUMER AFFAIRS                CONSUMER AFFAIRS                 ARBITRATION CERT PROG                       8         0
CONSUMER AFFAIRS                CONSUMER AFFAIRS                 ATHLETIC COMMISSION                         8         1
CONSUMER AFFAIRS                CONSUMER AFFAIRS                 BARBER & COSMETOLOGY                       68         1
CONSUMER AFFAIRS                CONSUMER AFFAIRS                 BOARD OF ACCOUNTANCY                       78         0
CONSUMER AFFAIRS                CONSUMER AFFAIRS                 BOARD OF ARCHITECTURAL EXMRS               26         2
CONSUMER AFFAIRS                CONSUMER AFFAIRS                 BOARD OF BEHAVIORAL SCIENCES               52         2
CONSUMER AFFAIRS                CONSUMER AFFAIRS                 BOARD OF CHIROPRACTIC EXAMRS               16         0
CONSUMER AFFAIRS                CONSUMER AFFAIRS                 BOARD OF DENTAL EXAMINERS                  61         2

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          DEPARTMENT                  FACILITY/BOARD/BUREAU                                           FULL TIME PART TIME
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 BOARD OF MEDICAL QUALITY ASSUR              6         0
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 BOARD OF OCCUPATIONAL THERAPY              12         1
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 BOARD OF OPTOMETRY                         13         0
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 BOARD OF PHARMACY                         107         1
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 BOARD OF REG FOR PROF ENGINRS              39         2
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 BOARD OF REGISTERED NURSING               176         0
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 BOARD OF RESPIRTY CARE E                   16         0
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 BUREAU ELECT & APPLNC REPAIR               49         0
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 BUREAU MEDICAL MARIJUANA REG               92         0
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 BUREAU OF AUTOMOTIVE REPAIR               569         3
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 BUREAU OF REAL ESTATE APPRAISR             25         1
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 CEMETERY BUREAU                            21         0
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 COMMUNICATION & EDUC                       62         0
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 CONSUMER RELATIONS                          2         0
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 CONTRACTORS LICENSE BOARD                 386         4
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 COURT REPORTERS BOARD                       4         1
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 DENTAL HYGIENE COMMITTEE OF CA              9         0
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 DIV INVESTIGATION                         209         0
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 MEDICAL BOARD OF CALIFORNIA               149         4
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 PHYSICAL THERAPY BOARD                     21         3
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 PODIATRY EXAMINING COMMITTEE                5         0
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 PRIVATE POSTSECONDARY & VOC                93         0
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 PROFESSIONAL FIDUCIARIES BUREA              3         0
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 PSYCHOLOGY EXAMINING COMMITTEE             24         1
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 SECURITY & INVESTIGATION                   61         1
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 SPEECH PATHOLOGY                           11         0
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 STRUCTURAL PEST CONTROL BOARD              26         2
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 VETERINARY MEDICAL BD                      16         2
CONSUMER AFFAIRS                 CONSUMER AFFAIRS                 VOCATIONAL NURSE PROG                      63         2
COURT OF APPEAL                  COURT OF APPEAL                  FIFTH APPELLATE DISTRICT                   65         0
COURT OF APPEAL                  COURT OF APPEAL                  FIRST APPELLATE DISTRICT                   94         1
COURT OF APPEAL                  COURT OF APPEAL                  FOURTH APPELLATE DISTRICT                 167         2
COURT OF APPEAL                  COURT OF APPEAL                  SECOND APPELLATE DISTRICT                 218         7
COURT OF APPEAL                  COURT OF APPEAL                  SIXTH APPELLATE DISTRICT                   44         0
COURT OF APPEAL                  COURT OF APPEAL                  THIRD APPELLATE DISTRICT                   77         2
DELTA PROTECTION COMMISSION      DELTA PROTECTION COMMISSION                                                  8         0
DELTA STEWARDSHIP COUNCIL        DELTA STEWARDSHIP COUNCIL                                                   62         7
DEPARTMENT OF MANAGED CARE       DEPARTMENT OF MANAGED CARE                                                 421         7

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         DEPARTMENT                  FACILITY/BOARD/BUREAU                                           FULL TIME PART TIME
DEPARTMENT OF PUBLIC HEALTH     DEPARTMENT OF PUBLIC HEALTH                                               3709        90
DEPT OF BUSINESS OVERSIGHT      DEPT OF BUSINESS OVERSIGHT                                                 584        10
DEPT OF CHILD SUPPORT SERVICE   DEPT OF CHILD SUPPORT SERVICE                                              547         3
DEPT OF STATE HOSPITALS         DEPT OF STATE HOSPITALS                                                    517         6
DEPT OF STATE HOSPITALS         DEPT OF STATE HOSPITALS          ATASCADERO STATE HOSPITAL                1759        70
DEPT OF STATE HOSPITALS         DEPT OF STATE HOSPITALS          COALINGA SECURE TREATMENT FAC            2076        12
DEPT OF STATE HOSPITALS         DEPT OF STATE HOSPITALS          METROPOLITAN STATE HOSPITAL              1572         9
DEPT OF STATE HOSPITALS         DEPT OF STATE HOSPITALS          NAPA STATE HOSPITAL                      2124        80
DEPT OF STATE HOSPITALS         DEPT OF STATE HOSPITALS          PATTON STATE HOSPITAL                    2119        82
DEPT OF TAX AND FEE ADMIN       DEPT OF TAX AND FEE ADMIN                                                 3704        33
DEPT OF TECHNOLOGY              DEPT OF TECHNOLOGY                                                         855         5
DEPT RESOURCES RECYCLE/RECVRY   DEPT RESOURCES RECYCLE/RECVRY                                              662        12
DEVELOPMENTAL SERVICES          DEVELOPMENTAL SERVICES           DEVELOPMENTAL SERVICES/ADMIN             2013        18
EDUCATION                       EDUCATION                                                                 1317        29
EDUCATION                       EDUCATION                        DIAGNOSTIC CENTER/CENTRAL CA.              34         0
EDUCATION                       EDUCATION                        DIAGNOSTIC CENTER/NORTH CA.                29         1
EDUCATION                       EDUCATION                        DIAGNOSTIC CENTER/SOUTH CA.                31         2
EDUCATION                       EDUCATION                        SCHOOL FOR THE BLIND                       88        20
EDUCATION                       EDUCATION                        SCHOOL FOR THE DEAF/FREMONT               311        14
EDUCATION                       EDUCATION                        SCHOOL FOR THE DEAF/RIVERSIDE             296         3
EDUCATION                       EDUCATION                        SUMMER SCHOOL FOR THE ARTS                  4         0
EDUCATION AUDIT APPEALS PANEL   EDUCATION AUDIT APPEALS PANEL                                                3         0
EMERGENCY MED SERVS AUTHORITY   EMERGENCY MED SERVS AUTHORITY                                               71         1
EMPLOYMENT DEVELOPMENT DEPT     EMPLOYMENT DEVELOPMENT DEPT                                               6523       153
EMPLOYMENT DEVELOPMENT DEPT     EMPLOYMENT DEVELOPMENT DEPT      CA. WORKFORCE INVESTMENT BOARD             31         0
EMPLOYMENT DEVELOPMENT DEPT     EMPLOYMENT DEVELOPMENT DEPT      EMPLOYMENT TRAINING PANEL                  91         0
EMPLOYMENT DEVELOPMENT DEPT     EMPLOYMENT DEVELOPMENT DEPT      UNEMPLOYMENT INSURANCE APPEAL             299        18
ENVIRNMTL HLTH HAZRD ASSESS     ENVIRNMTL HLTH HAZRD ASSESS                                                130         4
FAIR EMPLOYMENT AND HOUSING     FAIR EMPLOYMENT AND HOUSING                                                203         2
FAIR POLITICAL PRACTICES COMM   FAIR POLITICAL PRACTICES COMM                                               75         2
FINANCE                         FINANCE                                                                    394         9
FINANCIAL INFO SYS FOR CA OFF   FINANCIAL INFO SYS FOR CA OFF                                              274         0
FISH AND WILDLIFE               FISH AND WILDLIFE                                                         2161        23
FOOD AND AGRICULTURE            FOOD AND AGRICULTURE                                                      1574        14
FOOD AND AGRICULTURE            FOOD AND AGRICULTURE             22ND DIST AGRICULTURAL ASSOC              158         1
FOOD AND AGRICULTURE            FOOD AND AGRICULTURE             32ND DIST AGRICULTURAL ASSOC               94         0
FORESTRY AND FIRE PROTECTION    FORESTRY AND FIRE PROTECTION                                                78         0
FORESTRY AND FIRE PROTECTION    FORESTRY AND FIRE PROTECTION     FORESTRY                                 6024        18

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         DEPARTMENT                  FACILITY/BOARD/BUREAU                                           FULL TIME PART TIME
FRANCHISE TAX BOARD             FRANCHISE TAX BOARD                                                       5308        75
GENERAL SERVICES                GENERAL SERVICES                                                          1101         7
GENERAL SERVICES                GENERAL SERVICES                 BLDG AND PROPERTY MGMT BR                1476         5
GENERAL SERVICES                GENERAL SERVICES                 CANNABIS CONTROL APPEALS PANEL              7         0
GENERAL SERVICES                GENERAL SERVICES                 OFFICE OF STATE ARCHITECT                 606         4
GENERAL SERVICES                GENERAL SERVICES                 OFFICE OF STATE PUBLISHING                249         0
GOV OFF BUS & ECONOMIC DEVL     GOV OFF BUS & ECONOMIC DEVL                                                106         1
GOVERNMENT OPERATIONS AGENCY    GOVERNMENT OPERATIONS AGENCY                                                15         0
GOVERNOR'S OFFICE               GOVERNOR'S OFFICE                                                          188         3
HABEAS CORPUS RESOURCE CENTER   HABEAS CORPUS RESOURCE CENTER                                               78         0
HEALTH AND HUMAN SERVICES AGY   HEALTH AND HUMAN SERVICES AGY                                               56         1
HEALTH SERVICES                 HEALTH SERVICES                                                           3505        33
HOUSING AND COMMUNITY DEVELOP   HOUSING AND COMMUNITY DEVELOP                                              617         4
HOUSING FINANCE AGENCY          HOUSING FINANCE AGENCY                                                     175         0
INDUSTRIAL RELATIONS            INDUSTRIAL RELATIONS                                                      2497        17
INSURANCE                       INSURANCE                                                                 1186         7
JUDICIAL COUNCIL                JUDICIAL COUNCIL                                                           690        11
JUSTICE                         JUSTICE                                                                   4455        62
LABOR AND WORKFORCE DEV AGENC   LABOR AND WORKFORCE DEV AGENC                                               14         0
LEGISLATIVE COUNSEL BUREAU      LEGISLATIVE COUNSEL BUREAU                                                 509        12
LEGISLATURE- ASSEMBLY           LEGISLATURE- ASSEMBLY                                                       80         0
LEGISLATURE- SENATE             LEGISLATURE- SENATE                                                         39         0
MENTAL HTH SVS OVERS/ACCT COM   MENTAL HTH SVS OVERS/ACCT COM                                               36         0
MILITARY DEPARTMENT             MILITARY DEPARTMENT                                                        883         0
MOTOR VEHICLES                  MOTOR VEHICLES                                                            8274        84
MUSEUM OF SCIENCE & INDUSTRY    MUSEUM OF SCIENCE & INDUSTRY                                               133         0
NATIVE AMERICAN HERITAGE COMM   NATIVE AMERICAN HERITAGE COMM                                                8         0
OFC OF SECTY ENVIRMTL PROTECT   OFC OF SECTY ENVIRMTL PROTECT                                               72         0
OFFICE OF ADMINISTRATIVE LAW    OFFICE OF ADMINISTRATIVE LAW                                                19         0
OFFICE OF EMERGENCY SERVICES    OFFICE OF EMERGENCY SERVICES                                              1150         2
OFFICE OF INSPECTOR GENERAL     OFFICE OF INSPECTOR GENERAL                                                107         1
OFFICE OF LT GOVERNOR           OFFICE OF LT GOVERNOR                                                        8         0
OFFICE OF STW HLTH PLNG & DEV   OFFICE OF STW HLTH PLNG & DEV                                              410         7
OFFICE OF SYSTEMS INTEGRATION   OFFICE OF SYSTEMS INTEGRATION                                              301         2
OFFICE OF TAX APPEALS OTA       OFFICE OF TAX APPEALS OTA                                                   79         0
PARKS AND RECREATION            PARKS AND RECREATION                                                      2134        16
PEACE OFF STANDARDS & TRAING    PEACE OFF STANDARDS & TRAING                                               115         1
PESTICIDE REGULATION            PESTICIDE REGULATION                                                       386         6

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                                            ACTIVE STATE EMPLOYEES BY DEPARTMENT/FACILITY
                                                                  Data as of: December 2019

         DEPARTMENT                  FACILITY/BOARD/BUREAU                                           FULL TIME PART TIME
PUBLIC EMPL'S RETIREMENT SYS    PUBLIC EMPL'S RETIREMENT SYS                                              2570        29
PUBLIC EMPLMT RELATIONS BOARD   PUBLIC EMPLMT RELATIONS BOARD                                               68         1
PUBLIC UTILITIES COMMISSION     PUBLIC UTILITIES COMMISSION                                               1191         7
REAL ESTATE                     REAL ESTATE                                                                322         1
REHABILITATION                  REHABILITATION                                                            1685        11
RESOURCES AGENCY                RESOURCES AGENCY                                                            56         0
SACTO-SAN JOAQUIN DELTA CONSV   SACTO-SAN JOAQUIN DELTA CONSV                                               11         1
SAN DIEGO RIVER CONSERVANCY     SAN DIEGO RIVER CONSERVANCY                                                  3         0
SAN FRANCISCO BAY CON&DEV CM    SAN FRANCISCO BAY CON&DEV CM                                                47         0
SAN GABRIEL LOW LA RIV/MTN CO   SAN GABRIEL LOW LA RIV/MTN CO                                                6         0
SAN JOAQUIN RIVER CONSERVANCY   SAN JOAQUIN RIVER CONSERVANCY                                                3         0
SANTA MONICA MTS CONSERVANCY    SANTA MONICA MTS CONSERVANCY                                                 3         3
SCHOLARSHARE INVESTMENT BOARD   SCHOLARSHARE INVESTMENT BOARD                                                8         2
SECRETARY OF STATE'S OFFICE     SECRETARY OF STATE'S OFFICE                                                493         5
SEISMIC SAFETY COMMISSION       SEISMIC SAFETY COMMISSION                                                    3         0
SIERRA NEVADA CONSERVANCY       SIERRA NEVADA CONSERVANCY                                                   30         0
SOCIAL SERVICES                 SOCIAL SERVICES                                                           4197       167
STATE COASTAL CONSERVANCY       STATE COASTAL CONSERVANCY                                                   62         1
STATE COMP INSURANCE FUND       STATE COMP INSURANCE FUND                                                 4161         8
STATE CONTROLLER'S OFFICE       STATE CONTROLLER'S OFFICE                                                 1336        15
STATE COUNCIL ON DEVL DISABL    STATE COUNCIL ON DEVL DISABL                                                72         1
STATE ENERGY RES CONS&DEV COM   STATE ENERGY RES CONS&DEV COM                                              601        16
STATE INDEPENDENT LIVING COUN   STATE INDEPENDENT LIVING COUN                                                2         0
STATE LANDS COMMISSION          STATE LANDS COMMISSION                                                     200         4
STATE PERSONNEL BOARD           STATE PERSONNEL BOARD                                                       61         0
STATE PUBLIC DEFENDER           STATE PUBLIC DEFENDER                                                       63         3
STATE TEACHERS RETIREMENT SYS   STATE TEACHERS RETIREMENT SYS                                             1169         4
STATE TREASURER'S OFFICE        STATE TREASURER'S OFFICE                                                   211         1
STATE TREASURER'S OFFICE        STATE TREASURER'S OFFICE         CA ABLE ACT BOARD                           3         0
STATE TREASURER'S OFFICE        STATE TREASURER'S OFFICE         CSCRSIB                                     7         0
STATUTORY OFFICERS              STATUTORY OFFICERS               JUDGE'S RETIRE SYSTEM MEMBER             1189         0
STATUTORY OFFICERS              STATUTORY OFFICERS               LEGISLATURE RETIRE SYS MEMBER               1         0
STATUTORY OFFICERS              STATUTORY OFFICERS               PUBLC EMP RETIRE SYSTEM MEMBER             23         0
STUDENT AID COMMISSION          STUDENT AID COMMISSION                                                     105         2
SUPREME COURT                   SUPREME COURT                                                              130         2
TOXIC SUBSTANCES CONTROL        TOXIC SUBSTANCES CONTROL                                                   901        15
TRANSPORTATION                  TRANSPORTATION                   DISTRICT 1                                596        10
TRANSPORTATION                  TRANSPORTATION                   DISTRICT 2                                629         3

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         DEPARTMENT                  FACILITY/BOARD/BUREAU                                          FULL TIME PART TIME
TRANSPORTATION                TRANSPORTATION                DISTRICT 3                                    1341          10
TRANSPORTATION                TRANSPORTATION                DISTRICT 4                                    2763          14
TRANSPORTATION                TRANSPORTATION                DISTRICT 5                                     747           8
TRANSPORTATION                TRANSPORTATION                DISTRICT 6                                    1185           3
TRANSPORTATION                TRANSPORTATION                DISTRICT 7                                    2562           4
TRANSPORTATION                TRANSPORTATION                DISTRICT 8                                    1529           3
TRANSPORTATION                TRANSPORTATION                DISTRICT 9                                     291           0
TRANSPORTATION                TRANSPORTATION                DISTRICT 10                                    742           1
TRANSPORTATION                TRANSPORTATION                DISTRICT 11                                   1108           7
TRANSPORTATION                TRANSPORTATION                DISTRICT 12                                    842           2
TRANSPORTATION                TRANSPORTATION                EQUIPMENT HEADQUARTERS SHOP                    648           0
TRANSPORTATION                TRANSPORTATION                HEADQUARTERS OPERATIONS                       1256          12
TRANSPORTATION                TRANSPORTATION                SECRETARY FOR TRANSPORTATION                    50           0
TRANSPORTATION                TRANSPORTATION                TRANSPORTATION/ADMINISTRATION                 3366          36
VETERANS AFFAIRS              VETERANS AFFAIRS              BARSTOW VETERANS HOME                          188           2
VETERANS AFFAIRS              VETERANS AFFAIRS              CHULA VISTA VETERANS HOME                      326          14
VETERANS AFFAIRS              VETERANS AFFAIRS              GLAVC                                          646          23
VETERANS AFFAIRS              VETERANS AFFAIRS              VETERANS AFFAIRS/ADMINISTRATN                  438           5
VETERANS AFFAIRS              VETERANS AFFAIRS              VETERANS HOME                                  760          22
VETERANS AFFAIRS              VETERANS AFFAIRS              VETERANS HOME OF CA, FRESNO                    409           5
VETERANS AFFAIRS              VETERANS AFFAIRS              VETERANS HOME OF CA, REDDING                   226          11
WATER RESOURCES               WATER RESOURCES                                                             3010          36
WATER RESOURCES CONTROL BOARD WATER RESOURCES CONTROL BOARD                                               2046          43
WILDLIFE CONSERVATION BOARD   WILDLIFE CONSERVATION BOARD                                                   35           0


                                                                                                         Total Active Employ




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INTERMITTENT INDETERMINATE   TOTAL
         32              0        44
          8              0        63
        132              0      1638
          1              0         8
         29              0       458
         17              0        42
          9              0        14
          9              0       142
         22              0       156
         15              0        29
          5              0        92
          0              0         6
          1              0        26
          0              0        29
         33              0       317
         46              0      1258
         24              0       224
          3              0       218
          2              0        20
         13              0        48
          4              0         4
         52              0       213
          1              0        17
          1              0        10
          2              0        67
          0              0         3
        683              0       741
          4              0        37
          1              0        23
         27              0        61
          1              0         7
          4              0         9
          1              0        49
          4              0        31
          2              0        12
          8              0       180
          6              0        45
         15              0        42

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INTERMITTENT INDETERMINATE   TOTAL
        1425             0      1796
          18             0       141
          91             0     10389
           6             6        63
           0             0         1
           4             0       117
          53             0       820
          51             0      1309
           2             0        54
           0             0         5
          18             0       654
           2             0         6
          38             0      1103
           1             0         8
          51             0      1586
          38             0      1352
           0             0        12
          76             0      1689
           0             0        44
          32             0      1184
           0             0        18
          43             0      1659
           1             0        22
          28             0      1721
           2             0        47
           0             0         4
          61             0      1961
          55             0      1669
          49             0      1309
          61             0      1544
           1             0        15
           3             0        63
          45             0      1223
           1             0        10
           1             0       101
         110             0      1222
           8             0       170
           2             0       214

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INTERMITTENT INDETERMINATE   TOTAL
         19              0       486
          9              0       722
          2              0       270
          3              0      1306
         41              0      1222
          2              0        13
         50              0      1215
          2              0        29
         14              0       279
         38              0       877
          0              0        12
          1              0        29
         41              0       339
          1              0        22
         45              0      1387
        176              0      3923
         50              0      1530
         97              0      1631
          1              0        19
         15              0      1050
         37              0      1062
          9              0        57
         55              0      1311
          2              0        11
         33              0      1081
          0              0         6
          1              0        14
         40              0      1644
          2              0        41
         51              0      1422
          1              0        10
         10              0       211
         15              0       168
         11              0      2193
         44              0      1292
          2              0        16
          6              0        35
          1              0         9

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INTERMITTENT INDETERMINATE   TOTAL
         61              0      1342
         33              0      1848
          0              0        29
         33              0      1187
        522              0       972
          1              0        14
         53              0      1543
         47              0      1767
          2              0        27
         32              0      1111
          2              0        13
          1              0        20
         80              0      1954
         62              0      1135
         23              0       389
         12              0        84
         18              0        18
          3              0         7
          5              0        14
          2              0         6
          7              0       161
          2              0         7
          7              0         7
          1              0         3
          3              0        24
          3              0        14
          7              0       110
         31              0       602
          9              0        21
        308              0       772
          1              0         9
         66              0        75
         26              0        95
         51              0       129
         14              0        42
          8              0        62
          6              0        22
         32              0        95

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INTERMITTENT INDETERMINATE   TOTAL
         11              0        17
          7              0        20
         14              0        27
         14              0       122
         35              0        76
         65              0       241
          9              0        25
          0              0        49
          0              0        92
          3              0       575
          0              0        26
          0              0        21
          2              0        64
          0              0         2
         25              0       415
          4              0         9
          9              0        18
         54              0       263
         25              0       178
          6              0        30
          9              0        14
          8              0       101
          5              0         8
         11              0        36
         23              0        85
          8              0        19
          6              0        34
         19              0        37
         20              0        85
          2              0        67
          0              0        95
          0              0       169
          5              0       230
          1              0        45
          0              0        79
          0              0         8
          2              0        71
          9              0       437

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INTERMITTENT INDETERMINATE   TOTAL
        120              0      3919
          8              0       602
         21              0       571
         47              0       570
        114              0      1943
         31              0      2119
        146              0      1727
        148              0      2352
        325              0      2526
         35              0      3772
         13              0       873
         37              0       711
        177              0      2208
         74              0      1420
          1              0        35
          1              0        31
          2              0        35
         41              0       149
        165              0       490
         58              0       357
          0              0         4
          1              0         4
        118              0       190
        316              0      6992
         25              0        56
         17              0       108
         32              0       349
         48              0       182
         20              0       225
          5              0        82
         11              0       414
         10              0       284
        758              0      2942
        680             28      2296
         98              0       257
         10              0       104
         15              0        93
        215              0      6257

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INTERMITTENT INDETERMINATE   TOTAL
         771             0      6154
          23             0      1131
           5             0      1486
           0             0         7
          32             0       642
          18             0       267
           6             0       113
           2             0        17
           4             0       195
           2             0        80
          15             0        72
          82             0      3620
          19             0       640
          15             0       190
         101             0      2615
          37             0      1230
           6             0       707
         319             0      4836
           2             0        16
          22             0       543
           0             0        80
           0             0        39
           4             0        40
           3             0       886
        1418             0      9776
           4             0       137
           1             0         9
           2             0        74
           0             0        19
          77             0      1229
           4             0       112
           0             0         8
          76             0       493
          25             0       328
           7             0        86
        3749             0      5899
           9             0       125
          31             0       423

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INTERMITTENT INDETERMINATE   TOTAL
        108              0      2707
          9              0        78
         67              0      1265
          3              0       326
        215              0      1911
         18              0        74
          1              0        13
          1              0         4
          2              0        49
         15              0        21
          1              0         4
          7              0        13
          0              0        10
         14              0       512
         11              0        14
         27              0        57
        192              0      4556
          9              0        72
         30              0      4199
         37              0      1388
         34              0       107
         36              0       653
         16              0        18
         18              0       222
          6              0        67
          4              0        70
         12              3      1188
         24              0       236
          1              0         4
          0              0         7
          0              0      1189
          0              0         1
          0              0        23
         17              0       124
         10              0       142
         22              0       938
         56              0       662
         95              0       727

                                                       Page 17
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INTERMITTENT INDETERMINATE             TOTAL
            331                    0      1682
            172                    0      2949
              3                    0       758
             33                    0      1221
            189                    0      2755
            223                    0      1755
             32                    0       323
             65                    0       808
             22                    0      1137
              2                    0       846
             25                    0       673
             53                    0      1321
              2                    0        52
             63                    0      3465
             14                   17       221
             11                   16       367
              7                    0       676
              9                    8       460
             47                  155       984
             20                    0       434
             17                    0       254
            303                    0      3349
            235                    0      2324
              3                    0        38


yee by Facility or Department:          232328




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                       CORONAVIRUS


    California Prisons Are a 'Tinderbox of Potential
    Infection,' Former CDCR Secretary Warns
              LISTEN 3 min


    By Sukey Lewis, Marisa Lagos               , Julie Small           Mar 23




    An inmate of a state prison in Los Angeles County tested positive for COVID-19, prison officials announced Sunday, and staff at
    three other prisons have also been diagnosed with the disease. (Michal Czerwonka/Getty Images)




https://www.kqed.org/news/11808282/california-prisons-are-a-tinderbox-of-potential-infection-former-cdcr-secretary-warns                             1/5
3/24/2020                          California Prisons Are a 'Tinderbox of Potential Infection,' Former CDCR Secretary Warns | KQED News

    A manCase
            held2:90-cv-00520-KJM-SCR        Document
                 at the California State Prison        6529-2 County
                                                in Los Angeles Filed 03/25/20
                                                                      is the firstPage
                                                                                  inmate68 in
                                                                                            of the
                                                                                               249state
    to test positive for COVID-19, according to the California Department of Corrections and
    Rehabilitation. He was put in isolation on March 19 after telling staff he felt sick.

    As of Monday, five correctional officers in three different prisons — California Institution for
    Men in Chino, Folsom State Prison and California State Prison, Sacramento — have also been
    diagnosed with the disease caused by the novel coronavirus. An employee at San Quentin
    State Prison reported on Friday to have tested positive for COVID-19 does not in fact have the
    disease, prison officials said Saturday.

    Scott Kernan, a former secretary of CDCR, is among officials and inmate rights groups
    expressing concern over a potentially widespread outbreak in the state’s prisons and jails.

    “You think cruise ships are a petri dish?” Kernan said in an interview Monday. “Prisons are
    even more so the mass of humanity. So I'm very concerned about my colleagues and the
    inmates and their families in jails and prisons across the country.”

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    Kernan said state leaders need to look at all options to reduce the prison population to
    mitigate the worst impacts of an outbreak. The state’s prisons are overcrowded, operating at
    about 130% of capacity, with more than 123,000 people incarcerated across California. An
    additional 65,000 people work for the state prison system.

    However, all Board of Parole Hearings, which generally assess prisoners who are eligible for
    release, have been suspended for at least a week. In-person visits and nearly all rehabilitative
    and educational programs have been canceled in an attempt to slow the spread of the virus.

    Kernan said the lack of activities and connection is also likely to take a toll on people being
    held in prison.

    “It's a tinderbox of potential infection as you go forward, especially if you are just watching
    what's going on around the world,” he said. “I know Italy and Brazil had serious violence and
    even escapes and murders in the jails as a result of COVID-19.”

    CDCR posted a list of precautions the department is implementing, which includes social
    distancing, a two-week quarantine for all new inmates and immediate isolation for anyone
    who has a fever, to prevent the spread of the disease.


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                                           Senate Nears Deal on $2 Trillion Coronavirus Stimulus Package




                                           So Far, Coronavirus Cases Are Manageable, Say Bay Area Hospitals. But It's
                                           Still Early




    But the Prison Law Office and a number of other advocacy groups are also pushing for the
    state to do more to protect the elderly and those with compromised immune systems in
    prison.

    “We've been imploring the state through various channels to do what county jails are doing all
    over the state, which is reduce the density of the population by releasing people who are low
    risk,” said Don Specter, executive director of the Prison Law Office.

    Last week, the Santa Clara County and Alameda County sheriffs both moved to release
    hundreds of people early from jail. San Francisco courts have ordered dozens of inmates
    released early. Contra Costa County is also looking at steps to cut down the number of people
    held in jail.

    On Monday, a group of 28 advocacy organizations wrote a letter to California Attorney
    General Xavier Becerra requesting the state’s top cop expand these localized efforts by
    directing all sheriffs to release people who have six months or less left on their sentences and
    asking local law enforcement to reduce arrests and bookings.

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3/24/2020                          California Prisons Are a 'Tinderbox of Potential Infection,' Former CDCR Secretary Warns | KQED News
         Caseaction,
    “Without  2:90-cv-00520-KJM-SCR
                     thousands will likely Document   6529-2
                                           die with the         Filed
                                                        suffering      03/25/20
                                                                   falling        Page 70 of 249
                                                                           disproportionately on low-
    income families, particularly Black and Latinx families,” the letter says.

    Gov. Gavin Newsom addressed the calls from advocates in his Monday afternoon briefing.

    “I have no interest — and I want to make this crystal clear — in releasing violent criminals
    from our system. I won’t use a crisis as an excuse to create another crisis,” he said.

    Newsom said he has a task force looking at how to release people incarcerated for non-violent
    crimes in a “deliberative” way. He warned that the large-scale release of tens of thousands of
    prisoners called for by advocacy groups could cause a whole new set of problems for
    emergency medical providers.

    “If we start to release prisoners that are not prepared with their parole plans, they may end up
    out on the streets and sidewalks, in a homeless shelter,” Newsom said.

    So far, the prison system has not announced any concrete steps to release people. A
    spokesperson for CDCR declined to answer questions, but said the department has been
    posting all COVID-19 updates directly on its website.

    “We are continuously evaluating and implementing proactive measures to help prevent the
    spread of COVID-19 and keep our CDCR population and the community-at-large safe,” the
    CDCR website says. “Additional measures will continue to be developed based on the rapidly-
    evolving situation.”




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                                            Service Privacy          FiledUs03/25/20
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                         Exhibit 21
3/24/2020                                Realignment, Incarceration, and Crime Trends in California - Public Policy Institute of California
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                       Realignment, Incarceration,
                       and Crime Trends in
                       California
                       Summary
                       When California’s historic public safety realignment was
                       implemented in October 2011, many were concerned about the
                       impact it would have on crime rates. In a 2013 report, we found
                       that realignment did not increase violent crime in its first year,
                       but that it did lead to an increase in auto thefts. In this report,
                       we assess whether these trends continued beyond
                       realignment’s first year. We find that both the prison and jail
                       populations increased slightly since 2012, which means that the
                       number of offenders on the street did not rise from the 18,000
                       during realignment’s first year. This is likely to change with the
                       implementation of Proposition 47, which further reduces
                       California’s reliance on incarceration. Our analysis of updated
                       state-level crime data from the FBI confirms our previous
                       findings. Violent crime rates remain unaffected by realignment,
                       and although California’s property crime rate decreased in 2013,
                       it did not drop more than in comparable states—so the auto
                       theft gap that opened up in 2012 has not closed. Research
                       indicates that further reductions in incarceration may have a
                       greater effect on crime trends; the state needs to implement
                       effective crime prevention strategies—and it can learn about


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3/24/2020                                Realignment, Incarceration, and Crime Trends in California - Public Policy Institute of California
             Case 2:90-cv-00520-KJM-SCR     Document
                  alternatives to incarceration      6529-2 implemented
                                                successfully  Filed 03/25/20   Page 74 of 249
                                                                           by the
                       counties as well as other states.



                       Realignment Continues to Unfold
                       California’s public safety realignment, prompted by a federal court
                       mandate to reduce overcrowding in its expensive prison system, is in its
                       fourth year of implementation. The reform decreased the state’s reliance
                       on incarceration by changing the sentencing of non-serious, non-violent,
                       and non-sexual felonies and modifying the sanctions for parole violators.
                       Importantly, realignment shifted the responsibility for many lower-level
                       offenders from the California Department of Corrections and
                       Rehabilitation (CDCR) to county jail and probation systems.1

                       Realignment reduced the prison population by about 27,000 by
                       September 2012, the first year of the reform. County jail populations
                       increased by only 9,000, which offset roughly one third of the decline in
                       the prison population. The overall reduction in incarceration meant that
                       more former inmates were on the street, which led to concerns about
                       realignment’s impact on the long-run decline in state crime rates. Though
                       2012 crime data revealed increases in both violent and property crime,
                       our 2013 PPIC report showed that these concerns were mostly
                       unwarranted. We found no evidence that the increase in violent crime
                       was greater than increases in appropriate comparison states. Part of the
                       increase in property crime could be attributed to the prison population
                       decline, but that impact was modest and limited to auto thefts.2

                       In this report, we extend our analysis to assess whether these trends
                       continued into the second year of the reform.3 It is possible that counties
                       refined their strategies and identified more effective crime prevention
                       approaches. It is also possible that the increase in responsibilities and
                       potentially insufficient resources limited the counties’ ability to do this.

                       Incarceration Trends
                       We begin by determining whether the substantial decrease in
                       incarceration continued beyond the first year of realignment. Data on
                       incarceration are more recent than crime data (currently limited to 2013
                       and earlier), so we can examine the prison population through February
                       2015 and the jail population through June 2014.

                       THE PRISON POPULATION DID NOT CONTINUE ITS FIRST-YEAR
                       DECLINE
                       In September 2011, the month before realignment was implemented,
                       California’s prison population stood at 160,700, or 431 inmates per

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                  100,000 residents (Figure 1).Document 6529-2
                                                Three months later Filed
                                                                   it had03/25/20
                                                                          dropped toPage 75 of 249
                       144,000, and by September 2012 it had fallen to 133,400 (355 inmates
                       per 100,000 residents). After that, the population increased slowly until
                       November 2014, when voters passed Proposition 47.4 After that, the
                       prison population dropped by almost 5,000, to about 131,200 (or 341
                       inmates per 100,000 residents). This reduction—along with the increased
                       use of in-state contract beds in both public and private facilities and the
                       opening of a new health care facility in Stockton—has reduced
                       overcrowding and brought the prison population into compliance with the
                       federal court–ordered target of 137.5 percent of design capacity. The
                       prison population now stands at 136.1 percent of design capacity, about
                       1,200 inmates below the mandate, ahead of the February 2016 deadline.5


                             Figure 1. After a big first-year drop, the prison
                             population stopped declining until Proposition 47
                             passed




                             SOURCE: California Department of Corrections and Rehabilitation, Weekly Population
                             Report, January 2010–February 2015.
                             NOTE: Total prison population as of the last day of the month.



                       COUNTY JAIL POPULATIONS ARE GROWING AT A SLOWER RATE
                       With the diversion of both newly sentenced lower-level felons and parole
                       violators to county jail, California’s average daily jail population (ADP)
                       increased significantly by the end of the first year of realignment (from
                       about 71,800 to 80,900). California’s jail incarceration rate increased from
                       about 191 per 100,000 residents before realignment to 214 a year later.
                       Since then the rate has not changed much and now stands around 216.
                       Although the county jail population has continued to rise, it is increasing

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                  at a much slower rate. The monthly   6529-2daily
                                                     average     Filed 03/25/20increased
                                                                   population      Page 76 of 249
                       by 1,800 in the second year of realignment and by an additional 350 in
                       the first nine months of the third year. In other words, about 80 percent of
                       the post-realignment increase in the jail population took place in the
                       reform’s first year.

                       With a number of jails operating at full capacity and under court ordered
                       population caps, increases in the jail population do not fully indicate
                       realignment’s impact on incarceration. Early releases of jail inmates
                       prompted by these population caps (known as capacity-constrained
                       releases) also increased noticeably in the first year of realignment, from a
                       monthly average of about 10,700 the year immediately before
                       realignment to 12,300 during its first year, an increase of roughly 15
                       percent.6 Average capacity constrained releases went up in the second
                       year by about 700, and now hover around 13,100.


                             Figure 2. Jail populations have increased slowly since
                             the first year of realignment




                             SOURCE: Board of State and Community Corrections, Jail Profile Survey, January
                             2010–June 2014.



                       THE TOTAL INCARCERATION RATE IS HOLDING STEADY
                       Overall, the data quite clearly show that realignment’s impact on both jail
                       and prison incarceration was concentrated in the first year of
                       implementation. The decline in prison population was not matched by the
                       increase in jail population, so the combined jail and prison incarceration
                       rate dropped from 619 per 100,000 residents to 566. Between
                       September 2012 and June 2014, the combined jail and prison populations
                       have increased at a pace slightly above the overall rate of population

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                  growth in the state. The total         6529-2
                                                 incarceration      Filedincreased
                                                               rate has    03/25/20 only
                                                                                       Page 77 of 249
                       marginally, by 0.3 percent, to 568 inmates per 100,000 residents.7
                       Furthermore, capacity-constrained releases have leveled off.

                       In sum, the number of offenders not incarcerated as a result of
                       realignment changed very little after the first year of the reform. It will be
                       important to track the impact of Proposition 47—the prison population
                       data reveal a noticeable drop of about 5,000 in the first four months
                       since its passage in November 2014. But so far, to the extent that the
                       overall decline in the incarceration rate was the main determinant behind
                       the 2012 increase in property crime,8 our analysis suggests no additional
                       impact of realignment on crime in 2013, unless the impact occurred with a
                       delay.

                       California’s Crime Rates Declined in 2013
                       The Federal Bureau of Investigation’s (FBI) Uniform Crime Report data
                       show that after increasing slightly in 2012, California’s violent crime rate
                       dropped by 6.4 percent in 2013, to a 46-year low of 396 per 100,000
                       residents. As shown in Figure 3, the greatest percentage decrease in
                       2013 was in the murder rate, which dropped 8 percent—from 5 homicides
                       per 100,000 residents to 4.6. But other violent crime categories also saw
                       declines that ranged from 5.3 percent (rape) to 6.8 percent (aggravated
                       assault).


                             Figure 3. California saw declines in all violent offense
                             categories in 2013




                             SOURCE: FBI, Uniform Crime Reports, 2012–13.
                             NOTE: The percentage changes refer to the 2012–13 change in the crime rate, defined
                             as number of crimes per 100,000 residents. Violent crime includes homicide, rape,
                             robbery, and aggravated assault.


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                  Property crime increased quite       6529-2
                                                 noticeably      Filed 03/25/20
                                                            in 2012—by            Page 78 of 249
                                                                        7.8 percent—but
                       dropped in 2013 by 3.8 percent (Figure 4). The decline was seen in all
                       property crime categories, ranging from a 6.4 percent drop in burglaries
                       to 2.8 percent in motor vehicle thefts. In spite of the drop in motor vehicle
                       thefts from 444 per 100,000 residents to 431, California continues to have
                       the highest auto theft rate in the country.


                             Figure 4. Property crime declined by less than violent
                             crime in 2013




                             SOURCE: FBI Uniform Crime Reports, 2012–13.
                             NOTE: The percentage changes refer to the 2012–13 change in the crime rate, defined
                             as number of crimes per 100,000 residents. Property crime includes burglary, motor
                             vehicle theft, and larceny theft (including non-felonious larceny theft).



                       The encouraging news that crime rates have returned to their long-term
                       declining trend might suggest that the 2012 increase was an anomaly. To
                       better understand the extent to which this is true, we turn to a
                       comparison of California’s crime trends to those of other states. If the
                       observed 2012 increase in property crime was truly unrelated to
                       realignment, we might expect California’s 2013 decline in crime rates to
                       reduce or erase the gap between California and comparison states
                       estimated in our 2013 report.

                       HOW DOES CALIFORNIA’S DECLINE COMPARE TO OTHER STATES?
                       The FBI crime data show that the 2013 drop in violent crime rates in
                       California was somewhat greater than, but roughly in line with, changes
                       in other states. Table 1 shows that the statewide decline in violent crimes
                       was slightly greater than the national average. Eighteen states
                       experienced a greater decrease in the violent crime rate than California’s
                       6.4 percent, and 17 to 26 states experienced greater drops in murder,
https://www.ppic.org/publication/realignment-incarceration-and-crime-trends-in-california/                                                    6/13
3/24/2020                                Realignment, Incarceration, and Crime Trends in California - Public Policy Institute of California
             Case 2:90-cv-00520-KJM-SCR     Document
                  rape, robbery, and aggravated assault6529-2     Filed 03/25/20
                                                        rates. California’s decline inPage 79 of 249
                                                                                       violent
                       crimes is greater than declines in neighboring states but less than what
                       was observed in two other western states, Washington and Montana.


                             Table 1. The 2013 drop in California’s violent crime rates
                             was comparable to declines in most other states




                             SOURCE: FBI Uniform Crime Reports, 2012–13.
                             NOTE: The percentage changes refer to the percent change in the number of crimes
                             per 100,000 residents between 2012 and 2013.



                       Property crime declined less in California than in the U.S. as a whole
                       (Table 2). Thirty-three states saw greater property crime decreases than
                       California. California’s property crime rate fell by less than the rates in
                       three western states (Arizona, Idaho, and Wyoming). A handful of western
                       states saw increases in property crime, including Nevada, New Mexico,
                       and Washington.

                       Overall, the data suggests that the 2013 changes in crime in California do
                       not stand out compared to trends nationwide or in neighboring and other
                       western states.




https://www.ppic.org/publication/realignment-incarceration-and-crime-trends-in-california/                                                    7/13
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             Case 2:90-cv-00520-KJM-SCR                          Document 6529-2                 Filed 03/25/20             Page 80 of 249
                             Table 2. California’s 2013 property crime decrease was
                             less than that of most other states




                             SOURCE: FBI Uniform Crime Reports, 2012–13.
                             NOTE: The percentage changes refer to the percent change in the number of crimes
                             per 100,000 residents between 2012 and 2013.



                       Simple comparisons between California and other states cannot tell us
                       conclusively whether its trends are truly unique. To determine whether
                       crime trends have been affected by realignment, we identified a
                       combination of states that best represents what California’s crime rates
                       would have been had the state not implemented realignment.

                       REALIGNMENT’S MODEST IMPACT
                       As we did in our previous report, we use a data driven matching strategy
                       to identify a combination of states with crime trends similar to California’s
                       prior to realignment (the so-called synthetic control method).9 The post-
                       realignment crime trends of this matched group of states best represent
                       what the crime rates would have been in California had the state not
                       implemented realignment.

                       There is still no evidence that realignment has affected violent crime.
                       Figure 5 shows that California’s violent crime rate continues to follow the
                       trend of its comparison states. Post-realignment changes in violent crime
                       in California fluctuate in ways that are similar to the comparison states,
                       and none of the deviations from the trend are statistically significant.10
                       We also analyze each of the four violent crime offense trends separately
                       and find that changes in rates of murder, rape, aggravated assault, and


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             Case 2:90-cv-00520-KJM-SCR
                  robbery in California do notDocument
                                               stand out 6529-2  Filed 03/25/20
                                                         when compared  to changesPage
                                                                                   in 81 of 249
                       other states.11


                             Figure 5. California’s violent crime trend continues to
                             match trends in comparison states




                             SOURCE: Authors’ estimates based on annual state level data from the FBI’s Uniform
                             Crime Reports, 2000–2013.
                             NOTE: The matched comparison states (with estimated weights in parentheses) are
                             Florida (0.338), Maryland (0.161), Montana (0.068), New York (0.214), Rhode Island
                             (0.191), and South Carolina (0.029).



                       Our analysis of property crime trends shows that the gap between
                       California and other states that emerged in 2012 remains unchanged in
                       2013. Figure 6 shows that California’s pre-realignment property crime
                       trend can be closely matched to that of a set of comparison states. The
                       trends start to diverge in 2011, the year in which realignment was
                       implemented; by 2012 there was a noticeable gap. In 2013, California’s
                       property crime rate declined, but not at a greater rate than in comparable
                       states. Our analysis of the three property offense categories of burglary,
                       larceny theft, and motor vehicle theft reveals that the post-realignment
                       increase in property crime has been driven by an increase in the auto
                       theft rate.12




https://www.ppic.org/publication/realignment-incarceration-and-crime-trends-in-california/                                                    9/13
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                             Figure 6. The property crime rate gap between
                             California and comparison states persisted in 2013




                             SOURCE: Authors’ estimates based on annual state level data from the FBI’s Uniform
                             Crime Reports, 2000–2013.
                             NOTE: The matched comparison states (with estimated weights in parentheses) are
                             Colorado (0.033), Georgia (0.001), Kentucky (0.133), Massachusetts (0.032), Nevada
                             (0.163), Tennessee (0.075), West Virginia (0.041), and Wyoming (0.522).




                       Policy Implications
                       As we have seen, one of realignment’s major effects in its first four years
                       has been to decrease California’s reliance on incarceration. The state
                       prison population has declined substantially without causing a
                       corresponding one-to-one increase in the county jail population. As of
                       June 2014, the state’s incarceration rate had dropped by slightly more
                       than 8 percent, from 622 inmates per 100,000 residents to 570.
                       Importantly, our research shows that this reduction has had a very limited
                       impact on crime. As we reported in our earlier work, and updated here
                       with 2013 crime data, our analyses reveal no evidence that realignment
                       has so far had an impact on violent crime rates. The only effect we can
                       attribute to realignment is a noticeable rise in motor vehicle thefts. Our
                       estimates indicate that realignment increased the auto theft rate by
                       slightly more than 70 per 100,000 residents, an increase of about 17
                       percent.

                       From a cost-benefit perspective, incarceration does prevent some crime,
                       but at current rates its effect is very limited.13 The estimated crime
                       preventive effects remain unchanged from our earlier report: each
                       additional dollar spent on incarceration generates only 23 cents in “crime
https://www.ppic.org/publication/realignment-incarceration-and-crime-trends-in-california/                                                    10/13
3/24/2020                                Realignment, Incarceration, and Crime Trends in California - Public Policy Institute of California
             Case 2:90-cv-00520-KJM-SCR
                  savings.” This suggests thatDocument   6529-2benefit
                                               the state would    Filedfrom
                                                                         03/25/20
                                                                             seekingPage 83 of 249
                       alternative crime preventive strategies. There are many promising
                       approaches—from early childhood programs and targeted interventions
                       for high-risk youth to increased policing and cognitive behavioral therapy.
                       Also promising are alternative systems for managing probationers and
                       parolees—including swift-and-certain yet moderate sanctions that have
                       been implemented by systems such as Hawaii’s Opportunity Probation
                       with Enforcement (HOPE).

                       Arguably, it is more important than ever to identify and implement
                       effective strategies in California. The recently passed Proposition 47,
                       which converted a number of drug and property offenses from felonies to
                       misdemeanors, will further decrease California’s reliance on
                       incarceration. At high incarceration rates, reduced reliance on
                       incarceration appears to have a small and very limited effect on crime,
                       but this effect might become larger with further declines.14 Hence, it is
                       particularly important to redirect incarceration savings to effective crime-
                       preventive strategies, such as those mentioned above. Additionally,
                       realignment’s shift of responsibilities from the state to the county level
                       means that a number of strategies have already been implemented—
                       some more successfully than others.15 More resources should be
                       devoted to identifying effective alternative strategies and determining
                       whether those efforts can be expanded and replicated around the state.

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                       NOTES

                          1. Realignment shifted responsibility and funding from the state in three main ways.
                             First, lower-level offenders convicted of non-sexual, non-violent, and non-serious (so-
                             called triple-non) crimes and who have no sexual, serious, or violent crimes in their
                             criminal records now serve their sentences under county supervision rather than in
                             state prisons. Second, parole violators who violate the terms of their release but are
                             not convicted of a new felony are no longer sent to state prison but serve short stays
                             in county jails or face other local sanctions. Third, most offenders serving time in
                             state prison for triple-non offenses will now, upon release from prison, be supervised
                             by county probation departments rather than state parole. Realignment also reduced
                             the maximum incarceration period for probation or parole violations from one year to
                             six months.
                         2. Magnus Lofstrom and Steven Raphael, Public Safety Realignment and Crime Rates in
                            California, (PPIC 2013).
                         3. It is important to note that crime data are currently available only through 2013, which
                            limits our analysis of realignment’s potential impact on crime to roughly the first two
                            years (27 months, to be precise) of the reform.
                         4. Proposition 47 classifies a number of drug and property offenses as misdemeanors
                            instead of felonies or wobblers (wobblers may be charged as misdemeanors or
                            felonies at the discretion of the prosecutor). Moreover, the new law—which went into
                            effect November 5—permits offenders to file for resentencing, meaning that those
                            who are resentenced could be released from jail or prison.

https://www.ppic.org/publication/realignment-incarceration-and-crime-trends-in-california/                                                    11/13
3/24/2020                                Realignment, Incarceration, and Crime Trends in California - Public Policy Institute of California
             Case 2:90-cv-00520-KJM-SCR
                    5. California was sued in federalDocument     6529-2inadequate
                                                      court for providing   Filed 03/25/20
                                                                                   mental health Page  84 of 249
                                                                                                 care and
                            medical care to its prison inmates. As a result, in 2007 a three-judge panel
                            determined that excessive crowding in the state’s prisons prevented improved
                            conditions and ordered the state in 2009 to reduce its institutional population to
                            137.5 percent of design capacity. The state appealed to the U.S. Supreme Court,
                            which upheld the mandate in May 2011.
                         6. Given that there are no currently available data on the extent to which capacity-
                            constrained releases shorten sentences, we do not know how many additional
                            offenders are on the street as a result of this increase.
                         7. As of June 2014, the most recent month for which statewide jail population data is
                            available.
                         8. Lofstrom and Raphael, Public Safety Realignment and Crime Rates in California.
                         9. For more detail about the application of the synthetic control method in this context,
                            see the Technical Appendix to Lofstrom and Raphael, Public Safety Realignment and
                            Crime Rates in California.
                        10. To test whether the differences between California and the matched comparison
                            states are statistically significant, we re-run the matching process for the other states,
                            generating a set of matched states for each and then comparing the observed post-
                            realignment differences to the pre-realignment-year differences. A ranking of the
                            magnitude of the estimated changes tells us whether California’s changes stand out
                            and provides the basis for statistical significance. California’s post-realignment
                            change would be statistically significant at the commonly used 5 percent significance
                            level if it ranked first or second. At a 10 percent significance level, the change would
                            need to be ranked fourth or higher. California’s post-realignment change in the
                            violent crime rate ranks no higher than 14th when we simulate a policy change in all
                            other states.
                         11. California’s post-realignment change in each of the violent offense category never
                             ranks higher than 10th when we simulate a policy change in all other states.
                        12. California’s post-realignment increase in motor vehicle theft is larger than increases
                            in the other states and subsequently ranks first. The increases in burglaries and
                            larceny thefts never rank higher than 10th and hence are statistically insignificant.
                        13. Although inherently difficult and controversial, the crime prevention associated with
                            incarceration can be assessed in the context of cost-benefit analysis. Assuming that
                            costs associated with crime can be measured reliably, the costs of crimes avoided
                            due to incarceration—a benefit—can be juxtaposed against the costs of incarceration.
                            Clearly, the costs associated with violent crime are both more controversial and more
                            difficult to ascertain than are the costs associated with property crime. Nonetheless,
                            there is a growing body of research that places a dollar value on the social costs of
                            specific criminal offenses. The general approach is to obtain estimates of so-called
                            willingness-to-pay to reduce the probability of experiencing an undesirable outcome,
                            such as having one’s car stolen (this is similar to the approach used to generate
                            estimates of other difficult-to-determine costs such as those associated with
                            pollution). See Paul Heaton, “Hidden in Plain Sight: What Cost-of-Crime Research Can
                            Tell Us about Investing in Police” (RAND 2010) for a summary of the approaches used
                            and societal crime cost estimates based on the relevant literature.
                        14. See for example Raymond Liedka, Anne Morrison Piehl, and Bert Useem, “The Crime
                            Control Effect of Incarceration: Does Scale Matter?” Criminology and Public Policy 5
                            (2006): 245–75; Paolo Buonanno and Steven Raphael, “Incarceration and
                            Incapacitation: Evidence from the 2006 Italian Collective Pardon,” American
                            Economic Review 103 (2013): 2437–65; and Lofstrom and Raphael, Public Safety
                            Realignment and Crime Rates in California.
                        15. Jeffrey Lin and Joan Petersilia, Follow the Money: How California Counties Are
                            Spending Their Public Safety Realignment Funds (Stanford Criminal Justice Center,
                            2013); Mia Bird and Ryken Grattet, Do Local Realignment Policies Affect Recidivism in
                            California? (PPIC 2014). Some early evidence of a certain degree of success is that in
                            spite of reduced incarceration as a sanction for parole violations (as a result of lower
                            maximum sentence for a parole violation and jail capacity constraints), recidivism
                            rates did not increase in the first year of realignment. In fact, the one-year re-arrest
https://www.ppic.org/publication/realignment-incarceration-and-crime-trends-in-california/                                                    12/13
3/24/2020                                Realignment, Incarceration, and Crime Trends in California - Public Policy Institute of California
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                      rate of offenders released from            6529-2
                                                      state prison           Filed
                                                                   declined by     03/25/20
                                                                               about            Page
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                            compared to pre-realignment releases. See Lofstrom, Raphael, and Grattet, Is Public
                            Safety Realignment Reducing Recidivism in California? (PPIC 2014).


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                       ACKNOWLEDGMENTS

                       This report has benefited significantly from comments and suggestions by Mia Bird, Sarah
                       Bohn, Emma Hughes, Mary Severance, Drew Soderborg, and Lynette Ubois.




            MAY 2015
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            AUTHORS




            Magnus Lofstrom
            Policy Director and Senior Fellow




            Steven Raphael
            Adjunct Fellow


            PRESS RELEASE
            Realignment Leads to an Increase in Auto Theft But Not in Violent Crime




https://www.ppic.org/publication/realignment-incarceration-and-crime-trends-in-california/                                                    13/13
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                         EXECUTIVE DEPA RTMENT
                          STATE OF CALIFORNIA


                              EXECUTIVE ORDER N-33-20

      WHEREAS on March 4, 2020, I proclaimed a State of Emergency to exist in
California as a result of the threat of COVID-19; and

      WHEREAS in a short period of time, COVID-19 has rapidly spread
throughout California, necessitating updated and more stringent guidance from
federal, state, and local public health officials; and

       WHEREAS for the preservation of public health and safety throughout the
entire State of California, I find it necessary for all Californians to heed the State
public health directives from the Department of Public Health.

       NOW, THEREFORE, I, GAVIN NEWSOM, Governor of the State of California,
in accordance with the authority vested in me by the State Constitution and
statutes of the State of California, and in particular, Government Code sections
8567, 8627, and 8665 do hereby issue the following Order to become effective
immediately:

      IT IS HEREBY ORDERED THAT:

      1) To preserve the public health and safety, and to ensure the healthcare
         delivery system is capable of serving all, and prioritizing those at the
         highest risk and vulnerability, all residents are directed to immediately
         heed the current State public health directives, which I ordered the
         Department of Public Health to develop for the current statewide
         status of COVID-19. Those directives are consistent with the March 19,
         2020, Memorandum on Identification of Essential Critical Infrastructure
         Workers During COVID-19 Response, found at: https://covid19.ca.gov/.
         Those directives follow:

                   ORDER OF THE STATE PUBLIC HEALTH OFFICER
                                March 19, 2020

          To protect public health, I as State Public Health Officer and Director
          of the California Department of Public Health order all individuals living
          in the State of California to stay home or at their place of residence
          except as needed to maintain continuity of operations of the federal
          critical infrastructure sectors, as outlined at
          https://www.cisa.gov/identifying-critical-infrastructure-during-covid-19.
          In addition, and in consultation with the Director of the Governor's
          Office of Emergency Services, I may designate additional sectors as
          critical in order to protect the health and well-being of all Californians.

           Pursuant to the authority under the Health and Safety Code 120125,
           120140, 131080, 120130(c), 120135, 120145, 120175 and 120150, this
           order is to go into effect immediately and shall stay in effect until
           further notice.

           The federal government has identified 16 critical infrastructure sectors
           whose assets, systems, and networks, whether physical or virtual, are
           considered so vital to the United States that their incapacitation or
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          destruction would have a debilitating effect on security, economic
          security, public health or safety, or any combination thereof. I order
          that Californians working in these 16 critical infrastructure sectors may
          continue their work because of the importance of these sectors to
          Californians' health and well-being.

          This Order is being issued to protect the public health of Californians.
          The California Department of Public Health looks to establish
          consistency across the state in order to ensure that we mitigate the
          impact of COVID-19. Our goal is simple, we want to bend the curve,
          and disrupt the spread of the virus.

          The supply chain must continue, and Californians must have access to
          such necessities as food, prescriptions, and health care. When people
          need to leave their homes or places of residence, whether to obtain
          or perform the functions above, or to otherwise facilitate authorized
          necessary activities, they should at all times practice social distancing.

      2) The healthcare delivery system shall prioritize services to serving those
         who are the sickest and shall prioritize resources, including personal
         protective equipment, for the providers providing direct care to them.

      3) The Office of Emergency Services is directed to take necessary steps to
         ensure compliance with this Order.

      4) This Order shall be enforceable pursuant to California law, including,
         but not limited to, Government Code section 8665.

        IT IS FURTHER ORDERED that as soon as hereafter possible, this Order be
filed in the Office of the Secretary of State and that widespread publicity and
notice be given of this Order.

      This Order is not intended to, and does not, create any rights or benefits,
substantive or procedural, enforceable at law or in equity, against the State of
California, its agencies, departments, entities, officers, employees, or any other
person.


                                      IN WITNESS WHEREOF I have
                                      hereunto set my hand and caused
                                      the Gre t Seal of the tote of
                                                           d his 19th day




                                      ATTEST:




                                      ALEX PADILLA
                                      Secretary of State
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                                       March 13, 2020

Governor Gavin Newsom
1303 10th Street, Suite 1173
Sacramento, CA 95814

Sent via email: governor@governor.ca.gov, gavin.newsom@gov.ca.gov

To the Honorable Gavin Newsom, Governor of the State of California:

We are calling on you to act immediately to protect the lives of the people impacted by the
California Department of Corrections and Rehabilitation (CDCR), including people in custody,
staff at CDCR, and the family members and communities of staff and those who are
incarcerated. At this time, with the coronavirus threatening the health and lives of untold
numbers of people under your care and control, a current prison sentence in California could
turn into a death sentence for many.




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Under California Government Code section 8550, the Emergency Services Act, you have the
power to immediately release people from prisons and thus work to mitigate the spread
of this disease. In 2006, Governor Arnold Schwarzenneggar used these powers to immediately
reduce prison overcrowding in California1. You must now use this same power to save lives.

COVID-19 in Prison

COVID-19 outbreaks in California prisons and jails will spread “like wildfire” due to close
quarters, overpopulation, unsanitary conditions, overcrowding, and staff that come in and out of
the prisons every single day.

California prisons are designed for a maximum capacity of 85,000 people but have been over
capacity for decades.

    ●   There are currently over 123,000 people held in CDCR custody.

    ●   Though the prison population has begun to decline in California, it still remains 5 times
        the size it was in 1980, despite the incredible drop in crime rates since the early 1990s.

This overcrowding and unsanitary conditions will contribute to the spread of COVID-19 within
California’s prison system. Moreover, it threatens the public at large, as thousands of individuals
and correctional, medical, and other staff interact with the incarcerated population and return
to their communities.

COVID-19 poses the greatest risk of death to the elderly as well as to those who are
immunocompromised, suffer from diabetes, chronic obstructive pulmonary disorder and other
lung conditions, high blood pressure, and those with cancer. And in California, we have an aging
prison population. Even as the state tried to decrease the number of people in prison, the
population of people in prison 55 or older increased by 94 percent between 2005 and 2015, and
in 2017, one in seven people in a California prison was age 55 or older. People in this age group
are at the greatest risk for death from COVID-19 yet pose the least public safety risk to our
communities. Thus evidence supports that this cohort of people can be safely released.

Further, overcrowding has led to too few health care professionals working inside the prisons to
provide even an adequate level of care. By releasing the elderly and others who present a low
public safety risk from the state’s prisons, it will reduce overcrowding and free up health care
services to begin to properly address the remaining people kept inside the prisons.

To this end, we are calling on you to immediately:

    1. Release all medically fragile adults and adults over the age of 60 to parole
       supervision. Jails and prisons house large numbers of people with chronic illnesses


1 CCPOA v. Schwarzeneggar (2008) 163 Cal. App. 4th 802 (Governor had power under Emergency
Services Act to act to immediately release to private prisons people incarcerated in a state prison).


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     and complex medical needs, who are more vulnerable to becoming seriously ill and
     requiring more medical care with COVID-19. And the growing number of older adults in
     prisons are at higher risk for serious complications from a viral infection like COVID-19.
     Releasing these vulnerable groups from prison and jail will reduce the need to provide
     complex medical care or transfers to hospitals when staff will be stretched thin.
     Individuals who do not have families or others that can offer housing should be released
     to re-entry facilities.
  2. Release all people who have an anticipated release dates in 2020 and 2021 to
     parole supervision. People who have been sentenced to determinate sentences and
     who would be released soon should be released immediately. This will limit
     overcrowding and free up beds in facilities that will be needed to care for the sick. These
     people are overwhelmingly in low-level (Levels 1 and 2) security.
  3. Expedite all review processes for people already found suitable for release,
     lift holds, and expedite the commutation process. For all people who have been
     found suitable for parole by the Board of Parole Hearings, we ask that you expedite the
     review process and release these parole candidates. Similarly, you should lift all current
     holds by CDCR for anyone who has been resentenced pursuant to Penal Code sections
     1170(d)(1) and 1170.95. We ask that your office also direct increased resources to
     addressing the commutation applications that are currently before you and grant the
     many worthy applications expeditiously.
  4. Immediately suspend all unnecessary parole meetings. People deemed “low
     risk” should not be required to spend hours traveling to and from meetings, often on
     public transportation, to wait in administrative buildings for brief check-ins with their
     parole officers. As many people as possible should be allowed to check in by telephone.
     Further, people on parole who have been under supervision for three years or longer and
     have not had an arrest within the last 12 months should be discharged from supervision.
  5. Eliminate parole revocations for technical violations. Parole officers and others
     should cease seeking warrants for behaviors that would not warrant incarceration for
     people not on parole. Reducing these unnecessary incarcerations would reduce the risk
     of transmitting a virus between the facilities -- jails and prisons -- and the community,
     and vice versa.
  6. Lift all fees for calls to family members. As CDCR has limited visits to people who
     are incarcerated, it is critical that these individuals be able to communicate with their
     family members and loved ones. All phone calls made by those who are incarcerated to
     their family members and loved ones should be made free during such time as family
     visits are limited.
  7. Insist that CDCR adequately address how they will care for people who are
     incarcerated. In addition to taking steps to immediately address overcrowding, all
     people who remain in custody should be cared for. We note that in all of the CDCR
     information released thus far, there is a shocking lack of concrete details given as to the
     exact steps CDCR is taking to prevent infections, or to care for those who get sick. CDCR
     has stated that they will use the same protocols they use for other illnesses, which
     often means widespread lockdowns or isolating people without care. This approach
     is both cruel and inadequate. At the very minimum, all people who are incarcerated



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       must have access to soap and running water. Hand sanitizer should be made widely
       available and possession of hand sanitizer should be allowed. Appropriate medications
       and treatment should be available to all without cost. People who are sick should be
       cared for by appropriate medical staff.

Governor, we know how seriously you take your duty to protect the lives of people living and
working in California’s prisons and the surrounding communities. As you know, the health,
well-being and indeed the lives of these people are quite literally in your hands. We urge you to
take immediate and decisive action now to save lives. We will support you in taking the bold, but
necessary, action now to protect the health of every Californian, including the most vulnerable.

Sincerely,

The Justice Collaborative                           UnCommon Law
Smart Justice California                            San Francisco Rising
ACLU California                                     Policy Link
Color of Change                                     Pillars of the Community
Californians for Safety and Justice                 Initiate Justice
Immigrant Legal Resource Center                     Californians United for a Responsible
Ella Baker Center for Human Rights                  Budget
Asian Americans Advancing Justice -Asian            La Defensa
Law Caucus                                          The Bail Project
California Public Defender’s Association            Asian Solidarity Collective
Los Angeles County Public Defenders,                Alliance for Boys and Men of Color
AFSCME Local 148                                    California Prison Moratorium Project

cc:    Dr. Nadine Burke Harris, California Surgeon General
       OSGInfo@osg.ca.gov
       Secretary Ralph Diaz, California Department of Corrections and Rehabilitation
       ralph.diaz@cdcr.ca.gov
       Dr. Diana Toche, Undersecretary, Health Care Services, CDCR
       diana.toche@cdcr.ca.gov
       Dr. Joseph Bick, Director, Division of Correctional Health Care Services, CDCR
       joseph.bick@cdcr.ca.gov




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                                        March 18, 2020

Daniel Seeman, Deputy Cabinet Secretary
daniel.seeman@gov.ca.gov

Kelli Evans, Deputy Legal Affairs Secretary
Kelli.Evans@gov.ca.gov

Dear Dan and Kelli,
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As a follow-up to our letter to the Governor on Friday, March 13, 2020, we are writing to suggest
more specific steps that can be taken to protect the health and well-being of all people in CDCR
custody, the staff, and the surrounding communities. As lawyers, advocates, philanthropists,
and service providers, we remain ready to assist in the release process, to increase services for
those who are released, and to support those who remain in custody.

California’s prisons have been overcrowded for decades. We have an aging population
incarcerated. In order to address ​the public health crisis​, actions must be taken now to reduce
the population. Public health experts are in agreement about this. The New York Board of
Corrections made recommendations yesterday that extend much further than what we are
recommending. The Los Angeles Times editorial board ​issued this​ today, urging all in charge of
jails and prisons to act to expedite releases. The time to act is now.

We understand the valid concerns about where people will go and where they will be housed.
Respectfully, when faced with loss of life, the primary goal for prisons must be to “flatten the
curve” and provide for as much social distancing as possible. ​We join public health experts
in concluding that the single most effective way -- perhaps the only way -- to
achieve risk-mitigating social distancing inside prisons is through accelerated
release and other immediate density reduction steps. ​That said, your office and local
governments are taking extraordinary steps to house the homeless and those who need to be
quarantined, including in hotels and motels. This can also be done for those released from
prison. Existing service providers and philanthropic organizations stand ready to increase
staffing and resources to accommodate an influx of community placement needs.

Below, please find more specific recommendations.

  I.   Population Reduction Proposals to Reduce Risk of Transmission and Death
       Within Facilities

Our shared goals are 1) to protect those at high risk of COVID-19; 2) mitigate the threat of rapid
spread that will overwhelm the health care system by reducing the population density within
facilities to 100% of capacity; and 3) ensure that those released do not present either a health
risk or a public safety risk to the community. Accordingly we are recommending the following:

   A. Emergency release based on an individual’s COVID-19 risk

   ●   Age: Release to parole/PCRS individuals 60 and older who have five years or less on
       their sentence and all those 60 and over who have been determined to be low risk by
       CDCR’s internal evaluation. This internal evaluation may be a “comprehensive risk
       assessment” that has been done by the Board of Parole Hearings, or any other
       assessment tool used by CDCR to assess risk, including current classification score or
       intake assessment.

   ●   Health: Release to parole/PCRS individuals who are immuno-compromised or who are
       medically vulnerable because of diabetes, heart disease, respiratory condition, or
       otherwise, who have five years or less on their sentence and all those in this cohort who
       have been determined to be low risk by any CDCR internal evaluation, as defined above.
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   B. Density reduction measures

   ●   Accelerate release to parole/PCRS of those already found suitable for parole by the Board
       of Parole Hearings.

   ●   Release to parole/PCRS all individuals deemed low risk by CDCR’s internal evaluation
       who have 2 years or less remaining on their sentence.

   ●   Issue an emergency order prohibiting new prison admissions for the duration of the
       crisis.

   ●   Release to parole/PCRS all women serving determinate sentences, which would allow
       one facility to be repurposed thereby reducing density in other facilities.

   ●   For all individuals found eligible for release under Prop 57 and all those who have been
       re-sentenced pursuant to Penal Code section 1170.95 (SB 1437), lift all current holds and
       release forthwith to parole/PCRS.

   ●   Release to parole/PCRS all those for whom staff have already recommended
       resentencing under 1170(d).

   ●   We ask that your office also direct increased resources to addressing the commutation
       applications that are currently before you and grant the many worthy applications
       immediately.


   C. Reduce density in housing units with high COVID-19 risk

   ●   Reduce density in the most crowded housing units and dormitory-style housing units.

   ●   Reduce density in housing units with a history of quarantine based on previous
       outbreaks.


   D. Prevent overload of parole/PCRS case loads

   ●   Review all people who have passed their Presumptive Discharge Date and remove them
       from parole unless there has been new criminal behavior within the last 12 months.

   ●   Release parole holds on all parolees currently held in County Jails and prohibit
       additional detention for parole violations.

   ●   End supervision for anyone who has been on PCRS for two years.
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   ●   Conduct a review of all persons on life term parole and consider discharge if a person has
       been on parole for three years and has had no parole violations within the last twelve
       months.



   II. Suggestions for Reentry and Transitional Houses To Accommodate Released
       People

Our shared goals are to provide safe standards for releasing people from prison that both
protects the person being released and the community into which they are being released from
possible infection.

   A. Ways to increase available housing to accommodate releases and reduce
      overcrowding

   ●   Allow and encourage those with families and loved ones who can house them to return
       directly to their families, without requiring a stay in transitional housing.

   ●   Use the Governor’s emergency powers to house people in available and vacant buildings
       that have kitchen facilities and other necessary infrastructure such as hotels, motels and
       college dorms.

   ●   Provide funding opportunities for existing housing providers to expand rapidly,
       including offering the use of hotels and motels and other buildings and grant emergency
       funding for hiring staff.

   ●   Provide resources for re-entry service providers who provide mental health, substance
       abuse, and housing services so that they can safely remain open in order to provide
       essential services. For those services that are not open for physical visits, provide support
       and encouragement for utilizing teleservices.

   ●   Enlist philanthropic organizations to assist with funding. (Should you be interested in
       pursuing this avenue, we can make introductions to our philanthropic funding partners
       who have indicated a desire and ability to assist.)

   ●   Restrict unreasonable housing bans for people with convictions who are being released
       from custody, including any restrictions on living with family members in public
       housing.


   B. Ways to establish safe standards for releasing people from prison

   ●   Provide all people being released from prison and associated staff with protective gear
       including hand sanitizer, gloves, and sanitizing wipes.

   ●   Issue an activated Lifeline cellphone during release (aka ‘Obama Phone’). This will
       facilitate connecting with parole and probation in ways that minimize contact. Advocates
       can assist with this.
Case 2:90-cv-00520-KJM-SCR           Document 6529-2          Filed 03/25/20      Page 104 of 249


   ●   Expand the CAL ID program to everyone released so they can file paperwork and photos
       and get IDs without visiting DMV in person.

   ●   Work to reduce exposure and the possible spread by having people released from
       facilities where there has been a confirmed case by releasing people into a safe 14-day
       quarantine. Such facilities may include hotels and motels, as was provided for by
       passengers disembarking from a ship.

   ●   Increase the Gate Money allocation by 1) not subtracting cost of clothing or
       transportation and 2) increasing base amount to $1000.

   ●   Minimize in-person contact between released people and parole/probation officers to
       protect both parties and reduce use of public transportation for office visits. In lieu of
       in-person parole meetings, use state-issued cell-phones or Zoom/video check in via a
       computer in the parolee’s home/transitional house.




   III. Ways to Ensure Prisoner Physical and Mental Health During the COVID-19
        Pandemic

We have shared goals of ensuring that all people are kept safe and healthy, both mentally and
physically during this time. To that end, we start by saying that community groups are available
to prepare informational resources for distribution, identify specific products, locate vendors to
prepare packages, and to assist with delivery and other logistics.

   A. Distribution of information

To promote the safety and mental health of people living inside prisons, increase the flow of
information regarding COVID-19 and the state of the pandemic inside the prison, across the
country, and around the world:

   ●   Provide key health information addressing the following topics via prison television
       stations, flyers, wall posters, and local radio stations:

           ○   Information on COVID-19: what it is, how it is transmitted, symptoms, and risk
               groups.

           ○   Practical guidance for minimizing risk, specifically for people who are
               incarcerated.

           ○   Instructions on what to do if feeling ill, and what actions will be taken by the
               institution (including testing; where will people be housed; what access to the
               outside world will be provided).
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   ●   Instruct the medical staff and warden of each facility to share facility-specific updates
       daily to a designated inmate council comprised of representatives from each unit or cell
       block, e.g. Men’s Advisory Council, and to permit the inmate representatives to debrief
       their respective unit or cell block following each daily update.
   ●   This information should also be made available to people with limited or no English (i.e.,
       deliver in multiple languages), or to those who are non-readers, or with disabilities.
       Advocates from trusted community organizations are available to produce these
       resources, in order to increase credibility and compliance with outlined
       recommendations and reporting.



   B. Distribution of supplies and materials

Given the labor-intensity and potential health risks of operating canteen and distributing
supplies, CDCR should permit the distribution of weekly packages containing the following:

   ●   Cleaning supplies (hand sanitizer, gloves, tissues, cleaning fluid and rags)

   ●   Hygiene products (soap, toothpaste, shampoo, feminine hygiene products as
       appropriate)

   ●   Non-perishable nutritious food (e.g., trail mix, preserved meat, healthy soup packets)

   ●   Writing materials (wireless notebook)

   ●   Reading materials (books or magazines)



   C. Communication with family and loved ones

It is imperative that inmates have the ability to safely and regularly communicate with family
members and loved ones throughout this crisis. To eliminate the significant health risks
associated with the use of shared landline phones and contraband cell phones, distribute basic
cell phones to all people who are quarantined and, potentially, to the entire population. There is
currently technology available to prescribe the telephone numbers that a given phone can call.
Advocates are ready to assist with this as necessary.

   D. Policies and procedures inside

We all want to contain the spread of the virus and care for all inside. To this end we suggest:

   ●   Provide sanitizing wipes at landline phone stations to reduce person-to-person
       transmission.
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   ●   When feasible, provide 30-day supplies of medications to reduce contact and staff
       workload.

   ●   Provide low density daily access to yard for anyone who is not ill, and instruct everyone
       to remain six feet apart at all times.

   ●   Provide access to showers at least every 48 hours.

   ●   Conduct regular deep cleaning of showers, i.e. minimum three times daily.

   ●   House those who are deemed medically high risk in single cells only.

   ●   Conduct weekly meetings between prison leadership (including medical staff) and
       inmate advisory councils to update on developments and discuss logistical challenges.
       Consider how prisoners might assist with the logistics outlined above and help
       compensate for potential staffing shortages.

   ●   Provide protective equipment, e.g. gloves and cleaning materials, and training to
       prisoners and staff who participate in prep or distribution of food or other goods, like
       laundry and supplies.

We understand the strain and extreme pressure you are operating under in the face of this
unprecedented challenge. We stand ready to assist in whatever way we can and appreciate your
consideration of these proposals intended to save lives.

Sincerely,

The Justice Collaborative                            Californians United for a Responsible
Smart Justice California                             Budget
ACLU California                                      La Defensa
Color of Change                                      The Bail Project
Californians for Safety and Justice                  Asian Solidarity Collective
Immigrant Legal Resource Center                      Alliance for Boys and Men of Color
Ella Baker Center for Human Rights                   California Prison Moratorium Project
Asian Americans Advancing Justice -Asian             Legal Services for Prisoners with Children
Law Caucus                                           California Coalition for Women Prisoners
California Public Defender’s Association             Young Women’s Freedom Center
Los Angeles County Public Defenders,                 Anti-Recidivism Coalition
AFSCME Local 148                                     California National Organization for
UnCommon Law                                         Women
San Francisco Rising                                 The Peace Alliance
Policy Link                                          Critical Resistance Los Angeles
Pillars of the Community                             Critical Resistance Oakland
Initiate Justice                                     Arab Resource and Organizing Center
                                                     Root and Rebound
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Paws for Life K9 Rescue                            Stronghold
Guiding Rage into Power                            Bonafide
Safe Return                                        Buddhist Pathways Prison Project, Inc.
TheatreWorkers Project                             The Ahimsa Collective
Transformative In-Prison Workgroup                 A Place for Grace
The Safer Communities Project                      Jail Guitar Doors


CC:

Dr. Nadine Burke Harris, California Surgeon General
OSGInfo@osg.ca.gov
Secretary Ralph Diaz, California Department of Corrections and Rehabilitation
ralph.diaz@cdcr.ca.gov
Dr. Diana Toche, Undersecretary, Health Care Services, CDCR
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Dr. Joseph Bick, Director, Division of Correctional Health Care Services, CDCR
joseph.bick@cdcr.ca.gov
Jennifer Shaffer
Jennifer.shaffer@cdcr.ca.gov
J. Clark Kelso, Receiver
ckelso@pacific.edu
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                             Exhibit 26
3/25/2020          Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Disease (COVID-19) Outbreak | The White House
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                                                                 PROCLAMATIONS



             Proclamation on Declaring a National Emergency
            Concerning the Novel Coronavirus Disease (COVID-
                              19) Outbreak
                                                            Issued on: March 13, 2020


                                                                     ★ ★ ★


        In December 2019, a novel (new) coronavirus known as SARS-CoV-2 (“the virus”) was first detected
        in Wuhan, Hubei Province, People’s Republic of China, causing outbreaks of the coronavirus
        disease COVID-19 that has now spread globally. The Secretary of Health and Human Services (HHS)
        declared a public health emergency on January 31, 2020, under section 319 of the Public Health
        Service Act (42 U.S.C. 247d), in response to COVID-19. I have taken sweeping action to control the
        spread of the virus in the United States, including by suspending entry of foreign nationals seeking
        entry who had been physically present within the prior 14 days in certain jurisdictions where
        COVID-19 outbreaks have occurred, including the People’s Republic of China, the Islamic Republic
        of Iran, and the Schengen Area of Europe. The Federal Government, along with State and local
        governments, has taken preventive and proactive measures to slow the spread of the virus and
        treat those a ected, including by instituting Federal quarantines for individuals evacuated from
        foreign nations, issuing a declaration pursuant to section 319F‑3 of the Public Health Service Act
        (42 U.S.C. 247d‑6d), and releasing policies to accelerate the acquisition of personal protective
        equipment and streamline bringing new diagnostic capabilities to laboratories. On March 11, 2020,
        the World Health Organization announced that the COVID-19 outbreak can be characterized as a
        pandemic, as the rates of infection continue to rise in many locations around the world and across
        the United States.


        The spread of COVID-19 within our Nation’s communities threatens to strain our Nation’s healthcare
        systems. As of March 12, 2020, 1,645 people from 47 States have been infected with the virus that

https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/   1/3
3/25/2020          Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Disease (COVID-19) Outbreak | The White House
          Case 2:90-cv-00520-KJM-SCR Document 6529-2 Filed 03/25/20 Page 110 of 249
        causes COVID-19. It is incumbent on hospitals and medical facilities throughout the country to
        assess their preparedness posture and be prepared to surge capacity and capability. Additional
        measures, however, are needed to successfully contain and combat the virus in the United States.


        NOW, THEREFORE, I, DONALD J. TRUMP, President of the United States, by the authority vested in
        me by the Constitution and the laws of the United States of America, including sections 201 and 301
        of the National Emergencies Act (50 U.S.C. 1601 et seq.) and consistent with section 1135 of the
        Social Security Act (SSA), as amended (42 U.S.C. 1320b-5), do hereby find and proclaim that the
        COVID-19 outbreak in the United States constitutes a national emergency, beginning March 1, 2020.
        Pursuant to this declaration, I direct as follows:


        Section 1. Emergency Authority. The Secretary of HHS may exercise the authority under section
        1135 of the SSA to temporarily waive or modify certain requirements of the Medicare, Medicaid, and
        State Children’s Health Insurance programs and of the Health Insurance Portability and
        Accountability Act Privacy Rule throughout the duration of the public health emergency declared in
        response to the COVID‑19 outbreak.


        Sec. 2. Certification and Notice. In exercising this authority, the Secretary of HHS shall provide
        certification and advance written notice to the Congress as required by section 1135(d) of the SSA
        (42 U.S.C. 1320b-5(d)).


        Sec. 3. General Provisions. (a) Nothing in this proclamation shall be construed to impair or
        otherwise a ect:


        (i) the authority granted by law to an executive department or agency, or the head thereof; or


        (ii) the functions of the Director of the O ice of Management and Budget relating to budgetary,
        administrative, or legislative proposals.


        (b) This proclamation shall be implemented consistent with applicable law and subject to the
        availability of appropriations.


        (c) This proclamation is not intended to, and does not, create any right or benefit, substantive or
        procedural, enforceable at law or in equity by any party against the United States, its departments,
        agencies, or entities, its o icers, employees, or agents, or any other person.
https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/   2/3
3/25/2020          Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Disease (COVID-19) Outbreak | The White House
          Case 2:90-cv-00520-KJM-SCR Document 6529-2 Filed 03/25/20 Page 111 of 249
        IN WITNESS WHEREOF, I have hereunto set my hand this thirteenth day of March, in the year of our
        Lord two thousand twenty, and of the Independence of the United States of America the two
        hundred and forty-fourth.


                                                               DONALD J. TRUMP




https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/   3/3
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                             Exhibit 27
Coronavirus disease 2019                                                                                                     3/25/2020, 12:37 AM

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           {atcr~\ World Health
           ~~ti Organization
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            Coronavirus disease (COVID-19)
            Pandemic
                                                                                                    COVID-19 Response Fund

               Protect yourself                                   Country &
                                                                                                        Donate
                                                                  technical
                                                                  guidance
                                                                                                        Your questions
            Latest updates - Live press conference (Geneva)                                             answered


                                                                                                        Travel advice




https://www.who.int/emergencies/diseases/novel-coronavirus-2019                                                                           1 of 5
Coronavirus disease 2019                                                                                                            3/25/2020, 12:37 AM

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                       Live from WHO Headquarters - COVID-1 9 dai ly press briefing 23 ...
                                                                                                     Situation reports




                                                          a                                          Media resources


                                                                                                     Research and
                                                                                                     Development

                                     WHO Director-General's opening remarks at the
                                     media briefing on COVID-19 - 23 March 2020                      Myth busters
                                     23 March 2020 I Speech




              Pass the message: Five steps to kicking out coronavirus
                                                                                                     EPI-WIN
                                                                                                     Infodemic Management
              23 March 2020 I News Release


                                                                                                                        Read More




https://www.who.int/emergencies/diseases/novel-coronavirus-2019                                                                                  2 of 5
Coronavirus disease 2019                                                                                                                                3/25/2020, 12:37 AM

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                 Rolling
                 -     - updates
                            -on  coronavirus
                                 -  - -      disease
                                                -(COVID-19)
                                                     - -




            Coronavirus disease
            (COVID-19) outbreak situation                                                                                                View dashboard ----+

                                                                                                                                          c--.--.....
              375,498                                   16,362                                   196
              Confirmed cases                           Confirmed deaths                         Countries, areas or
                                                                                                 territories with cases


              Updated : 24 March 2020, 14:53            Updated : 24 March 2020, 14:53           Updated : 24 March 2020, 14:53
              GMT-7                                     GMT-7                                    GMT-7




                                         All videos ----+                                Online training----+                At a glance: What
                                                                                                                             WHO has done


https://www.who.int/emergencies/diseases/novel-coronavirus-2019                                                                                                      3 of 5
Coronavirus disease 2019                                                                                                                                                                                3/25/2020, 12:37 AM

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                       How to protect yourself ...                        Novel coronavirus (2019 ...          ,.=:..~-.. .
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                                                                                                                                                                                         Organization




           What you                                  Situation                        Donors &                                           Research &
           need to know                              updates                          Partners                                           Development

           What is a coronavirus? →                  Situation reports →                See
                                                                                        - --progress
                                                                                              - ---  of         Update on research activities
                                                     Here you will find the latest      contributions           for novel coronavirus →
           How to protect yourself →                 situation updates and data                                 WHO's R&D Blueprint has
                                                     regarding the COVID-19                                     been activated to accelerate
           Myth-busters →
                                                     outbreak.                                                  diagnostics, vaccines and
           Travel advice →                                                                                      therapeutics for this
                                                     Disease Outbreak News →                          Strategic outbreak.
           Questions & answers →                     Since 21 January 2020,




https://www.who.int/emergencies/diseases/novel-coronavirus-2019                                                                                                                                                       4 of 5
Coronavirus disease 2019                                                                                                                    3/25/2020, 12:37 AM

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           See all COVID-19 videos →                 Disease Outbreak News                                          International Clinical Trials
                                                                                                       Preparedness
                                                     have been replaced with                                    Registry
                                                                                                                --       Platform →
                                                                                                                    --- ----------
           Training and e-learning →                                                                   and
                                                     daily situation reports.
                                                                                                       Response COVID-19 outbreak –
           COVID-19 and                                                                                Plan
                                                     COVID-19 situation                                             Emergency
                                                                                                                    ----      Use Listing
                                                                                                                         --- --------
           noncommunicable                           dashboard →                                                    Procedure (EUL)
           diseases →
                                                                                                       Donor        announcement →
                                                     Global situation dashboard
                                                                                                       Alert
                                                     →
                                                                                                       February
                                                                                                       2020
                                                     Report of the WHO-China
                                                     Joint Mission →

                                                     COVID-19 situation update      Partners and Networks →
                                                     for the WHO European
                                                     Region →                       Contingency fund for
                                                                                    emergencies →

                                                                                    United Nations website on
                                                                                    coronavirus →




https://www.who.int/emergencies/diseases/novel-coronavirus-2019                                                                                          5 of 5
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                             Exhibit 28
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                         OFFICE OF THE GOVERNOR

March 18, 2020

The Honorable Donald J. Trump
White House
1600 Pennsylvania Avenue, NW
Washington, D.C.

Dear Mr. President,

I write to respectfully request you immediately deploy the USNS Mercy Hospital Ship to
be stationed at the port of Los Angeles through September 1, 2020, to help decompress
our current health care delivery system in Los Angeles region in response to the COVID-
19 outbreak.

As you know, California has been disproportionately impacted by repatriation efforts
over the last few months. Our state and health care delivery system are significantly
impacted by the rapid increase in COVID-19 cases. In the last 24 hours, we had 126
new COVID- 19 cases, a 21 percent increase. In some parts of our state, our case rate is
doubling every four days. Moreover, we have community acquired tra nsmission in 23
counties with an increase of 44 community acquired infections in 24 hours. We project
that roughly 56 percent of our population-25.5 million people- wil l be infected with
the virus over an eight week period.

This resource will help decompress the health care delivery system to allow the Los
Angeles region to ensure that it has the ability to address critica l acute care needs,
such as heart attacks and strokes or vehicle accidents, in addition to the rapid rise in
COVID-19 cases. The population density in the Los Angeles Region is similar to New York
City, will be disproportionately impacted by the number of COVID- 19 cases.




                                                                                   J
I would ask that the US Navy coordinate with my Office of Emergency Services, through
the Defense Coordinator Officer to rapidly deploy this asset.

                         ership and look forward to our continue
                                                                         ussion.




                                                                                   i
              GOVERNOR GAVIN NEWSOM• SACRAMENTO, CA 95814 • (916 '1-45-2841
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                             Exhibit 29
               WHAT IS THE HEALTH CARE
    Case 2:90-cv-00520-KJM-SCR                             Document 6529-2                  Filed 03/25/20             Page 121 of 249



                SERVICES DASHBOARD?
A MONTHLY REPORT THAT:
 Consolidates key performance indicators and other important organization metrics across health
  care programs and service areas.
 Provides information typically monitored by health care organizations, such as patient outcomes,
  access to care, and utilization and cost.
 Helps the organization regularly assess progress in meeting annual performance objectives.
 Helps health care executives and managers identify areas that may need improvement.

                                                                                                  Click the icons below for more information:

  Statewide Dashboard                                Institution Comparison                                            Glossary
                Statewide                                       Compare performance
           performance trends                                     for all institutions


INSTITUTION MENU
Select an institution below for more information:
  Avenal State Prison (ASP)                                         High Desert State Prison (HDSP)
  California City Correctional Facility (CAC)                       Ironwood State Prison (ISP)
  Calipatria State Prison (CAL)                                     Kern Valley State Prison (KVSP)
  California Correctional Center (CCC)                              California State Prison, Los Angeles County (LAC)
  California Correctional Institution (CCI)                         Mule Creek State Prison (MCSP)
  Central California Women’s Facility (CCWF)                        North Kern State Prison (NKSP)
  Centinela State Prison (CEN)                                      Pelican Bay State Prison (PBSP)
  California Health Care Facility (CHCF)                            Pleasant Valley State Prison (PVSP)
  California Institution for Men (CIM)                              R. J. Donovan Correctional Facility (RJD)
  California Institution for Women (CIW)                            California State Prison, Sacramento (SAC)
  California Men’s Colony (CMC)                                     California Substance Abuse Treatment Facility (SATF)
  California Medical Facility (CMF)                                 Sierra Conservation Center (SCC)
  California State Prison, Corcoran (COR)                           California State Prison, Solano (SOL)
  California Rehabilitation Center (CRC)                            San Quentin State Prison (SQ)
  Correctional Training Facility (CTF)                              Salinas Valley State Prison (SVSP)
  Chuckawalla Valley State Prison (CVSP)                            Valley State Prison (VSP)
  Deuel Vocational Institution (DVI)                                Wasco State Prison (WSP)
  Folsom State Prison (FSP)
The Dashboard is intended to support headquarters and institution staff in identifying opportunities for improvement and monitoring progress toward
performance objectives. However, there are limitations to the information - California Correctional Health Care Services (CCHCS) has standardized many
data collection processes, provided training to promote consistency in data reporting, and invested in information system modifications to improve data
quality. However, much of the data featured in the Health Care Services Dashboard is gathered through multiple networked databases or self-reported by
institutions, and the data have not been validated or verified. Performance objectives and benchmarks were generated internally for quality improvement
purposes and are not necessarily intended to reflect compliance with court mandates or a determination regarding constitutional levels of care.
                     DASHBOARD STATEWIDE         COMPARISON
                                  Case 2:90-cv-00520-KJM-SCR Document 6529-2 Filed 03/25/20 Page 122 of 249

                     All Institutions
                     October 2019
      Main Menu             Return to Top

Other Trends                                 SW       ASP     CAC     CAL       CCC     CCI     CCWF      CEN      CHCF     CIM     CIW     CMC     CMF     COR     CRC     CTF     CVSP    DVI     FSP     HDSP    ISP     KVSP    LAC
ED/Hospital Stay*                            15.8      3.7    13.8    15.5      5.7    10.4       14.9     5.1     54.2     14.7    12.1     8.4    21.6    27.6    12.2    11.6    15.7    13.2    12.1    11.8    15.0    30.0    35.5
Specialty Care Referrals*                     70       35      47      70        11     44         72      37       171      107     79      71     175      88      41      70      83      36      34      55      41      56     131
Prescriptions Per Inmate                     2.8       1.5     1.1     1.0      0.6     2.2       3.6      1.1      9.0      4.8     4.7     4.0     7.1     2.7     1.9     2.8     2.1     1.6     1.7     1.9     1.0     2.1     3.6
Diagnostics Per Inmate                       1.0       0.4     0.8     0.6      0.5     0.7       1.8      0.6      2.4      1.5     1.5     0.9     1.6     0.8     0.5     0.6     0.6     1.2     0.6     0.7     1.0     0.7     1.0
Grievances Received*                          25       11      3       4         6      19         32       4       132      19      32      26      62      35      12      14      7       23      9       24      8       31      58
Prison Population Capacity                  131%      137%      -     147%      97%    135%      141%     155%      96%     124%    121%    99%     110%    104%    140%    158%    158%    135%    135%    138%    129%    146%    136%

Institution & Population Characteristics     SW       ASP     CAC     CAL       CCC     CCI     CCWF      CEN      CHCF     CIM     CIW     CMC     CMF     COR     CRC     CTF     CVSP    DVI     FSP     HDSP    ISP     KVSP    LAC
High Risk Priority 1                         5.9%     0.1%    0.0%    0.2%      0.1%   1.0%      5.2%     0.3%     43.8%    19.1%   8.0%    7.2%    25.8%   2.5%    0.5%    2.3%    0.6%    1.4%    2.4%    0.8%    0.5%    1.6%    9.4%
High Risk Priority 2                         8.8%     0.6%    0.1%    0.6%      0.5%   3.5%      8.7%     1.1%     21.0%    30.9%   14.1%   15.9%   25.3%   6.7%    2.0%    7.0%    4.2%    3.9%    7.9%    2.3%    1.7%    5.5%    17.8%
Medium Risk                                  34%      36%     12%     15%       8%     52%        52%      16%      26%      26%    45%     38%     32%     50%     50%     41%     19%     32%     28%     42%     12%     38%     40%
Low Risk                                     52%      64%     88%     84%       92%    43%        34%      83%      9%       24%    33%     39%     17%     41%     48%     50%     77%     63%     61%     55%     86%     55%     33%
Mental Health EOP                            5.4%     0.1%    0.0%    0.0%      0.0%   0.1%      3.7%     0.0%     19.2%    1.2%    3.7%    13.8%   19.2%   12.9%   0.1%    0.0%    0.0%    0.7%    0.1%    0.1%    0.0%    3.4%    15.5%
Patients with Disability                     8.9%     2.7%    1.2%    1.0%      0.8%   2.7%      8.0%     1.7%     43.0%    19.3%   9.4%    8.9%    35.8%   5.4%    2.2%    8.5%    4.5%    6.9%    2.4%    6.7%    2.5%    5.4%    12.0%
Inmates 50 Years or Older                    25%      27%     10%      7%       8%     21%        18%      8%       57%      52%    24%     38%     47%     15%     19%     42%     31%     15%     27%     11%     10%     12%     27%
Men and Women Institutions                     -       M       M       M         M      M          W        M        M        M      W       M       M       M       M       M       M       M      M/W      M       M       M       M
Specialized Health Care Beds                2,499      28       -      18        19     16         38      13      1,474     78      53      87     169      88      10      17       -      24       -      30      14      22      16
Institution Population                      121,732   4,020   2,346   3,435    3,770   3,768     2,881    3,604    2,849    3,837   1,712   3,836   2,609   3,270   3,500   5,256   2,760   2,346   3,389   3,219   2,864   3,606   3,166




* Rate Per 1,000 Inmates                                                     Please direct questions or feedback to QMstaff@cdcr.ca.gov
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                     DASHBOARD STATEWIDE         COMPARISON
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                     All Institutions
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Other Trends                                MCSP NKSP       PBSP    PVSP      RJD    SAC       SATF      SCC      SOL      SQ     SVSP    VSP     WSP
ED/Hospital Stay*                           24.9    13.3     4.1     4.4      34.7   19.2       14.9     7.1     11.4     11.0    23.1    19.7     5.8
Specialty Care Referrals*                   131      65      48      34       174     22         69      36       73       96      52      76      37
Prescriptions Per Inmate                     6.3     1.4     1.2     1.0      5.6     3.4       3.6      1.1      2.9      4.0     3.2     4.0     1.3
Diagnostics Per Inmate                       1.6     2.5     0.6     0.6      1.5     0.9       0.7      0.4      0.8      1.9     0.9     0.6     1.5
Grievances Received*                         42      15      12      5         60     59         30       4       13       20      45      27      20
Prison Population Capacity                  123%    151%    111%    137%     132%    118%      157%     108%     175%     136%    120%    145%    162%

Institution & Population Characteristics    MCSP NKSP       PBSP    PVSP      RJD    SAC       SATF      SCC      SOL      SQ     SVSP    VSP     WSP
High Risk Priority 1                        20.8%   0.9%    1.0%    0.0%     17.1%   5.6%      3.9%     0.7%     9.3%     9.5%    4.2%    6.0%    0.7%
High Risk Priority 2                        24.7%   2.4%    3.1%    0.3%     20.5%   16.4%     7.3%     1.5%     14.6%    17.5%   8.0%    10.2%   1.7%
Medium Risk                                 37%     31%     21%     27%       40%    46%        53%      21%      24%      33%    47%     52%     35%
Low Risk                                    17%     66%     75%     73%       23%    32%        36%      77%      53%      40%    40%     32%     62%
Mental Health EOP                           15.9%   1.6%    0.0%    0.0%     19.6%   32.1%     10.6%    0.0%     0.1%     5.9%    9.9%    11.2%   1.2%
Patients with Disability                    18.3%   1.9%    2.2%    2.0%     24.5%   5.1%      16.4%    2.0%     11.9%    7.9%    10.6%   21.2%   2.3%
Inmates 50 Years or Older                   45%     11%     12%      8%       38%    15%        28%      13%      34%      43%    16%     48%     10%
Men and Women Institutions                   M       M       M       M         M      M          M        M        M        M      M       M       M
Specialized Health Care Beds                 10      16      19      15        28     66         38      10       15       10      22      20      16
Institution Population                      4,074   4,206   2,650   3,168    3,998   2,177     5,425    4,276    4,623    4,297   2,978   2,881   4,936




* Rate Per 1,000 Inmates                                                   Please direct questions or feedback to QMstaff@cdcr.ca.gov
                                                                                             Report run: 2/14/2020 2:06:19 PM
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                 Off ice of the Governor                                 ARNOLD SCHWARZENEGGER
                                                                         THE PEOPLE'S GOVERNOR




PROCLAMATION


 10/04/2006

 Prison Overcrowding State of Emergency Proclamation

 PROCLAMATION
 by the
 Governor of the State of California

         WHEREAS, the California Department of Corrections and Rehabilitation (CDCR) is required by California
 law to house inmates committed to state prison; and


         WHEREAS, various trends and factors, including population increases, parole policies, sentencing laws, and
 recidivism rates have created circumstances in which the CDCR is now required to house a record number of
 inmates in the CDCR prison system, making the CDCR prison system the largest state correctional system in the
 United States, with a total inmate population currently at an all-time high of more than 170,000 inmates; and



         WHEREAS, due to the record number of inmates currently housed in prison in California, all 33 CDCR
 prisons are now at or above maximum operational capacity, and 29 of the prisons are so overcrowded that the CDCR
 is required to house more than 15,000 inmates in conditions that pose substantial safety risks, namely, prison areas
 never designed or intended for inmate housing, including, but not limited to, common areas such as prison
 gymnasiums, dayrooms, and program rooms, with approximately 1,500 inmates sleeping in triple-bunks; and



        WHEREAS, the current severe overcrowding in 29 CDCR prisons has caused substantial risk to the health
 and safety of the men and women who work inside these prisons and the inmates housed in them, because:



         With so many inmates housed in large common areas, there is an increased, substantial risk of violence, and
 greater difficulty controlling large inmate populations.



        With large numbers of inmates housed together in triple-bunks, there is an increased, substantial risk for
 transmission of infectious illnesses.



         The triple-bunks and tight quarters create line-of-sight problems for correctional officers by blocking views,
 creating an increased, substantial security risk.
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        WHEREAS, the current severe overcrowding in these 29 prisons has also overwhelmed the electrical
 systems and/or wastewater/sewer systems, because those systems are now often required to operate at or above the
 maximum intended capacity, resulting in an increased, substantial risk to the health and safety of CDCR staff,
 inmates, and the public, because:



         Overloading the prison electrical systems has resulted in power failures and blackouts within the prisons,
 creating increased security threats. It has also damaged fuses and transformers.



        Overloading the prison sewage and wastewater systems has resulted in the discharge of waste beyond
 treatment capacity, resulting in thousands of gallons of sewage spills and environmental contamination.



        And when the prisons “overdischarge” waste, bacteria can contaminate the drinking water supply, putting the
 public’s health at an increased, substantial risk.



         WHEREAS, overloading the prison sewage and water systems has resulted in increased, substantial risk of
 damage to state and privately owned property and has resulted in multiple fines, penalties and/or notices of
 violations to the CDCR related to wastewater/sewer system overloading such as groundwater contamination and
 environmental pollution; and



        WHEREAS, overcrowding causes harm to people and property, leads to inmate unrest and misconduct,
 reduces or eliminates programs, and increases recidivism as shown within this state and in others; and



        WHEREAS, in addition to all of the above, in the 29 prisons with severe overcrowding, the following
 circumstances exist:



        Avenal State Prison has an operational housing capacity of 5,768 inmates, but it currently houses 7,422
 inmates, with 1,654 inmates housed in areas designed for other purposes. At the same time, in the last year, there
 were 64 incidents of assault/battery by inmates — 31 of them against CDCR staff — along with 15 riots/melees, and
 27 weapon confiscations.



         The California Correctional Center has an operational housing capacity of 5,724 inmates, but it currently
 houses 6,174 inmates, with 450 inmates housed in areas designed for other purposes. At the same time, in the last
 year, there were 128 incidents of assault/battery by inmates — 16 of them against CDCR staff — along with 34
 riots/melees, and 21 weapon confiscations.



        The California Correctional Institution has an operational housing capacity of 4,931, but it currently houses
 5,702 inmates, with 771 inmates housed in areas designed for other purposes. At the same time, in the last year, there
 were 125 incidents of assault/battery by inmates — 79 of them against CDCR staff — along with 5 riots/melees, and
 57 weapon confiscations.



        Centinela State Prison has an operational housing capacity of 4,368, but it currently houses 4,956 inmates,
 with 588 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 141
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 incidents of assault/battery by inmates — 30 of them against CDCR staff — along with 10 riots/melees, and 151
 weapon confiscations.



        The California Institution for Men has an operational housing capacity of 5,372, but it currently houses 6,615
 inmates, with 1,243 inmates housed in areas designed for other purposes. At the same time, in the last year, there
 were 170 incidents of assault/battery by inmates — 57 of them against CDCR staff — along with 21 riots/melees,
 and 47 weapon confiscations.



        The California Institution for Women has an operational housing capacity of 2,228, but it currently houses
 2,624 inmates, with 396 inmates housed in areas designed for other purposes. At the same time, in the last year, there
 were 65 incidents of assault/battery by inmates — 26 of them against CDCR staff — and 6 weapon confiscations.



        The California Men’s Colony has an operational housing capacity of 6,294, but it currently houses 6,574
 inmates, with 280 inmates housed in areas designed for other purposes. At the same time, in the last year, there were
 151 incidents of assault/battery by inmates — 33 of them against CDCR staff — along with 11 riots/melees, and 29
 weapon confiscations.



        The California State Prison at Corcoran has an operational housing capacity of 4,954, but it currently houses
 5,317 inmates, with 363 inmates housed in areas designed for other purposes. At the same time, in the last year, there
 were 147 incidents of assault/battery by inmates — 58 of them against CDCR staff — along with 5 riots/melees, and
 111 weapon confiscations.



        The California Rehabilitation Center has an operational housing capacity of 4,660, but it currently houses
 4,856 inmates, with 196 inmates housed in areas designed for other purposes. At the same time, in the last year, there
 were 65 incidents of assault/battery by inmates — 28 of them against CDCR staff — 9 riots/melees, and 34 weapon
 confiscations.



        The Correctional Training Facility has an operational housing capacity of 6,157, but it currently houses 7,027
 inmates, with 870 inmates housed in areas designed for other purposes. At the same time, in the last year, there were
 85 incidents of assault/battery by inmates — 26 of them against CDCR staff — along with 9 riots/melees, and 27
 weapon confiscations.



        Chuckawalla Valley State Prison has an operational housing capacity of 3,443, but it currently houses 4,292
 inmates, with 849 inmates housed in areas designed for other purposes. At the same time, in the last year, there were
 50 incidents of assault/battery by inmates — 11 of them against CDCR staff — along with 5 riots/melees, and 21
 weapon confiscations.



        Deuel Vocational Institution has an operational housing capacity of 3,115, but it currently houses 3,911
 inmates, with 796 inmates housed in areas designed for other purposes. At the same time, in the last year, there were
 114 incidents of assault/battery by inmates — 54 of them against CDCR staff — along with 7 riots/melees, and 37
 weapon confiscations.



        High Desert State Prison has an operational housing capacity of 4,346, but it currently houses 4,706 inmates,
 with 360 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 351
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 incidents of assault/battery by inmates — 44 of them against CDCR staff — along with 6 riots/melees, and 289
 weapon confiscations.



        Ironwood State Prison has an operational housing capacity of 4,185, but it currently houses 4,665 inmates,
 with 480 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 96
 incidents of assault/battery by inmates — 19 of them against CDCR staff — along with 14 riots/melees, and 52
 weapon confiscations.



        Kern Valley State Prison has an operational housing capacity of 4,566, but it currently houses 4,686 inmates,
 with 120 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 146
 incidents of assault/battery by inmates — 60 of them against CDCR staff — along with 10 riots/melees, and 46
 weapon confiscations.



         TheCalifornia State Prison at Los Angeles has an operational housing capacity of 4,230, but it currently
 houses 4,698 inmates, with 468 inmates housed in areas designed for other purposes. At the same time, in the last
 year, there were 211 incidents of assault/battery by inmates — 123 of them against CDCR staff — along with 4
 riots/melees, and 101 weapon confiscations.



        Mule Creek State Prison has an operational housing capacity of 3,197, but it currently houses 3,929 inmates,
 with 732 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 65
 incidents of assault/battery by inmates — 35 of them against CDCR staff — along with 1 riot/melee, and 28 weapon
 confiscations.



        North Kern State Prison has an operational housing capacity of 5,189, but it currently houses 5,365 inmates,
 with 176 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 135
 incidents of assault/battery by inmates — 43 of them against CDCR staff — along with 16 riots/melees, and 70
 weapon confiscations.



        Pelican Bay State Prison has an operational housing capacity of 3,444, but it currently houses 3,604 inmates,
 with 160 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 256
 incidents of assault/battery by inmates — 88 of them against CDCR staff — along with 9 riots/melees, and 106
 weapon confiscations.



        Pleasant Valley State Prison has an operational housing capacity of 4,368, but it currently houses 5,112
 inmates, with 744 inmates housed in areas designed for other purposes. At the same time, in the last year, there were
 205 incidents of assault/battery by inmates — 59 of them against CDCR staff — along with 12 riots/melees, and 26
 weapon confiscations.



         The Richard J. Donovan Correctional Facility has an operational housing capacity of 4,120, but it currently
 houses 4,720 inmates, with 600 inmates housed in areas designed for other purposes. At the same time, in the last
 year, there were 244 incidents of assault/battery by inmates — 118 of them against CDCR staff — along with 11
 riots/melees, and 96 weapon confiscations.



        The California State Prison at Sacramento has an operational housing capacity of 2,973, but it currently
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 houses 3,213 inmates, with 240 inmates housed in areas designed for other purposes. At the same time, in the last
 year, there were 264 incidents of assault/battery by inmates — 159 of them against CDCR staff — along with 5
 riots/melees, and 118 weapon confiscations.



         The California Substance Abuse Treatment Facility and State Prison at Corcoran has an operational housing
 capacity of 6,360, but it currently houses 7,593 inmates, with 1,233 inmates housed in areas designed for other
 purposes. At the same time, in the last year, there were 120 incidents of assault/battery by inmates — 53 of them
 against CDCR staff — along with 20 riots/melees, and 124 weapon confiscations.



        The Sierra Conservation Center has an operational housing capacity of 5,657, but it currently houses 6,107
 inmates, with 450 inmates housed in areas designed for other purposes. At the same time, in the last year, there were
 61 incidents of assault/battery by inmates — 18 of them against CDCR staff — along with 19 riots/melees, and 50
 weapon confiscations.



        The California State Prison at Solano has an operational housing capacity of 5,070, but it currently houses
 5,858 inmates, with 788 inmates housed in areas designed for other purposes. At the same time, in the last year, there
 were 60 incidents of assault/battery by inmates — 26 of them against CDCR staff — along with 4 riots/melees, and
 114 weapon confiscations.



        San Quentin State Prison has an operational housing capacity of 4,933, but it currently houses 5,183 inmates,
 with 287 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 262
 incidents of assault/battery by inmates — 123 of them against CDCR staff — along with 15 riots/melees, and 118
 weapon confiscations.



        Salinas Valley State Prison has an operational housing capacity of 4,200, but it currently houses 4,680
 inmates, with 480 inmates housed in areas designed for other purposes. At the same time, in the last year, there were
 181 incidents of assault/battery by inmates — 82 of them against CDCR staff — along with 7 riots/melees, and 91
 weapon confiscations.



        Valley State Prison for Women has an operational housing capacity of 3,902, but it currently houses 3,958
 inmates, with 56 inmates housed in areas designed for other purposes. At the same time, in the last year, there were
 125 incidents of assault/battery by inmates — 75 of them against CDCR staff — and 15 weapon confiscations.



         Wasco State Prison has an operational housing capacity of 5,838, but it currently houses 6,098 inmates, with
 260 inmates housed in areas designed for other purposes. At the same time, in the last year, there were 226 incidents
 of assault/battery by inmates — 97 of them against CDCR staff — along with 32 riots/melees, and 82 weapon
 confiscations.



        WHEREAS, some of these 29 severely overcrowded prisons may even be housing more inmates, because
 the inmate population continually fluctuates among the CDCR prisons; and



        WHEREAS, in addition to the 1,671 incidents of violence perpetrated in these 29 severely overcrowded
 prisons by inmates against CDCR staff last year, and the 2,642 incidents of violence perpetrated in these prisons on
 inmates by other inmates in the last year, the suicide rate in these 29 prisons is approaching an average of one per
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 week; and



         WHEREAS, the federal court in the Coleman case found mental-health care in CDCR prisons to be below
 federal constitutional standards due in part to the lack of appropriate beds and space; and



        WHEREAS, the use of common areas for inmate housing has severely modified or eliminated certain inmate
 programs in the 29 prisons with severe overcrowding; and



         WHEREAS, the severe overcrowding has also substantially limited or restricted inmate movement, causing
 significantly reduced inmate attendance in academic, vocational, and rehabilitation programs; and



       WHEREAS, overcrowded prisons in other states have experienced some of the deadliest prison riots in
 American history, including:



        In 1971, the nation’s deadliest prison riot occurred in Attica, New York, resulting in the death of 43 people.
  On the day of this riot, the prison — which was built for 1600 — housed approximately 2,300 inmates.



        In 1981, a riot occurred in the New Mexico State Penitentiary. More than 30 inmates were killed, more than
 100 people were injured, and 12 officers were taken hostage, some of whom were beaten, sexually assaulted, and/or
 raped. On the day of this riot, the prison — which was built for 900 — housed approximately 1,136 inmates.



        In 1993, a riot occurred in Lucasville, Ohio. One officer was murdered, four officers were seriously injured,
 and nine inmates were killed. On the day of this riot, the prison — which was built for 1600 — housed
 approximately 2,300 inmates.



        WHEREAS, I believe immediate action is necessary to prevent death and harm caused by California’s
 severe prison overcrowding; and



        WHEREAS, because of the housing shortage in CDCR prisons, the CDCR has current contracts with four
 California counties to house 2,352 additional state inmates in local adult jails, but this creates the following
 overcrowding problem in the county jails:



         According to a report by the California State Sheriffs’ Association in June 2006, adult jails recently averaged
 a daily population of approximately 80,000 inmates. On a typical day, the county jails lacked space for more than
 4,900 inmates across the state.



          Based on the same report, 20 of California’s 58 counties have court-imposed population caps resulting from
 litigation brought by or on behalf of inmates in crowded jails and another 12 counties have self-imposed caps.
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        Most of California’s jail population consists of felony inmates, but when county jails are full, someone in
 custody must be released before a new inmate can be admitted.



        The 2006 Sheriffs’ Association report states that last year, 233,388 individuals statewide avoided
 incarceration or were released early into local communities because of the lack of jail space.



       WHEREAS, overcrowding conditions are projected to get even worse in the coming year, to the point that
 the CDCR expects to run out of all common area space to house prisoners in mid-2007, and will be unable to receive
 any new inmates; and



        WHEREAS, in January 2006, I proposed $6 billion in the Strategic Growth Plan to help manage inmate
 population at all levels of government by increasing the number of available local jail beds and providing for two
 new prisons and space for 83,000 prisoners to address California’s current and future incarceration needs; and



        WHEREAS, the California Legislature failed to act upon this proposal; and



        WHEREAS, in March 2006, a proposal was submitted as part of my 2006-07 budget to enable the CDCR to
 contract for a total of 8,500 beds in community correctional facilities within the state; and



        WHEREAS, the California Legislature denied this proposal; and



        WHEREAS, on June 26, 2006, I issued a proclamation calling the Legislature into special session because I
 believed urgent action was needed to address this severe problem in California’s prisons, and I wanted to give the
 Legislature a further opportunity to address this crisis; and



        WHEREAS, the CDCR submitted detailed proposals to the Legislature to address the immediate and longer-
 term needs of the prison system in an effort resolve the overcrowding crisis; and



        WHEREAS, the California Legislature failed to adopt the proposals submitted by the CDCR, and also failed
 to adopt any proposals of its own; and



        WHEREAS, in response, my office directed the CDCR to conduct a survey of certain inmates in California’s
 general population to determine how many might voluntarily transfer to out-of-state correctional facilities; and



         WHEREAS, the CDCR reports that more than 19,000 inmates expressed interest in voluntarily transferring
 to a correctional facility outside of California; and
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        WHEREAS, the overcrowding crisis gets worse with each passing day, creating an emergency in the
 California prison system.



 NOW, THEREFORE, I, ARNOLD SCHWARZENEGGER, Governor of the State of California, in light of the
 aforementioned, find that conditions of extreme peril to the safety of persons and property exist in the 29 CDCR
 prisons identified above, due to severe overcrowding, and that the magnitude of the circumstances exceeds the
 capabilities of the services, personnel, equipment, and facilities of any geographical area in this state. Additionally,
 the counties within the state are harmed by this situation, as the inability to appropriately house inmates directly
 impacts local jail capacity and the early release of felons. This crisis spans the eastern, western, northern, and
 southern parts of the state and compromises the public’s safety, and I find that local authority is inadequate to cope
 with the emergency. Accordingly, under the authority of the California Emergency Services Act, set forth at Title 2,
 Division 1, Chapter 7 of the California Government Code, commencing with section 8550, I hereby proclaim that a
 State of Emergency exists within the State of California’s prison system.



 Pursuant to this proclamation:



              I. The CDCR shall, consistent with state law and as deemed appropriate by the CDCR Secretary for
 the sole purpose of immediately mitigating the severe overcrowding in these 29 prisons and the resulting impacts
 within California, immediately contract for out-of-state correctional facilities to effectuate voluntary transfers of
 California prison inmates to facilities outside of this state for incarceration consisting of constitutionally adequate
 housing, care, and programming.



             II. The CDCR Secretary shall, after exhausting all possibilities for voluntary transfers of inmates, and in
 compliance with the Interstate Corrections Compact and the Western Interstate Corrections Compact, and as he
 deems necessary and appropriate to mitigate this emergency, effectuate involuntary transfers of California prison
 inmates, based on criteria set forth below, to institutions in other states and those of the federal government for
 incarceration consisting of constitutionally adequate housing, care, and programming. In such instance, because strict
 compliance with California Penal Code sections 11191 and 2911 would prevent, hinder, or delay the mitigation of
 the severe overcrowding in these prisons, applicable provisions of these statutes are suspended to the extent
 necessary to enable the CDCR to transfer adult inmates, sentenced under California law, to institutions in other states
 and those of the federal government without consent. This suspension is limited to the scope and duration of this
 emergency.



 A.    The CDCR Secretary shall prioritize for involuntary transfer the inmates who meet the following criteria:



 1. Inmates who: (a) have been previously deported by the federal government and are criminal aliens subject to
 immediate deportation; or (b) have committed an aggravated felony as defined by federal statute and are subject to
 deportation.

 2. Inmates who are paroling outside of California.

 3. Inmates who have limited or no family or supportive ties in California based on visitation records and/or other
 information deemed relevant and appropriate by the CDCR Secretary.

 4. Inmates who have family or supportive ties in a transfer state.

 5. Other inmates as deemed appropriate by the CDCR Secretary.
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 B.   No person under commitment to the Division of Juvenile Justice may be considered for such transfer.



        III. The CDCR Secretary shall, before selecting any inmate for transfer who has individual medical and/or
 mental-health needs, consult with the court-appointed Receiver of the CDCR medical system and/or the court-
 assigned Special Master in the Coleman mental-health case, depending on the healthcare needs of the inmate, to
 determine whether a transfer would be appropriate.



        IV. The CDCR Secretary shall, before effectuating any inmate transfer, carefully and thoroughly evaluate all
 appropriate factors, including, but not limited to, the cost-effectiveness of any such transfer and whether an inmate
 selected for transfer has any pending appeals or hearings that may be impacted by such transfer.



         V. The CDCR shall, as deemed appropriate by the CDCR Secretary, contract for facility space, inmate
 transportation, inmate screening, the services of qualified personnel, and/or for the supplies, materials, equipment,
 and other services needed to immediately mitigate the severe overcrowding and the resulting impacts within
 California. Because strict compliance with the provisions of the Government Code and the Public Contract Code
 applicable to state contracts would prevent, hinder, or delay the mitigation of the severe overcrowding in these
 prisons, applicable provisions of these statutes, including, but not limited to, advertising and competitive bidding
 requirements, are suspended to the extent necessary to enable the CDCR to enter into such contracts as expeditiously
 as possible. This suspension is limited to the scope and duration of this emergency.



        I FURTHER DIRECT that as soon as hereafter possible, this proclamation be filed in the Office of the
 Secretary of State and that widespread publicity and notice be given of this proclamation.

                           IN WITNESS WHEREOF I have hereunto set my hand and caused the Great Seal of the
                           State of California to be affixed this 4th day of October 2006.


                           ARNOLD SCHWARZENEGGER

                           Governor of California



 ATTEST:



 BRUCE McPHERSON

 Secretary of State
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                             Exhibit 31
                 CALIFORNIA DEPARTMENT
       Case 2:90-cv-00520-KJM-SCR      OF CORRECTIONS
                                   Document           AND 03/25/20
                                             6529-2 Filed REHABILITATION
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                             CALIFORNIA CORRECTIONAL HEALTH CARE SERVICES
                                    Health Care Department Operations Manual

                                                         Appendix 1

                                           The Medical Classification Factors

(a) Level of Care Based on Patient Need
    (1) This Factor rates the medical setting the patient currently needs; the patient may not actually be housed in that
        setting. For example, a patient may be currently housed in a Correctional Treatment Center but need only
        Outpatient Housing Unit level of care. By collecting this Factor, users of the Medical Classification System can
        take appropriate actions for bed management.
    (2) Outpatient (OP): No need for a medical setting that provides the patient with daily nursing care.
    (3) Specialized Outpatient (SOP): A high medical risk outpatient with the potential for clinical deterioration,
        decompensation, morbidity, or mortality who has long-term care needs. This patient population needs frequent
        supportive care management, care coordination, nursing education, nursing interventions, and may need
        specialized nursing care. Endorsements shall be made by the Health Care Placement Oversight Program
        (HCPOP). All SOP transfer endorsements require a classification committee referral to HCPOP.
    (4) Outpatient Housing Unit (OHU): A housing unit of a city, county, or city and county law enforcement facility
        established to retain patients who require special housing for security or protection. Typically, these are patients
        whose health condition would not normally warrant admission to a licensed heath care facility and for whom
        housing in the general population may place them at personal or security risk. Outpatient housing unit residents
        may receive outpatient health services and assistance with the activities of daily living. Outpatient housing unit
        beds are not licensed correctional treatment center beds.
    (5) Correctional Treatment Center (CTC): A health facility with a specified number of beds within a state prison,
        county jail, or California Division of Juvenile Justice facility designated to provide health care to that portion of
        the patient population who do not require general acute care level of services but are in need of professionally
        supervised health care beyond that normally provided in the community on an outpatient basis.
    (6) Acute Rehabilitation: An acute rehabilitation hospital provides intensive physical, occupational, and speech
        therapy and supportive nursing services to patients recovering from strokes, amputations, severe burns, etc. This
        is a community placement.
    (7) Hospice: Services that are designed to provide palliative care, alleviate the physical, emotional, social, and
        spiritual discomforts of an individual who is experiencing the last phases of life due to the existence of a terminal
        disease, and to provide supportive care to the primary care giver and the family. Care may be provided by a
        skilled or unskilled person under a plan of care developed by a physician or a multidisciplinary team under
        medical direction.
    (8) Skilled Nursing Facility: A health facility or a distinct part of a hospital which provides continuous skilled
        nursing care and supportive care to patients whose primary need is for availability of skilled nursing care on an
        extended basis. It provides 24-hour inpatient care and, at a minimum, includes physician, skilled nursing, dietary,
        and pharmaceutical services as well as an activity program.
(b) Classification Factors
    These Medical Classification Factors guide the operation of procedures in the Medical Classification System rather
    than specify any placement eligibility.
    (1) Temporary Medical Hold: A Temporary Medical Hold is used when a patient requires medically necessary
        health care services, and it is medically prudent to provide these services at the institution where the patient is
        currently housed. The Medical Classification Chrono (MCC) will be “Temporary.” Examples of patients who
        should be reviewed for potential medical holds include, but are not limited to the following:
        (A) Medical:
             1. Patients scheduled for major surgery or recovering from major surgery and requiring close post-operative
                 review by the surgical team.
             2. Patients having chemotherapy or radiation therapy treatment.
             3. Patients undergoing a diagnostic workup.



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             4. Patients being fitted for a major prosthetic, requiring temporary prostheses adjustments and frequent
                 visits.
             5. Patients awaiting major Durable Medical Equipment.
             6. Patients scheduled for a specialist visit, which cannot easily be duplicated elsewhere (e.g., surgical
                 subspecialties such as retinal surgery, or specialized oncology surgery).
             7. All urgent Requests for Services or specialty appointments.
             8. Hemophiliac, Hepatitis C virus, post-transplant, or human immunodeficiency virus/acquired
                 immunodeficiency syndrome patients requiring close management of medication access and continuity.
             9. Patients in the middle of a speech therapy, occupational therapy, or physical therapy regimen which
                 would be adversely impacted by transfer.
        (B) Dental:
             1. Patients for whom an immediate denture was recently inserted.
             2. Patients at a Program Facility awaiting completion of endodontic treatment.
             3. Patients awaiting or in the middle of care for jaw fractures.
             4. Untreated Dental Priority Classification 1A conditions.
        (C) Mental Health:
             1. Patients receiving Clozapine.
             2. Patients awaiting Court or other hearings.
        (D) Obstetrics and Gynecology:
             1. Patients with high risk pregnancies, in late second trimester or third trimester.
        (E) Patients in the middle of a diagnostic workup for cancer or other high risk conditions.
        (F) Public Health:
             1. Patients in quarantine or isolation for a variety of conditions including, but not limited to: TB, influenza-
                 like illness, gastroenteritis, sexually transmitted diseases under treatment, source cases until clearance
                 obtained, and contact cases until clearance obtained.
    (2) Temporary Medical Isolation: Temporary Medical Isolation means the patient may not be endorsed to another
        institution unless prompted by a Medical Reason for Endorsement. Patients requiring temporary medical isolation
        shall also have a temporary medical hold entered on the MCC. Medical Isolation may be confinement to quarters
        or isolation in a medical setting. For example, a patient with Methicillin-Resistant Staphylococcal infection may
        be placed on Medical Isolation. If that patient should develop a need for dialysis, the patient could be moved for
        medical reason to an institution with a dialysis program. The type of isolation must be listed in the Comments
        section. If the patient requires negative pressure respiratory isolation, the Respiratory Isolation Specialized
        Service factor must be checked as well. Medical Isolation is always temporary. Closure of institutions or housing
        units for public health issues does not require an MCC.
    (3) Long-Term Stay: This applies only to Levels of Care other than OP. This factor means that the patient is
        expected to continue to need at least the indicated Level of Care for the rest of his/her life.
    (4) Override: Override means that the MCC has been reviewed by a Regional Health Care Executive and
        permission has been granted to depart from the usual placement requirements for one or more Medical
        Classification Factors. The patient’s actual Medical Classification Factors are still completed according to usual
        procedure and the specific directions regarding permitted departures are listed in the Comments section.
(c) Intensity of Services
    The Intensity of Services Medical Classification Factors are a set of scales that indicate the patient’s need for medical
    services and the institution’s ability to provide those services.
    (1) Proximity to Consultation indicates the frequency and intensity of the patient’s need for specialty medical
        services. These services are typically provided in the community by contracted providers. The availability and
        distance to the services varies by institution. A match between patient need and institution capability reduces risk
        and cost.
        (A) No Particular Need means there is no anticipated need for consultations at the present time.
        (B) Basic Consultations are consultative services typically available in a medium-sized community such as
             general surgery, orthopedics, obstetrics, radiology, ophthalmology, and internal medicine.
             1. Infrequent - There is an anticipated need for fewer than four Basic Consultations per year.

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            2. Frequent - There is an anticipated need for more than four Basic Consultations per year.
        (C) Tertiary Consultation are consultative services typically available in the university or large medical center
            setting such as oncology, endocrinology, neurology, neurosurgery, radiation therapy, interventional
            cardiology, nephrology, and cardio-thoracic surgery.
        (D) Community Placement indicates the patient requires placement into a community hospital or other medical
            setting on a permanent basis. The patient should be assigned to an institution that can most efficiently
            provide the necessary custody services to that outside level of care.
    (2) Functional Capacity
        Functional Capacity is a scale for the patient’s ability to be assigned to particular jobs. That ability affects
        placement into certain settings.
        (A) Vigorous Activity: Qualified for all assignments including food-handling and firefighting. Able to dig
            ditches, chop wood, haul water, and wear a respirator. Good mobility, endurance, and bilateral grip strength.
            1. For California Correctional Health Care Services/California Department of Corrections and Rehabilitation
                 (CDCR) purposes, Chronic Active Hepatitis is defined as patients who are antibody positive, viral load
                 negative, and whose FIB is less than 1.45.
            2. Patients must meet the National Fire Protection Association’s (NFPA) standards in order to work as
                 firefighters at fire camps. Patients who do not meet the NFPA standards for firefighters may still be able
                 to work at fire camps in non-firefighter positions (e.g., cooks, clerks, clerical support, porters, mechanics,
                 and those who support other functions). Refer to Appendix 3, Institutional Medical Groupings, “Fire
                 Camps Special Skills” section.
            3. Below are the 2013 NFPA standards which disqualify patients from fire camps. (Note: See NFPA Annex
                 A, Explanatory Material for all asterisked items within this section):
                 a. Head and Neck
                      1) Defect of skull preventing helmet use or leaving underlying brain unprotected from trauma.
                      2) Any skull or facial deformity that would not allow for a successful fit test for respirators used by
                          that department.
                      3) Any head condition that results in the candidate not being able to safely perform one or more of
                          the essential job tasks.
                      4) Any neck condition that results in the candidate not being able to safely perform one or more of
                          the essential job tasks.
                 b. Eyes and Vision
                      1) *Far visual acuity less than 20/40 binocular, corrected with contact lenses or spectacles, or far
                          visual acuity less than 20/100 binocular for wearers of hard contacts or spectacles, uncorrected.
                      2) *Color perception - monochromatic vision resulting in inability to use imaging devices such as
                          thermal imaging cameras.
                      3) *Monocular vision.
                      4) Any eye condition that results in the candidate not being able to safely perform one or more of the
                          essential job tasks.
                 c. Ears and Hearing
                      1) Chronic vertigo or impaired balance as demonstrated by the inability to tandem gait walk.
                      2) On audiometric testing, average hearing loss in the unaided better ear greater than 40 decibels
                          (dB) at 500 Hz, 1000 Hz, 2000 Hz, and 3000 Hz when the audiometric device is calibrated to
                          ANSI Z24.5, Audiometric Device Testing.
                      3) Any ear condition (or hearing impairment) that results in the candidate not being able to safely
                          perform one or more of the essential job tasks.
                      4) *Hearing aid or cochlear implant.
                 d. Dental
                      1) Any dental condition that results in inability to safely perform one or more of the essential job
                          tasks.
                 e. Nose, Oropharynx, Trachea, Esophagus, and Larynx
                      1) *Tracheostomy.

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                   2) *Aphonia.
                   3) Any nasal, oropharyngeal, tracheal, esophageal, or laryngeal condition that results in inability to
                       safely perform one or more of the essential job tasks including fit testing for respirators such as
                       N-95 for medical response, P-100 for particulates and certain vapors, and SCBA for fire and
                       hazmat operations.
                f. Lungs and Chest Wall
                   1) Active hemoptysis.
                   2) Current empyema.
                   3) Pulmonary hypertension.
                   4) Active tuberculosis.
                   5) *A forced vital capacity (FVC) or forced expiratory volume in 1 second (FEV1) less than 70
                       percent predicted even independent of disease.
                   6) *Obstructive lung diseases (e.g., emphysema, chronic bronchitis, asthma) with an absolute
                       FEV1/FVC less than 0.70 and with either the FEV1 below normal or both the FEV1 and the FVC
                       below normal (less than 0.80).
                   7) *Hypoxemia - oxygen saturation less than 90 percent at rest or exercise desaturation by four
                       percent or to less than 90 percent (exercise testing indicated when resting oxygen is less than 94
                       percent but greater than 90 percent).
                   8) *Asthma - reactive airways disease requiring bronchodilator or corticosteroid therapy for two or
                       more consecutive months in the previous two years, unless the candidate can meet the
                       requirement in 6.8.1.1.
                   9) Any pulmonary condition that results in the candidate not being able to safely perform one or
                       more of the essential job tasks.
                   10) Lung transplant.
                g. Aerobic Capacity
                   1) An aerobic capacity less than 12 metabolic equivalents (METs) (1 MET = 42 mL O2/kg/min).
                h. Heart and Vascular System
                   1) *Coronary artery disease, including history of myocardial infarction, angina pectoris, coronary
                       artery bypass surgery, coronary angioplasty, and similar procedures.
                   2) *Cardiomyopathy or congestive heart failure, including signs or symptoms of compromised left
                       or right ventricular function or rhythm including dyspnea, S3 gallop, peripheral edema, enlarged
                       ventricle, abnormal ejection fraction, and/or inability to increase cardiac output with exercise.
                   3) *Acute pericarditis, endocarditis, or myocarditis.
                   4) *Syncope, recurrent.
                   5) *A medical condition requiring an automatic implantable cardiac defibrillator or history of
                       ventricular tachycardia or ventricular fibrillation due to ischemic or valvular heart disease, or
                       cardiomyopathy.
                   6) Third-degree atrioventricular block.
                   7) *Cardiac pacemaker.
                   8) Hypertrophic cardiomyopathy including idiopathic hypertrophic subaortic stenosis.
                   9) Any cardiac condition that results in the candidate not being able to safely perform one or more
                       of the essential job tasks.
                   10) Heart transplant.
                   11) Hypertension.
                   12) *Uncontrolled or poorly controlled hypertension.
                   13) *Hypertension with evidence of end organ damage.
                   14) *Thoracic or abdominal aortic aneurysm.
                   15) Carotid artery stenosis or obstruction resulting in greater than or equal to 50 percent reduction in
                       blood flow.
                   16) *Peripheral vascular disease resulting in symptomatic claudication.


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                   17) Any other vascular condition that results in the inability to safely perform one or more of the
                       essential job tasks.
                i. Abdominal Organs and Gastrointestinal System
                   1) Presence of uncorrected inguinal/femoral hernia regardless of symptoms.
                   2) Any gastrointestinal condition that results in the candidate not being able to safely perform one or
                       more of the essential job tasks.
                j. Metabolic Syndrome
                   1) Metabolic syndrome with aerobic capacity less than 12 METs.
                k. Reproductive System
                   1) Any genital condition that results in inability to safely perform one or more of the essential job
                       tasks.
                l. Urinary System
                   1) Renal failure or insufficiency requiring continuous ambulatory peritoneal dialysis or
                       hemodialysis.
                   2) Any urinary condition that results in the candidate not being able to safely perform one or more
                       of the essential job tasks.
                m. Spine and Axial Skeleton
                   1) Scoliosis of thoracic or lumbar spine with angle greater than or equal to 40 degrees.
                   2) History of spinal surgery with rods that are still in place.
                   3) Any spinal or skeletal condition producing sensory or motor deficit(s) or pain due to
                       radiculopathy or nerve root compression.
                   4) Any spinal or skeletal condition causing pain that frequently or recurrently requires narcotic
                       analgesic medication.
                   5) Cervical vertebral fractures with multiple vertebral body compression greater than 25 percent;
                       evidence of posterior element involvement, nerve root damage, disc involvement, dislocation
                       (partial, moderate, severe), abnormal exam, ligament instability, symptomatic, and/or less than
                       six months post injury or less than one year since surgery.
                   6) Thoracic vertebral fractures with vertebral body compression greater than 50 percent; evidence of
                       posterior element involvement, nerve root damage, disc involvement, dislocation (severe-with or
                       without surgery), abnormal exam, ligament instability, symptomatic, and/or less than six months
                       post injury or less than one year since surgery.
                   7) Lumbosacral vertebral fractures with vertebral body compression greater than 50 percent;
                       evidence of posterior element involvement, nerve root damage, disc involvement, dislocation
                       (partial, moderate, severe), fragmentation, abnormal exam, ligament instability, symptomatic,
                       and/or less than six months post injury or less than one year since surgery.
                   8) Any spinal or skeletal condition that results in the candidate not being able to safely perform one
                       or more of the essential job tasks.
                n. Extremities
                   1) Joint replacement, unless all the following conditions are met:
                       a) Normal range of motion without history of dislocations post-replacement.
                       b) Repetitive and prolonged pulling, bending, rotations, kneeling, crawling, and climbing
                            without pain or impairment.
                       c) No limiting pain.
                       d) Evaluation by an orthopedic specialist who concurs that the candidate can complete all
                            essential job tasks listed in Chapter 5.
                   2) Amputation or congenital absence of upper-extremity limb (hand or higher).
                   3) Amputation of either thumb proximal to the mid-proximal phalanx.
                   4) Amputation or congenital absence of lower-extremity limb (foot or above) unless the candidate
                       meets all of the following conditions:
                       a) Stable, unilateral below-the-knee amputation with at least the proximal third of the tibia
                            present for a strong and stable attachment point with the prosthesis.

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                       b) Fitted with a prosthesis that will tolerate the conditions present in structural firefighting when
                            worn in conjunction with standard firefighting personal protective equipment.
                       c) At least six months of prosthetic use in a variety of activities with no functional difficulties.
                       d) Amputee limb healed with no significant inflammation, persistent pain, necrosis, or
                            indications of instability at the amputee limb attachment point.
                       e) No significant psychosocial issues pertaining to the loss of limb or use of prosthesis.
                       f) Evaluated by a prosthetist or orthopedic specialist with expertise in the fitting and function of
                            prosthetic limbs who concurs that the candidate can complete all essential job tasks listed in
                            Chapter 5, including wearing personal protective ensembles and self-contained breathing
                            apparatus while climbing ladders, operating from heights, and walking or crawling in the dark
                            along narrow and uneven surfaces that may be wet or icy.
                       g) Has passed the department’s applicant physical ability test as a condition of appointment
                            without accommodations or modification of the protocol.
                   5) Chronic non-healing or recent bone grafts.
                   6) History of more than one dislocation of shoulder without surgical repair or with history of
                       recurrent shoulder disorders within the last five years with pain or loss of motion, and with or
                       without radiographic deviations from normal.
                   7) Any extremity condition that results in the candidate not being able to safely perform one or more
                       of the essential job tasks.
                o. Neurological Disorders
                   1) Ataxias of heredo-degenerative type.
                   2) Cerebral arteriosclerosis as evidenced by a history of transient ischemic attack, reversible
                       ischemic neurological deficit, or ischemic stroke.
                   3) Hemiparalysis or paralysis of a limb.
                   4) *Multiple sclerosis with activity or evidence of progression within previous three years.
                   5) *Myasthenia gravis with activity or evidence of progression within previous three years.
                   6) Progressive muscular dystrophy or atrophy.
                   7) Uncorrected cerebral aneurysm.
                   8) All single unprovoked seizures and epileptic conditions including simple partial, complex partial,
                       generalized, and psychomotor seizure disorders other than as allowed in 6.17.1.1.
                   9) Dementia (Alzheimer’s and other neurodegenerative diseases) with symptomatic loss of function
                       or cognitive impairment (e.g., less than or equal to 28 on Mini-Mental Status Exam).
                   10) Parkinson’s disease and other movement disorders resulting in uncontrolled movements,
                       bradykinesia, or cognitive impairment (e.g., less than or equal to 28 on Mini-Mental Status
                       Exam).
                   11) Any neurological condition that results in the candidate not being able to safely perform one or
                       more of the essential job tasks.
                p. Skin
                   1) Metastatic or locally extensive basal or squamous cell carcinoma or melanoma.
                   2) Any dermatologic condition that would not allow for a successful fit test for any respirator
                       required by the fire department.
                   3) Any dermatologic condition that results in the candidate not being able to safely perform one or
                       more of the essential job tasks.
                q. Blood and Blood-Forming Organs
                   1) Hemorrhagic states requiring replacement therapy.
                   2) Sickle cell disease (homozygous).
                   3) Clotting disorders.
                   4) Any hematological condition that results in inability to safely perform one or more of the
                       essential job tasks.
                r. Endocrine and Metabolic Disorders
                   1) *Type 1 diabetes mellitus, unless a candidate meets all of the following criteria:

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                          a) Is maintained by a physician knowledgeable in current management of diabetes mellitus on a
                              basal/bolus (can include subcutaneous insulin infusion pump) regimen using insulin analogs.
                          b) Has demonstrated over a period of at least six months the motivation and understanding
                              required to closely monitor and control capillary blood glucose levels through nutritional
                              therapy and insulin administration. Assessment of this shall take into consideration the
                              erratic meal schedules, sleep disruption, and high aerobic and anaerobic workloads intrinsic
                              to firefighting.
                          c) Has a dilated retinal exam by a qualified ophthalmologist or optometrist that shows no higher
                              grade of diabetic retinopathy than microaneurysms, as indicated on the International Clinical
                              Diabetic Retinopathy Disease Severity Scale.
                          d) Has normal renal function based on a calculated creatinine clearance greater than 60 mL/min
                              and absence of proteinuria. (Creatinine clearance can be calculated by use of the Cockroft-
                              Gault or similar formula. Proteinuria is defined as 24-hour urine excretion of greater than or
                              equal to 300 mg protein or greater than or equal to 300 mg of albumin per gram of creatinine
                              in a random sample.)
                          e) Has no autonomic or peripheral neuropathy. (Peripheral neuropathy is determined by
                              diminished ability to feel the vibration of a 128 cps tuning fork or the light touch of a 10-
                              gram monofilament on the dorsum of the great toe proximal to the nail. Autonomic
                              neuropathy might be determined by evidence of gastroparesis, postural hypotension, or
                              abnormal tests of heart rate variability.)
                          f) Has normal cardiac function without evidence of myocardial ischemia on cardiac stress
                              testing (to at least 12 MET) by electrocardiogram (ECG) and cardiac imaging.
                          g) Has a signed statement and medical records from an endocrinologist or a physician with
                              demonstrated knowledge in the current management of diabetes mellitus as well as
                              knowledge of the essential job tasks and hazards of firefighting as described in 5.1.1,
                              allowing the fire department physician to determine whether the candidate meets the
                              following criteria:
                              i. Is being successfully maintained on a regimen consistent with 6.20.1(1)(a) and
                                   6.20.1(1)(b).
                              ii. Has had hemoglobin A1C measured at least four times a year (intervals of two to three
                                   months) over the last 12 months prior to evaluation if the diagnosis of diabetes has been
                                   present over one year. A hemoglobin A1C reading of eight percent or greater shall
                                   trigger a medical evaluation to determine if a condition exists in addition to diabetes that
                                   is responsible for the hemoglobin A1C not accurately reflecting average glucose levels.
                                   This shall include evidence of a set schedule for blood glucose monitoring and a thorough
                                   review of data from such monitoring.
                              iii. Does not have an increased risk of hypoglycemia due to alcohol use or other predisposing
                                   factors.
                              iv. *Has had no episodes of severe hypoglycemia (defined as requiring assistance of another)
                                   in the preceding one year, with no more than two episodes of severe hypoglycemia in the
                                   preceding three years.
                              v. Is certified not to have a medical contraindication to firefighting training and operations.
                       2) Insulin-requiring Type 2 diabetes mellitus, unless a candidate meets all of the following criteria:
                          a) Is maintained by a physician knowledgeable in current management of diabetes mellitus.
                          b) Has demonstrated over a period of at least three months the motivation and understanding
                              required to closely monitor and control capillary blood glucose levels through nutritional
                              therapy and insulin administration. Assessment of this shall take into consideration the
                              erratic meal schedules, sleep disruption, and high aerobic and anaerobic workloads intrinsic
                              to firefighting.



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                       c) Has a dilated retinal exam by a qualified ophthalmologist or optometrist that shows no higher
                            grade of diabetic retinopathy than microaneurysms, as indicated on the International Clinical
                            Diabetic Retinopathy Disease Severity Scale.
                       d) Has normal renal function based on a calculated creatinine clearance greater than 60 mL/min
                            and absence of proteinuria. (Creatinine clearance can be calculated by use of the Cockroft-
                            Gault or similar formula. Proteinuria is defined as 24-hour urine excretion of greater than or
                            equal to 300 mg protein or greater than or equal to 300 mg of albumin per gram of creatinine
                            in a random sample.)
                       e) Has no autonomic or peripheral neuropathy. (Peripheral neuropathy is determined by
                            diminished ability to feel the vibration of a 128 cps tuning fork or the light touch of a
                            10-gram monofilament on the dorsum of the great toe proximal to the nail. Autonomic
                            neuropathy can be determined by evidence of gastroparesis, postural hypotension, or
                            abnormal tests of heart rate variability.)
                       f) Has normal cardiac function without evidence of myocardial ischemia on cardiac stress
                            testing (to at least 12 METS) by ECG and cardiac imaging.
                       g) Has a signed statement and medical records from an endocrinologist or a physician with
                            demonstrated knowledge in the current management of diabetes mellitus as well as
                            knowledge of the essential job tasks and hazards of firefighting as described in 5.1.1,
                            allowing the fire department physician to determine whether the candidate meets the
                            following criteria:
                            i. Is maintained on a stable insulin regimen and has demonstrated over a period of at least
                                 three months the motivation and understanding required to closely monitor and control
                                 capillary blood glucose levels despite varied activity schedules through nutritional
                                 therapy and insulin administration.
                            ii. Has had hemoglobin A1C measured at least four times a year (intervals of two to three
                                 months) over the last 12 months prior to evaluation if the diagnosis of diabetes has been
                                 present over one year. A hemoglobin A1C reading of eight percent or greater shall
                                 trigger a medical evaluation to determine if a condition exists in addition to diabetes that
                                 is responsible for the hemoglobin A1C not accurately reflecting average glucose levels.
                                 This shall include evidence of a set schedule for blood glucose monitoring and a thorough
                                 review of data from such monitoring.
                            iii. Does not have an increased risk of hypoglycemia due to alcohol use or other predisposing
                                 factors.
                            iv. *Has had no episodes of severe hypoglycemia (defined as requiring assistance of another)
                                 in the preceding one year, with no more than two episodes of severe hypoglycemia in the
                                 preceding three years
                            v. Is certified not to have a medical contraindication to firefighting training and operations.
                   3) Any endocrine or metabolic condition that results in the candidate not being able to safely
                       perform one or more of the essential job tasks.
                s. Systemic Diseases and Miscellaneous Conditions
                   1) Any systemic condition that results in the candidate not being able to safely perform one or more
                       of the essential job tasks.
                t. Tumors and Malignant Diseases
                   1) Malignant disease that is newly diagnosed, untreated, or currently being treated, or under active
                       surveillance due to the increased risk for reoccurrence.
                   2) Any tumor or similar condition that results in the candidate not being able to safely perform
                       one or more of the essential job tasks.
                u. Psychiatric Conditions
                   1) Any psychiatric condition that results in the candidate not being able to safely perform one or
                       more of the essential job tasks.


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                v. Chemicals, Drugs, and Medications
                     1) Those that require chronic or frequent treatment with any of the following medications or classes
                         of medications:
                         a) Narcotics, including methadone.
                         b) Sedative-hypnotics.
                         c) Full-dose or low-dose anticoagulation medications or any drugs that prolong prothrombin
                             time, partial thromboplastin time, or international normalized ratio.
                         d) Beta-adrenergic blocking agents at doses that prevent a normal cardiac rate response to
                             exercise, high-dose diuretics, or central acting antihypertensive agents (e.g., clonidine).
                         e) *Respiratory medications: inhaled bronchodilators, inhaled corticosteroids, systemic
                             corticosteroids, theophylline, and leukotriene receptor antagonists (e.g., Montelukast).
                         f) High-dose corticosteroids for chronic disease.
                         g) Anabolic steroids.
                         h) Any chemical, drug, or medication that results in the candidate not being able to safely
                             perform one or more of the essential job tasks.
                    2) Tobacco use shall be a Category A medical condition (where allowed by law).
                    3) Evidence of illegal drug use detected through testing, conducted in accordance with Substance
                         Abuse and Mental Health Service Administration, shall be a Category A medical condition.
                    4) Evidence of clinical intoxication or a measured blood alcohol level that exceeds the legal
                         definition of intoxication according to the authority having jurisdiction at the time of medical
                         evaluation shall be a Category A medical condition.
        (B) Full Duty: Qualified for all institutional assignments (including food-handling) without restrictions.
        (C) Limited Duty: Restrictions on duty assignment, which are listed in the Comments section. For example, no
            assignment to work where standing for longer than two hours is required. Qualified for food-handling unless
            specifically noted.
        (D) Totally Disabled: Incapable of any duty assignment.
    (3) Medical Risk
        Medical Risk provides a scale of the risk of adverse outcome caused by the patient’s medical conditions.
        (A) Low Risk: Routine medical conditions, focused on preventative care. Chronic care of common conditions in
            good control throughout the last year.
        (B) Medium Risk: Chronic care of well or moderately-controlled common conditions. Requires time-sensitive
            laboratory studies.
        (C) High Risk: Chronic care of complicated, unstable, or poorly-controlled common conditions (e.g., asthma
            with history of intubation for exacerbations, uncompensated end-stage liver disease, hypertension with end-
            organ damage, diabetes with amputation). Chronic care of complex, unusual, or high risk conditions (e.g.,
            cancer under treatment or metastatic, coronary artery disease with prior infarction). Implanted defibrillator or
            pacemaker. High risk medications (e.g., chemotherapy, immune suppressants, Factor 8 or 7, anticoagulants
            other than aspirin). Transportation over a several day period would pose a health risk, such as
            hypercoagulable state. Case management is required.
    (4) Nursing Care Acuity
        Nursing Care Acuity is a scale for the extent, frequency, and complexity of nursing interventions and activities
        needed.
        (A) Basic, Uncomplicated Nursing (Population Risk Stratification Level I: Primary Prevention): Care of
            largely well population; prevention and wellness; stable, uncomplicated chronic disease; episodic care of
            acute injury and illness; routine nursing care in primary care clinic; annual or semi-annual patient service
            plans; Keep on Person Medications available seven days per week or Nurse administered (NA) medications
            no more frequent than twice daily.
        (B) Low-Intensity Nursing (Population Risk Stratification Level II: Secondary Prevention): Care of chronic
            stable disease; functional limitations compensated by adaptive equipment; patients able to participate in
            Activities of Daily Living; maintenance of status; prevention of exacerbation; symptom control and
            management of pain; uncomplicated wound care (time-limited); uncomplicated chemo/radiation therapy;

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              quarterly patient service plans; Unit pill line: Direct Observed Therapy, Nurse Administered Medications,
              Intramuscular or subcutaneous injections, and Keep on Person Medications.
         (C) Medium-Intensity Nursing (Population Risk Stratification Level III: Tertiary): Care of complex, stable
              or at-risk patients; uncomplicated post-surgical care; dementia, quadriplegia, hemiplegia who are able to
              participate in self-care; uncomplicated wound care; high risk for skin breakdown; Outpatient Housing Unit
              (OHU) placement; monthly or every two month patient service plans. Case management/care coordination is
              required.
         (D) High-Intensity        or    Specialized     Nursing       (Population    Risk     Stratification   Level     IV:
              Catastrophic/Complex): Direct, total and/or specialized nursing care of complex, complicated, unstable, or
              high risk patients; daily nursing plan update; significant dementia, paraplegia, hemiplegia or quadriplegia who
              are unstable and unable to participate in self-care; complex medication protocols. Care management/care
              coordination is required. Inpatient level of care.
(d) Minimum Support Facility Criteria
    To be medically eligible for Minimum Support Facility (MSF) Placement, patients must have a MCC Risk Category
    designation of Low Risk or meet the Medium Risk criteria for MSF eligibility (see Clinical Risk Definitions on the
    Lifeline Quality Management Portal). Additionally, patients must also meet all custodial criteria required for MSF
    placement (i.e., Time in Custody, no S or R Suffix, etc.).
(e) Specialized Services
    Specialized Services are special programs or patient needs that are provided by certain specified institutions.
    (1) Pregnancy Program: Medical program for pregnant and post-partum patients.
    (2) Transplant Center: Medical program at institutions with agreements with a local transplant center. Currently
         these patients are managed as part of the continuum of care; this factor then flags these patients for purposes of
         population management and census.
    (3) Hemodialysis: Medical program for patients requiring hemodialysis. The program may provide dialysis within
         the institution or by transportation outside the institution.
    (4) Dementia: Medical program for patients with dementia. Currently these patients are managed as part of the
         continuum of care; this factor then flags these patients for purposes of population management and census.
    (5) Therapeutic Diet: Specified therapeutic diets are available to outpatients and in medical settings. Authorized
         therapeutic diets include:
         (A) Gluten-free diet
         (B) Hepatic diet
         (C) Renal diet
         (D) Pre-renal diet
    (6) Respiratory Isolation: Low-pressure respiratory isolation room is required. These rooms are included in CTCs
         and used primarily in the care of patients with active tuberculosis.
    (7) Speech/Occupational Therapy: Speech and occupational therapy services. These are most commonly provided
         for patients being rehabilitated from strokes who are being cared for in a medical setting.
    (8) Physical Therapy: Physical therapy services, which can be provided both in medical settings and as outpatients.
    (9) Durable Medical Equipment: Provisioning and repair of durable medical equipment including wheelchairs,
         prostheses, portable oxygen concentrators, and continuous positive airway pressure devices which are available
         both in medical settings and as outpatients.
    (10) Transgender: Medical program for transgender patients.
(f) INSTITUTIONAL-ENVIRONMENTAL
    These Classification Factors are related to institutional capabilities or characteristics that are due to the physical
    location and architectural design.
    (1) Restricted-Altitude: The patient has a condition that is placed at risk by high altitude (above 3,500 feet)
         including patients who require supplemental oxygen and patients with sickle-cell disease (sickle-cell trait does not
         require restriction).
    (2) Restricted-Cocci Areas
         (A) Institutions in Restricted-Cocci Area 1 include: Avenal State Prison, California City Correctional Center,
              California Correctional Institution, California Men’s Colony, California State Prison, Corcoran, California

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             Substance Abuse Treatment Facility and State Prison at Corcoran, Kern Valley State Prison, North Kern State
             Prison, Pleasant Valley State Prison, Wasco State Prison, and any Community Correctional Facility/Modified
             Community Correctional Facility that has these institutions as their hub.
             1. Patients who are designated as Restricted-Cocci Area 1 are precluded from endorsement to the institutions
                 listed above.
             2. Patients with Clinical Category 1 or 2, pregnancy, a history of lymphoma, status post solid organ
                 transplant, chronic immunosuppressive therapy, moderate to severe Chronic Obstructive Pulmonary
                 Disease (on intermittent or continuous O2,) or cancer patients on chemotherapy and/or radiation therapy
                 are restricted from placement in Cocci Area 1, unless they have a history of cocci disease.
        (B) Institutions in Restricted-Cocci Area 2: Avenal State Prison, Pleasant Valley State Prison, and any
             Community Correctional Facility/Modified Community Correctional Facility that has these institutions as
             their hub.
             1. Patients who are designated as Restricted-Cocci Area 2 are precluded from endorsement to the institutions
                 listed above.
             2. High Medical Risk patients and those who test negative with the cocci skin test, have not been offered the
                 cocci skin test, or have an incomplete skin test (e.g., consented to testing but the test has not yet been
                 completed) are absolutely restricted from Cocci Area 2, unless they have a history of cocci disease; these
                 patients cannot waive the restriction.
             3. Patients with diabetes or who are Filipino or African American are restricted from Cocci Area 2, unless
                 they have a history of cocci disease or test positive with a cocci skin test; these patients may waive the
                 restriction.
    (3) Restricted-No Stairs: Patients who require an environment without stairs for their activities of daily living. This
        may be due to mobility impairment or to other functional impairments such as heart failure.
    (4) Requires Electrical Access: Patients with electrically-operated supportive equipment such as portable oxygen
        concentrators or continuous positive airway pressure devices that require an electrical outlet within six feet of the
        head of the bed.
    (5) Requires Adaptive Equipment: Patients who require adaptive equipment in their living area such as grab bars
        in the toilet or shower or trapeze bars over the bed.
    (6) Requires Medical Transport: The patient cannot safely be transported using custody staff and a state car, state
        bus, or state transport van. For example, a quadriplegic with autonomic instability.
    (7) See 1845 and 7410: The patient has medical needs that are specified on a CDCR 1845, Disability Placement
        Program Verification, and/or a CDCR 7410, Comprehensive Accommodation Chrono.
(g) COMMENTS
    (1) Specified Medical Classification Factors, if present, require supporting details to be written into the “Comments”
        section of the MCC. These factors are marked with a superscript “*”.
    (2) Comments that contain protected health information should be entered into the “Confidential Comments” section.




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                             Exhibit 32
                                               MENTAL HEALTH SERVICES DELIVERY SYSTEM (MHSDS)
                                                MANAGEMENT INFORMATION SUMMARY (MIS) REPORT
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                                                                              2/18/2020
                                                                                                MALES                                          FEMALES
 Level of
                                  Housing Program                                                           Awaiting                                           Awaiting
   Care                                                                       Capacity       Census1                           Capacity         Census1
                                                                                                           Placement2                                         Placement2
Correctional Clinical Case Management System (CCCMS)                           27,000        25,182                              2,250           2,095
          Reception Center (RC)                                                               2,312                                               247
          General Population (GP)                                                            20,991                                              1,724
          Enhanced Outpatient Program (EOP)                                                     83                                                 0
          Mental Health Crisis Bed (MHCB)                                                       0                                                  0
          Psychiatric Inpatient Program (PIP)                                                   0                                                  0
          Specialized Medical Beds Housing                                                     553                                                 20
 CCCMS Administrative Segregation Unit (ASU)                                                   229                                                 65
          Condemned                                                                            129                                                 15
          Long Term Restricted Housing Unit (LTRH)                               130           223                                                 0
          Non-Disciplinary Segregation (NDS)                                                    0                                                  0
          Psychiatric Services Unit (PSU)                                                       13                                                 0
          Security Housing Unit (SHU)                                                           0                                                  24
          Short Term Restricted Housing Unit (STRH)                             1,125          649                                                 0
Enhanced Outpatient Program (EOP)                                               7,075        6,531                                225             191
          Reception Center (RC)                                                                166                                                 1
          General Population (GP)                                                               59                                                 46
          Enhanced Outpatient Program (EOP)                                     6,318         5,491                               195             121
          Mental Health Crisis Bed (MHCB)                                                       5                                                  0
          Psychiatric Inpatient Program (PIP)                                                   21                                                 1
          Specialized Medical Beds Housing                                                     182                                                 3
  EOP Administrative Segregation Unit (ASU)                                      585           383              39                 20              15                0
          Condemned                                                                             61                                                 0
          Long Term Restricted Housing Unit (LTRH)                                              1                                                  0
          Non-Disciplinary Segregation (NDS)                                                    0                                                  0
          Psychiatric Services Unit (PSU)                                        172           127              15                 10              4                 0
          Security Housing Unit (SHU)                                                           0                                                  0
          Short Term Restricted Housing Unit (STRH)                                             35                                                 0

                                                                                                      1
                                                                                                            Awaiting                                           Awaiting
                               Level of Care                                  Capacity       Census                            Capacity         Census1
                                                                                                           Placement2                                         Placement2

Mental Health Crisis Bed (MHCB)                                                  407           293               6                 41              30                2
 Psychiatric Inpatient Programs:
                                                                        1,131                 1,068             113
 Intermediate Care Facility (ICF)
 Low Custody                                                             390                   364              35
           Atascadero State Hospital (ASH)                               256                   244              21
           Coalinga State Hospital (CSH)                                  50                    46               6
           California Medical Facility (CMF)                              84                    74               8
 High Custody                                                            741                   704              78
           California Health Care Facility (CHCF)                        331                   324              24
           CMF Single Cells                                               94                    91              21
           CMF Multi Cells                                                70                    57               6
           SVPP Single Cells                                             202                   194              19
           Salinas Valley Psychiatric Program (SVPP) Multi Cells          44                    38               8
 Acute Psychiatric Program (APP)                                         421                   390              35
           ASH                                                            0                     0                0
           CHCF                                                          203                   193              19
           CMF                                                           218                   197              16
 Psychiatric Inpatient Program (PIP)                                      40                    29               0                 75              46                4
           California Institution for Women (CIW)                                                                                  45              34                3
           Patton State Hospital (PSH)                                                                                             30              12                1
           SQ                                                             30                   27                0
           SQ (Non-condemned)⁶                                            10                   2                 0
 Penal Code 2974s (Parolees)5                                                                  2
           Metro State Hospital (MSH)                                                          0
           Napa State Hospital (NSH)                                                           2
           Patton State Hospital (PSH)                                                         0
::                                       TOTALS (excluding Parolees) I_ 36,074               33,493            208        _I     2,591           2,362               6
                                                                                                                                               CENSUS PERCENTAGES
                                                                               Total          Total       Total Awaiting Total Over
                                                                                                    1
                                                                              Capacity       Census        Placement2 Timeframes3 % MHSDS                       % CDCR4
                                                               CCCMS           29,250        27,277                                             76.08%           22.10%
                                                                  EOP           6,513         6,157                                             17.17%           4.99%
                                                   EOP-ASU/NDS/STRH              605           433              39                  8            1.21%           0.35%
                                                   EOP-PSU/LTRH/SHU              182           132              15                  0            0.37%           0.11%
                                                                MHCB             448           323               8                  0            0.90%           0.26%
                                                PSYCHIATRIC INPATIENT           1,667         1,533             152                 5            4.28%           1.24%
                                                           GRAND TOTAL         38,665        35,855             214                13           100.00%          29.05%
        1 Census sources: HCODS for CCCMS, EOP; HEART for MHCB; RIPA reports for ICF, APP, and PIP programs.
        2 Awaiting Placement = The sum of inmates waiting to be placed in a bed at a specific level of care. Those awaiting placement to ICF, APP, and PIP include

            referrals that have been custodially reviewed by HCPOP and are awaiting bed availability, inpatient program acceptance, or transfer to the inpatient program
            as of the reporting date (based on the Referrals to Inpatient Programs Application (RIPA)).

        3 Total Over Timeframes = The number of referrals that are beyond Mental Health Program Guide transfer timeframes: EOP-ASU includes cases in non-hubs

          waiting > 30 days, PSU includes cases with an original CSR endorsement date > 60 days, MHCB includes referrals > 24 hours, Psychiatric Inpatient includes
          Intermediate referrals > 30 days and Acute referrals > 10 days.
        4 CDCR pop as of 2/12/20 (OISB). Based on Total In-State Institution Population and Out of State (COCF).
        5 Census numbers are tracked and updated by Department of State Hospital (DSH).
        ⁶ SQ for non-condemned has one MHCB placement.
                                                                                                                         CCHCS, Health Care Placement Oversight Program
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                             Exhibit 33
COVID-19        Preparedness
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RECENT UPDATES
March 24, 2020 update
  ◦ As of March 24, 2020, one incarcerated individual at California State Prison-Los Angeles County has tested positive for COVID-19.
  ◦ As of March 24, 2020, the Agency has received notification that two employees at California State Prison, Sacramento, three employees
    at California Institution for Men, and one employee at Folsom State Prison have tested positive for COVID-19. An employee at California
    Health Care Facility has also tested positive but there is no expected staff or inmate exposure from this case. Please see the latest on
    our COVID-19 Status webpage here (https://www.cdcr.ca.gov/covid19/cdcr-cchcs-covid-19-status/).
  ◦ California Governor Gavin Newsom today issued an Executive Order with the following directives to CDCR:
        ◦ Suspend intake of all incarcerated persons into both adult state prison and Division of Juvenile Justice facilities from the county
          level for a minimum of 30 days.
        ◦ Directed the Board of Parole Hearings (BPH) to develop a process for conducting parole hearings by videoconference for all
          participants to attend.
        ◦ BPH directed to cease conducting in-person parole hearings for 60 days and postpone any scheduled parole hearings until April
          13, or earlier if video conferencing capability is made available.
              ◦ For the next 60 days, and for the term of any extensions, inmates scheduled for a parole hearing can elect to continue with
                 their timely parole hearing by videoconference, to accept a postponement, or to waive their hearing.
        ◦ For more details on the Governor’s Executive Order visit the Office of the Governor’s website here
          (https://www.gov.ca.gov/2020/03/24/governor-newsom-issues-executive-order-on-state-prisons-and-juvenile-facilities-in-
          response-to-the-covid-19-outbreak/).
  ◦ CDCR has suspended transfers of inmates into the Male Community Reentry Program (https://www.cdcr.ca.gov/rehabilitation/mcrp/)
    (MCRP), the Custody to Community Transitional Reentry Program (https://www.cdcr.ca.gov/adult-operations/custody-to-community-
    transitional-reentry-program/) (CCTRP), and the Alternative Custody Program (https://www.cdcr.ca.gov/adult-operations/acp/)(ACP)
    through April 6,2020. CDCR has taken this step to limit potential exposure of staff to COVID-19 during inmate transfers to the
    community. Additionally, as part of this program, incarcerated persons remain under the jurisdiction and responsibility of CDCR, to
    include providing any required medical attention. Releasing incarcerated persons to these programs could potentially expose them to
    COVID-19 in the community which would require their transfer back to an institution for medical care for non-emergent health care
    needs, increasing risk for potential exposure within our institutions.
  ◦ CDCR has also suspended transfers of inmates to the Conservation Camp program until further notice. Inmate transfers previously
    initiated under the approved guidelines, that are currently on layover, will be moved to their final destination.


Executives and staff at CDCR and CCHCS are working closely with infectious disease control experts to
minimize the impact of COVID-19 on our operations. To ensure CDCR and CCHCS are ready to
immediately respond to any COVID-19 related incident, the Agency activated the Department Operations
Center (DOC) in order to be fully prepared to respond to any departmental impacts resulting from COVID-
19.

CDCR and CCHCS are dedicated to the safety of everyone who lives in, works in, and visits our state
prisons. We have longstanding outbreak management plans in place to address communicable disease
outbreaks such as influenza, measles, mumps, norovirus, and varicella, as well as preparedness
procedures to address a variety of medical emergencies and natural disasters.

We are bolstering our response readiness by taking several proactive steps to educate those who work in,
live in, and visit our facilities regarding ways they can protect themselves and those around them from
COVID-19.

BELOW IS AN OVERVIEW OF STEPS WE ARE TAKING REGARDING COVID-19

Expanded precautions at institutions and office locations
CDCR and CCHCS have implemented mandatory verbal screening for every person entering any work
location, in line with screenings in place at prisons since March 14. Those attempting to enter a state
prison or office building at any time are required to verbally respond if they currently have new or
worsening symptoms of a respiratory illness. If the individual’s response is that they are experiencing
symptoms, they will be restricted from entering the site that day.
All CDCR institutions have been instructed to conduct additional deep-cleaning efforts in high-traffic, high-
volume areas, including visiting and health care facilities. Additional hand sanitizer dispensing stations
are beingCase  2:90-cv-00520-KJM-SCR
          procured                          Document
                    and will be placed inside           6529-2entrances
                                              adult institution    Filed 03/25/20    Page
                                                                          and visiting     150 of 249
                                                                                       areas.

Staff have been granted permission to carry up to two ounces of personal-use hand sanitizer. The
incarcerated population is being provided extra soap when requested and hospital-grade disinfectant that
meets Centers for Disease Control and Prevention guidance for COVID-19.

CDCR and CCHCS have suspended tuberculosis (TB) testing clinics for staff at all locations statewide,
including institutions, in accordance with recommended limitations on gatherings. Testing will be
rescheduled as appropriate.

CDCR and CCHCS have been actively monitoring and assessing institutions to ensure staff have an
adequate supply of personal protective equipment to immediately address any potential COVID-19
exposures, and to protect staff and incarcerated people. The workgroup will continue to collaborate and
maintain open lines of communication with the Governor’s Office of Emergency Services to identify any
deficiencies and ensure adequate supplies are available at each institution on an ongoing basis.

Screening on entry into prisons
All incarcerated persons received into a Reception Center institution are placed into an automatic 14-day
quarantine for monitoring. For more on CDCR and CCHCS quarantine protocols, visit our COVID-19 Status
(https://www.cdcr.ca.gov/covid19/cdcr-cchcs-covid-19-status/) webpage.

Immediately upon entry, all inmates are screened for symptoms of influenza-like illness (lLl) including
COVID-l9. The inmate populations that must be screened include, but are not limited to, those entering via
reception centers, receiving and release locations and fire camps, and returning from court, a higher level
of care, or an offsite specialty appointment.

The screening shall include asking an individual if they have a cough, fever and/or difficulty breathing, and
taking their temperature. Based on the screening questions, temperature reading, and health care staff’s
clinical judgement, the individual will either be placed in isolation, quarantine or other housing.

Social distancing
CDCR has implemented several practices to encourage “social distancing,” which is a strategy
recommended by public health officials to stop the spread of contagious diseases. Social distancing
requires the creation of physical space between individuals, minimizing gatherings, and ensuring space
between individuals when events or activities cannot be modified, postponed, or canceled. Achieving
space between individuals of approximately six feet is advisable.

The incarcerated population has received information about social distancing, and staff and inmates are
practicing social distancing strategies where possible, including limiting groups to no more than 10,
assigning bunks to provide more space between individuals, rearranging scheduled movements to
minimize mixing of people from different housing areas, encouraging social distancing during yard time,
and adjusting dining schedules where possible to allow for social distancing and additional cleaning and
disinfecting of dining halls between groups.

Transportation/Receiving and Release protocols
Effective March 24, CDCR will suspend intake of all incarcerated persons into both adult state prison and
Division of Juvenile Justice facilities for a minimum of 30 days. California Governor Gavin Newsom issued
an Executive Order directing CDCR to suspend intake into state correctional facilities for 30 days. All
persons convicted of felonies shall be received, detained, or housed in a jail or other facility currently
detaining or housing them for that period. The order allows the CDCR Secretary to grant one or more 30-
day extensions if suspension continues to be necessary to protect the health, safety, and welfare of
inmates and juveniles in CDCR’s custody and staff who work in the facilities.
CDCR has suspended transfers of inmates into the Male Community Reentry Program
(https://www.cdcr.ca.gov/rehabilitation/mcrp/) (MCRP), the Custody to Community Transitional Reentry
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          (https://www.cdcr.ca.gov/adult-operations/custody-to-community-transitional-reentry-program/)
(CCTRP), and the Alternative Custody Program (https://www.cdcr.ca.gov/adult-operations/acp/)(ACP)
through April 6,2020. CDCR has taken this step to limit potential exposure of staff to COVID-19 during
inmate transfers to the community. Additionally, as part of this program, incarcerated persons remain
under the jurisdiction and responsibility of CDCR, to include providing any required medical attention.
Releasing incarcerated persons to these programs could potentially expose them to COVID-19 in the
community which would require their transfer back to an institution for medical care for non-emergent
health care needs, increasing risk for potential exposure within our institutions.

CDCR has also suspended transfers of inmates to the Conservation Camp program until further notice.
Inmate transfers previously initiated under the approved guidelines, who are currently on layover, will be
moved to their final destination.

Department of State Hospitals and CDCR/CCHCS will not transfer patients between the two mental health
treatment agencies for the next 30 days. All appropriate health care services will be provided to the
patient by the current housing agency.

CDCR has limited transfers of inmates between CDCR facilities to only the following scenarios: removal to
and from restricted housing units; transfer from reception centers after being assessed by medical and
other staff; for medical and mental health needs; conservation camps, Male Community Reentry Program,
Custody to Community Transitional Reentry Program; Alternative Custody Program; Modified Community
Correctional Facilities due to deactivation efforts; and ordered court appearances.

For inmates coming into the CDCR system, or who are being transported in the above scenarios; we are
completing a comprehensive health screening and assessment by health care professionals when they
are both processed into and out of an institution; including temperature, blood pressure, pulse, and
respiration screenings. They are also asked a series of questions about their state of health.

All Interstate Compact Agreement transfers of out-of-state parolees and inmates to California will cease
for 30 days.

Visiting
CDCR’s inmate telephone network provider Global Tel Link (GTL) has offered the adult incarcerated
population two days of free phone calls. The first was held March 19, the next will take place from 12 a.m.
to 11:59 p.m. Thursday, March 26. The youth within the Division of Juvenile Justice already receive free
phone calls. There is no limit on number of calls; however, each institution may limit time to
accommodate need.

CDCR’s electronic messaging provider JPay is now offering two free stamps per week for all registered
users at the five pilot sites that currently have the technology; High Desert State Prison, Kern Valley State
Prison, California Institution for Women, Central California Women’s Facility, and Substance Abuse
Treatment Facility and State Prison, Corcoran. At some of these institutions, only certain yards currently
have this technology. Stamps are added to JPay accounts each Friday.

As part of CDCR’s COVID-19 prevention efforts, normal visiting at adult and juvenile facilities is canceled
statewide until further notice based on California Department of Public Health guidance for mass
gatherings. This includes overnight family visits and Division of Juvenile Justice visiting.

Institution executives have been instructed to find opportunities to allow increased phone access for the
incarcerated population so they may keep in touch with their support system, while also practicing social
distancing and other infectious disease safety protocols.
At this time, legal/attorney visits and hospice visits will be held as scheduled. Marriages will be
postponed, those affected are encouraged to work with the institution’s Community Resource Manager
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           rescheduling  for a later date.   Document 6529-2 Filed 03/25/20 Page 152 of 249

Rehabilitative programs and volunteers
Non-CDCR/CCHCS/CALPIA staff will not be permitted to enter state prison until further notice. This
includes people who enter state prison as volunteers, or to facilitate rehabilitative programs. Paid union
representatives, and Inmate Ward Labor (IWL) staff will be permitted. CalVet representatives and
contractors who work with institution staff to conduct interviews and provide forensic evaluations for
incarcerated veterans to receive federal disability benefits for themselves and their families pursuant to
Senate Bill 776 will also be permitted.

No rehabilitative programs, group events, or in-person educational classes will take place until further
notice. At this time, all tours and events have been postponed, and no new tours are being scheduled.

Education
The Office of Correctional Education is working with institution principals, library staff, and teachers to
provide in-cell assignments where possible in order for students to continue their studies, legal library
access and educational credit-earning opportunities. For those in our incarcerated population who need
supplementary academic support, CDCR has encouraged Disability Placement Program, Developmental
Disability Program, and Every Student Succeeds Act staff to coordinate with the institution instructor to
provide additional assistance to enrolled students where possible.

Standardized testing has stopped until further notice, although we are encouraging education staff to
continue to engage their students as much as possible to stay focused on their rehabilitation and positive
programming during this time.

Recreation and Law Library Services will continue to be available to the incarcerated population even if
physical access is restricted due to safety and security measures.

Religious programs
CDCR recognizes the importance of religion in the daily life and spiritual growth of incarcerated people.
Unfortunately, the department has limited group religious programming for upcoming holidays such as
Ramadan, Passover, and Easter. These services will be provided as in-cell services as an alternative.
CDCR will provide the appropriate Ramadan and Passover daily meals to allow incarcerated people to
observe their religious meal traditions, including appropriately beginning and breaking their Ramadan fast.

Chaplains will conduct individual religious counseling as appropriate while maintaining social distancing,
and CDCR is working to provide televised religious services to the population.

Health care services
The health and safety of our population is of critical importance to CDCR and CCHCS. While our agency is
working together to prepare for and respond to COVID-19, we will continue to provide urgent health care
services. To reduce risks to both patients and staff, inmate movement will be minimized. In addition,
some specialty and routine care may be delayed as a result of both internal redirections and external
closures. All cancelled appointments will be rescheduled as soon as safely possible. Health care staff will
continue to see and treat patients through the 7362 process and those with flu-like symptoms will be
tested for COVID-19 as appropriate.

Dental care
The California Dental Association recommends that all non-urgent dental care be suspended for the next
14 days. Effective immediately and until further notice, dental treatment shall be limited to Dental Priority
Classification (DPC) 1 conditions (urgent care). For more information on what qualifies as urgent
care, view HCDOM 3.3.5.4 (https://cchcs.ca.gov/wp-content/uploads/sites/60/HC/HCDOM-ch03-
art3.5.4.pdf).
Specialty care appointments
In order to reduce risks to patients and staff, all non-urgent offsite specialty appointments will be re-
scheduledCase
            to a2:90-cv-00520-KJM-SCR       Document 6529-2
                 later time. Telemedicine appointments              Filedat03/25/20
                                                          will continue     this time. Page 153 of 249

Board of Parole Hearings/Parole suitability hearings
All in-person Board of Parole Hearings (BPH) parole suitability hearings are postponed for a minimum of
60 days, with any scheduled parole hearings postponed until at least April 13. BPH is working to develop a
process for conducting parole hearings by videoconference for all participants to attend, including
incarcerated persons, attorneys, commissioners, and victims/victims next-of-kin. Parole suitability
hearings may resume earlier once BPH is able to provide video-conferencing.

Division of Adult Parole Operations
The Division of Adult Parole Operations (DAPO) is committed to the safety of the community, staff, and
those in its care. Given the increased risk associated with the use of mass/public transportation and
those under parole supervision deemed a high-risk population (older adults and those with known serious
chronic medical conditions), DAPO will make some operational changes to support both staff and the
individuals under their care and supervision, including suspending lobby traffic except for initial parole
interviews and emergencies, and suspending office visits for those age 65 and older and/or with chronic
medical conditions.

All parolees’ conditions of parole remain in place, with the exception of the items listed above. DAPO
administrators and supervisors will assess all measures being implemented and adjust, modify, or waive
required specifications as appropriate. Any questions parolees may have related to COVID-19 prevention
efforts should be directed to their Parole Agent. Learn more here
(https://www.cdcr.ca.gov/covid19/division-of-adult-parole-operations/).

Modified Community Correctional Facilities and Community Reentry Programs
CDCR’s in-state contract facilities are conducting verbal screenings of staff and participants who enter the
facilities. Those attempting to enter one of these facilities are required to verbally respond if they currently
have symptoms of a respiratory illness. Visiting has also been halted at these facilities until further
notice.

CDCR is committed to continuing education programs and limiting the impact our COVID-19 response has
on positive rehabilitative programming for our Community Reentry Programs. Rehabilitative programs at
the reentry facilities will continue with modifications made to class sizes to encourage social distancing,
with some potential program closures.

At this time, participants are generally restricted from leaving the facilities outside of mandated legal
reasons, urgent medical needs, if they are employed in the community, or for critical reentry services
related to those within 30-45 days of release.

Participants age 65 or older are only eligible for passes to go out in the community for emergency
situations only.

Visiting has been canceled at the Community Prisoner Mother Program (CPMP) in line with
recommendations from public health officials and the cessation of visiting at CDCR locations statewide.
This includes scheduled off-site visits for children residing at CPMP with their mothers. Family members
may continue to drop approved items such as diapers, wipes, baby food and baby snacks (for children
under 1), during normal visiting hours even during closure. CPMP staff are diligently working to ensure the
mothers’ and children’s needs are met and supplies are readily available with a surplus where needed.
They are working closely with community healthcare providers and medical staff at nearby California
Institution for Women to keep all required appointments for mothers and children.

Population communication
To keep members of our population informed, we have created and distributed fact sheets and posters in
both English and Spanish that provide education on COVID-19 and precautions recommended by CDC,
which expand upon those advised during cold and flu season. We have also begun streaming CDC
educational videos on the CDCR Division of Rehabilitative Programs inmate television network and the
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CCHCS inmate                              Document
               health care television network.       6529-2
                                               Learn more here Filed 03/25/20 Page 154 of 249
(https://www.cdcr.ca.gov/covid19/population-communications/).

Additionally, we are providing regular department updates regarding COVID-19 response to the Statewide
Inmate Family Council and all institutional Inmate Family Councils who serve the family and friends of the
incarcerated population to ensure they are aware of the steps the department is taking to protect their
loved ones housed in our institutions.

Peace officer hiring and academies
Written peace officer exams are suspended until April 6, 2020. The health and safety of our staff, cadets,
and candidates is a top priority. CDCR is taking all the available precautions to ensure a safe and healthy
environment. These precautions include regular office cleanings, hand sanitizer/gloves when applicable,
reduced testing and physical fitness group sizes, and social distancing.

The Basic Correctional Officer Academy (BCOA) that is currently underway has been accelerated to allow
graduation to move from May 1, 2020, to April 7, 2020. The BCOA scheduled to start Tuesday, March 24,
will be postponed for at least 30 days.

Communication and guidance to staff
We have worked continuously to keep staff informed of the evolving situation, including creating internal
and external webpages with health-related information from CDC and California Department of Public
Health on how they can protect themselves against COVID-19. We have also provided staff with California
Department of Human Resources (CalHR) updates on personnel and work-related questions specific to
the COVID-19 issue.

CDCR and CCHCS care for the health and wellness of its workforce and have been working to
accommodate those who have been impacted by this evolving situation. We will continue to work
diligently with CalHR and labor organizations on how we can best keep our workforce protected and
provide for the safety and security of our institutions.

For more employee resources related to COVID-19, see our webpage
here: https://www.cdcr.ca.gov/covid19/information/ (https://www.cdcr.ca.gov/covid19/information/).
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              ORDER OF THE HEALTH OFFICER
            OF THE COUNTY OF MARIN DIRECTING
ALL INDIVIDUALS LIVING IN THE COUNTY TO SHELTER AT THEIR
   PLACE OF RESIDENCE EXCEPT THAT THEY MAY LEAVE TO
    PROVIDE OR RECEIVE CERTAIN ESSENTIAL SERVICES OR
  ENGAGE IN CERTAIN ESSENTIAL ACTIVITIES AND WORK FOR
    ESSENTIAL BUSINESSES AND GOVERNMENTAL SERVICES;
EXEMPTING INDIVIDUALS EXPERIENCING HOMELESSNESS FROM
  THE SHELTER IN PLACE ORDER BUT URGING THEM TO FIND
    SHELTER AND GOVERNMENT AGENCIES TO PROVIDE IT;
DIRECTING ALL BUSINESSES AND GOVERNMENTAL AGENCIES TO
CEASE NON-ESSENTIAL OPERATIONS AT PHYSICAL LOCATIONS IN
 THE COUNTY; PROHIBITING ALL NON-ESSENTIAL GATHERINGS
OF ANY NUMBER OF INDIVIDUALS; AND ORDERING CESSATION OF
                ALL NON-ESSENTIAL TRAVEL

                            DATE OF ORDER: MARCH 16, 2020

Please read this Order carefully. Violation of or failure to comply with this Order is a
misdemeanor punishable by fine, imprisonment, or both. (California Health and Safety
Code § 120295, et seq.)

UNDER THE AUTHORITY OF CALIFORNIA HEALTH AND SAFETY CODE SECTIONS
101040, 101085, AND 120175, THE HEALTH OFFICER OF THE COUNTY OF MARIN
(“HEALTH OFFICER”) ORDERS:

   1. The intent of this Order is to ensure that the maximum number of people self-isolate in
       their places of residence to the maximum extent feasible, while enabling essential
       services to continue, to slow the spread of COVID-19 to the maximum extent
       possible. When people need to leave their places of residence, whether to obtain or
       perform vital services, or to otherwise facilitate authorized activities necessary for
       continuity of social and commercial life, they should at all times reasonably possible
       comply with Social Distancing Requirements as defined in Section 10 below. All
       provisions of this Order should be interpreted to effectuate this intent. Failure to comply
       with any of the provisions of this Order constitutes an imminent threat to public health.

   2. All individuals currently living within Marin County (the “County”) are ordered to
      shelter at their place of residence. To the extent individuals are using shared or outdoor
      spaces, they must at all times as reasonably possible maintain social distancing of at least
      six feet from any other person when they are outside their residence. All persons may
      leave their residences only for Essential Activities, Essential Governmental Functions, or
      to operate Essential Businesses, all as defined in Section 10. Individuals experiencing


Order of the County Health Officer of the
County of Marin to Shelter in Place
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       homelessness are exempt from this Section, but are strongly urged to obtain shelter, and
       governmental and other entities are strongly urged to make such shelter available as soon
       as possible and to the maximum extent practicable (and to utilize Social Distancing
       Requirements in their operation).

   3. All businesses with a facility in the County, except Essential Businesses as defined below
      in Section 10, are required to cease all activities at facilities located within the County
      except Minimum Basic Operations, as defined in Section 10. For clarity, businesses may
      also continue operations consisting exclusively of employees or contractors performing
      activities at their own residences (i.e., working from home). All Essential Businesses are
      strongly encouraged to remain open. To the greatest extent feasible, Essential Businesses
      shall comply with Social Distancing Requirements as defined in Section 10 below,
      including, but not limited to, when any customers are standing in line.

   4. All public and private gatherings of any number of people occurring outside a household
      or living unit are prohibited, except for the limited purposes as expressly permitted in
      Section 10. Nothing in this Order prohibits the gathering of members of a household or
      living unit.

   5. All travel, including, but not limited to, travel on foot, bicycle, scooter, motorcycle,
      automobile, or public transit, except Essential Travel and Essential Activities as defined
      below in Section 10, is prohibited. People must use public transit only for purposes of
      performing Essential Activities or to travel to and from work to operate Essential
      Businesses or maintain Essential Governmental Functions. People riding on public
      transit must comply with Social Distancing Requirements as defined in Section 10 below,
      to the greatest extent feasible. This Order allows travel into or out of the County to
      perform Essential Activities, operate Essential Businesses, or maintain Essential
      Governmental Functions.

   6. This Order is issued based on evidence of increasing occurrence of COVID-19 within the
      County and throughout the Bay Area, scientific evidence and best practices regarding the
      most effective approaches to slow the transmission of communicable diseases generally
      and COVID-19 specifically, and evidence that the age, condition, and health of a
      significant portion of the population of the County places it at risk for serious health
      complications, including death, from COVID-19. Due to the outbreak of the COVID-19
      virus in the general public, which is now a pandemic according to the World Health
      Organization, there is a public health emergency throughout the County. Making the
      problem worse, some individuals who contract the COVID-19 virus have no symptoms
      or have mild symptoms, which means they may not be aware they carry the virus.
      Because even people without symptoms can transmit the disease, and because evidence
      shows the disease is easily spread, gatherings can result in preventable transmission of
      the virus. The scientific evidence shows that at this stage of the emergency, it is essential
      to slow virus transmission as much as possible to protect the most vulnerable and to
      prevent the health care system from being overwhelmed. One proven way to slow the
      transmission is to limit interactions among people to the greatest extent practicable. By

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       reducing the spread of the COVID-19 virus, this Order helps preserve critical and limited
       healthcare capacity in the County.

   7. This Order also is issued in light of the existence of 10 cases of COVID-19 in the County,
      as well as at least 258 confirmed cases and at least three deaths in the seven Bay Area
      jurisdictions jointly issuing this Order, as of 5 p.m. on March 15, 2020, including a
      significant and increasing number of suspected cases of community transmission and
      likely further significant increases in transmission. Widespread testing for COVID-19 is
      not yet available but is expected to increase in the coming days. This Order is necessary
      to slow the rate of spread and the Health Officer will re-evaluate it as further data
      becomes available.

   8. This Order is issued in accordance with, and incorporates by reference, the March 4,
      2020 Proclamation of a State of Emergency issued by Governor Gavin Newsom, the
      March 3, 2020 Proclamation by the Assistant Director of Emergency Services Declaring
      the Existence of a Local Emergency in the County, the March 3, 2020 Declaration of
      Local Health Emergency Regarding Novel Coronavirus 2019 (COVID-19) issued by the
      Health Officer, the March 10, 2020 Resolution of the Board of Supervisors of the County
      of Marin Ratifying and Extending the Declaration of a Local Health Emergency, and the
      March 10, 2020 Resolution of the Board of Supervisors of the County of Marin Ratifying
      and Extending the Proclamation of a Local Emergency.

   9. This Order comes after the release of substantial guidance from the County Health
      Officer, the Centers for Disease Control and Prevention, the California Department of
      Public Health, and other public health officials throughout the United States and around
      the world, including a variety of prior orders to combat the spread and harms of COVID-
      19. The Health Officer will continue to assess the quickly evolving situation and may
      modify or extend this Order, or issue additional Orders, related to COVID-19.

   10. Definitions and Exemptions.

           a. For purposes of this Order, individuals may leave their residence only to perform
              any of the following “Essential Activities.” But people at high risk of severe
              illness from COVID-19 and people who are sick are urged to stay in their
              residence to the extent possible except as necessary to seek medical care.
                   i. To engage in activities or perform tasks essential to their health and safety,
                       or to the health and safety of their family or household members
                       (including, but not limited to, pets), such as, by way of example only and
                       without limitation, obtaining medical supplies or medication, visiting a
                       health care professional, or obtaining supplies they need to work from
                       home.
                  ii. To obtain necessary services or supplies for themselves and their family or
                       household members, or to deliver those services or supplies to others, such
                       as, by way of example only and without limitation, canned food, dry
                       goods, fresh fruits and vegetables, pet supply, fresh meats, fish, and

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                      poultry, and any other household consumer products, and products
                      necessary to maintain the safety, sanitation, and essential operation of
                      residences.
                 iii. To engage in outdoor activity, provided the individuals comply with
                      Social Distancing Requirements as defined in this Section, such as, by
                      way of example and without limitation, walking, hiking, or running.
                 iv. To perform work providing essential products and services at an Essential
                      Business or to otherwise carry out activities specifically permitted in this
                      Order, including Minimum Basic Operations.
                  v. To care for a family member or pet in another household.

           b. For purposes of this Order, individuals may leave their residence to work for or
              obtain services at any “Healthcare Operations” including hospitals, clinics,
              dentists, pharmacies, pharmaceutical and biotechnology companies, other
              healthcare facilities, healthcare suppliers, home healthcare services providers,
              mental health providers, or any related and/or ancillary healthcare services.
              “Healthcare Operations” also includes veterinary care and all healthcare services
              provided to animals. This exemption shall be construed broadly to avoid any
              impacts to the delivery of healthcare, broadly defined. “Healthcare Operations”
              does not include fitness and exercise gyms and similar facilities.

           c. For purposes of this Order, individuals may leave their residence to provide any
              services or perform any work necessary to the operations and maintenance of
              “Essential Infrastructure,” including, but not limited to, public works
              construction, construction of housing (in particular affordable housing or housing
              for individuals experiencing homelessness), airport operations, water, sewer, gas,
              electrical, oil refining, roads and highways, public transportation, solid waste
              collection and removal, internet, and telecommunications systems (including the
              provision of essential global, national, and local infrastructure for computing
              services, business infrastructure, communications, and web-based services),
              provided that they carry out those services or that work in compliance with Social
              Distancing Requirements as defined this Section, to the extent possible.

           d. For purposes of this Order, all first responders, emergency management
              personnel, emergency dispatchers, court personnel, and law enforcement
              personnel, and others who need to perform essential services are categorically
              exempt from this Order. Further, nothing in this Order shall prohibit any
              individual from performing or accessing “Essential Governmental Functions,” as
              determined by the governmental entity performing those functions. Each
              governmental entity shall identify and designate appropriate employees or
              contractors to continue providing and carrying out any Essential Governmental
              Functions. All Essential Governmental Functions shall be performed in
              compliance with Social Distancing Requirements as defined in this Section, to the
              extent possible.



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           e. For the purposes of this Order, covered businesses include any for-profit, non-
              profit, or educational entities, regardless of the nature of the service, the function
              they perform, or its corporate or entity structure.

           f. For the purposes of this Order, “Essential Businesses” means:
                   i. Healthcare Operations and Essential Infrastructure;
                  ii. Grocery stores, certified farmers’ markets, farm and produce stands,
                      supermarkets, food banks, convenience stores, and other establishments
                      engaged in the retail sale of canned food, dry goods, fresh fruits and
                      vegetables, pet supply, fresh meats, fish, and poultry, and any other
                      household consumer products (such as cleaning and personal care
                      products). This includes stores that sell groceries and also sell other non-
                      grocery products, and products necessary to maintaining the safety,
                      sanitation, and essential operation of residences;
                iii. Food cultivation, including farming, livestock, and fishing;
                 iv. Businesses that provide food, shelter, and social services, and other
                      necessities of life for economically disadvantaged or otherwise needy
                      individuals;
                  v. Newspapers, television, radio, and other media services;
                 vi. Gas stations and auto-supply, auto-repair, and related facilities;
                vii. Banks and related financial institutions;
               viii. Hardware stores;
                 ix. Plumbers, electricians, exterminators, and other service providers who
                      provide services that are necessary to maintaining the safety, sanitation,
                      and essential operation of residences, Essential Activities, and Essential
                      Businesses;
                  x. Businesses providing mailing and shipping services, including post office
                      boxes;
                 xi. Educational institutions—including public and private K-12 schools,
                      colleges, and universities—for purposes of facilitating distance learning or
                      performing essential functions, provided that social distancing of six-feet
                      per person is maintained to the greatest extent possible;
                xii. Laundromats, drycleaners, and laundry service providers;
               xiii. Restaurants and other facilities that prepare and serve food, but only for
                      delivery or carry out. Schools and other entities that typically provide free
                      food services to students or members of the public may continue to do so
                      under this Order on the condition that the food is provided to students or
                      members of the public on a pick-up and take-away basis only. Schools
                      and other entities that provide food services under this exemption shall not
                      permit the food to be eaten at the site where it is provided, or at any other
                      gathering site;
               xiv. Businesses that supply products needed for people to work from home;
                xv. Businesses that supply other essential businesses with the support or
                      supplies necessary to operate;



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                 xvi. Businesses that ship or deliver groceries, food, goods or services directly
                      to residences;
                xvii. Airlines, taxis, and other private transportation providers providing
                      transportation services necessary for Essential Activities and other
                      purposes expressly authorized in this Order;
               xviii. Home-based care for seniors, adults, or children;
                 xix. Residential facilities and shelters for seniors, adults, and children;
                  xx. Professional services, such as legal or accounting services, when
                      necessary to assist in compliance with legally mandated activities;
                 xxi. Childcare facilities providing services that enable employees exempted in
                      this Order to work as permitted. To the extent possible, childcare facilities
                      must operate under the following mandatory conditions:
                          1. Childcare must be carried out in stable groups of 12 or fewer
                              (“stable” means that the same 12 or fewer children are in the same
                              group each day).
                          2. Children shall not change from one group to another.
                          3. If more than one group of children is cared for at one facility, each
                              group shall be in a separate room. Groups shall not mix with each
                              other.
                          4. Childcare providers shall remain solely with one group of children.

           g. For the purposes of this Order, “Minimum Basic Operations” include the
              following, provided that employees comply with Social Distancing Requirements
              as defined this Section, to the extent possible, while carrying out such operations:
                   i. The minimum necessary activities to maintain the value of the business’s
                      inventory, ensure security, process payroll and employee benefits, or for
                      related functions.
                  ii. The minimum necessary activities to facilitate employees of the business
                      being able to continue to work remotely from their residences.

           h. For the purposes of this Order, “Essential Travel” includes travel for any of the
              following purposes. Individuals engaged in any Essential Travel must comply
              with all Social Distancing Requirements as defined in this Section below.
                   i. Any travel related to the provision of or access to Essential Activities,
                      Essential Governmental Functions, Essential Businesses, or Minimum
                      Basic Operations.
                  ii. Travel to care for elderly, minors, dependents, persons with disabilities, or
                      other vulnerable persons.
                 iii. Travel to or from educational institutions for purposes of receiving
                      materials for distance learning, for receiving meals, and any other related
                      services.
                 iv. Travel to return to a place of residence from outside the jurisdiction.
                  v. Travel required by law enforcement or court order.
                 vi. Travel required for non-residents to return to their place of residence
                      outside the County. Individuals are strongly encouraged to verify that

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                      their transportation out of the County remains available and functional
                      prior to commencing such travel.

           i. For purposes of this Order, residences include hotels, motels, shared rental units
              and similar facilities.

           j. For purposes of this Order, “Social Distancing Requirements” includes
              maintaining at least six-foot social distancing from other individuals, washing
              hands with soap and water for at least twenty seconds as frequently as possible or
              using hand sanitizer, covering coughs or sneezes (into the sleeve or elbow, not
              hands), regularly cleaning high-touch surfaces, and not shaking hands.

   11. Pursuant to Government Code sections 26602 and 41601 and Health and Safety Code
       section 101029, the Health Officer requests that the Sheriff and all chiefs of police in the
       County ensure compliance with and enforce this Order. The violation of any provision of
       this Order constitutes an imminent threat to public health.

   12. This Order shall become effective at 12:01 a.m. on March 17, 2020 and will continue to
       be in effect until 11:59 p.m. on April 7, 2020, or until it is extended, rescinded,
       superseded, or amended in writing by the Health Officer.

   13. Copies of this Order shall promptly be: (1) made available at the Bulletin Board adjacent
       to the entrance to the Chambers of the Board of Supervisors, Room 330, Administration
       Building, and in the display case in the center arch of the Hall of Justice, Marin County
       Civic Center, San Rafael, California; (2) posted on the County of Marin website
       (www.marincounty.org) as well as the County of Marin Department of Health and
       Human Services website (www.marinhhs.org); and (3) provided to any member of the
       public requesting a copy of this Order.

   14. If any provision of this Order to the application thereof to any person or circumstance is
       held to be invalid, the reminder of the Order, including the application of such part or
       provision to other persons or circumstances, shall not be affected and shall continue in
       full force and effect. To this end, the provisions of this Order are severable.


IT IS SO ORDERED:


_______________________________
Matt Willis, MD, MPH                                        Dated: March 16, 2020
Health Officer of the County of Marin




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                             Exhibit 35
3/25/2020                       'Everyone will be contaminated': prisons face strict coronavirus controls | Global development | The Guardian
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'Everyone will be contaminated': prisons face strict
coronavirus controls
New WHO guidelines are aimed at protecting one of the most vulnerable sectors of society
from the spread of Covid 19

Coronavirus latest updates
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                              About this content
Hannah Summers
Mon 23 Mar 2020 09.35 EDT


Prisons around the world can expect “huge mortality rates” from Covid-19 unless they take
immediate action including screening for the disease, the World Health Organization has warned.

All visitors to prisons along with staﬀ and new admissions should be subject to airport-style
temperature testing and health assessments at point of entry, the agency has recommended
under new guidelines published today.
https://www.theguardian.com/global-development/2020/mar/23/everyone-will-be-contaminated-prisons-face-strict-coronavirus-controls               1/5
3/25/2020                       'Everyone will be contaminated': prisons face strict coronavirus controls | Global development | The Guardian
        Casewarns
The agency  2:90-cv-00520-KJM-SCR        Document
                   that any eﬀorts to control     6529-2
                                              Covid-19 in theFiled
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                                                                                  will   ofunless
                                                                                       fail 249
strict measures to stop infection, including adequate testing, are taken in all places of detention.

Dr Hans Kluge, the WHO’s regional director in Europe, told the Guardian: “Covid-19 knows no
boundaries; this includes transmission between detainees, facility staﬀ, visitors, and
undoubtedly extending outward to (re)infect the general public. Only the boldest of actions will
slow and stop the spread of disease. We must not leave anyone behind in this ﬁght.”

He added: “Prison settings are both a threat for the transmission of infectious diseases, and an
opportunity for its prevention and control.

“Having practised as a tuberculosis physician in prison systems, I wholeheartedly urge all
governments to heed the guidance we have prepared through a rapid and global consultation
process with experts.”

There are more than 10 million men, women and children in prisons worldwide and jails are
overcrowded in at least 121 countries, according to a 2019 report on global prison trends.

Overcrowding means it is not possible in prisons to respect the guidelines around hand washing
with soap, individual towels and social distancing.

Prisons have high rates of disease, substance dependency and mental illness. Communicable
diseases are a particular concern with infection rates for tuberculosis, for example, between 10
and 100 times higher than in the community.

John Podmore, former governor at three British prisons and now a professor of applied social
sciences at the University of Durham, said: “We are talking about a place where it is easier to come
by illicit drugs than toilet roll, where soap is scarce, where towels are changed once a week if you
are lucky, maybe once a month.”




Cells are sprayed with disinfectant to prevent the spread of the
coronavirus in Batam City, Indonesia. Photograph: Agus Bagjana/Opn
Images/Barcroft Media via Getty Images

WHO guidelines say limiting access to prisons to non-essential staﬀ and visitors should be
considered and everyone should be screened for fever and lower respiratory tract symptoms,
irrespective of whether or not there are suspected Covid-19 cases in the community.


https://www.theguardian.com/global-development/2020/mar/23/everyone-will-be-contaminated-prisons-face-strict-coronavirus-controls               2/5
3/25/2020                       'Everyone will be contaminated': prisons face strict coronavirus controls | Global development | The Guardian

“We areCase   2:90-cv-00520-KJM-SCR
         talking                         Document
                 about a highly vulnerable        6529-2
                                           population      Filed 03/25/20
                                                      in overcrowded        Page and
                                                                       conditions 166 of 249Covid-
                                                                                      once
19 gets inside prisons, everyone will be contaminated very quickly,” said Carina Ferreira-Borges,
the WHO’s coordinator for prison health.

“There is a risk of a huge mortality rate and unprecedented burden on the national health systems
of countries that are already overstretched,” she said.

“In a worst-case scenario this is going to be exploding in prisons and then people will want to get
out so there will be a security issue. If people start dying what will the response be? Prisons must
prepare now to respond to epidemics.”

In Italy, the country worst-hit by the pandemic, there was rioting across 27 jails after the
authorities placed restrictions on visiting rights to stop coronavirus spreading. It led to 12 deaths,
mostly from overdoses on drugs stolen during the disorder.

Last week in Brazil hundreds of prisoners escaped from four semi-open prisons in São Paulo state
after visitor restrictions were tightened, and in Iran 85,000 – mainly political – prisoners were
released, including the British-Iranian dual national, Nazanin Zaghari-Ratcliﬀe. Countries
including the Philippines, Kuwait, the Netherlands and Israel have placed bans on prison visits.

In England and Wales there have been two conﬁrmed cases of Covid-19 in the 84,000-strong
prison population – one prisoner in HMP Manchester, and a prison warden at HMP High Down in
Surrey.

Guidelines for prisons issued by the UK government state that symptomatic prisoners should be
in isolation for seven days. They also urge that staﬀ, prisoners and visitors are reminded to wash
their hands but stop short of recommending screening.

Ferreira-Borges, the WHO’s prison expert said: “We are calling for screening for everyone
including new prisoners, workers and visitors from lawyers to family members. They should have
their temperature checked and answer questions as part of a health assessment.”




Prisoners climb a fence in Foggia, Italy, 9 March 2020. Violent
protests broke out in 27 Italian prisons against coronavirus
restrictions on visiting rights. Photograph: Franco Cautillo/EPA

She said non-custodial measures should be considered at all stages of the criminal justice system.


https://www.theguardian.com/global-development/2020/mar/23/everyone-will-be-contaminated-prisons-face-strict-coronavirus-controls               3/5
3/25/2020                       'Everyone will be contaminated': prisons face strict coronavirus controls | Global development | The Guardian

“Other Case  2:90-cv-00520-KJM-SCR
       options  should be considered forDocument 6529-2
                                         people with       Filed
                                                     very low    03/25/20
                                                               risk          Page
                                                                    proﬁles or     167 of 249
                                                                               caring
responsibilities to decrease the numbers of people inside prisons.”

Olivia Rope, director of policy at Penal Reform International, agreed: “A big solution for us would
be to consider the release of those people who are low-risk oﬀenders and those who are
particularly at risk or have underlying health conditions, such as pregnant women.”

She praised France’s decision to delay or suspend short-term sentences – a move that has seen
daily prison admissions decrease from 200 to 30.

Rope also warned against stringent measures leading to human rights abuses.

“Legitimately prisons may want to isolate or quarantine prisoners to stop the spread of disease
but it is important for these people to have meaningful contact with family through the phone or
internet,” she said.

America faces an epic choice...
... in the coming year, and the results will deﬁne the country for a generation. These are perilous
times. Over the last three years, much of what the Guardian holds dear has been threatened –
democracy, civility, truth. This US administration is establishing new norms of behaviour. Anger
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3/25/2020                       'Everyone will be contaminated': prisons face strict coronavirus controls | Global development | The Guardian

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  Global development
  Coronavirus outbreak
  Prisons and probation
  World Health Organization
  Infectious diseases
  Health
  US prisons
  news



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                             Exhibit 36
3/25/2020                                                                 nCoV2019
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                  COVID-19




                 Order of the State Public Health
                 O icer (Stay Home Except for
                 Essential Needs) (PDF) – March
                 19, 2020

                 Stay Home Except for Essential
                 Needs FAQs – March 20, 2020

                 California is issuing daily
                 updates on COVID-19. To see the
                 most recent update, visit the
                 CDPH News Release page.
                 En Español: Para obtener información en español,
                 visite nuestra página del Coronavirus 2019 (COVID-19).


                 COVID-19 in California by the Numbers:

                 As of March 23, 2020, 2 p.m. Pacific Daylight
                 Time, there are a total of 2,102 positive cases
                 and 40 deaths (increase ocurred over a period
                 of two days) in California (including one non-
                 California resident).

                       531: Community-acquired cases

                       1,571: Cases acquired through person-to-person
                       transmission, travel (including cruise ship
                       passengers), repatriation, or under investigation.

                              This includes 31 health care workers
https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.aspx                                              1/13
3/25/2020                                                                   nCoV2019
            CaseAges
                 2:90-cv-00520-KJM-SCR
                     of all confirmed positive cases:Document 6529-2                   Filed 03/25/20   Page 171 of 249

                       Age 0-17: 28 cases

                       Age 18-49: 970 cases

                       Age 50-64: 493 cases

                       Age 65 and older: 449 cases

                       Unknown: 162 cases

                 Gender of all confirmed positive cases:

                       Female: 843 cases

                       Male: 1,081 cases

                       Unknown: 178 cases

                 In order to better focus public health resources on the
                 changing needs of California communities, beginning
                 on March 18, the state is no longer collecting
                 information about California travelers returning from
                 countries that have confirmed COVID-19 outbreaks.
                 Community transmission of COVID-19 has been
                 identified in California since late February, and since
                 early March, most of the confirmed cases in the state
                 were not related to travel outside of the United States.

                 Twenty-two public health labs in California are testing
                 samples for COVID-19. These labs include the California
                 Department of Public Health's Laboratory in
                 Richmond, Alameda, Contra Costa, Humboldt, Long
                 Beach, Los Angeles, Monterey, Napa-Solano-Yolo-Marin
                 (located in Solano), Orange, Riverside, Sacramento,
                 San Bernardino, San Diego, San Francisco, San
                 Joaquin, San Luis Obispo, San Mateo, Santa Clara,
                 Shasta, Sonoma, Tulare and Ventura County public
                 health laboratories The Richmond Laboratory will
                 provide diagnostic testing within a 48-hour turnaround
                 time. This means California public health o icials will
                 get test results sooner, so that patients will get the best
                 care.



                 What should you do if you think you're
                 sick?
                 Call ahead: If you are experiencing symptoms of
                 COVID-19 and may have had contact with a person with
                 COVID-19, or recently traveled to countries with
                 apparent community spread, call your health care
                 provider before seeking medical care so that
                 appropriate precautions can be taken.

https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.aspx                                                2/13
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                 What are the symptoms of COVID-19?
                 Typically, human coronaviruses cause mild-to-
                 moderate respiratory illness. Symptoms are very
                 similar to the flu, including:

                               Fever
                               Cough
                               Shortness of breath

                 COVID-19 can cause more severe respiratory illness.


                 What if I have symptoms?
                 Patient: If a person develops symptoms of
                 COVID-19, including fever, cough or shortness
                 of breath, and has reason to believe they may
                 have been exposed, they should call their
                 health care provider before seeking care.
                 Contacting them in advance will make sure
                 that people can get the care they need
                 without putting others at risk. Please be sure
                 to tell your health care provider about your
                 travel history. You can also take the following
                 precautionary measures: avoid contact with
                 sick individuals, wash hands o en with soap
                 and warm water for at least 20 seconds.
                 Health Care Provider: Patients who may
                 have infection with this novel coronavirus
                 should wear a surgical mask and be placed in

https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.aspx                                             3/13
3/25/2020                                                                   nCoV2019
            Casean
                 2:90-cv-00520-KJM-SCR             Document
                   airborne infection isolation room.  If an 6529-2                    Filed 03/25/20   Page 173 of 249
                airborne infection isolation room is not
                available, the patient should be placed in a
                private room with the door closed. Health
                care providers should use standard, contact
                and airborne precautions and use eye
                protection. Please see "Update and Interim
                Guidance on Outbreak of 2019 Novel
                Coronavirus (2019-nCoV) in Wuhan, China" for
                more information about infection control.
                The Public Health Department will issue All
                Facility Letters to regulated healthcare
                facilities within California with updated
                information and guidance; these can be found
                on the AFL webpage.


                 How can people protect themselves?
                 There is currently no vaccine to prevent COVID-19. The
                 best way to prevent illness is to avoid being exposed to
                 this virus. The virus is thought to spread mainly from
                 person-to-person between people who are in close
                 contact with one another (within about 6 feet). This
                 occurs through respiratory droplets produced when an
                 infected person coughs or sneezes. These droplets can
                 land in the mouths or noses of people who are nearby
                 or possibly be inhaled into the lungs. Older adults and
                 people who have severe underlying chronic medical
                 conditions like heart or lung disease or diabetes seem
                 to be at higher risk for developing more serious
                 complications from COVID-19 illness. Every person has
                 a role to play. So much of protecting yourself and your
                 family comes down to common sense:

                              Washing hands with soap and water.
                              Clean and disinfect frequently touched
                              surfaces daily. If surfaces are dirty, clean
                              them using detergent or soap and water
                              prior to disinfection.
                              Avoiding touching eyes, nose or mouth
                              with unwashed hands.
                              Cover your cough or sneeze with a tissue
                              or your elbow.
                              Avoiding close contact with people who
                              are sick.
                              Staying away from work, school or other
                              people if you become sick with respiratory
                              symptoms like fever and cough.

https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.aspx                                                4/13
3/25/2020                                                                    nCoV2019
            Case 2:90-cv-00520-KJM-SCR
                          Following guidance from Document
                                                  public health 6529-2                  Filed 03/25/20   Page 174 of 249
                              o icials.

                 Please consult with your health care provider about
                 additional steps you may be able to take to protect
                 yourself.

                 Who is at Higher Risk for Serious Illness
                 from COVID-19?
                 Early information out of China, where COVID-19 first
                 started, shows that some people are at higher risk of
                 getting very sick from this illness. This includes:

                              Older adults (65+)
                              Individuals with compromised immune
                              systems
                              Individuals who have serious chronic
                              medical conditions like:
                                     Heart disease
                                     Diabetes
                                     Lung disease

                 If you are at higher risk for serious illness from COVID-
                 19 because of your age or health condition, it is
                 important for you to take actions to reduce your risk of
                 getting sick with the disease, including:

                                     Isolate at home and practice social
                                     distancing.
                                     Wash your hands o en with soap
                                     and water for at least 20 seconds,
                                     especially a er blowing your nose,
                                     coughing, or sneezing, or having
                                     been in a public place.
                                     Avoiding touching eyes, nose or
                                     mouth with unwashed hands.
                                     Avoid close contact with people
                                     who are sick, and stay away from
                                     large gatherings and crowds.
                                     Consider ways of getting food
                                     brought to your house through
                                     family, social, or commercial
                                     networks.

                 It is also important that you listen to public health
                 o icials who may recommend community actions to
                 reduce potential exposure to COVID-19, especially if
                 COVID-19 is spreading in your community.

                 For more information visit the CDC's website.


                 What if I don’t have health insurance and I
                 need screening or treatment for COVID-19?
https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.aspx                                                 5/13
3/25/2020                                                                   nCoV2019
            Case 2:90-cv-00520-KJM-SCR            Document
                          Check with your local community health6529-2                 Filed 03/25/20   Page 175 of 249
                              center or hospital to see if fees for testing
                              can be waived
                              See if you’re eligible for Medi-Cal
                              See if you’re eligible for Covered California

                 What is the treatment for COVID-19?
                 From the international data we have, of those who
                 have tested positive for COVID-19, approximately 80
                 percent do not exhibit symptoms that would require
                 hospitalization. For patients who are more severely ill,
                 hospitals can provide supportive care. We are
                 continuing to learn more about this novel coronavirus
                 and treatment may change over time.


                 How is it decided whether a person with a
                 confirmed case of COVID-19 can self-isolate
                 at home or must be confined to a hospital
                 or elsewhere?
                 Local health departments are working in partnership
                 with the California Department of Public Health and
                 the CDC, and making determinations on whether a
                 person ill with COVID-19 requires hospitalization or if
                 home isolation is appropriate. That decision may be
                 based on multiple factors including severity of illness,
                 need for testing, and appropriateness of home for
                 isolation purposes.


                 What is the di erence between COVID-
                 19 and other coronaviruses?
                 Coronaviruses are a large family of viruses. There are
                 some coronaviruses that commonly circulate in
                 humans. These viruses cause mild to moderate
                 respiratory illness, although rarely they can cause
                 severe disease. COVID-19 is closely related to two other
                 animal coronaviruses that have caused outbreaks in
                 people—the SARS coronavirus and the MERS (middle
                 east respiratory syndrome) coronavirus.


                 Is California able to test for COVID-19?
                 Twenty-two public health labs in California are testing
                 samples for COVID-19. These labs include the California
                 Department of Public Health's Laboratory in
                 Richmond, Alameda, Contra Costa, Humboldt, Long
                 Beach, Los Angeles, Monterey, Napa-Solano-Yolo-Marin

https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.aspx                                                6/13
3/25/2020                                                                   nCoV2019
            Case(located
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                         in Solano), Orange, Riverside,Document
                                                       Sacramento, 6529-2              Filed 03/25/20   Page 176 of 249
                 San Bernardino, San Diego, San Francisco, San
                 Joaquin, San Luis Obispo, San Mateo, Santa Clara,
                 Shasta, Sonoma, Tulare and Ventura County public
                 health laboratoriesThe Richmond Laboratory will
                 provide diagnostic testing within a 48-hour turnaround
                 time. More public health labs will soon be able to test
                 samples for COVID-19. This means California public
                 health o icials will get test results sooner, so that
                 patients will get the best care.

                 If a person develops symptoms of COVID-19 including
                 fever, cough or shortness of breath, and has reason to
                 believe they may have been exposed, they should call
                 their health care provider before seeking care.


                 Should public events be cancelled?
                 To protect public health and slow the rate of
                 transmission of COVID-19, the California Department of
                 Public Health has determined that all non-essential
                 gatherings should be postponed or canceled across the
                 state until further guidance is issued by the California
                 Department of Public Health. This includes gatherings
                 such as concerts, conferences, sporting events, gyms
                 and theaters. Bars, night clubs, wineries, breweries
                 and wine tasting rooms should close. Restaurants
                 should be closed for in-restaurant seated dining and
                 should be open only to drive-through or other pick-
                 up/delivery options. Certain activities are essential to
                 the functioning of our state and must continue. Hence,
                 this does not apply to essential public transportation,
                 airport travel, shopping at a store, mall, or farmers'
                 market, or charitable food pantries and distributions.


                 Is it safe to go to restaurants and bars?

                 California public health o icials have directed
                 bars, night clubs, breweries and wine tasting
                 rooms to close. Restaurants should focus on
                 food delivery and takeout while maximizing
                 social distancing for those who are inside
                 their restaurant.

                 For more information, see the Food, Beverage
                 and Other Services Guidance (PDF).


https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.aspx                                                7/13
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                 2:90-cv-00520-KJM-SCR
                     is Social Distancing?              Document 6529-2             Filed 03/25/20   Page 177 of 249

                 Social distancing is a practice recommended
                 by public health o icials to stop or slow down
                 the spread of contagious diseases. It requires
                 the creation of physical space between
                 individuals who may spread certain infectious
                 diseases. The key is to minimize the number
                 of gatherings as much as possible and to
                 achieve space between individuals when
                 events or activities cannot be modified,
                 postponed, or canceled. Achieving space
                 between individuals of approximately six feet
                 is advisable. Additionally, there is a particular
                 focus on creating space between individuals
                 who have come together on a one-time or
                 rare basis and who have very di erent travel
                 patterns such as those coming from multiple
                 countries, states or counties.

                 For more information, see the Gathering
                 Guidance (PDF).

                 Should I wear a mask?

                 The California Department of Public Health,
                 along with the CDC, does not recommend
                 that healthy people wear masks at this time.
                 However, masks are recommended to limit
                 the spread of disease for people who are
                 exhibiting respiratory symptoms.


                 What should I do if I am unable to work
                 a er being exposed to COVID-19?
                 Individuals who are unable to work due to
                 having or being exposed to COVID-19
                 (certified by a medical professional) can file a
                 Disability Insurance (DI) claim.

                 Disability Insurance provides short-term
                 benefit payments to eligible workers who
                 have full or partial loss of wages due to a non-

https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.aspx                                             8/13
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            Casework-related
                 2:90-cv-00520-KJM-SCR            Document 6529-2
                             illness, injury, or pregnancy.                           Filed 03/25/20   Page 178 of 249
                 Benefit amounts are approximately 60-70
                 percent of wages (depending on income) and
                 range from $50 - $1,300 a week.

                 Californians who are unable to work because
                 they are caring for an ill or quarantined family
                 member with COVID-19 (certified by a medical
                 professional) can file a Paid Family Leave
                 (PFL) claim.

                 Paid Family Leave provides up to six weeks of
                 benefit payments to eligibile workers who
                 have a full or partial loss of wages because
                 they need time o work to care for a seriously
                 ill family member or to bond with a new child.
                 Benefit amounts are approximately 60-70
                 percent of wages (depending on income) and
                 range from $50-$1,300 a week.

                 For more information related to resources for
                 California's Employers and Workers, please
                 visit this Labor and Workforce Development
                 Agency webpage.

                 What is the state doing to protect our
                 health?

                 California has been actively and extensively
                 planning with our local public health and
                 health care delivery systems.

                 Here are some of the actions California
                 is taking to combat COVID-19:

                       California activated the State Operations Center
                       and the Medical and Health Coordination Center
                       to coordinate response e orts across the state.
                       California is coordinating with federal and local
                       partners, hospitals and physicians to prepare
                       and respond to COVID-19.
                       Governor Newsom signed emergency
                       legislation providing up to $1 billion in funding
                       to help California fight COVID-19.



https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.aspx                                               9/13
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            Case 2:90-cv-00520-KJM-SCR
                     California made available someDocument      6529-2
                                                   of its emergency                 Filed 03/25/20   Page 179 of 249
                       planning reserves of 21 million N95 filtering
                       facepiece masks for use in certain health care
                       settings to ease shortages of personal protective
                       equipment.
                       The state’s public health experts are providing
                       information, guidance documents, and
                       technical support to local health departments,
                       health care facilities, providers, schools,
                       universities, colleges, elder care and congregate
                       living facilities and childcare facilities across
                       California.
                       The Governor signed an executive order to
                       ensure vital goods can be delivered to California
                       retailers in a timely manner during the COVID-19
                       outbreak.
                       The Governor issued an executive order to
                       ensure Californians who rely on Medi-Cal,
                       CalFresh, CalWORKS, Cash Assistance for
                       immigrants & in-home supportive services will
                       not lose access due to COVID-19.
                       The Governor issued an executive order to
                       ensure schools retain state funding even in the
                       event of a COVID-19 physical closure.
                       California obtained approval to provide meal
                       service during school closures to minimize
                       potential exposure to the coronavirus.
                       The state directed mass gatherings be
                       postponed or cancelled to slow the spread of the
                       virus.
                       The Franchise Tax Board is providing a 90-day
                       extension to file California tax returns for
                       taxpayers a ected by the COVID-19 pandemic.
                       Caltrans launched a statewide educational
                       campaign on more than 700 electronic highway
                       signs, urging all Californians to be more diligent
                       about containing the spread of the virus.
                       The state is allowing local and state legislative
                       bodies to hold meetings via conference
                       calls while still meeting state transparency
                       requirements.
                       The California Business, Consumer Services and
                       Housing Agency released guidance for homeless
                       assistance providers in the state.
                       California is deploying massive resources to get
                       individuals experiencing homelessness safely
                       into shelter, removing regulatory barriers and
                       securing trailers and hotels to provide
                       immediate housing options for those most at
                       risk.



https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.aspx                                             10/13
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            Case 2:90-cv-00520-KJM-SCR             Document
                     The Department of Motor Vehicles is allowing 6529-2              Filed 03/25/20   Page 180 of 249
                       customers to avoid coming into the DMV
                       o ice for 60 days so that at-risk populations can
                       avoid required visits and practice social
                       distancing.
                       California Volunteers created a resource page for
                       how Californians can safely help their
                       communities during COVID-19.
                       The Department of Food and Agriculture
                       published a resource page for the agricultural
                       sector.

                       The Governor issued an executive order
                       authorizing local governments to halt evictions
                       for renters and homeowners, slows foreclosures,
                       and protects against utility shuto s for
                       Californians a ected by COVID-19.
                       The Governor issued an executive order to
                       protect the health and safety of Californians
                       most vulnerable to COVID-19 residing at health
                       care, residential and non-residential
                       facilities licensed by the state.
                       The California Department of Public Health is
                       coordinating with federal authorities and local
                       health departments that have implemented
                       screening, monitoring and, in some cases,
                       quarantine of returning travelers.
                       In coordination with state and local health
                       departments, California has actively managed
                       suspect and confirmed cases of COVID-19
                       patients.
                       We are supporting hospitals and local public
                       health laboratories in collection and testing for
                       COVID-19.
                       24 million more Californians are now eligible for
                       free medically necessary COVID-19 testing.
                       The state is piloting screening and testing sites
                       for high risk individuals in partnership
                       with Verily.

                       The state requested a waiver from the federal
                       government to make it easier for California to
                       quickly and e ectively provide care to about 13
                       million Medi-Cal beneficiaries.
                       The state issued guidance for vulnerable
                       Californians – older residents (65+) and those
                       with underlying health conditions – to isolate at
                       home.
                       The state is providing safe, wrap around
                       services to vulnerable residents who are
                       isolating at home – ramping up existing meal
                       delivery and home visiting services.


https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.aspx                                               11/13
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            Case 2:90-cv-00520-KJM-SCR             Document 6529-2
                     The California Employee Development                              Filed 03/25/20   Page 181 of 249
                       Department (EDD) is encouraging individuals
                       who are unable to work due to exposure to
                       COVID-19 to file a Disability Insurance claim.
                       Californians unable to work because they are
                       caring for an ill or quarantined family member
                       can file a Paid Family Leave claim.
                       The Governor removed the waiting period for
                       unemployment and disability insurance for
                       Californians who lose work as a result of the
                       COVID-19 outbreak.
                       EDD is encouraging employers who are
                       experiencing a slowdown in their businesses or
                       services as a result of the Coronavirus impact on
                       the economy to apply for an Unemployment
                       Insurance work sharing program.
                       The state secured SBA disaster assistance for
                       California small businesses economically
                       impacted by COVID-19.

                       California launched a consumer-friendly
                       website and public service announcements to
                       boost COVID-19 awareness.
                       The Governor declared a State of Emergency to
                       make additional resources available, formalize
                       emergency actions already underway across
                       multiple state agencies and departments, and
                       help the state prepare for broader spread of
                       COVID-19.
                       The Governor issued a stay-at-home order to
                       protect the health and well-being of all
                       Californians and slow the spread of COVID-19.

                       The Governor placed the National Guard on alert
                       to support COVID-19 community readiness.

                       The state requested federal assistance to
                       supplement California’s e orts to prepare for a
                       COVID-19 surge.

                       Governor Newsom requested immediate
                       deployment of the USNS Mercy Hospital Ship to
                       the Port of los Angeles to decompress the state’s
                       health care delivery system in Los Angeles.

                       The California Department of Public Health’s
                       state laboratory in Richmond and 21 other
                       public health department laboratories now have
                       tests for the virus that causes COVID-19.

                 More Information



https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.aspx                                               12/13
3/25/2020                                                                nCoV2019
            CaseGuidance
                 2:90-cv-00520-KJM-SCR            Document
                         and Information: A complete list of 6529-2                 Filed 03/25/20   Page 182 of 249
                 guidance is available.

                 Public: For more information on COVID-19,
                 please visit the Centers for Disease Control
                 and Prevention's website.

                 Media: If you are with a media outlet and
                 have questions for the California Department
                 of Public Health, please
                 email CDPHPressOPA@cdph.ca.gov.

                 Coronavirus News Releases: For the latest
                 information on the 2019 Novel Coronavirus
                 (2019-nCoV), please see our News
                 Releases page.

                 Page Last Updated : March 25, 2020




https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/ncov2019.aspx                                             13/13
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                             Exhibit 37
3/25/2020                                                                              People who are at higher risk for severe illness | CDC
                                           Case 2:90-cv-00520-KJM-SCR                   Document 6529-2                 Filed 03/25/20          Page 184 of 249




      Coronavirus Disease 2019 (COVID-19)

     People who are at higher risk for severe illness
     COVID-19 is a new disease and there is limited information regarding risk factors for severe disease. Based
     on currently available information and clinical expertise, older adults and people of any age who have
     serious underlying medical conditions might be at higher risk for severe illness from COVID-19.

     Based upon available information to date, those at high-risk for severe illness from COVID-19 include:

              People aged 65 years and older
              People who live in a nursing home or long-term care facility
              Other high-risk conditions could include:
                  People with chronic lung disease or moderate to severe asthma
                      People who have serious heart conditions
                      People who are immunocompromised including cancer treatment
                      People of any age with severe obesity (body mass index [BMI] >40) or certain underlying medical conditions,
                      particularly if not well controlled, such as those with diabetes, renal failure, or liver disease might also be at risk
              People who are pregnant should be monitored since they are known to be at risk with severe viral illness, however, to
              date data on COVID-19 has not shown increased risk

     Many conditions can cause a person to be immunocompromised, including cancer treatment, bone marrow or organ
     transplantation, immune de ciencies, poorly controlled HIV or AIDS, and prolonged use of corticosteroids and other immune
     weakening medications
                                                                                                                                                         Page last reviewed: March 22, 2020




https://www.cdc.gov/coronavirus/2019-ncov/specific-groups/people-at-higher-risk.html                                                                                                          1/1
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                             Exhibit 38
3/25/2020                                              Governor Newsom Declares State of Emergency to Help State Prepare for Broader Spread of COVID-19 | California Governor
                                          Case 2:90-cv-00520-KJM-SCR                       Document 6529-2               Filed 03/25/20         Page 186 of 249


                              Governor Newsom Declares State of
                              Emergency to Help State Prepare for Broader
                              Spread of COVID-19
   Published: Mar 04, 2020


                          Emergency proclamation builds on work already underway across state government to protect public health and safety

    Proclamation includes increased protections against price gouging, o ers more assistance to local governments and allows health care workers to come
                                                                       from out of state

                                                    All levels of state government are being deployed to tackle this evolving situation

   SACRAMENTO – As part of the state’s response to address the global COVID-19 outbreak, Governor Gavin Newsom today declared a State of Emergency to
   make additional resources available, formalize emergency actions already underway across multiple state agencies and departments, and help the state
   prepare for broader spread of COVID-19. The proclamation comes as the number of positive California cases rises and following one o icial COVID-19
   death.

   Today’s proclamation builds on work already underway by the California Department of Public Health, California Health and Human Services Agency,
   Governor’s O ice of Emergency Services and other agencies which have been on the front lines of the state’s response to COVID-19 since January.

   “The State of California is deploying every level of government to help identify cases and slow the spread of this coronavirus,” said Governor Newsom.
   “This emergency proclamation will help the state further prepare our communities and our health care system in the event it spreads more broadly.”

   The emergency proclamation includes provisions that protect consumers against price gouging, allow for health care workers to come from out of state
   to assist at health care facilities, and give health care facilities the flexibility to plan and adapt to accommodate incoming patients.

   Yesterday, Governor Newsom announced the release of millions of N95 masks to address shortages caused by COVID-19. Today’s action also follows the
   announcement earlier this week that the state has secured the capacity to test thousands of specimens from the federal Centers for Disease Control and
   Prevention to expedite testing.

   For the latest on the state’s COVID-19 preparedness and response, visit cdph.ca.gov.

   A copy of today’s emergency proclamation can be found here.



                                                                                                        ###




https://www.gov.ca.gov/2020/03/04/governor-newsom-declares-state-of-emergency-to-help-state-prepare-for-broader-spread-of-covid-19/                                             1/1
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                             Exhibit 39
         Case 2:90-cv-00520-KJM-SCR           Document 6529-2
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Division of Correctional Policy Research and Internal Oversight
Office of Research
July 1, 2019

                                           Monthly Report of Population
                                           As of Midnight June 30, 2019

                                              Total CDCR Population

                                                      Felon/    Change Since Change Since Design Percent Staffed
Population                                             Other     Last Month    Last Year Capacity Occupied Capacity

A. Total In-Custody/CRPP Supervision                  125,472         -359       -3,945
 I.    In-State                                       125,472          +13       -1,100
         (Men, Subtotal)                              119,781          +42         -885
         (Women, Subtotal)                              5,691          -29         -215
   1. Institution/Camps                               117,682          +95       -1,183    89,763    131.1   125,575
       Institutions                                   114,831         +448         -432    85,083    135.0   121,331
       Camps(CCC, CIW, and SCC)                         2,851         -353         -751     4,680     60.9     4,244
   2. In-State Contract Beds                           6,405           -82         +108
       Private Community Correctional Facilities       1,939           -45          -66
       Public Community Correctional Facilities        1,761           -11          -16
       Community Prisoner Mother Program                  22             0            0
       California City Correctional Facility           2,441            -8         +219
       Female Community ReEntry Facility, McFarland      242           -18          -29
      3. Department of State Hospitals                   190            +4          -42
      4. CRPP Supervision                               1,195           -4          +17
          Alternative Custody Program                     160           +3           +2
          Custody to Community Treatment
            Reentry Program                              383            -2           +3
          Male Community Reentry Program                 628            -5          +17
          Medical Parole                                  24             0           -5
B. Parole                                             50,822          +754       +3,452
    Community Supervision                             48,950          +759       +3,544
    Interstate Cooperative Case                        1,872            -5          -92
C. Non-CDCR Jurisdiction                                1,083          +10          +72
    Other State/Federal Institutions                      323           +2           -6
    Out of State Parole                                   717          +11          +99
    Out of State Parolee at Large                          13           -1           -1
    DJJ-W&IC 1731.5(c) Institutions                        30           -2          -20
D. Other Populations                                   6,247           -90         +468
    Temporary Release to Court and Hospital            1,536            +9         +263
    Escaped                                              199             0           +2
      Parolee at Large                                 4,512           -99         +203

Total CDCR Population                                 183,624         +315          +47

This report contains the latest available reliable population figures from SOMS.      They have been carefully
audited, but are preliminary, and therefore subject to revision.




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                                            Monthly Report of Population
                                            As of Midnight June 30, 2019

                                     Monthly Institution Population Detail

                                                                 Felon/       Design      Percent    Staffed
Institutions                                                      Other      Capacity    Occupied   Capacity


Male Institutions
Avenal State Prison (ASP)                                         3,744        2,920       128.2      4,370
Calipatria State Prison (CAL)                                     3,493        2,308       151.3      3,333
California Correctional Center (CCC)                              3,853        3,883        99.2      4,762
California Correctional Institution (CCI)                         3,739        2,783       134.4      4,120
Centinela State Prison (CEN)                                      3,515        2,308       152.3      3,333
California Health Care Facility - Stockton (CHCF)                 2,704        2,951        91.6      2,951
California Institution for Men (CIM)                              3,665        2,976       123.2      4,186
California Men's Colony (CMC)                                     3,540        3,838        92.2      4,398
California Medical Facility (CMF)                                 2,539        2,361       107.5      2,847
California State Prison, Corcoran (COR)                           3,179        3,116       102.0      4,270
California Rehabilitation Center (CRC)                            2,933        2,491       117.7      3,210
Correctional Training Facility (CTF)                              5,492        3,312       165.8      4,887
Chuckawalla Valley State Prison (CVSP)                            2,741        1,738       157.7      2,478
Deuel Vocational Institution (DVI)                                2,249        1,681       133.8      2,353
Folsom State Prison (FOL)                                         2,995        2,066       145.0      2,895
High Desert State Prison (HDSP)                                   3,127        2,324       134.6      3,361
Ironwood State Prison (ISP)                                       2,693        2,200       122.4      3,200
Kern Valley State Prison (KVSP)                                   3,604        2,448       147.2      3,522
California State Prison, Los Angeles County (LAC)                 3,207        2,300       139.4      3,300
Mule Creek State Prison (MCSP)                                    4,035        3,284       122.9      4,009
North Kern State Prison (NKSP)                                    4,246        2,694       157.6      3,911
Pelican Bay State Prison (PBSP)                                   2,663        2,380       111.9      3,250
Pleasant Valley State Prison (PVSP)                               3,416        2,308       148.0      3,333
RJ Donovan Correctional Facility (RJD)                            3,980        2,992       133.0      3,942
California State Prison, Sacramento (SAC)                         2,112        1,828       115.5      2,449
California Substance Abuse Treatment Facility (SATF)              5,454        3,424       159.3      5,111
Sierra Conservation Center (SCC)                                  3,918        3,936        99.5      4,570
California State Prison, Solano (SOL)                             4,533        2,610       173.7      3,882
San Quentin State Prison (SQ)                                     4,243        3,082       137.7      3,984
Salinas Valley State Prison (SVSP)                                3,148        2,452       128.4      3,409
Valley State Prison (VSP)                                         2,885        1,980       145.7      2,954
Wasco State Prison (WSP)                                          5,023        2,984       168.3      4,351
Male Total                                                      112,668       85,958       131.1    116,931


Female Institutions
Central California Women's Facility (CCWF)                        2,781        2,004       138.8      2,964
California Institution for Women (CIW)                            1,798        1,398       128.6      1,877
Folsom State Prison (FOL)                                           434          403       107.7        530
San Quentin State Prison (SQ)                                         1        3,082         0.0      3,273
Female Total                                                      5,014        3,805       131.8      8,644


Institution Total                                               117,682       89,763       131.1    125,575




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                                         Monthly Report of Population
                                         As of Midnight June 30, 2019

                                                     Notes



       • Felon/Other counts are felons, county contract boarders, federal boarders, state boarders,
         safekeepers, county diagnostic cases, Department of Mental Health boarders, and Division of
         Juvenile Justice boarders.
       • Interstate Cooperative Cases are parolees from other states being supervised in California.
       • Non-CDCR Jurisdiction are California cases being confined in or paroled to other states or
         jurisdictions.
       • Welfare and Institution Code (W&IC) 1731.5(c) covers persons under the age of 21 who were
         committed to CDCR, had their sentence amended, and were incarcerated at the Division of
         Juvenile Justice for housing and program participation.
       • Other Population includes inmates temporarily out-to-court, inmates in hospitals, escapees,
         and parolees at large.




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                             Exhibit 40
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From:                               Clark Kelso <ckelso@
Sent:                               Monday, March 23, 2020 12:40 PM
To:                                 Diaz, Ralph M.@CDCR; Neill, Jennifer@CDCR; Donald Specter; Barrow, Roscoe; Richard
                                    Kirkland; Tharratt, Steven@CDCR
Subject:                            My Current Thoughts on Population Reduction


Good afternoon.

Over the last week or so, Dr. Tharratt and I have been weighing the pros and cons of different types of inmate releases
and have been in separate conversations with the Secretary and Don Specter, among others. I wanted to share with you
my current assessment.

First, from a perspective focused only upon the population health of patients in CDCR’s custody (my slice of the world),
we believe that a significant reduction in population at this time will be a clear benefit to us in opening up cells and beds,
thereby facilitating increased social distancing within the prisons and a more flexible management of the remaining
population to reduce the speed with which covid-19 will spread throughout CDCR institutions. From this perspective, I
support an accelerated release program.

Second, from a broader public health perspective (which includes thinking about what happens to patients after release
and what the impact may be on fighting the virus in communities into which the patients are released), I believe the
issues are more complicated and nuanced, and there are some negatives both with respect to the individual healthcare
of patients post-release (particularly given the stress on the free world health care system right now) and to population
healthcare in the community (particularly focused on fighting the spread of covid-19). To the extent we can focus
population reduction on those inmates who, as part of their release planning, appear to have relatively stable family and
housing arrangements, a release will reduce CDCR’s risks without exposing those inmates to substantially increased risks
and without exposing their home communities to increase covid-19 risks. For inmates whose release planning indicate a
lack of family and home placement, an early release is unlikely to improve the inmates’ environment from a healthcare
perspective and may increase the covid-19 risk in the community of release.

Based on these considerations, I favor an immediate, substantial reduction in CDCR’s population that focuses on inmates
who are likely to have families and homes to return to as part of their pre-release planning.

As you all know, these are fast moving times, so the views expressed above may be altered as new information develops
(e.g., whether any of our institutions becomes a hot spot for covid-19). But at the moment, these are my thoughts and
recommendations.

Thanks.

Clark Kelso


Sent from Mail for Windows 10




                                                              1
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                             Exhibit 41
3/25/2020                                           'Prisons Are Bacteria Factories'; Elderly Most at Risk | The Pew Charitable Trusts
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      Stateline


   ‘Prisons Are Bacteria Factories’; Elderly Most
   at Risk
   STATELINE ARTICLE     March 25, 2020 By: David Montgomery           Topics: Health & Jus ce     Read me: 5 min




   A prisoner in his 70s takes stock of his day in a small cubicle that serves at his home in the geriatric dormitory at
   the Estelle prison unit at Huntsville, Texas. The sparse furnishings consist of his bunk and a small u lity table
   clu ered with items such as a clock radio, a bo le of hot sauce and a Max Brand Western checked out from the
   prison library.

   Courtesy of the Texas Department of Criminal Jus ce


                             Editor’s note: This story was updated March 25 to include informa on about a Texas inmate who
                             tested posi ve for COVID-19.

                             Read Stateline coverage of the latest state ac on on coronavirus.

                             HUNTSVILLE, Texas — Here in the Estelle prison unit, most of the male inmates in the
                             geriatric dormitory ﬁrst ran afoul of the law years or even decades ago, convicted of crimes
                             ranging from murder and sex oﬀenses to forgery and repeat DWIs.

                             Today, any outward hint of menace has evaporated. White-haired, frail and o en tethered to
                             canes or wheelchairs, they live in small rectangular cubicles and while away the days in
                             unwavering sameness.

                             As the coronavirus pandemic sweeps the globe, prisoner advocates are warning of the
                             poten al for a disastrous outbreak among inmates. The elderly are most vulnerable, and the


https://www.pewtrusts.org/en/research-and-analysis/blogs/stateline/2020/03/25/prisons-are-bacteria-factories-elderly-most-at-risk               1/5
3/25/2020                                      'Prisons Are Bacteria Factories'; Elderly Most at Risk | The Pew Charitable Trusts
            Case 2:90-cv-00520-KJM-SCR                Document
                     U.S. inmate popula on is aging. Jails           6529-2
                                                           and prisons,           Filed
                                                                        crowded places   03/25/20
                                                                                       where              Page
                                                                                             social distancing is 195 of 249
                           nearly impossible, are breeding grounds for contagious disease.

                           “These prisons are bacteria factories,” said Rick Raemisch, a consultant and former execu ve
                           director at the Colorado Department of Correc ons. “I don’t think people understand the
                           gravity of what’s going to happen if this runs in a prison, and I believe it’s inevitable.

                           “You’re going to see devasta on that’s unbelievable.”

                           New York inmates tested posi ve at Rikers Island and at a regional deten on center in
                           Brooklyn. The Texas Department of Criminal Jus ce reported its ﬁrst two posi ve cases of
                           COVID-19 this week: an inmate and an employee. A 37-year-old inmate has been medically
                           isolated, and other inmates and staﬀ who may have had contact with him are now being
                           medically restricted. The contract employee was ordered to self-quaran ne. The employee
                           had contact with other prison workers and inmates, but so far none of them has developed
                           symptoms.

                           While state prisons have resisted calls to release inmates, several large county and municipal
                           jurisdic ons have freed hundreds of jail inmates deemed low-risk, including seniors and
                           those in poor health.

                           New Jersey plans to release as many as a thousand people from its county jails, including
                           inmates jailed for proba on viola ons and those sentenced for low-level oﬀenses.
                           Democra c Mayor Bill de Blasio said Monday that New York City may release more than 200
                           inmates, according to news reports. Los Angeles County and Ohio’s Cuyahoga County also
                           have released prisoners.

                           Prisoner advocacy groups in more than a half-dozen states, including Texas, New York,
                           Illinois, Pennsylvania, Indiana and Michigan, have called on governors to release state
                           prisoners, especially elderly inmates, through compassionate release or medical furlough.




   RELATED

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      Places      United States, New York, Texas



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https://www.pewtrusts.org/en/research-and-analysis/blogs/stateline/2020/03/25/prisons-are-bacteria-factories-elderly-most-at-risk   2/5
3/25/2020                                         'Prisons Are Bacteria Factories'; Elderly Most at Risk | The Pew Charitable Trusts
    All 50 states and Washington, D.C., have declared states of emergency and are taking other steps to combat the virus.
    States Take2:90-cv-00520-KJM-SCR
         Case   On Coronavirus Threat
    Sources: CDC, NCSL, media reports, state websites
    Last update: 3/25/20 at 11 a.m. EDT                          Document 6529-2                 Filed 03/25/20             Page 196 of 249
    Legislative
    Statewide  School
                Session
     Date of emergencyClosure
                        declaration

    Modiﬁed
       No
    No changes announced
       Yes
    Session ended
    Not in session




   About Tableau
   Undo


                            The Texas Criminal Jus ce Coali on, in a le er to Republican Gov. Greg Abbo , warned that
                            people in prisons and jails are “par cularly vulnerable to the disease” and, among other
                            things, urged the governor’s oﬃce to iden fy the sick and elderly who are eligible for parole
                            and “review their cases for immediate release.”

                            In New York, an organiza on led by a former inmate who was released two years ago a er
                            38 years in prison is joining with other groups to demand that Democra c New York Gov.
                            Andrew Cuomo and lawmakers grant clemency to “vulnerable” people in prison, including
                            the old and sick.

                            “If it hits state prison, it’s going to hit hard,” said Jose Saldana, director of the Release Aging
                            People in Prison Campaign. During his nearly four decades in state and federal prisons for
                            bank robbery and a empted murder of a police oﬃcer, Saldana earned a college degree and
                            became a role model of rehabilita on. Now 68, he has become a na onal campaigner for the
                            release of elderly prisoners.




https://www.pewtrusts.org/en/research-and-analysis/blogs/stateline/2020/03/25/prisons-are-bacteria-factories-elderly-most-at-risk             3/5
3/25/2020                                      'Prisons Are Bacteria Factories'; Elderly Most at Risk | The Pew Charitable Trusts
            Case 2:90-cv-00520-KJM-SCR                 Document
                     “This is very personal for me,” Saldana said. “You6529-2        Filed
                                                                        don’t just leave men03/25/20      Page
                                                                                             you spend years in 197 of 249
                           prison with and go on … as if they were never part of your life.”

                           U.S. prisons aren’t alone in wrestling with the issue, or in facing poten al unrest. Earlier this
                           month, Iran released some 54,000 prisoners. In Colombia, 23 prisoners died this past
                           weekend in a riot over coronavirus fears.

                           State prison systems so far have sidestepped requests to release inmates. Instead, they are
                           disinfec ng more frequently and ghtening screening at prison entrances, among other
                           measures.

                           The Texas prison system, in compliance with emergency orders from Abbo , has barred
                           visita on but is giving inmates greater access to their families by extending telephone
                           privileges.

                           The prison system is emphasizing hand-washing and doing what it can to promote social
                           distancing despite the obvious limita ons in a prison environment, said Jeremy Desel,
                           spokesman for the Texas Department of Criminal Jus ce.

                           “We’re doing everything we can in our power to socially distance folks as much as possible
                           by slowing down oﬀender movements and various other techniques,” he said, “but given the
                           circumstances there will be mes when there will be more people in one place than anybody
                           would like.”

                           Other measures include screening arriving employees and county jail transfers, sani zing
                           buses and restraints between each use, and disinfec ng oﬃces and prison units several
                            mes a day. Staﬀ members also are working remotely whenever possible. Under an order
                           from the governor, Texas prisons have waived the copayment that is usually charged to
                           inmates for medical visits.

                           S ll, at least some advocates say those measures aren’t enough.

                           Casey Phillips, head of Texas Prisons Air-Condi oning Advocates, is married to Jus n
                           Phillips, who is four years into a 10-year drug sentence. “He’s terriﬁed,” she said, adding that
                           her husband has asthma, blood pressure problems and a kidney disease, and fears that
                           COVID-19 will take root and spread in the Texas prison system. “He’s afraid it’s going to kill
                           him.”

                           But David Mains, president and chairman of Texas CURE, the state’s oldest inmate rights
                           organiza on, said he’s had largely reassuring conversa ons with four male prisoners and the
                           rela ve of a female inmate. “Everybody I’ve talked to there was in good spirits,” he said,
                           saying the inmates described the prison opera ons as “running as normal.”

                           Long before the emergence of the coronavirus, prison oﬃcials and state lawmakers across
                           the country were concerned about elderly prisoners.

                           Patrick O'Daniel, chairman of the Texas Board of Criminal Jus ce, told board members in late
                           February that the number of Texas inmates 55 or older is growing by nearly a thousand a
                           year and has doubled over the past decade.

                           The aging baby boomers now comprise nearly 15% of the more than 140,200 men and
                           women in Texas prisons. Na onwide, nearly 12% of inmates in state and federal prisons are
                           older than 55.



https://www.pewtrusts.org/en/research-and-analysis/blogs/stateline/2020/03/25/prisons-are-bacteria-factories-elderly-most-at-risk   4/5
3/25/2020                                      'Prisons Are Bacteria Factories'; Elderly Most at Risk | The Pew Charitable Trusts
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                     Like their counterparts on the outside,          6529-2makeFiled
                                                             elderly prisoners   up the03/25/20          Page 198 of 249
                                                                                        lion’s share of health
                           care costs, pu ng intense pressure on government budgets. Over a 10-year period ending in
                           2019, health care costs for the elderly in Texas prisons increased from $51.8 million to
                           $114.7 million, encompassing o en complicated and costly treatments for illnesses such as
                           cancer, diabetes, kidney disease, hepa       s and a whole host of other aging-related ailments.

                           In ﬁscal 2019, the average annual hospitaliza on cost for an elderly inmate was $5,900,
                           compared to $1,000 for an inmate under 55, according to the Texas Department of Criminal
                           Jus ce.

                           Many inmates entered prison unhealthy to begin with, weakened by drug use, poor nutri on,
                           irregular sleep pa erns and other examples of hard living. Consequently, prison experts peg
                           55 as the star ng point for old age in prison and generally rank prisoners as being 10 years
                           older physically than residents on the outside.

                           “Unfortunately, a lot of our pa ents have not had great health care coming into prison,” said
                           Dr. Owen J. Murray, the prison system’s vice president for oﬀender health services, who
                           oversees health care for 80% of the state’s inmate popula on. “And this isn’t unique to
                           Texas. The same thing is going on in every state.”

                           Prisons built to house young and middle-age lawbreakers con nue to be retooled to
                           accommodate prisoners who are no longer physically able to climb onto a top bunk or can’t
                           make the long trek down a prison corridor without a walker, cane or wheelchair. Many are
                           bedridden or suﬀer from demen a.

                           William Mays, a 60-year-old former investor who ended a ﬁve-year prison sentence for
                           securi es fraud in October, recalls watching older inmates trying to make their way through
                           daily prison life. “They’re not as mobile as they used to be,” he said. “This is like going to boot
                           camp at 60.”


       Coronavirus and the States: Governors Keep Away Vaca oners; Some
       States Bar Abor ons as ‘Nonessen al’




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                             Exhibit 42
3/25/2020                               California prisons head acknowledges ‘inmate suicide crisis’ after reports - SFChronicle.com
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                                                                                                                                  NEXT STORY
    LOCAL // CRIME


    California prisons head acknowledges ‘inmate
    suicide crisis’ after reports
    Jason Fagone and Megan Cassidy
    Oct. ,       Updated: Oct. ,  : p.m.




    Local      Coronavirus        Election      Sporting Green          Food      Biz+Tech        Culture Desk         Datebook        US & World




    FILE - In this Feb. , , le photo, inmates walk through the exercise yard at California State Prison Sacramento,
    near Folsom, Calif. California arrest rates have dropped nearly  percent since , yet blacks are three times more
    likely to be arrested than whites, according to a report released by the Public Institute of California, Monday Dec. ,


    The number of inmates killing themselves in California prisons is “far too high,” the state
    admitted in a new report on the worsening suicide problem in California’s correctional
    system.



https://www.sfchronicle.com/crime/article/California-prisons-head-acknowledges-inmate-14502131.php                                                  1/5
3/25/2020                               California prisons head acknowledges ‘inmate suicide crisis’ after reports - SFChronicle.com
        Case 2:90-cv-00520-KJM-SCR Document 6529-2 Filed 03/25/20 Page 201 of 249
    The report conﬁrms a Chronicle investigation that revealed the inmate suicide rate in
                                                                                                                                  NEXT STORY
    California prisons has climbed four years in a row and reached an unprecedented peak
    last year with 26.3 suicides per 100,000 prisoners — substantially higher than the suicide
    rate in other large prison systems across the country. A total of 34 California inmates
    killed themselves last year in a system with about 129,000 prisoners overall.


    Ralph Diaz, the state’s top prison oﬃcial, acknowledged in an interview Monday that
    California has “an inmate suicide crisis.”


    “Staﬀ do care, and staﬀ are trying to work to try and get ahead of these suicides — try to
    ﬁgure out why they’re occurring,” said Diaz, secretary of the California Department of
    Corrections and Rehabilitation.


    Related Stories




            LOCAL                                                            CRIME                                                           LOCAL


        BY JASON FAGONE AND MEGAN CASSIDY                                  BY MEGAN CASSIDY                                                 BY ERIN

       Suicides in California prisons                                     Condemned inmate’s death in                                        Family
       rise despite decades of                                            San Quentin investigated as a...                                   suicid
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    Suicides in California prisons haven’t been this frequent since 1990, when the state ﬁrst
    began tracking the deaths. Previously, the department had only released data stretching
    back to 2006.


    This month’s report — mandated by a 2018 state law — is the ﬁrst of its kind, and it forces
    prison oﬃcials to share information about the suicide problem and explain how they are
    trying to ﬁx it.



https://www.sfchronicle.com/crime/article/California-prisons-head-acknowledges-inmate-14502131.php                                               2/5
3/25/2020                               California prisons head acknowledges ‘inmate suicide crisis’ after reports - SFChronicle.com
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    State correctional oﬃcials argue in the 34-page report that they have made signiﬁcant
                                                                                                                                  NEXT STORY
    reforms since 1990, when the department had “no formal suicide prevention program
    whatsoever and mental health services were available only at a handful of institutions.”


    In 1995, a federal court decided that poor mental care in California prisons endangered
    inmates and violated their constitutional rights. The court stepped in and forced
    changes, and since the 1990s, corrections oﬃcials say, the state has spent tens of millions
    of dollars creating “a robust suicide prevention program” and “a comprehensive system
    of quality mental health care for inmates that few other state correctional systems can
    boast of.”


    The federal case — now known as Coleman vs. Newsom — remains active and the court
    regularly dispatches psychiatric expert Lindsay Hayes to inspect state prisons, analyze
    their suicide-prevention programs and make recommendations. Diaz told The Chronicle
    that many of California’s estimated 38,000 inmates who participate in mental health
    programs are being successfully treated.


    Yet federal judges, state politicians and experts in the Coleman case have long disagreed,
    sounding the alarm about the elevated suicide rate, documenting staﬀ’s repeated failures
    in following their own suicide-prevention policies and questioning the commitment of
    prison leaders to make meaningful progress.


    Last November, after performing his latest audit of state prisons, Hayes wrote that while
    the California system was making “continued progress at varied speeds” in ﬁxing its
    approach to suicide prevention, “certain problematic practices continued to fester.”
    Local Coronavirus Election Sporting Green Food Biz+Tech Culture Desk Datebook US & World
    As recently as July, a federal district judge presiding over the Coleman case, Kimberly J.
    Mueller, wrote that the state was delaying important ﬁxes ordered by the court.


    “While some progress is being made,” she wrote, “a substantial amount of work remains,
    and implementation is dragging out and taking too long.”


    The state’s new report emphasizes that suicide is rising in the general United States
    population — the national rate climbed by a third between 1999 and 2017 — and that
    many prison systems, from federal to state to local, are struggling to stop inmates from
    killing themselves. Last year in Texas, for example, 40 inmates killed themselves in state
    prisons, the highest number in 20 years,
                                      years, according to the Houston Chronicle.
https://www.sfchronicle.com/crime/article/California-prisons-head-acknowledges-inmate-14502131.php                                             3/5
3/25/2020                               California prisons head acknowledges ‘inmate suicide crisis’ after reports - SFChronicle.com
       Case 2:90-cv-00520-KJM-SCR Document 6529-2 Filed 03/25/20 Page 203 of 249
    However, critics of the analysis say California prison oﬃcials left out key facts about the
                                                                                                                                  NEXT STORY
    inmate suicide crisis here.


    Michael Bien, an attorney who represents a class of 30,000 state prisoners with mental
    illness, said the state’s new report gives a “misleading or deceptive picture” of the suicide
    problem, exaggerating the state’s progress and minimizing its failures.


    “It’s still a system in crisis, and my clients are still very much at risk,” Bien said.


    The report glosses over California’s record on inmate suicides and how it compares
    poorly to other large prison systems. The 2018 rate of 26.3 suicides per 100,000 inmates is
    higher than the last recorded national average for state prisons (20 suicides) and the
    federal rate (about 15). Although the federal prison system is larger than California’s, only
    half as many people killed themselves in federal prisons between 2001 and 2014,
    according to the Bureau of Justice Statistics. The federal system counted 222 inmate
    suicides in that period, while California had 448.


    “The State of California has consistently led the nation in the number of suicide deaths
    in its prisons by a large margin,” a court-appointed psychiatrist in the Coleman case
    wrote in 2013.


    Coleman psychiatrists have discovered numerous lapses in mental care and suicide-
    prevention practices by California prison staﬀ, contributing to “either foreseeable or
    preventable” inmate deaths.


    The state report also does not mention the ongoing shortfall of psychiatrists to treat
    mentally ill prisoners. The system has only 72% of the psychiatrists it needs, according to
    the state’s own tally.


    “Staﬃng is one of our top priorities,” Diaz said, “but we’re operating against the
    background where there’s an acute nationwide shortage of psychiatrists. And it is getting
    worse every year.”


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    @meganrcassidy


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                             Exhibit 43
SAS Output                                                                            Page 1 of 3

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       Division of Adult Institutions Department of Corrections & Rehabilitation
                    Classification Services Unit State of California
                          Population Management March 2020
                                       TABLE ONE
      NUMBER OF MALE OFFENDERS IN THE ADULT INSTITUTION POPULATION
         BY INMATE SCORE, HOUSING LEVEL AND MENTAL HEALTH CODE
                                 AS OF MARCH 11, 2020

                                                 MENTAL HEALTH CODE              TOTAL
                                            CCCMS    EOP   Non-MHSDS OTHER
         Inmate Score Level Housing Level
         Level I            I                1,248     1        6,224        1    7,474
                            II                386    345        1,472       2     2,205
                            III                14      4          209        .     227
                            IV                  4     10          107        .     121
                            Temp                 .     .            2        1       3
                            TOTAL            1,652   360        8,014        4   10,030
         Level II           Housing Level
                            I                  48      .        3,001        .    3,049
                            II               8,908 2,286       25,512       11   36,717
                            III              1,081   187        3,156        1    4,425
                            IV                 19      5          157        .     181
                            Temp                2      .             .       .       2
                            TOTAL           10,058 2,478       31,826       12   44,374
         Level III          Housing Level
                            I                    .     .           16        .      16
                            II                139     42          445        .     626
                            III              3,310   839       11,764        9   15,922
                            IV                184     49          624        .     857
                            Temp                1      .             .       .       1
                            TOTAL            3,634   930       12,849        9   17,422
         Level IV           Housing Level
                            II                  4      8            2        .      14
                            III               648    199        2,142       2     2,991
                            IV               4,986 1,635       13,873       14   20,508
                            Temp                2      .            4        1       7




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SAS Output                                                                               Page 2 of 3

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                            TOTAL           5,640 1,842           16,021       17   23,520
         TOTAL
                                                  I
                                           20,984 5,610
                                                          I       68,710       42   95,346

                      EXCLUDES NA LEVEL BEDS, COCF, MCCF, AND CAC.
                      PROGRAMRESEARCH.ROUTINE.TAB_M_Institution.sas




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SAS Output                                                                               Page 3 of 3

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       Division of Adult Institutions Department of Corrections & Rehabilitation
                    Classification Services Unit State of California
                          Population Management March 2020
                                      TABLE ONEA
      NUMBER OF MALE OFFENDERS IN THE ADULT INSTITUTION POPULATION
        IN NA LEVEL HOUSING BY PROGRAM AND MENTAL HEALTH CODE
                                 AS OF MARCH 11, 2020

                                     MENTAL HEALTH CODE                TOTAL
                                CCCMS EOP Non-MHSDS OTHER
                     PROGRAM
                     ACU              .     4           .       392      396
                     ASU            214   386       2,144        16     2,760
                     CTC            215    94         258         7      574
                     DPU              6     .          34          .      40
                     DR             131    58         447          .     636
                     FV               7     2          45          .      54
                     HSP              5     .          12          .      17
                     ICF              .     5           .       758      763
                     LRH            229     .           .         1      230
                     MCB              7     9           .       287      303
                     OHU            317    88         419         2      826
                     PHU              4     .           3          .         7
                     PIP              .     .           .        27       27
                     PSU              6   125           .         2      133
                     RC           2,205   176       6,612          .    8,993
                     RGP             18     .          58          .      76
                     SHU              .     .         334          .     334
                     SRH            669    36         267         1      973
                     THU              3     .          12          .      15
                     TOTAL        4,036   983      10,645     1,493    17,157

                        EXCLUDES COCF, MCCF AND CAC INSTITUTIONS
                     PROGRAMRESEARCH.ROUTINE.TAB_M_INSTITUTION.sas




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                             Exhibit 44
3/25/2020                                                Virus response | Prison Policy Initiative
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               Responses to the COVID-19 pandemic
               Last update: March 25, 2020

               Prisons and jails are amplifiers of infectious diseases such as COVID-19, because the
               conditions that can keep diseases from spreading - such as social distancing - are nearly
               impossible to achieve in correctional facilities. So what should criminal justice agencies be
               doing to protect public health?

               On this page, we're tracking examples of state and local agencies taking meaningful steps to
               slow the spread of COVID-19. (So far, however, no state or municipality has implemented
               all of our five key policy ideas, nor met the demands issued by various organizations
               nationwide.)

               Can't find what you're looking for here? See our list of other webpages aggregating
               information about the criminal justice system and COVID-19.



               Releasing people from jails and prisons

               We already know that jails and prisons house large numbers of people with chronic diseases
               and complex medical needs who are more vulnerable to COVID-19, and one of the best
               ways to protect these people is to reduce overcrowding in correctional facilities. Some jails
               are already making these changes:

                        District attorneys in San Francisco, California and Boulder, Colorado have taken steps
                        to release people held pretrial, with limited time left on their sentence, and charged
                        with non-violent offenses. (March 11 and March 16)
                        Ohio courts in Cuyahoga County and Hamilton County have begun to issue court
                        orders and conduct special hearings to increase the number of people released from
                        local jails. On a single day, judges released 38 people from the Cuyahoga County Jail,
                        and they hope to release at least 200 more people charged with low-level, non-violent
                        crimes. (March 14 and March 16)
                        The Los Angeles County Sheriff's Department has reduced their jail population by 6%
                        in the past month to mitigate the risk of virus transmission in crowded jails. To reduce
                        the jail population by over 1,000 people, the Sheriff reports releasing people with less
                        than 30 days left on their sentences and the Department is considering releasing
                        pregnant women and older adults at high risk. (March 20)
                        In Travis County, Texas, judges have begun to release more people from local jails on
                        personal bonds (about 50% more often than usual), focusing on preventing people
                        with health issues who are charged with non-violent offenses from going into the jail
                        system. (March 16)
                        Court orders in Spokane, Washington and in three counties in Alabama have
                        authorized the release of people being held pretrial and some people serving sentences
https://www.prisonpolicy.org/virusresponse.html                                                                        1/6
3/25/2020                                                Virus response | Prison Policy Initiative

                   for "low-level" misdemeanorDocument
            Case 2:90-cv-00520-KJM-SCR         offenses. (March
                                                          6529-217 and March
                                                                    Filed    18)
                                                                          03/25/20                   Page 211 of 249
                        In Hillsborough County, Florida, over 160 people were released following
                        authorization via administrative order for people accused of ordinance violations,
                        misdemeanors, traffic offenses, and third degree felonies. (March 19)
                        In Arizona, the Coconino County court system and jail have released around 50
                        people who were held in the county jail on non-violent charges. (March 20)
                        New Jersey Chief Justice Stuart Rabner signed an order calling for the temporary
                        release of 1,000 people from jails(almost a tenth of the entire state’s county jail
                        population) across the state of New Jersey who are serving county jail sentences for
                        probation violations, municipal court convictions, “low-level indictable crimes,” and
                        “disorderly persons offenses. (March 23)

               Prisons have not been as quick to change policies and arrange for releases. But state prisons
               are filled with people with preexisting medical conditions that put them a heightened risk for
               complications from this virus. So far, we are aware of only a handful of state corrections
               departments taking steps to reduce the prison population in the face of the pandemic:

                        The North Dakota parole board granted early release dates to 56 people (out of 60
                        people who applied for consideration) held in state prison with expected release dates
                        later in March and early April. (March 21)
                        The director of the Iowa Department of Corrections reported the planned, expedited
                        release of about 700 incarcerated people who have been determined eligible for
                        release by the Iowa Board of Parole. (March 23)
                        In Illinois, the governor signed an executive order that eases the restrictions on early
                        prison releases for “good behavior” by waiving the required 14-day notification to the
                        State Attorney’s office. The executive order explicitly states that this is an effort to
                        reduce the prison population, which is particularly vulnerable to the COVID-19
                        outbreak. (March 23)



               Reducing jail admissions
               Lowering jail admissions reduces “jail churn” — the rapid movement of people in and out of
               jails — and will allow the facility's total population to drop very quickly.

                        In Bexar County, Texas, Sheriff Javier Salazar released a COVID-19 mitigation plan
                        that includes encouraging the use of cite and release and "filing non-violent offenses at
                        large," rather than locking more people up during this pandemic. (March 14)
                        Baltimore, Maryland State's Attorney Marilyn Mosby will dismiss pending criminal
                        charges against anyone arrested for drug offenses, trespassing, and minor traffic
                        offenses, among other nonviolent offenses. (March 18)
                        District attorneys in Brooklyn, New York and Philadelphia, Pennsylvania, have taken
                        steps to reduce jail admissions by releasing people charged with non-violent offenses
                        and not actively prosecuting low-level, non-violent offenses. (March 17 and March
                        18)
                        Police departments in Los Angeles County, California, Denver, Colorado, and
                        Philadelphia, Pennsylvania are reducing arrests by using cite and release practices,
https://www.prisonpolicy.org/virusresponse.html                                                                        2/6
3/25/2020                                                 Virus response | Prison Policy Initiative

                   delaying arrests, and issuing Document
            Case 2:90-cv-00520-KJM-SCR           summons. In6529-2
                                                             Los Angeles County,
                                                                     Filed       the number
                                                                           03/25/20     Pageof212
                                                                                               arrests
                                                                                                   of 249
                        has decreased from an average of 300 per day to about 60 per day. (March 16 and
                        March 17)
                        The state of Maine vacated all outstanding bench warrants (for over 12,000 people)
                        for unpaid court fines and fees and for failure to appear for hearings in an effort to
                        reduce jail admissions. (March 17)
                        U.S. Immigration and Customs Enforcement (ICE) notified Congress that they will
                        halt arrests except for those deemed "mission critical" to "maintain public safety and
                        national security." In the statement, ICE also stated that they would avoid arrests near
                        necessary healthcare services like hospitals, doctor's offices, and clinics, "except in the
                        most extraordinary of circumstances." (March 18)
                        In response to the Oklahoma Department of Corrections’ decision not to admit any
                        new people to state prisons, Tulsa and Oklahoma counties are trying to keep their jail
                        population down by not arresting people for misdemeanor offenses and warrants, and
                        by releasing 130 people this past week through accelerated bond reviews and plea
                        agreements. (March 22)



               Reducing incarceration and unnecessary face-to-face contact for people on
               parole and probation

               Limiting unnecessary check-ins and visits to offices for people on parole, probation, or on
               registries will reduce the risk of viral transmission. We don’t (yet) know of many recent
               reforms in this area, but there is an important letter from current and former probation and
               parole executives saying what must be done to promote social distancing and continuing to
               support people under supervision.

                        The California Department of Adult Parole Operations has reduced the number of
                        required check-ins to protect staff and the supervised population by suspending office
                        visits for people 65 and older, and those with chronic medical conditions. (March 17)
                        The Rhode Island Department of Corrections announced that probation and parole
                        offices will not hold in-person check-ins and that individual parole or probation
                        officers will provide instructions to people on parole and probation about maintaining
                        appropriate remote communication. (March 18)
                        The Arkansas Department of Corrections Division of Community Corrections has
                        suspended supervision fees for the month of April 2020 and suspended face-to-face
                        office visits. (March 20)



               Eliminating medical co-pays

               In most states, incarcerated people are expected to pay $2-$5 co-pays for physician visits,
               medications, and testing. Because incarcerated people typically earn 14 to 63 cents per hour,
               these charges are the equivalent of charging a free-world worker $200 or $500 for a medical
               visit. The result is to discourage medical treatment and to put public health at risk. In 2019,


https://www.prisonpolicy.org/virusresponse.html                                                                       3/6
3/25/2020                                                  Virus response | Prison Policy Initiative

              some
            Case    states recognized the harm and
                  2:90-cv-00520-KJM-SCR            eliminated6529-2
                                                 Document     these co-pays.
                                                                        FiledWe’re trackingPage
                                                                             03/25/20       how states
                                                                                                213 ofare249
              responding to the COVID-19 pandemic:

                                                       States that              States that
                                     States that            have                 have not              States that have
                                        have            suspended                made any                not replied to
                                   suspended all        all co-pays             changes in              our survey and
                                     co-pays for             for                   co-pay              are presumably
                  States            incarcerated       respiratory,               policy in              still using co-
                 that do              people in        flu-related,             regardings                   pays to
                   not               response to        or COVID-               to COVID-                 discourage
                 charge            the COVID-19              19                      19                      medical
                 co-pays              pandemic          symptoms                 pandemic                  treatment
                California         Alabama            Alaska                   Kansas                  Delaware
                District           Arkansas           Arizona                  Nevada                  Maryland
                of                 Connecticut        Colorado                 Hawaii                  New Jersey
                Columbia           Massachusetts      Florida                                          Oklahoma
                Illinois           Minnesota          Georgia                                          Rhode Island
                Missouri           Idaho              Indiana                                          Utah
                Montana            Louisiana          Iowa
                Nebraska           Tennessee          Kentucky
                New                West Virginia      Maine
                Mexico                                Michigan
                New York                              Mississippi
                Oregon                                New
                Vermont                               Hampshire
                Virginia                              North
                Wyoming                               Carolina
                                                      North
                                                      Dakota
                                                      Ohio
                                                      Washington
                                                      Pennsylvania
                                                      South
                                                      Carolina
                                                      South
                                                      Dakota
                                                      Texas
                                                      Wisconsin
               Table created March 13, 2020 and last updated: March 24, 2020. We welcome updates from states that have
               revised their policies. States can contact us at virusresponse@prisonpolicy.org.




               Reducing the cost of phone and video calls

               Most federal prisons, state prisons and many local jails have decided to drastically reduce or
               completely eliminate friends and family visitation so as to reduce the risk of COVID-19
               exposure in facilities. In normal times, we would point to the significant evidence that
               sustained meaningful contact with family and friends benefits incarcerated people in the
               long run, including reducing recidivism. But it is even more important, in this time of crisis,
               for incarcerated people to know that their loved ones are safe and vice versa. While many
               facilities have suspended in-person visitation, only a few have made an effort to supplement

https://www.prisonpolicy.org/virusresponse.html                                                                            4/6
3/25/2020                                               Virus response | Prison Policy Initiative

              this2:90-cv-00520-KJM-SCR
            Case  loss by waiving fees for phoneDocument
                                                calls and video communication.
                                                            6529-2             Here is one
                                                                     Filed 03/25/20        notable
                                                                                         Page  214 of 249
              example:

                        Shelby County, Tennessee suspended jail visitations, but to maintain these vital
                        connections between families, they are waiving fees for all phone calls and video
                        communication. (March 12)

               Other jurisdictions have implemented cost reductions that - while better than nothing - still
               severely restrict contact between incarcerated people and their loved ones:

                        The Utah Department of Corrections is giving people in prison 10 free phone calls per
                        week, with each call limited to 15 minutes. (Calls that go beyond the 15-minute limit
                        will incur charges.)
                        Prisons in Connecticut, Delaware, Florida, Vermont, and Pennsylvania are offering
                        residents even smaller numbers of free calls per week. The same is true for jails in
                        Middlesex County, Massachusetts; Harris County, Texas; and Montgomery County,
                        Ohio.



               Other resources
               With thousands of jurisdictions making ongoing policy changes, and local advocacy groups
               across the country issuing new demands, it's impossible to track all ongoing developments in
               one place. If you didn't find what you were looking for here, try these other pages:

                        The Justice Collaborative COVID-19 Response and Resource page offers resource
                        lists, fact sheets, example demand letters, and tracks active demand campaigns
                        throughout the U.S.
                        Professor Sharon Dolovich at the UCLA School of Law has shared a growing
                        comprehensive spreadsheet including results from a state-by-state survey of changes
                        in visitor policies, requests for population reduction, and actions taken to reduce the
                        incarcerated population.
                        The Justice Management Institute has catalogued updates on criminal justice system
                        responses to COVID-19 at the state and local levels, including changes being made by
                        jails systems, law enforcement agencies, probation and parole systems, prosecutors,
                        and public defenders.
                        The Appeal is tracking demands and local and state government responses to the
                        COVID-19 pandemic. This information is organized both geographically and
                        chronologically and includes policies regarding the justice system, elections,
                        healthcare and insurance, and paid sick leave.
                        Professor Aaron Littman at the UCLA School of Law has compiled a spreadsheet to
                        help readers understand which local officials have the power to release people from
                        jails. The information in the spreadsheet is state-specific.
                        The Marshall Project is tracking articles from across the web on the risks of
                        coronavirus across the U.S. justice system.



https://www.prisonpolicy.org/virusresponse.html                                                                   5/6
3/25/2020                                            Virus response | Prison Policy Initiative

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               If you know of notable reforms that should be listed here, please let us know at
               virusresponse@prisonpolicy.org. We won’t list everything, but we appreciate what you can
               send us.




https://www.prisonpolicy.org/virusresponse.html                                                                    6/6
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                             Exhibit 45
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U.S. Department of Justice
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Bureau of Justice Statistics

                                                                                                           February 2020, NCJ 251920


Mortality in State and Federal Prisons,




                                                                                                                                       Bureau of Justice Statistics · Statistical Tables
2001-2016 – Statistical Tables
E. Ann Carson, Ph.D., BJS Statistician
Mary P. Cowhig, former BJS Statistician



I
    n 2016, a total of 4,117 state and federal       Figure 1
    prisoners died in publicly or privately          Mortality rate per 100,000 state and federal
    operated prisons. The number of deaths in        prisoners, 2001-2016
state prisons rose 1.3% from 2015 to 2016 (from
3,682 to 3,729), while the number of deaths in       Mortality rate
                                                     350
federal prisons fell 15% (from 455 to 388). This
marked the first decrease in deaths in federal       300
prisons since 2012.                                               Statea
                                                     250
While the total number of state prisoners
dropped 5% from 2006 to 2016, the number of          200
                                                                             Federalb
deaths in state prisons rose 15% over that same      150
period. Each year from 2001 to 2016, an average
of 88% of deaths in state prisons were due to        100
natural causes, ranging from 89% in 2001 to 86%
                                                      50
in 2016. Over that same span, an average of 11%
of deaths in state prisons were due to unnatural       0
causes (suicide, drug or alcohol intoxication,             ’01     ’03     ’05      ’07     ’09      ’11     ’13      ’15 ’16
accidental causes, or homicide), ranging from        Note: Based on the annual number of deaths and the one-day custody
                                                     population on December 31. See appendix table 9 for rates.
9% in 2001 and 2008 to 13% in 2016.                  aIncludes deaths in private state facilities.
                                                     bExcludes deaths in private federal facilities.
Mortality rates, or the annual number of deaths
                                                     Source: Bureau of Justice Statistics, Mortality in Correctional Institutions,
per 100,000 prisoners, dropped from 2001 to          2001-2016; and Federal Bureau of Prisons, 2001-2016.
2016 for all four age groups of state prisoners



Highlights
From 2015 to 2016, deaths in state prisons         Homicide deaths, which include deaths due
  increased from 296 to 303 deaths per 100,000         to injuries sustained before imprisonment,
  state prisoners.                                     accounted for 2.5% of deaths in state prisons and
                                                       3.6% of deaths in federal prisons in 2016.
From 2015 to 2016, deaths in federal prisons
  decreased for the first time since 2012, from      More than half of all deaths in state prisons in
  283 to 252 deaths per 100,000 federal prisoners.     2016 (55%) were of white prisoners, who made
                                                       up less than one-third (31%) of the state prison
Illness-related deaths made up 86% of deaths         population.
  in state prisons in 2016, with more than half of
  those being due to cancer (30% of all deaths) or   From 2001 to 2016, mortality rates dropped for
  heart disease (28%).                                 all four age groups of state prisoners age 25 or
                                                       older; however, the portion of prisoners age
                                                       55 or older tripled, and they have the highest
                                                       mortality rates.                                                              YEARS OF STATISTICS
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age 25 or older (25-34, 35-44, 45-54, and 55 or older).             developed by the Bureau of Justice Statistics (BJS).
However, the portion of state prisoners who were age                The MCI is the only national statistical collection
55 or older roughly tripled from 2001 to 2016 (from                 that obtains comprehensive information about deaths
4% to 12%), and that subpopulation had the highest                  among prisoners and jail inmates in the custody of
mortality rate (more than three times as high as any                adult correctional facilities. This report reviews deaths
other age group in each year).                                      in state and federal prisons from 2001 to 2016. Until
                                                                    2015, BJS received aggregated mortality data from the
Suicides represented an average of 6% of deaths in state            Federal Bureau of Prisons (BOP). In 2015, BJS began
prisons from 2001 to 2016, ranging from 5.5% to 7.1%                receiving individual-level data on deaths from the BOP.
per year (6.8% in 2016).
                                                                    Data on mortality in local jails can be found in
Findings in this report are from the Mortality in                   Mortality in Local Jails, 2000-2016 – Statistical Tables
Correctional Institutions (MCI) data collection                     (NCJ 251921, BJS, February 2020).
(formerly the Deaths in Custody Reporting Program),

Other key findings
A total of 59,036 prisoners died in state and federal             The annual average rate of suicides from 2001 to 2016
  prisons from 2001 to 2016, with about 90% of                        was 17 deaths per 100,000 male state prisoners and
  the deaths occurring in state prisons (53,051) and                  13 deaths per 100,000 female state prisoners (table 10).
  10% occurring in federal prisons (5,985) (table 1).
                                                                    On average from 2001 to 2016, male state prisoners
A total of 255 state prisoners committed suicide                    died from cancer, heart disease, or liver disease at
  in 2016, marking a 16-year peak in the number of                    about twice the rate of females (table 10).
  suicides (table 2).
                                                                    From 2001 to 2016, eight states (Texas, California,
From 2015 to 2016, suicides increased from 5.9% to                  Florida, Pennsylvania, New York, Michigan, Ohio, and
  6.8% of all deaths in state prisons, down from 7.1% in              Georgia) accounted for more than half of all deaths
  2014 (table 3).                                                     in state prisons (27,204 of 53,051), with Texas (6,628)
                                                                      and California (5,796) accounting for 23% of all
In 2016, 96% of those who died in state prisons                     deaths (table 13).
  were male (3,586) and 4% were female (143)
  (tables 6 and 7).




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Table 1
State and federal prisoner deaths, by cause of death, 2001-2016
                                                            State prisonersa                                                    Federal prisonersb
                                          Number                Percent              Mortality rate             Number              Percent        Mortality rate
Cause of death                            of deaths             of deaths            per 100,000                of deaths           of deaths      per 100,000
    All causes                             53,051                  100%                   262                     5,985               100%              230
Illness                                    46,824                 88.3%                   231                     5,441              90.9%              209
    Cancer                                 14,525                 27.4                     72                         …                 …                 …
    Heart disease                          13,695                 25.8                     68                         …                 …                 …
    Liver disease                            4,940                  9.3                    24                         …                 …                 …
    Respiratory disease                      3,315                  6.2                    16                         …                 …                 …
    AIDS-relatedc                            1,873                  3.5                     9                       161                2.7                6
    All other illnessesd                     8,476                16.0                     42                         …                 …                 …
Suicide                                      3,300                  6.2%                   16                       260                4.3%              10
Drug/alcohol intoxication                      781                  1.5%                    4                         …                 …                 …
Accidente                                      530                  1.0%                    3                        81                1.4%               3
Homicidef                                    1,024                  1.9%                    5                       160                2.7%               6
Other causes                                   345                  0.7%                    2                         0                0.0%               0
Missing/unknown                                247                  0.5%                    1                        43                0.7%               2
Note: Data may have been revised from previously published statistics. Details may not sum to totals due to rounding. Mortality rates are based on the annual number of
deaths and a one-day custody population on December 31. Excludes executions. For execution data, see Capital Punishment, 2016 – Statistical Brief (NCJ 251430, BJS,
April 2018). See Methodology.
…Not available.
aIncludes deaths in private state facilities.
bData on cause of death for federal prisoners were not available for all causes. Excludes deaths in private federal facilities.
cIncludes persons who died of illness and were identified as HIV-positive or having AIDS at the time of death.
dIncludes other specified illnesses (such as cerebrovascular disease, influenza, and other non-leading natural causes of death) and unspecified illnesses.
eIncludes deaths by intoxication among federal prisoners.
fIncludes homicides committed by other prisoners, incidental to the use of force by staff, and resulting from injuries sustained prior to incarceration.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2001-2016; and Federal Bureau of Prisons, 2001-2016.



Table 2
Number of state and federal prisoner deaths, by cause of death, 2001 and 2006-2016
Cause of death                 2001        2006        2007        2008        2009        2010        2011        2012        2013        2014        2015        2016
  Total                        3,170       3,561       3,757       3,851       3,793       3,620       3,738       3,707       3,879       3,927       4,137       4,117
Federala                         301         328         368         399         376         387         387         350         400         444         455         388
Stateb                         2,869       3,233       3,389       3,452       3,417       3,233       3,351       3,357       3,479       3,483       3,682       3,729
  Illness                      2,567       2,830       2,980       3,036       3,029       2,869       2,980       2,959       3,082       3,031       3,225       3,191
      Cancer                     691         806         772         907         978         927       1,028       1,024       1,066       1,046       1,122       1,128
      Heart disease              743         854         840         845         848         830         854         804         897         890         985       1,025
      Liver disease              307         303         316         318         332         288         339         304         355         313         301         260
      Respiratory disease        147         193         207         251         200         211         205         223         198         238         242         222
      AIDS-relatedc              275         132         120          99          98          73          57          74          52          64          45          31
      All other illnessesd       404         542         725         616         573         540         497         530         514         480         530         525
  Suicide                        168         219         215         197         202         215         185         205         192         249         219         255
  Drug/alcohol
     intoxication                 35          56          41          58          50          40          58           33          56          50          81       104
  Accident                        22          32          28          26          32          32          38           50          34          39          39        41
  Homicidee                       39          55          57          40          54          70          70           85          90          83          84        95
  Other causes                     0          41          16          95          16           4          11           14          18          10          20        22
  Missing/unknown                 38           0          52           0          34           3           9           11           7          21          14        21
Note: Data may have been revised from previously published statistics. Excludes executions. For execution data, see Capital Punishment, 2016 – Statistical Brief
(NCJ 251430, BJS, April 2018). See Methodology. For data from 2002 to 2006, see the Mortality in Correctional Institutions page on the BJS website.
aUntil 2015, federal deaths were submitted as an aggregate count by the Federal Bureau of Prisons. Excludes deaths in private federal facilities.
bIncludes deaths in private state facilities.
cIncludes persons who died of illness and were identified as HIV-positive or having AIDS at the time of death.
dIncludes other specified illnesses (such as cerebrovascular disease, influenza, and other non-leading natural causes of death) and unspecified illnesses.
eIncludes homicides committed by other prisoners, incidental to the use of force by staff, and resulting from injuries sustained prior to incarceration.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2001 and 2006-2016; and Federal Bureau of Prisons, 2001 and 2006-2016.

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Table 3
Percent of state prisoner deaths, by cause of death, 2001 and 2006-2016
Cause of death             2001         2006        2007        2008         2009        2010         2011        2012         2013         2014         2015        2016
    All causes             100%         100%        100%         100%        100%        100%         100%        100%          100%        100%         100%        100%
Illness                    89.5%        87.5%       87.9%       87.9%        88.6%       88.7%        88.9%       88.1%        88.6%        87.0%        87.6%       85.6%
    Cancer                 24.1         24.9        22.8        26.3         28.6        28.7         30.7        30.5         30.6         30.0         30.5        30.2
    Heart disease          25.9         26.4        24.8        24.5         24.8        25.7         25.5        23.9         25.8         25.6         26.8        27.5
    Liver disease          10.7          9.4         9.3          9.2         9.7         8.9         10.1         9.1         10.2          9.0          8.2         7.0
    Respiratory
      disease               5.1          6.0         6.1         7.3          5.9         6.5          6.1          6.6          5.7         6.8          6.6         6.0
    AIDS-relateda           9.6          4.1         3.5         2.9          2.9         2.3          1.7          2.2          1.5         1.8          1.2         0.8
    All other illnessesb   14.1         16.8        21.4        17.8         16.8        16.7         14.8         15.8         14.8        13.8         14.4        14.1
Suicide                     5.9%         6.8%        6.3%        5.7%         5.9%        6.7%         5.5%         6.1%         5.5%        7.1%         5.9%        6.8%
Drug/alcohol
   intoxication             1.2%         1.7%        1.2%        1.7%         1.5%         1.2%        1.7%         1.0%         1.6%        1.4%         2.2%         2.8%
Accident                    0.8%         1.0%        0.8%        0.8%         0.9%         1.0%        1.1%         1.5%         1.0%        1.1%         1.1%         1.1%
Homicidec                   1.4%         1.7%        1.7%        1.2%         1.6%         2.2%        2.1%         2.5%         2.6%        2.4%         2.3%         2.5%
Other causes                0.0%         1.3%        0.5%        2.8%         0.5%         0.1%        0.3%         0.4%         0.5%        0.3%         0.5%         0.6%
Missing/unknown             1.3%         0.0%        1.5%        0.0%         1.0%         0.1%        0.3%         0.3%         0.2%        0.6%         0.4%         0.6%
Note: Data may have been revised from previously published statistics. Details may not sum to totals due to rounding. Excludes executions. For execution data, see
Capital Punishment, 2016 – Statistical Brief (NCJ 251430, BJS, April 2018). See Methodology. Includes deaths in private state facilities. For data from 2002 to 2006, see the
Mortality in Correctional Institutions page on the BJS website.
aIncludes persons who died of illness and were identified as HIV-positive or having AIDS at the time of death.
bIncludes other specified illnesses (such as cerebrovascular disease, influenza, and other non-leading natural causes of death) and unspecified illnesses.
cIncludes homicides committed by other prisoners, incidental to the use of force by staff, and resulting from injuries sustained prior to incarceration.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2001 and 2006-2016.


Table 4
Mortality rate per 100,000 state prisoners, by cause of death, 2001 and 2006-2016
Cause of death                  2001        2006        2007        2008         2009        2010        2011        2012         2013        2014         2015        2016
    All causes                  242          249        258          261          259         246         260         265          274         274          296        303
Illness                         217          218        226          229          230         218         231         234          243         239          259        260
    Cancer                       58           62         59           68           74          71          80          81           84          82           90         92
    Heart disease                63           66         64           64           64          63          66          63           71          70           79         83
    Liver disease                26           23         24           24           25          22          26          24           28          25           24         21
    Respiratory disease          12           15         16           19           15          16          16          18           16          19           19         18
    AIDS-relateda                23           10          9            7            7           6           4           6            4           5            4          3
    All other illnessesb         34           42         55           47           43          41          39          42           40          38           43         43
Suicide                          14           17         16           15           15          16          14          16           15          20           18         21
Drug/alcohol
   intoxication                     3           4           3           4            4          3            4           3            4           4           7           8
Accident                            2           2           2           2            2          2            3           4            3           3           3           3
Homicidec                           3           4           4           3            4          5            5           7            7           7           7           8
Other causes                        0           3           1           7            1         <1 !          1!          1            1           1!          2           2
Missing/unknown                     3           0           4           0            3         <1 !          1!          1!           1!          2           1           2
Note: Data may have been revised from previously published statistics. Excludes executions. For execution data, see Capital Punishment, 2016 – Statistical Brief
(NCJ 251430, BJS, April 2018). Mortality rates are based on the annual number of deaths and a one-day custody population on December 31. See Methodology. Includes
deaths in private state facilities. For data from 2002 to 2006, see the Mortality in Correctional Institutions page on the BJS website.
! Interpret with caution. Estimate is based on 10 or fewer cases, or coefficient of variation is greater than 50%.
aIncludes persons who died of illness and were identified as HIV-positive or having AIDS at the time of death.
bIncludes other specified illnesses (such as cerebrovascular disease, influenza, and other non-leading natural causes of death) and unspecified illnesses.
cIncludes homicides committed by other prisoners, incidental to the use of force by staff, and resulting from injuries sustained prior to incarceration.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2001 and 2006-2016; National Prisoner Statistics, 2001 and 2006-2016.




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Table 5
Mortality rate per 100,000 federal prisoners, by cause of death, 2001 and 2006-2016
Cause of death           2001        2006         2007        2008          2009         2010         2011         2012         2013          2014         2015         2016
    All causes           220          328         222         241           220          224          220          198          230           262          283          252
Illness                  196          294         195         217           198          203          204          182          213           238          249          220
    AIDS-relateda         16           12           6!          8             4!           4!           2!           3!           2!            0            1!           1!
Suicide                   13           12          11          13            12            6!          10           11            8            14           12           12
Accidentb                  4!           2!          0           4!            3!           1!           1!           2!           2!            1!          10            9
Homicide                   6!           8!          7           8             4!          10            5!           3!           7             8           10            9
Other/unknown              0            0           9           1!            4!           3!           1!           1!           1!            0            2!           2!
Note: Until 2015, federal deaths were submitted as aggregate counts by the Federal Bureau of Prisons, with limited details regarding cause of death. Excludes executions.
For execution data, see Capital Punishment, 2016 – Statistical Brief (NCJ 251430, BJS, April 2018). Mortality rates are based on the annual number of deaths and a one-day
custody population on December 31. Excludes deaths in private federal facilities. For data from 2002 to 2006, see the Mortality in Correctional Institutions page on the
BJS website.
! Interpret with caution. Estimate is based on 10 or fewer cases, or coefficient of variation is greater than 50%.
aIncludes persons who died of illness and were identified as HIV-positive or having AIDS at the time of death.
bIncludes deaths due to drug or alcohol intoxication.
Source: Bureau of Justice Statistics, Federal Bureau of Prisons, 2001 and 2006-2016; and National Prisoner Statistics, 2001 and 2006-2016.


Table 6
Number of state prisoner deaths, by decedent characteristics, 2001 and 2006-2016
Characteristic         2001          2006         2007         2008         2009         2010          2011         2012         2013         2014         2015          2016
  Total                2,869         3,233        3,389        3,452        3,417        3,233         3,351        3,357        3,479        3,483        3,682         3,729
Sex
  Male                 2,769         3,103        3,252        3,289        3,267        3,116         3,208        3,244        3,338        3,329        3,533         3,586
  Female                 100           130          137          163          150          117           143          113          141          154          149           143
Race/ethnicity
  Whitea               1,340         1,627        1,719        1,822        1,774        1,680         1,912        1,789        1,902        1,920        2,040         2,063
  Blacka               1,161         1,148        1,225        1,157        1,199        1,121         1,037        1,113        1,104        1,108        1,189         1,200
  Hispanic               322           404          383          400          372          359           329          379          402          368          367           383
  Othera,b                41            50           54           73           58           61            61           70           70           87           84            80
Age
  17 or younger             2            1            1            3            0            3             2            0            0            2            0             1
  18-24                    86           60           68           67           69           69            50           69           69           56           68            72
  25-34                   256          250          226          222          210          217           200          190          221          221          226           244
  35-44                   656          561          513          468          467          382           397          360          335          335          341           380
  45-54                   893        1,061        1,031        1,063        1,039          956           930          876          861          821          795           721
  55 or older             972        1,300        1,550        1,629        1,631        1,606         1,771        1,862        1,993        2,048        2,251         2,297
Note: Data may have been revised from previously published statistics. Details may not sum to totals due to missing data. Excludes executions. For execution data,
see Capital Punishment, 2016 – Statistical Brief (NCJ 251430, BJS, April 2018). Includes deaths in private state facilities. For data from 2002 to 2006, see the Mortality in
Correctional Institutions page on the BJS website.
aExcludes persons of Hispanic origin (e.g., “white” refers to non-Hispanic whites and “black” refers to non-Hispanic blacks).
bIncludes Asians, Native Hawaiians, Other Pacific Islanders, American Indians, Alaska Natives, or persons of two or more races.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2001 and 2006-2016.




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Table 7
Percent of state prisoner deaths, by decedent characteristics, 2001 and 2006-2016
Characteristic        2001          2006         2007         2008          2009         2010          2011         2012         2013          2014         2015         2016
  Total               100%          100%         100%         100%          100%         100%          100%         100%         100%          100%         100%         100%
Sex
  Male                96.5%        96.0%         96.0%        95.3%        95.6%         96.4%        95.7%        96.6%         95.9%        95.6%        96.0%         96.2%
  Female               3.5          4.0           4.0          4.7          4.4           3.6          4.3          3.4           4.1          4.4          4.0           3.8
Race/ethnicity
  Whitea              46.7%        50.4%         50.7%        52.8%        51.9%         52.0%        57.1%        53.3%         54.7%        55.1%         55.4%        55.3%
  Blacka              40.5         35.6          36.1         33.5         35.1          34.7         30.9         33.2          31.7         31.8          32.3         32.2
  Hispanic            11.2         12.5          11.3         11.6         10.9          11.1          9.8         11.3          11.6         10.6          10.0         10.3
  Othera,b             1.4          1.5           1.6          2.1          1.7           1.9          1.8          2.1           2.0          2.5           2.3          2.1
Age
  17 or younger        0.1%        <0.1%        <0.1%          0.1%         0.0%          0.1%         0.1%         0.0%          0.0%         0.1%         0.0%         <0.1%
  18-24                3.0          1.9          2.0           1.9          2.0           2.1          1.5          2.1           2.0          1.6          1.8           1.9
  25-34                8.9          7.7          6.7           6.4          6.2           6.7          6.0          5.7           6.4          6.4          6.1           6.5
  35-44               22.9         17.4         15.1          13.6         13.7          11.8         11.8         10.7           9.6          9.6          9.3          10.2
  45-54               31.1         32.8         30.4          30.8         30.4          29.6         27.8         26.1          24.7         23.6         21.6          19.3
  55 or older         33.9         40.2         45.7          47.2         47.7          49.7         52.9         55.5          57.3         58.8         61.1          61.6
Note: Data may have been revised from previously published statistics. Details may not sum to totals due to missing data. Excludes executions. For execution data,
see Capital Punishment, 2016 – Statistical Brief (NCJ 251430, BJS, April 2018). Includes deaths in private state facilities. For data from 2002 to 2006, see the Mortality in
Correctional Institutions page on the BJS website.
aExcludes persons of Hispanic origin (e.g., “white” refers to non-Hispanic whites and “black” refers to non-Hispanic blacks).
bIncludes Asians, Native Hawaiians, Other Pacific Islanders, American Indians, Alaska Natives, or persons of two or more races.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2001 and 2006-2016.



Table 8
Mortality rate per 100,000 state prisoners within each demographic group, by decedent characteristics, 2001 and
2006-2016
Characteristic 2001                2006         2007         2008          2009         2010         2011          2012         2013         2014         2015          2016
  Total         242                 244          258          261           259          246          260           265          274          274          296           303
Sex
  Male          250                 251          266          267           266          255          267          275           283          282          306           315
  Female        131                 151          146          173           163          128          160          131           159          171          167           161
Race/ethnicity
  Whitea        345                 323          389          413          412           396          461          439           468          473          515          535
  Blacka        234                 219          244          230          243           233          222          245           246          254          282          293
  Hispanic      139                 200          138          147          134           129          121          145           153          141          142          144
  Othera,b       59                 151           57           67           49            47           45           49            45           53           50           48
Age
  17 or younger 68 !                 33 !         41 !        115 !          0           140 !        111 !          0             0          206 !          0          120 !
  18-24          39                  29           35           34           35            35           26           38            40           35           47           53
  25-34          64                  62           52           51           48            50           47           46            53           53           55           61
  35-44         181                 182          140          131          136           114          123          113           105          104          106          118
  45-54         584                 554          444          442          427           389          384          368           364          349          347          321
  55 or older 2,032               2,004        1,927        1,859        1,737         1,580        1,632        1,615         1,619        1,563        1,619        1,578
Note: Data may have been revised from previously published statistics. Mortality rates are based on the annual number of deaths and a one-day custody population on
December 31. See Methodology. Excludes executions. For execution data, see Capital Punishment, 2016 – Statistical Brief (NCJ 251430, BJS, April 2018). Includes deaths in
private state facilities. For data from 2002 to 2006, see the Mortality in Correctional Institutions page on the BJS website.
! Interpret with caution. Estimate is based on 10 or fewer cases, or coefficient of variation is greater than 50%.
aExcludes persons of Hispanic origin (e.g., “white” refers to non-Hispanic whites and “black” refers to non-Hispanic blacks).
bIncludes Asians, Native Hawaiians, Other Pacific Islanders, American Indians, Alaska Natives, or persons of two or more races.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2001 and 2006-2016; National Prisoner Statistics, 2001 and 2006-2016; Survey of Inmates in State
Correctional Facilities, 2004; and Survey of Prison Inmates, 2016.




Mortality in State and Federal Prisons, 2001-2016 – Statistical Tables | February 2020                                                                                          8
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Table 9
Number of deaths in state prisons, by cause of death and decedent characteristics, 2001-2016
                                                             Illness
                                              Heart   Liver     Respiratory AIDS- All other             Drug/alcohol
Characteristic             All causesa Cancer disease disease disease       relatedb illnessesc Suicide intoxication Accident Homicided
  Total                       53,051 14,525 13,695 4,940           3,315     1,873      8,476    3,300       781       530      1,024
Sex
  Male                        50,885       13,976 13,235           4,768         3,149         1,779       8,017        3,120           747           513          1,017
  Female                       2,165          549    460             172           166            94         459          180            34            17              7
Race/ethnicity
  Whitee                      27,748        7,988      7,300       2,746         1,886           417       3,980        1,951           436           299            462
  Blacke                      18,454        5,069      5,113       1,113         1,073         1,240       3,268          672           148           149            359
  Hispanic                     5,764        1,220      1,065         949           306           196       1,063          522           161            67            172
  Othere,f                       997          224        203         123            45            19         150          142            36            14             29
Age
  17 or younger                   21            3          2           1             1             0           1           11             0             1              1
  18-24                        1,081           66        132          13            62            19         133          425            53            38            121
  25-34                        3,706          341        626          81           190           238         493        1,059           212            95            283
  35-44                        7,740        1,294      1,800         602           367           734       1,229          930           265           131            276
  45-54                       14,907        4,097      3,505       2,234           715           639       2,464          607           184           115            200
  55 or older                 25,568        8,719      7,626       2,006         1,979           243       4,153          266            67           149            141
Note: Data may have been revised from previously published statistics. Details may not sum to totals due to missing data. Excludes executions. For execution data,
see Capital Punishment, 2016 – Statistical Brief (NCJ 251430, BJS, April 2018). See Methodology. Includes deaths in private state facilities. There were 88 prisoners whose
race/ethnicity was unknown, 28 whose age was unknown, and 1 whose sex was unknown.
aIncludes other causes not specified and missing and unknown causes.
bIncludes persons who died of illness and were identified as HIV-positive or having AIDS at the time of death.
cIncludes other specified illnesses (such as cerebrovascular disease, influenza, and other non-leading natural causes of death) and unspecified illnesses.
dIncludes homicides committed by other prisoners, incidental to the use of force by staff, and resulting from injuries sustained prior to incarceration.
eExcludes persons of Hispanic origin (e.g., “white” refers to non-Hispanic whites and “black” refers to non-Hispanic blacks).
fIncludes Asians, Native Hawaiians, Other Pacific Islanders, American Indians, Alaska Natives, or persons of two or more races.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2001-2016.




Mortality in State and Federal Prisons, 2001-2016 – Statistical Tables | February 2020                                                                                   9
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Table 10
Average annual mortality rate per 100,000 state prisoners within each demographic group, by cause of death and
decedent characteristics, 2001-2016
                                                                       Illness
                                            Heart              Liver    Respiratory         AIDS-    All other          Drug/alcohol
Characteristic           All causesa Cancer disease            disease disease              relatedb illnessesc Suicide intoxication Accident Homicided
  Total                       262      72      68                 24        16                 9         42       16        4           3        5
Sex
  Male                        270         74          70          25           17              9            43           17           4               3           5
  Female                      154         39          33          12           12              7            33           13           2               1          <1 !
Race/ethnicity
  Whitee                      416       120         109           41           28              6            60           29           7               4            7
  Blacke                      243        67          67           15           14             16            43            9           2               2            5
  Hispanic                    138        29          25           23            7              5            25           12           4               2            4
  Othere,f                     54        12          11            7            2              1             8            8           2               1            2
Age
  17 or younger                66         9!          6!          3!            3!             0            3!           35 !         0              3!            3!
  18-24                        36         2           4          <1             2              1            4            14           2              1             4
  25-34                        55         5           9           1             3              4            7            16           3              1             4
  35-44                       140        23          33          11             7             13           22            17           5              2             5
  45-54                       429       118         101          64            21             18           71            17           5              3             6
  55 or older               1,722       587         514         135           133             16          280            18           5             10             9
Note: Data may have been revised from previously published statistics. Mortality rates are based on the annual number of deaths and a one-day custody population on
December 31. Excludes executions. For execution data, see Capital Punishment, 2016 – Statistical Brief (NCJ 251430, BJS, April 2018). See Methodology. Includes deaths in
private state facilities.
! Interpret with caution. Estimate is based on 10 or fewer cases, or coefficient of variation is greater than 50%.
aIncludes other causes not specified and missing and unknown causes.
bIncludes persons who died of illness and were identified as HIV-positive or having AIDS at the time of death.
cIncludes other specified illnesses (such as cerebrovascular disease, influenza, and other non-leading natural causes of death) and unspecified illnesses.
dIncludes homicides committed by other prisoners, incidental to the use of force by staff, and resulting from injuries sustained prior to incarceration.
eExcludes persons of Hispanic origin (e.g., “white” refers to non-Hispanic whites and “black” refers to non-Hispanic blacks).
fIncludes Asians, Native Hawaiians, Other Pacific Islanders, American Indians, Alaska Natives, or persons of two or more races.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2001-2016; National Inmate Survey, 2007-2009, 2011, and 2012; National Prisoner Statistics,
2001-2016; Survey of Inmates in State Correctional Facilities, 2004; and Survey of Prison Inmates, 2016.




Mortality in State and Federal Prisons, 2001-2016 – Statistical Tables | February 2020                                                                             10
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Table 11
Number of prisoner deaths in state and federal facilities, 2001 and 2006-2016
State/Federal     2001       2006     2007      2008     2009      2010     2011      2012    2013    2014    2015   2016
Federala           301        328      368       399      376       387      387       350     400     444     455     388
Stateb           2,869      3,233    3,389     3,452    3,417     3,233    3,351     3,357   3,479   3,483   3,682   3,729
  Alabama           87         61       54        75       80        66      104        86     107     102     112     118
  Alaskac            8          6       10        14        7        13       12        11       8      12      15      10
  Arizona           64         72       61        77       85        85       86        87      95      99     105     126
  Arkansas          42         37       46        41       50        54       50        43      56      57      54      71
  California       287        424      395       371      395       414      388       368     366     317     353     334
  Colorado          42         31       42        38       49        48       37        48      40      35      51      57
  Connecticutd      30         25       27        32       29        21       19        24      20      24      23      17
  Delawared         16         13       15        15       12        23       15        10      14      18      17      14
  Florida          182        261      249       291      278       275      297       324     305     346     354     356
  Georgia           93        103      143       128      125       112      121       103     122     120     130     132
  Hawaiid            7          5       13        14       11        12        6        12      14       8       4       9
  Idaho             17         18       14        18       13        13       13         9      10      23      18      16
  Illinois          86         94      104        71       75        94       97        85      78      88     120      90
  Indiana           46         70       54        70       91        69       74        59      66      70      85      70
  Iowa               9         12       17        21       14        13       12        20      16      15      19      29
  Kansas            21         16       20        24       20        22       25        17      28      21      25      35
  Kentucky          36         46       46        68       57        42       60        55      40      44      60      42
  Louisiana         71         72       82       117      108       100      108       116     118     118     113     123
  Maine              6          6        1         2        4         3        5         2       3       7       5       5
  Maryland          70         61       57        69       56        40       41        46      58      43      62      49
  Massachusetts     29         39       39        29       29        39       33        42      39      45      34      34
  Michigan         114        138      117        99      148        93      119       124     124     121     118     106
  Minnesota         13          9       13        17       12        16       19        14      20      14      11      18
  Mississippi       36         58       77        54       52        52       47        41      68      50      45      65
  Missouri          57         66       78        87       81        88       74        71      92      97     106      99
  Montana            6          5        5         9        3         2        6        11       7      19      13      16
  Nebraska           7          8       12         6       11        12       17        11      16      13      17       9
  Nevada            27         23       39        35       35        41       34        37      35      44      47      43
  New Hampshire      2          6        6         5        9         4       10         5       8       5       8       9
  New Jersey        69         70       60        66       58        56       66        48      46      50      52      49
  New Mexico        11         13       22        29       21        16       16        14      17      24      19      16
  New York         175        131      148       133      142       124      117       115     142     123     115     147
  North Carolina    66         90       99       117       86        87       71        79      81      94      90     127
  North Dakota       3          1        0         0        0         1        1         3       1       0       0       4
  Ohio             115        106      123       101      120       116      111       126     124     111     138     133
  Oklahoma          51         80       98        88       79        60       85        79      87     107     107      93
  Oregon            24         40       36        31       34        39       40        26      30      31      37      47
  Pennsylvania     122        124      150       145      165       141      157       157     157     145     167     171
  Rhode Islandd      3          8        9         6        7         7       10         6       4       7       5       2
  South Carolina    69         65       72        83       49        70       55        58      66      66      76      79
  South Dakota       4          4        8         6        4         8       11         9       6       7       7       5
  Tennessee         51         84       73        74       69        74       59        84      82      83      94     102
  Texas            408        443      435       469      426       375      417       462     438     409     418     403
  Utah               5          7        7        11       17        13       12        15      23      23      16      21
  Vermontd           3          7        1         3        3         5        0         2       8       6       4       7
  Virginia          71         78      103        86       87        93       99        86      82      90      90      90

                                                                                                     Continued on next page




Mortality in State and Federal Prisons, 2001-2016 – Statistical Tables | February 2020                                11
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TABLE 11 (continued)
Number of prisoner deaths in state and federal facilities, 2001 and 2006-2016
State/Federal            2001        2006         2007        2008         2009        2010         2011        2012        2013         2014        2015         2016
  Washington               29         36           39          35           44          35           21          33          39           38          42            28
  West Virginia            17          13           19         19           18          20           23          24          26           24          28            26
  Wisconsin                48          45           43          44           42         25           48          46          43           58          46            66
  Wyoming                   5           3            8           9            7          2            3           4           4           12           7            11
Note: Data may have been revised from previously published statistics. Details may not sum to totals due to missing data. Excludes executions. For execution data,
see Capital Punishment, 2016 – Statistical Brief (NCJ 251430, BJS, April 2018). For data from 2002 to 2006, see the Mortality in Correctional Institutions page on the
BJS website.
aExcludes deaths in private federal facilities.
bIncludes deaths in private state facilities. Includes nine prisoner deaths reported by the District of Columbia in 2001. As of December 30, 2001, sentenced felons from
the District of Columbia were the responsibility of the Federal Bureau of Prisons.
cPrisons and jails form one integrated system. Counts include deaths only in state-operated prisons and jails and exclude deaths in 14 locally operated jails.
dPrisons and jails form one integrated system. Data include total jail and prison population.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2001 and 2006-2016; and Federal Bureau of Prisons, 2001 and 2006-2016.


Table 12
Mortality rate per 100,000 state and federal prisoners, 2001 and 2006-2016
State/Federal           2001        2006          2007          2008         2009        2010         2011        2012         2013        2014         2015         2016
Federala                220          201           222           241          220         224          220         198          230         262          283          252
Stateb                  242          249           258           261          259         246          260         265          274         274          296          303
  Alabama               352          253           214           296          294         241          388         321          399         390          444          497
  Alaskac               175 !        119 !         194 !         280          128 !       242          193         174 !        157 !       190          286          228 !
  Arizona               231          201           162           195          210         212          215         217          232         235          249          298
  Arkansas              366          288           347           312          375         380          355         306          392         374          342          448
  California            183          246           230           217          234         254          263         277          272         236          276          258
  Colorado              243          141           185           164          216         211          169         236          198         171          256          293
  Connecticutd          171          132           139           161          153         113          106         140          115         143          144          113
  Delawared             234          185           211           216          182         361          229         149 !        206         267          264          221
  Florida               251          289           262           291          274         269          294         325          302         343          356          363
  Georgia               202          195           264           243          233         212          229         187          227         228          250          247
  Hawaiid               137 !         91 !         238           257          227 !       227          110 !       227          271         148 !         74 !        174 !
  Idaho                 323          270           198           256          181         180          174         117 !        139 !       307          249          222
  Illinois              194          208           230           156          166         194          200         172          160         182          260          206
  Indiana               234          281           215           265          340         253          270         210          232         215          320          278
  Iowa                  113 !        136           196           241          157         137          132         229          184         170          214          320
  Kansas                245          181           229           281          231         243          268         179          291         220          262          363
  Kentucky              336          295           299           446          380         290          429         423          329         363          502          354
  Louisianae            361          346           401           561          543         526          573         624          628         631          613          817
  Maine                 358 !        288 !          47 !          98 !        193 !       154 !        253 !       101 !        145 !       318 !        228 !        212 !
  Maryland              295          269           246           298          254         175          178         211          267         202          296          242
  Massachusetts         284          362           352           260          260         349          288         377          367         431          358          376
  Michigan              233          268           233           203          325         211          277         284          284         279          277          258
  Minnesota             203          102 !         141           188          126         170          204         149          213         146          115 !        189
  Mississippi           238          354           441           302          302         316          305         260          436         383          322          474
  Missouri              199          219           262           289          265         288          239         228          292         304          328          305
  Montana               215 !        170 !         172 !         309 !         97 !        64 !        192 !       355 !        224 !       609          409          500
  Nebraska              179 !        182 !         273           134 !        245 !       260          365         233 !        319         249          331          174 !
  Nevada                274          180           293           272          278         336          280         294          274         347          355          309
  New
     Hampshire            83 !       224 !         217 !         175 !       309 !        153 !        413 !       195 !        305 !       184 !        301 !       346 !
  New Jersey             265         274           237           266         241          229          279         208          207         234          256         252
  New Mexico             194 !       196           342           459         319          240          239         211          251         345          267         229
  New York               259         206           236           221         243          220          212         213          266         235          223         290

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Mortality in State and Federal Prisons, 2001-2016 – Statistical Tables | February 2020                                                                             12
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TABLE 12 (continued)
Mortality rate per 100,000 state and federal prisoners, 2001 and 2006-2016
State/Federal           2001         2006           2007         2008         2009         2010         2011         2012        2013         2014         2015         2016
  North Carolina         205         239            259           293         214           215          179          211         218          252          244          353
  North Dakota           276 !        75 !            0             0           0            71 !         72 !        212 !        63 !          0            0          244 !
  Ohio                   256         219            247           198         236           224          218          248         240          215          264          255
  Oklahoma               235         350            412           372         328           248          358          324         343          404          392          353
  Oregon                 219         303            269           229         248           281          291          184         205          214          252          322
  Pennsylvania           324         282            329           298         327           293          316          313         314          295          342          354
  Rhode Islandd           89 !       215 !          240 !         160 !       205 !         222 !        330 !        197 !       126 !        223 !        168 !         69 !
  South Carolina         318         283            305           350         207           304          246          265         306          315          372          388
  South Dakota           143 !       121 !          244 !         179 !       118 !         236 !        309 !        250 !       166 !        200 !        198 !        133 !
  Tennessee              292         435            379           382         346           369          298          424         395          399          475          474
  Texas                  275         279            274           295         269           234          261          298         282          265          274          266
  Utah                   121 !       139 !          136 !         214 !       324           239          227          283         427          433          331          466
  Vermontd               214 !       316 !           47 !         142 !       135 !         241 !          0           98 !       385 !        303 !        229 !        403 !
  Virginia               226         253            312           264         281           291          324          289         273          300          296          301
  Washington             190         214            231           204         255           206          123          195         220          221          244          163
  West Virginia          500         298            387           388         356           394          447          450         456          409          473          441
  Wisconsin              231         199            188           197         189           113          214          205         192          257          201          285
  Wyoming                336 !       147 !          415 !         528 !       402 !          96 !        139 !        183 !       175 !        507          292 !        468 !
Note: Data may have been revised from previously published statistics. Mortality rates are based on the annual number of deaths and a one-day custody population
on December 31. See Methodology. Mortality rates are not adjusted for demographic differences among states. Excludes executions. For execution data, see Capital
Punishment, 2016 – Statistical Brief (NCJ 251430, BJS, April 2018). For data from 2002 to 2006, see the Mortality in Correctional Institutions page on the BJS website.
! Interpret with caution. Estimate is based on 10 or fewer cases, or coefficient of variation is greater than 50%.
aExcludes deaths in private federal facilities.
bIncludes deaths in private state facilities. Includes nine prisoner deaths reported by the District of Columbia in 2001. As of December 30, 2001, sentenced felons from the
District of Columbia were the responsibility of the Federal Bureau of Prisons.
cPrisons and jails form one integrated system. Counts include deaths only in state-operated prisons and jails and exclude deaths in 14 locally operated jails.
dPrisons and jails form one integrated system. Data include total jail and prison population.
eIn 2016, Louisiana held 57.8% of its prison population in local jails. Since the calculation of mortality rates is based on the custody populations, which exclude prisoners
held in local jails, the mortality rates for Louisiana prisoners will be high, because the prisoners held in jails are generally healthier according to the Louisiana Department
of Corrections.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2001 and 2006-2016, and National Prisoner Statistics, 2001 and 2006-2016; and Federal Bureau of
Prisons, 2001 and 2006-2016.


Table 13
Number of prisoner deaths in state and federal facilities, by cause of death, 2001-2016
                                                                          Illness
                                                 Heart         Liver          Respiratory AIDS-    All other                        Drug/alcohol
State/Federal         All causesa Cancer         disease       disease        disease     relatedb illnessesc Suicide               intoxication Accident Homicided
Federale                 5,985         ...            ...           ...              ...     161      5,280      260                       ...      81        160
Statef                 53,051 14,525             13,695         4,940            3,315     1,873      8,476    3,300                    781        530      1,024
   Alabama               1,360       364            326           129               97         37       262       30                        4       17         32
   Alaskag                 156        23             38            17                 2         1        23       27                      10         8          4
   Arizona               1,343       352            308           178               80         32       182      102                      50        12         36
   Arkansas                743       204            260            57               39         25        85       42                        2       12         13
   California            5,796     1,418            986           601              414       115      1,207      496                    238         44        233
   Colorado                709       147            134           121               52          1       125       62                      27        14         26
   Connecticuth            430        56            104            64               25         11        89       66                        3        6          6
   Delawareh               248        57             60            24               13         20        30       29                        4        0          2
   Florida               4,392     1,347            928           366              299       295        813      135                      23        51         98
   Georgia               1,872       481            627           110              153         78       233       87                        3       15         59
   Hawaiih                 152        41             26            17                 7         4        21       25                        4        0          5
   Idaho                   228        56             60            22               12          3        31       29                        4        5          3
   Illinois              1,403       437            399            73               73         64       188      123                      11        13         16

                                                                                                                                            Continued on next page

Mortality in State and Federal Prisons, 2001-2016 – Statistical Tables | February 2020                                                                                 13
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TABLE 13 (continued)
Number of prisoner deaths in state and federal facilities, by cause of death, 2001-2016
                                                                        Illness
                                                 Heart        Liver         Respiratory AIDS-    All other                        Drug/alcohol
State/Federal     All causesa Cancer             disease      disease       disease     relatedb illnessesc Suicide               intoxication Accident Homicided
   Indiana           1,030       274                273           94             65          22       152       68                      35        15        26
   Iowa                255        90                 54           15             24           5        32       27                       2         1         2
   Kansas              377       118                 95           44             22           2        54       24                       6         8         3
   Kentucky            767       242                237           62             43          28       123       18                       2         4         4
   Louisiana         1,577       491                461          127             67        104        205       35                       2        14         7
   Maine                62        15                 17             6             5           1         7        4                       2         0         4
   Maryland            925       196                227           76             37        102        106       68                      54         7        43
   Massachusetts       543       140                146           57             27          10        82       50                      10         8         3
   Michigan          1,939       662                594          157            106          39       182     118                       24        24        18
   Minnesota           223        65                 45           32             10           1        41       23                       4         1         1
   Mississippi         848       218                326           43             45          24       104       37                       3         9        18
   Missouri          1,271       382                357          141             66          25       195       62                      10         7        23
   Montana             143        38                 27           21              8           2        24       17                       3         1         2
   Nebraska            169        35                 39           24              8           4        18       16                       4         3         3
   Nevada              548       116                128           37             16           9       127       34                       6         3         9
   New Hampshire       106        39                 23           11              3           3        11       12                       4         0         0
  New Jersey           914       217                282           58             52          83       124       50                      14        10        12
  New Mexico           278        71                 54           52             17           3        36       25                       7         1        11
  New York           2,318       666                617          186            100        217        212     204                       38        26        25
   North Carolina    1,383       457                362          120             95          69       188       47                       4        21        15
   North Dakota         18         5                   4            2             0           0         3        3                       1         0         0
   Ohio              1,875       627                537          108            133          31       275     107                       16         8        26
   Oklahoma          1,276       318                330          142             79          30       170       75                      29        27        54
   Oregon              544       172                112           84             25           7        75       34                      13         7         9
   Pennsylvania      2,384       667                681          225            141          34       455     121                       15        14        17
   Rhode Islandh        99        18                 25             2             4           5         8       21                       5         3         1
   South Carolina    1,041       226                394           69             49          36       170       51                       8         4        32
   South Dakota        110        21                 30           16             11           1         9       15                       1         3         3
   Tennessee         1,234       329                373          130             66          40       175       50                      21        11        29
   Texas             6,628     1,603              1,683          705            520        166      1,364     417                       20        66        60
   Utah                208        42                 47           18              8           0        39       34                       3         3         8
   Vermonth             63        11                 16           10              1           3        10        9                       3         0         0
   Virginia          1,387       472                374          140             69          53       183       48                      12         5        11
   Washington          561       158                136           66             43           9        87       38                       4        10         7
   West Virginia       303        87                110           22             15           6        49        6                       1         2         4
   Wisconsin           713       239                190           45             60          11        77       73                       8         5         1
   Wyoming              90        15                 31           13              8           1        13        6                       2         1         0
Note: Data may have been revised from previously published statistics. Details may not sum to totals due to missing data. Excludes executions. For execution data, see
Capital Punishment, 2016 – Statistical Brief (NCJ 251430, BJS, April 2018). See Methodology.
...Not available.
aIncludes other causes not specified and missing and unknown causes.
bIncludes persons who died of illness and were identified as HIV-positive or having AIDS at the time of death.
cIncludes other specified illnesses (such as cerebrovascular disease, influenza, and other non-leading natural causes of death) and unspecified illnesses. Includes natural
and illness-related federal prisoner deaths for which the Federal Bureau of Prisons could not provide details.
dIncludes homicides committed by other prisoners, incidental to the use of force by staff, and resulting from injuries sustained prior to incarceration.
eExcludes deaths in private federal facilities.
fIncludes deaths in private state facilities. Includes nine prisoner deaths reported by the District of Columbia in 2001. As of December 30, 2001, sentenced felons from the
District of Columbia were the responsibility of the Federal Bureau of Prisons.
gPrisons and jails form one integrated system. Counts include deaths only in state-operated prisons and jails and exclude deaths in 14 locally operated jails.
hPrisons and jails form one integrated system. Data include total jail and prison population.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2001-2016; and Federal Bureau of Prisons, 2001-2016.




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Table 14
Average annual mortality rate per 100,000 state and federal prisoners, by cause of death, 2001-2016
                                                         Illness
                                       Heart     Liver       Respiratory AIDS-    All other            Drug/alcohol
State/Federal     All causesa Cancer   disease   disease disease         relatedb illnessesc Suicide   intoxication Accident Homicided
Federal  e            230        ...       ...       ...          ...        6        203       10            ...       3       6
Statef                262       72        68        24           16          9         42       16           4          3       5
   Alabama            330       88        79        31           24          9         64        7           1!         4       8
   Alaskag            190       28        46        21            2!         1!        28       33          12 !       10 !     5!
   Arizona            226       59        52        30           13          5         31       17           8          2       6
   Arkansas           343       94       120        26           18        12          39      19            1!         6       6
   California         235       58        40        24           17          5         49      20           10          2       9
   Colorado           214       44        40        36           16        <1 !        38       19           8          4       8
   Connecticuth       150       20        36        22            9          4!        31       23           1!         2!      2!
   Delawareh          231       53        56        22           12        19          28       27           4!         0       2!
   Florida            296       91        62        25           20        20          55        9           2          3       7
   Georgia            227       58        76        13           19          9         28      11           <1 !        2       7
   Hawaiih            178       48        30        20            8!         5!        25       29           5!         1!      6!
   Idaho              211       52        56        20           11          3!        29       27           4!         5!      3!
   Illinois           191       60        54        10           10          9         26      17            1!         2       2
   Indiana            255       68        67        23           16          5         38      17            9          4       6
   Iowa               182       64        39        11           17          4!        23       19           1!         1!      1!
   Kansas             259       81        65        30           15          1!        37       16           4!         5!      2!
   Kentucky           360      114       111        29           20        13          58        8           1!         2!      2!
   Louisianai         513      160       150        41           22        34          67       11           1!         5       2!
   Maine              190       46        52        18!          15 !        3!        21 !     12 !         6!         0      12 !
   Maryland           257       54        63        21           10        28          29      19           15          2!     12
   Massachusetts      324       84        87        34           16          6!        49      30            6!         5!      2!
   Michigan           260       89        80        21           14          5         24      16            3          3       2
   Minnesota          159       46        32        23            7!         1!        29      16            3!         1!      1!
   Mississippi        337       87       129        17           18        10          41       15           1!         4!      7
   Missouri           259       78        73        29           13          5         40       13           2!         1!      5
   Montana            297       79        56        44           17 !        4!        50      35            6!         2!      4!
   Nebraska           232       48        54        33           11 !        5!        25      22            5!         4!      4!
   Nevada             282       60        66        19            8          5!        65      17            3!         2!      5!
   New Hampshire 255            94        55        26 !          7!         7!        26 !    29           10 !        0       0
   New Jersey         238       57        74        15           14        22          32      13            4          3!      3
   New Mexico         266       68        52        50           16          3!        34      24            7!         1!     11 !
   New York           245       70        65        20           11        23          22      22            4          3       3
  North Carolina      234       77        61        20           16        12          32        8           1!         4       3
   North Dakota         81      23 !      18 !       9!           0          0         14 !     14 !         5!         0       0
   Ohio               239       80        68        14           17          4         35      14            2          1!      3
   Oklahoma           332       83        86        37           21          8         44      20            8          7      14
   Oregon             254       80        52        39           12          3!        35      16            6          3!      4!
   Pennsylvania       325       91        93        31           19          5         62      16            2          2       2
   Rhode Islandh      187       34        47         4!           8!         9!        15 !     40           9!         6!      2!
   South Carolina     292       63       110        19           14        10          48       14           2!         1!      9
   South Dakota       206       39        56        30           21 !        2!        17 !    28            2!         6!      6!
   Tennessee          393      105       119        41           21        13          56       16           7          4!      9
   Texas              266       64        68        28           21          7         55       17           1          3       2
   Utah               262       53        59        23           10 !        0         49      43            4!         4!     10 !
   Vermonth           205       36 !      52        33 !          3!       10 !        33 !     29 !        10 !        0       0
   Virginia           280       95        76        28           14        11          37       10           2          1!      2!

                                                                                                            Continued on next page



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TABLE 14 (continued)
Average annual mortality rate per 100,000 state and federal prisoners, by cause of death, 2001-2016
                                                                      Illness
                                                  Heart        Liver      Respiratory AIDS-    All other                            Drug/alcohol
State/Federal        All causesa Cancer           disease      disease disease        relatedb illnessesc Suicide                   intoxication Accident Homicided
   Washington            208       59                50           24          16          3!       32        14                           1!         4!      3!
   West Virginia         394      113               143           29          19          8!       64         8!                          1!         3!      5!
   Wisconsin             200       67                53           13          17          3!       22       20                            2!         1!     <1 !
   Wyoming               282       47                97           41          25 !        3!       41       19 !                          6!         3!      0
Note: Data may have been revised from previously published statistics. Mortality rates are based on the annual number of deaths and a one-day custody population on
December 31. Mortality rates are not adjusted for demographic differences among states. Details may not sum to totals due to missing data. Excludes executions. For
execution data, see Capital Punishment, 2016 – Statistical Brief (NCJ 251430, BJS, April 2018). See Methodology.
...Not available.
! Interpret with caution. Estimate is based on 10 or fewer cases, or coefficient of variation is greater than 50%.
aIncludes other causes not specified and missing and unknown causes.
bIncludes persons who died of illness and were identified as HIV-positive or having AIDS at the time of death.
cIncludes other specified illnesses (such as cerebrovascular disease, influenza, and other non-leading natural causes of death) and unspecified illnesses. Includes natural
and illness-related federal prisoner deaths for which the Federal Bureau of Prisons could not provide details.
dIncludes homicides committed by other prisoners, incidental to the use of force by staff, and resulting from injuries sustained prior to incarceration.
eExcludes deaths in private federal facilities.
fIncludes deaths in private state facilities. Includes nine prisoner deaths reported by the District of Columbia in 2001. As of December 30, 2001, sentenced felons from the
District of Columbia were the responsibility of the Federal Bureau of Prisons.
gPrisons and jails form one integrated system. Counts include deaths only in state-operated prisons and jails and exclude deaths in 14 locally operated jails.
hPrisons and jails form one integrated system. Data include total jail and prison population.
iIn 2016, Louisiana held 57.8% of its prison population in local jails. Since the calculation of mortality rates is based on the custody populations, which exclude prisoners
held in local jails, the mortality rates for Louisiana prisoners will be high, because the prisoners held in jails are generally healthier according to the Louisiana Department
of Corrections.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2001-2016, and National Prisoner Statistics, 2001-2016; and Federal Bureau of Prisons, 2001-2016.




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Methodology                                                           Assessing Inmate Cause of Death: Deaths in Custody
                                                                     
                                                                      Reporting Program and National Death Index
Data collection coverage                                              (NCJ 249568, BJS, April 2016)

The Mortality in Correctional Institutions (MCI),                     Mortality in Local Jails, 2000-2014 – Statistical Tables
                                                                     
formerly the Deaths in Custody Reporting Program                      (NCJ 250169, BJS, December 2016)
(DCRP), is an annual Bureau of Justice Statistics (BJS)               Mortality in State Prisons, 2001-2014 – Statistical
                                                                     
data collection. The MCI obtains national-, state-,                   Tables (NCJ 250150, BJS, December 2016)
and incident-level data on persons who died while in
the physical custody of the 50 state departments of                   Suicide and Homicide in State Prisons and Local Jails
                                                                     
corrections (DOCs) or of the approximately 2,800 local                (NCJ 210036, BJS, August 2005).
jail jurisdictions with adult populations nationwide.
This methodology pertains to the prison portion of                   The MCI instruments for collecting data from state
the MCI collection only. See Mortality in Local Jails,               prisons are administered annually to state DOCs.
2000-2016 – Statistical Tables (NCJ 251921, BJS,                     Respondents provide an aggregate count of the number of
February 2020) for the methodology on deaths in                      deaths that occurred during the referenced calendar year
local jails.                                                         (NPS-4) and provide forms describing individual deaths
                                                                     (NPS-4A). The prison survey instruments are available
The DCRP began in 2000 in response to the Death                      on the BJS website. Respondents can submit individual
in Custody Reporting Act of 2000 (P.L. 106-297) and                  records on decedents at any time during a collection cycle
was the only national statistical collection providing               through a BJS web-based collection system. The BOP
comprehensive information about deaths in adult                      submits federal prison data directly to BJS.
correctional facilities. Starting in 2001, BJS has
annually collected data directly from state prison                   Determining eligibility for reporting to the
systems, maintaining a 100% response rate. BJS uses                  Mortality in Correctional Institutions
these data to track national trends in the number and
causes or manners of deaths occurring in state prisons.              In the MCI, custody refers to the physical holding of
Until 2015, the Federal Bureau of Prisons (BOP)                      a person in a facility or to the period during which a
submitted aggregate counts of the number of male                     correctional authority maintains a chain of custody
and female deaths to BJS, by cause of death. The BOP                 over a prisoner. For instance, if a prison transports
started reporting decedent-level data to BJS in 2015,                an ill prisoner to a hospital for medical services and
including individual demographic and criminal-justice                that prisoner dies while in the chain of custody of
characteristics. In 2017, BJS changed the name from                  the prison, then that death is counted as a death in
the DCRP to MCI to more accurately describe the                      custody. A death that occurs when a prisoner is not in
data collection.                                                     the custody of a correctional authority is considered
                                                                     beyond the scope of the MCI. Deaths were considered
Mortality data measured by the MCI include the                       out-of-scope for prisoners who were on escape status
location and type of facility where the prisoner                     or under the supervision of community corrections,
died, decedent characteristics (sex, race or ethnicity,              such as on probation, parole, or home-electronic
and age), admission date, conviction status, and                     monitoring. For state prisons responding to the survey,
admission offense. The MCI also collects data on                     prisoners in physical custody include those held in any
the circumstances surrounding the death (the cause,                  private prison facility under contract to the responding
time, and location of death), whether an autopsy was                 states’ DOCs or in any of their state-operated facilities,
conducted, and the availability of autopsy results to the            such as halfway houses, prison camps or farms, training
respondent. Data on executions are excluded from this                or treatment centers, and prison hospitals. BOP data
report but are accessible on the BJS website.1 Statistics            submitted to the MCI exclude deaths of federal
for 2001 to 2016 presented in this report are current as             prisoners that occurred in privately operated facilities.
of October 30, 2019.
                                                                     State and federal prison officials were asked to exclude
For more information on mortality in correctional                    deaths of prisoners serving sentences in the custody
settings, see—                                                       of local jails while under the jurisdiction of the state
                                                                     or federal DOCs. The MCI obtains information about
1See Capital Punishment, 2017: Selected Findings (NCJ 253060, BJS,   such deaths through the jail reports.
July 2019).

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Identifying and excluding duplicate records                          Capital Punishment, which provides data on legal
                                                                    
                                                                     executions. Additional details on executions are
Duplicate and out-of-scope records are excluded from                 available on the BJS website.
analysis in this report. Duplicate death records may
occur in the MCI due to overlapping correctional                     the National Prisoner Statistics (NPS) program,
                                                                    
populations or overlapping duties within correctional                which collects counts of deaths by cause of death,
facilities. For example, a state prison system may report            including deaths due to execution; illness; AIDS and
the death of a prisoner who was transferred to a local               AIDS-related causes, such as HIV; suicide; accident;
jail while serving a prison sentence. This death would               or homicide. Detailed counts by cause of death were
be counted by the local jail that had custody of the                 discontinued in 2007. The NPS currently collects a
prisoner at the time of death. The duplicate record                  total count of deaths as a type of release from prison.
from the prison would be deleted.                                    After 2006, the BOP submitted counts of deaths
                                                                     by cause of death to the DCRP but discontinued
To identify duplicate records, BJS reconciles the                    submitting counts to the NPS. Additional details on
aggregate summary counts of deaths that occurred                     the NPS are available on the BJS website.
during a calendar year with the number of individual
records of death that were obtained from a reporting                Reported statistics
prison system. When discrepancies are identified,
reporting prison systems are contacted for clarification.           Mortality data in this report include the number of
                                                                    deaths and mortality rates by year, the cause of death,
Information on cause of death                                       selected decedent characteristics, and the state where
                                                                    the death occurred.
MCI respondents are instructed to report on the
cause of death as determined by autopsy or another                  Mortality rates are calculated per 100,000 prisoners,
official medical investigation. For this collection,                with the denominators providing estimates of the
deaths due to intoxication, accidents, suicides, and                number of person-years of exposure in custody in
homicides are considered discrete causes of death.                  institutional corrections. The mortality rate for state or
Although the manner and cause of death are distinct                 federal prisoners is calculated as the number of deaths
from one another, no such distinction is made in the                per year divided by the December 31 population of
MCI. When reporting a death due to illness, accident,               state or federal prisoners in custody, with the resulting
suicide, intoxication, or homicide, BJS requests that               quotient multiplied by 100,000. The population of
respondents describe the events surrounding these                   state prisoners used in rate calculations includes
deaths. Clinical-data specialists convert text entries              prisoners held in privately operated facilities, while
that describe illness-related deaths into standard                  the population in federal prisons does not. To improve
medical codes from the World Health Organization’s                  comparability between years, this report includes
International Statistical Classification of Diseases and            mortality rates of state prisons that were re-estimated
Related Health Problems, Tenth Revision (ICD-10).                   for prior years using updated year-end custody
                                                                    populations, including privately operated facilities.
Homicides include all types of intentional homicide
and involuntary manslaughter as determined by a                     Data on the source of the denominator allow annual
medical examiner or pathologist at autopsy. Homicide                mortality rates to be calculated separately by group
counts include legal-intervention homicides committed               or characteristic. The National Center for Health
while the prisoner was trying to escape. Homicides also             Statistics (NCHS) calculates crude mortality rates as
encompass cases that are ruled a homicide at autopsy                the number of events for a period (such as one year),
when events that led to the death occurred prior to                 divided by the population estimate at the midpoint of
incarceration, such as a prisoner who was shot outside              the period. For statistics on mortality in the general
of custody and who later died from complications of                 population, the NCHS uses the midyear population
the gunshot wound while in custody.                                 as an approximation of the average population that
                                                                    is exposed to risk of death during any given year.2
Other BJS sources of correctional mortality data
                                                                    2See Siegel, J. S., & Swanson, D. A. (Eds.). (2004). The methods and
BJS collects other data reported to the MCI on prisoner
                                                                    materials of demography (2nd ed., p. 269). San Diego, CA: Elsevier
mortality. These other collections include—                         Academic Press.



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The crude mortality rates that are reported in the                  was steady, or the increase in unnatural deaths was
MCI annual statistical tables use a year-end, rather                recent. Rolling averages were not computed for all
than midyear, population for the denominator. The                   causes of death in custody due to small cell-sizes.
composition of the general population (sex, race or
ethnicity, and age) differs from the population in state            Interpreting rates among small populations
and federal prisons, which in turn differs from the
population in local jails.                                          MCI data on deaths in state prisons are not subject
                                                                    to sampling error because the data represent a full
Estimating population characteristics of                            enumeration of deaths. However, according to
prisoners to calculate mortality rates by                           Brillinger and NCHS, mortality data from a complete
demographic subgroups                                               enumeration may be subject to random error because
                                                                    “the number of deaths that actually occurred may
Age and sex distributions of the state prison population            be considered as one of a large series of possible
are estimated using the NPS and National Corrections                results that could have arisen under the same set of
Reporting Program (NCRP) collections. Rates for race                circumstances.”3,4 The random variation can be large
or ethnicity are also derived from these collections,               when the number of deaths is small. Therefore, caution
and they have been updated from previous years                      is warranted when interpreting statistics that are based
and will not match previously reported rates. Race                  on small numbers of deaths.
or ethnicity reported in the NPS and NCRP come
from administrative records of prisoners and may not                Continuing to use the NCHS and Brillinger methods,
reflect self-reporting by prisoners. Distributions of               BJS quantified random variation by assuming that
race or ethnicity were adjusted to reflect statistics that          the appropriate underlying probability distribution
were reported in BJS’s prisoner surveys. Previously,                for the number of deaths was a Poisson distribution.
distributions of race or ethnicity were derived from                This provided a simple and reasonable approach for
BJS’s 2004 Survey of Inmates in State and Federal                   estimating variances in mortality statistics when the
Correctional Facilities. In 2017, BJS updated estimates             probability of dying is low. Variances were calculated
of prisoners’ race or ethnicity using new data from the             based on the assumption of a Poisson process. From
2016 Survey of Prison Inmates. Annual distributions of              these variances, estimates of relative random error
race or ethnicity were weighted by the number of years              were calculated. These estimates are comparable
from the most recent prisoner survey (2004 or 2016).                to the relative standard error because the relative
For complete details on the methodology used to                     random error is the ratio of random error derived
estimate distributions of race or ethnicity, see Prisoners          from the Poisson variance to the number of deaths.
in 2016 (NCJ 251149, BJS, January 2018).                            Following NCHS practice, when the relative random
                                                                    error exceeded 30%, estimated mortality rates were
Rolling averages                                                    flagged with an “!” symbol to show the instability of
                                                                    the rate. (Interpret with caution. Estimate is based on
Rolling averages were computed to examine trends                    10 or fewer cases, or coefficient of variation is greater
for certain causes of death in prisons while smoothing              than 50%.)
short-term fluctuations. Data were divided into
10 overlapping 3-year periods spanning 12 years. The                3See Brillinger, D. R. (1986). The natural variability of vital rates
rolling averages in this report describe some changes               and associated statistics. Biometrics, 42(4), 693-734.
in cause-specific mortality rates over time, such as                4See Xu, J., Kochanek, K. D., Murphy, S. L., & Tejada-Vera, B.
whether the overall rise in the mortality rate for cancer           (2010). Deaths: Final data for 2007 (National Vital Statistics
                                                                    Reports, Vol. 58, No. 19). Hyattsville, MD: National Center for
                                                                    Health Statistics. Retrieved from https://www.cdc.gov/nchs/data/
                                                                    nvsr/nvsr58/nvsr58_19.pdf




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Appendix table 1
Estimated number of state and federal prisoners in custody, by prisoner characteristics, 2001 and 2006-2016
                     Custody
                     population,
Characteristic       2001-2016     2001      2006      2007      2008      2009      2010      2011      2012      2013      2014      2015      2016
   Total             22,869,200 1,322,600 1,460,300 1,482,100 1,489,800 1,490,600 1,487,500 1,466,400 1,443,500 1,444,100 1,439,200 1,405,800 1,382,900
Federala              2,600,100 137,100 163,100 166,000 165,300 171,000 173,100 176,200 176,500 173,800 169,500 160,700 154,200
Stateb               20,269,100 1,185,500 1,297,200 1,316,100 1,324,500 1,319,600 1,314,400 1,290,200 1,267,000 1,270,300 1,269,700 1,245,100 1,228,700
   Sex
     Male        18,860,000 1,109,400 1,205,100 1,222,500 1,230,600 1,227,500 1,222,900 1,201,100 1,180,600 1,181,500 1,179,400 1,156,000 1,139,900
     Female       1,409,100    76,100 92,200       93,600 93,900 92,100 91,500 89,100 86,400 88,800 90,300 89,100 88,800
  Race/ethnicity
     Whitec       6,670,600 387,900 475,000 441,600 441,100 430,400 424,700 414,600 407,800 406,100 406,300 396,100 385,400
     Blackc       7,584,200 495,400 523,300 502,700 502,800 493,200 481,800 467,900 454,600 448,200 437,000 421,000 409,600
     Hispanic     4,179,400 232,200 189,900 277,200 272,400 277,400 278,600 270,900 260,900 262,100 261,800 258,300 266,100
     Otherc,d     1,834,900    70,000 33,700       94,600 108,300 118,600 129,300 136,800 143,700 153,900 164,700 169,600 167,600
  Age
     17 or
       younger       31,600     2,900     2,800     2,400     2,600     2,500     2,100     1,800     1,400     1,100     1,000       900       800
     18-24        3,030,100 218,000 227,500 196,700 197,900 198,700 196,000 189,100 180,400 173,700 161,300 145,500 134,800
     25-34        6,712,900 401,700 429,500 437,700 439,200 437,300 434,800 424,400 413,800 415,300 417,700 407,700 400,000
     35-44        5,534,900 362,000 384,500 366,600 356,600 343,700 334,200 324,100 318,200 320,500 323,700 322,500 322,600
     45-54        3,475,200 153,000 185,600 232,200 240,600 243,500 245,600 242,300 238,000 236,500 235,000 229,400 224,900
     55 or older 1,484,400     47,800 60,400       80,400 87,600 93,900 101,700 108,500 115,300 123,100 131,100 139,100 145,600
Note: Data rounded to the nearest 100. Data may have been revised from previously published statistics. State data include prisoners in the custody of state correctional facilities,
including private prison facilities. Federal data include prisoners in the custody of federal prisons, excluding private federal facilities. All populations are based on a custody count as
of December 31.
aExcludes prisoners in private federal facilities.
bIncludes prisoners in private state facilities.
cExcludes persons of Hispanic origin (e.g., “white” refers to non-Hispanic whites and “black” refers to non-Hispanic blacks).
dIncludes Asians, Native Hawaiians, Other Pacific Islanders, American Indians, Alaska Natives, or persons of two or more races.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2001-2016, National Prisoner Statistics, 2001-2016, Survey of Inmates in State and Federal Correctional
Facilities, 2004, and Survey of Prison Inmates, 2016; and Federal Bureau of Prisons, 2001-2016.




Mortality in State and Federal Prisons, 2001-2016 – Statistical Tables | February 2020                                                                                   20
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Appendix table 2
Illness mortality rate per 100,000 state prisoners within each demographic group, by decedent characteristics,
2007-2016 (3-year rolling averages)
Characteristic                   2007           2008          2009          2010          2011          2012           2013         2014           2015          2016
  Total                           223            225           228           226           226           227            236          238           247            252
Sex
  Male                            230            231           235           232          233            235            243          246            255           261
  Female                          133            136           144           137          132            122            132          133            143           142
Race/ethnicity
  Whitea                          325            337           353           357          372            381            403          404            425           439
  Blacka                          217            213           218           216          215            213            217          225            236           248
  Hispanic                        115            122           119           115          107            110            116          120            120           115
  Othera,b                         48             49            46            42           35             36             36           39             38            37
Age
  17 or younger                    14 !           27 !          13 !          41 !         47 !           56 !           23 !         29 !          33 !           73 !
  18-24                            13             14            15            15           14             14             15           15            16             14
  25-34                            32             29            26            25           25             24             24           23            24             24
  35-44                           120            110           107            99           94             86             81           75            71             70
  45-54                           435            416           397           382          364            346            338          324           315            298
  55 or older                   1,791          1,777         1,765         1,658        1,598          1,558          1,567        1,538         1,544          1,528
Note: Based on 3-year rolling averages. Labels show the most recent year only (for example, 2005-07 is shown as 2007). Mortality rates are based on the annual number
of deaths and a one-day custody population on December 31. See Methodology. Includes deaths in private state facilities.
! Interpret with caution. Estimate is based on 10 or fewer cases, or coefficient of variation is greater than 50%.
aExcludes persons of Hispanic origin (e.g., “white” refers to non-Hispanic whites and “black” refers to non-Hispanic blacks).
bIncludes Asians, Native Hawaiians, Other Pacific Islanders, American Indians, Alaska Natives, or persons of two or more races.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2007-2016; National Prisoner Statistics, 2007-2016; Survey of Inmates in State Correctional
Facilities, 2004; and Survey of Prison Inmates, 2016.



Appendix table 3
Cancer mortality rate per 100,000 state prisoners within each demographic group, by decedent characteristics,
2007-2016 (3-year rolling averages)
Characteristic                     2007           2008          2009          2010         2011           2012           2013         2014           2015          2016
  Total                             62             63            67            71           75             77             81           82             85            88
Sex
  Male                               64             65           70            73            77            79             84            85            88             91
  Female                             31             33           35            40            48            44             45            43            51             53
Race/ethnicity
  Whitea                             97           103           114           119           130           134            146          144            149           154
  Blacka                             58            58            62            66            68            71             75           79             83            89
  Hispanic                           23            24            23            28            30            31             32           34             36            38
  Othera,b                           15            15            13            15            11            12             11           11             11            10
Age
  17 or younger                      0             14 !          13 !          14 !          16 !          19 !           23 !          0              0            37 !
  18-24                              2!             1!            2!            3             4             4              3            2              2!            2!
  25-34                              5              4             4             4             5             5              6            5              6             6
  35-44                             22             22            20            22            21            21             22           22             21            19
  45-54                            119            113           115           117           118           113            116          114            113           104
  55 or older                      580            577           592           584           584           573            572          552            549           556
Note: Based on 3-year rolling averages. Labels show the most recent year only (for example, 2005-07 is shown as 2007). Mortality rates are based on the annual number of
deaths and a one-day custody population on December 31. See Methodology. Includes deaths in private state facilities.
! Interpret with caution. Estimate is based on 10 or fewer cases, or coefficient of variation is greater than 50%.
aExcludes persons of Hispanic origin (e.g., “white” refers to non-Hispanic whites and “black” refers to non-Hispanic blacks).
bIncludes Asians, Native Hawaiians, Other Pacific Islanders, American Indians, Alaska Natives, or persons of two or more races.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2007-2016; National Prisoner Statistics, 2007-2016; Survey of Inmates in State Correctional
Facilities, 2004; and Survey of Prison Inmates, 2016.




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Appendix table 4
Heart-disease mortality rate per 100,000 state prisoners within each demographic group, by decedent
characteristics, 2007-2016 (3-year rolling averages)
Characteristic                     2007           2008          2009          2010         2011           2012           2013         2014           2015         2016
  Total                             65             64            64            64           65             64             67           68             73            77
Sex
  Male                               68             67           66            66            67            67             69            71            76             81
  Female                             32             33           36            30            29            27             31            31            35             37
Race/ethnicity
  Whitea                             98             99           99           101           107           107            114           116           126           136
  Blacka                             65             62           63            64            65            66             67            69            76            82
  Hispanic                           27             30           29            28            25            23             24            23            25            25
  Othera,b                           12             12           12             9             7             9             11            13            12            11
Age
  17 or younger                      0              0             0            14 !          16 !          19 !            0            29 !          33 !          37 !
  18-24                              5              4             4             4             4             3              5             5             7             5
  25-34                             10              8             8             8             8             7              7             8             9            10
  35-44                             34             31            31            32            33            30             28            25            23            24
  45-54                            112            106            98            94            90            86             82            79            81            82
  55 or older                      572            550           525           487           468           448            455           448           466           470
Note: Based on 3-year rolling averages. Labels show the most recent year only (for example, 2005-07 is shown as 2007). Mortality rates are based on the annual number
of deaths and a one-day custody population on December 31. See Methodology. Includes deaths in private state facilities.
! Interpret with caution. Estimate is based on 10 or fewer cases, or coefficient of variation is greater than 50%.
aExcludes persons of Hispanic origin (e.g., “white” refers to non-Hispanic whites and “black” refers to non-Hispanic blacks).
bIncludes Asians, Native Hawaiians, Other Pacific Islanders, American Indians, Alaska Natives, or persons of two or more races.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2007-2016; National Prisoner Statistics, 2007-2016; Survey of Inmates in State Correctional
Facilities, 2004; and Survey of Prison Inmates, 2016.


Appendix table 5
Liver-disease mortality rate per 100,000 state prisoners within each demographic group, by decedent
characteristics, 2007-2016 (3-year rolling averages)
Characteristic                     2007           2008          2009          2010         2011           2012           2013         2014           2015          2016
  Total                             24             24            24            24           24             24             26           26             26            23
Sex
  Male                               25             25           25             25           26            25             27            26            26             24
  Female                             12             10           10             10            9             9             13            14            16             13
Race/ethnicity
  Whitea                             37             37           40             42           44            44             47            46            46             44
  Blacka                             15             14           14             14           15            14             15            14            15             14
  Hispanic                           25             25           24             21           19            20             23            25            25             19
  Othera,b                           10              8            8              5            5             5              6             5             5              5
Age
  17 or younger                      0              0             0            14 !          16 !          19 !            0             0             0             0
  18-24                              1!             1!            1!            1!            1!           <1 !           <1 !           1!            1!            1!
  25-34                              1              1!            1             1             1             1              1!            1             1!            1!
  35-44                             11             11            11             9            10             7              7             5             5             5
  45-54                             75             69            67            63            58            53             54            50            47            41
  55 or older                      137            136           136           129           137           139            156           150           146           125
Note: Based on 3-year rolling averages. Labels show the most recent year only (for example, 2005-07 is shown as 2007). Mortality rates are based on the annual number of
deaths and a one-day custody population on December 31. See Methodology. Includes deaths in private state facilities.
! Interpret with caution. Estimate is based on 10 or fewer cases, or coefficient of variation is greater than 50%.
aExcludes persons of Hispanic origin (e.g., “white” refers to non-Hispanic whites and “black” refers to non-Hispanic blacks).
bIncludes Asians, Native Hawaiians, Other Pacific Islanders, American Indians, Alaska Natives, or persons of two or more races.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2007-2016; National Prisoner Statistics, 2007-2016; Survey of Inmates in State Correctional
Facilities, 2004; and Survey of Prison Inmates, 2016.




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Appendix table 6
Respiratory-disease mortality rate per 100,000 state prisoners within each demographic group, by decedent
characteristics, 2007-2016 (3-year rolling averages)
Characteristic                    2007           2008          2009          2010          2011          2012            2013         2014           2015          2016
  Total                            16             17            17            17            16            17              16           17             18            19
Sex
  Male                              16             17            17            17            16            17             17            18            19             19
  Female                            15             16            14            12            10             7             10             9            10             11
Race/ethnicity
  Whitea                            25             28            28            28            29            31             32            32            34             36
  Blacka                            15             14            14            15            13            13             12            14            15             16
  Hispanic                           7              8             8             9             7             7              7             8             8              9
  Othera,b                           1!             1!            1!            1!            1!            2!             3             3             3              3
Age
  17 or younger                     14 !           14 !          0              0            0              0              0             0             0              0
  18-24                              2              3            2              2            1!             2!             2!            2!            2!             1!
  25-34                              3              3            3              3            2              3              3             3             2              2
  35-44                              9              8            8              7            6              5              4             4             4              4
  45-54                             22             23           21             21           20             19             18            16            16             16
  55 or older                      144            143          140            137          121            127            120           125           126            126
Note: Based on 3-year rolling averages. Labels show the most recent year only (for example, 2005-07 is shown as 2007). Mortality rates are based on the annual number
of deaths and a one-day custody population on December 31. See Methodology. Includes deaths in private state facilities.
! Interpret with caution. Estimate is based on 10 or fewer cases, or coefficient of variation is greater than 50%.
aExcludes persons of Hispanic origin (e.g., “white” refers to non-Hispanic whites and “black” refers to non-Hispanic blacks).
bIncludes Asians, Native Hawaiians, Other Pacific Islanders, American Indians, Alaska Natives, or persons of two or more races.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2007-2016; National Prisoner Statistics, 2007-2016; Survey of Inmates in State Correctional
Facilities, 2004; and Survey of Prison Inmates, 2016.


Appendix table 7
Mortality rate due to all other illnesses per 100,000 state prisoners within each demographic group, by decedent
characteristics, 2007-2016 (3-year rolling averages)
Characteristic                     2007          2008          2009          2010           2011          2012          2013           2014          2015          2016
  Total                             45            48            48            44             41            40            40             40            40            41
Sex
  Male                              46            49             49            44            42             41            41            41             41            42
  Female                            34            36             39            39            32             31            30            32             29            26
Race/ethnicity
  Whitea                            61            65             67            61            59             60            61            61             65            66
  Blacka                            46            48             50            45            43             41            40            40             40            41
  Hispanic                          28            32             30            27            24             26            27            28             25            24
  Othera,b                           9            12             12            10             9              7             6             6              6             8
Age
  17 or younger                      0             0             0              0             0             0             0              0             0             0
  18-24                              4             4             5              4             4             5             4              4             4             4
  25-34                              9             9             9              7             7             6             6              5             5             5
  35-44                             29            28            28             22            19            17            16             14            14            14
  45-54                             85            84            78             72            65            64            58             55            50            47
  55 or older                      338           350           352            303           274           255           250            246           245           240
Note: Excludes cancer; heart, liver, and respiratory diseases; and AIDS-related illnesses. Based on 3-year rolling averages. Labels show the most recent year only (for
example, 2005-07 is shown as 2007). Mortality rates are based on the annual number of deaths and a one-day custody population on December 31. See Methodology.
Includes deaths in private state facilities.
aExcludes persons of Hispanic origin (e.g., “white” refers to non-Hispanic whites and “black” refers to non-Hispanic blacks).
bIncludes Asians, Native Hawaiians, Other Pacific Islanders, American Indians, Alaska Natives, or persons of two or more races.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2007-2016; National Prisoner Statistics, 2007-2016; Survey of Inmates in State Correctional
Facilities, 2004; and Survey of Prison Inmates, 2016.




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Appendix table 8
Rate of unnatural deaths per 100,000 state prisoners within each demographic group, by decedent characteristics,
2007-2016 (3-year rolling averages)
Characteristic                    2007           2008          2009          2010            2011         2012            2013       2014         2015             2016
  Total                            27             26            25            26              27           28              29         31           32               36
Sex
  Male                              28             27            26            26             27           29              29         31             33             37
  Female                            14             15            15            16             18           18              17         20             22             23
Race/ethnicity
  Whitea                            43             43            44            44             47           49              50         53             57             63
  Blacka                            16             15            15            16             16           18              18         20             22             26
  Hispanic                          23             21            19            20             20           21              23         25             25             26
  Othera,b                          14             13            10            11             11           11              10         10             11             12
Age
  17 or younger                     29 !           41 !          40 !          41 !           31 !         38 !            23 !       29 !           33 !           37 !
  18-24                             21             18            19            19             18           19              19         22             24             30
  25-34                             23             23            22            23             23           23              24         26             29             30
  35-44                             29             27            26            26             29           30              31         30             33             38
  45-54                             32             30            30            30             32           33              32         35             36             39
  55 or older                       38             40            36            38             39           46              46         51             46             47
Note: Unnatural deaths include deaths caused by suicide, accident, homicide, and drug or alcohol intoxication. Based on 3-year rolling averages. Labels show the most
recent year only (for example, 2005-07 is shown as 2007). Mortality rates are based on the annual number of deaths and a one-day custody population on December 31.
See Methodology. Includes deaths in private state facilities.
! Interpret with caution. Estimate is based on 10 or fewer cases, or coefficient of variation is greater than 50%.
aExcludes persons of Hispanic origin (e.g., “white” refers to non-Hispanic whites and “black” refers to non-Hispanic blacks).
bIncludes Asians, Native Hawaiians, Other Pacific Islanders, American Indians, Alaska Natives, or persons of two or more races.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2007-2016; National Prisoner Statistics, 2007-2016; Survey of Inmates in State Correctional
Facilities, 2004; and Survey of Prison Inmates, 2016.


Appendix table 9
Rates for figure 1: Mortality rate per 100,000 state and federal prisoners, 2001-2016
State/
Federal       2001      2002      2003      2004        2005    2006      2007        2008     2009     2010       2011      2012    2013     2014          2015   2016
Federala       220       232       227       208         244     201       222         241      220      224        220       198     230      262           283    252
Stateb         242       244       257       252         253     249       258         261      259      246        260       265     274      274           296    303
Note: Based on the annual number of deaths and the one-day custody population on December 31.
aExcludes deaths in private federal facilities.
bIncludes deaths in private state facilities.
Source: Bureau of Justice Statistics, Mortality in Correctional Institutions, 2001-2016; and Federal Bureau of Prisons, 2001-2016.




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           The Bureau of Justice Statistics of the U.S. Department of Justice is the
           principal federal agency responsible for measuring crime, criminal
           victimization, criminal offenders, victims of crime, correlates of crime,
           and the operation of criminal and civil justice systems at the federal, state,
           tribal, and local levels. BJS collects, analyzes, and disseminates reliable
           statistics on crime and justice systems in the United States, supports
           improvements to state and local criminal justice information systems, and
           participates with national and international organizations to develop and
           recommend national standards for justice statistics. Jeffrey H. Anderson is
           the director.
           This report was written by Mary P. Cowhig and E. Ann Carson.
           Scott Ginder and Amy Couzens of RTI International conducted statistical
           analyses. Jennifer Bronson, E. Ann Carson, and Stephanie Mueller verified
           the report.
           Eric Hendrixson and Jill Thomas edited the report. Morgan Young
           produced the report.
           February 2020, NCJ 251920




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                             Exhibit 46
3/25/2020                                               25 People Released From Davidson County Jail in Anti-Outbreak Effort
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    25 People Released From Davidson
    County Jail in Anti-Outbreak Effort
    Nashville’s district attorney and public defender have agreements to release
    dozens more
    BY STEVEN HALE — MAR 23, 2020 3 PM



    A Nashville judge signed off on agreements to release 25 people from jail Monday,
    beginning the process of a system-wide effort to reduce the jail population in the face of the
    coronavirus pandemic.

    Over the weekend, Davidson County District Attorney Glenn Funk and Metro Public
    Defender Martesha Johnson came to agreements on as many as 80 people for whom they
    would seek an early release. They were working from a list of 264 jailed individuals
    identified by Davidson County Sheriff Daron Hall as particularly vulnerable to the spreading
    illness.

    People in jails and prisons face unique risks in the current crisis. They live in close quarters
    and are often denied the sort of hygienic and sanitary options that most Americans are
    turning to now.

    “If an outbreak happens in the jail, it’s gonna be devastating to some people in there,"
    Johnson told the Scene on Friday. "They can’t do social distancing."

    Even in the best-case scenario, a jail is ripe for an outbreak of infectious disease. In
    Tennessee, the situation is made worse by county jails that are chronically overcrowded.




https://www.nashvillescene.com/news/pith-in-the-wind/article/21123961/25-people-released-from-davidson-county-jail-in-antioutbreak-effort?utm_source=The+Mar…   1/3
3/25/2020                                               25 People Released From Davidson County Jail in Anti-Outbreak Effort

    As ofCase  2:90-cv-00520-KJM-SCR
          late last                      Document
                    week, no one in Davidson      6529-2
                                             County’s jails orFiled 03/25/20 prisons
                                                              in Tennessee’s Page 244  of been
                                                                                     had  249

    tested for the virus. Inmates in other county facilities have reportedly been tested but were
    found to not have the virus.

    Funk tells the Scene that of the 25 people released from Davidson County custody on
    Monday, two of them had holds from other counties, meaning they’ll have to be transported
    to jails in those locations. The rest, he says, had their sentences suspended and will be
    placed on probation.

    Funk says the court will take up more cases on Wednesday and that the day in between is to
    allow the public defender’s office to talk to clients and explain the restrictions that would be
    placed on them if they are released.




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3/25/2020                                               25 People Released From Davidson County Jail in Anti-Outbreak Effort
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                             Exhibit 47
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                     California Department of Corrections and Rehabilitation




OFFENDER DATA POINTS
OFFENDER DEMOGRAPHICS FOR THE 24-MONTH PERIOD ENDING DECEMBER 2018




Division of Correctional Policy Research and Internal Oversight

OFFICE OF RESEARCH | PUBLISHED JANUARY 2020
Offender Demographics
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                                                       Data Sources:
          Adult data is from the Offender Based Information System and Strategic Offender Management System
   Mental Health data is from the Strategic Offender Management System and Health Care Placement Oversight Program
                            Youth data is from the Offender Based Information Tracking System


   This report would not have been possible without the generous support of others. Specifically, we would like to thank
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  Office of Research                                  December 2018                                                        i
Offender Demographics
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  Table 4.3: Releases from State Prison by Type
                                                       01/01/2017 01/01/2017 01/01/2018 01/01/2018
                                                           to         to         to         to      12 Month
               Releases from State Prison
                                                       12/31/2017 12/31/2017 12/31/2018 12/31/2018   Change
                                                          Total      Rate       Total      Rate
                                 Releases to Parole1        18,200      49.3%     19,048      49.6%     + 4.7%
               Releases to Post Release Community
                                                            17,422           47.2%          18,058           47.0%        + 3.7%
                                       Supervision2
                                              Death            394            1.1%             467            1.2%       + 18.5%
                    Other Releases and Discharges3             887            2.4%             831            2.2%         - 6.3%
                                        Full Pardon              1            0.0%               0            0.0%      - 100.0%
                                     Total Releases         36,904          100.0%          38,404          100.0%         + 4.1%
  1
   Offenders with a current serious or violent offense, third strikers, lifers, high risk sex registrants as defined by California
  Department of Corrections and Rehabilitation, sexually violent predators, and mentally disordered offenders are
  released to state parole.
  2
   Offenders with current non violent, non serious offenses, and non high risk sex registrants are released to Post Release
  Community Supervision.
  3
   Some examples of the "Other Releases or Discharges" category include discharges of county contract boarders,
  discharges from sentence, and releases after erroneous admission.

  Figure 4.3: Graph of Releases from State Prison by Type

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      C:    1,500


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      z      500


               0




                ~~ Re leases to Paro le                                -•- Re leases to Post Re lease Commun ity Supervision
                -•- Death                                              --- Other Re leases and Discharges




  Office of Research                                      December 2018                                                        54
